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              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT
                                                                      RECEIVED
 TEXAS ASSOCIATION OF BUSINESS,
                  Petitioner,                                       Feb 20, 2024

      v.                                            Case No. _______________

 FEDERAL COMMUNICATIONS
 COMMISSION and UNITED STATES OF
 AMERICA,
                  Respondents.

                            PETITION FOR REVIEW

      Pursuant to 5 U.S.C. § 706, 47 U.S.C. § 402(a), 28 U.S.C. §§ 2342-2344, and

Federal Rule of Appellate Procedure 15, the Texas Association of Business hereby

petitions this Court for review of the order of the Federal Communications

Commission (“FCC”) captioned In the Matter of Data Breach Reporting

Requirements, Report and Order, WC Docket No. 22-21, FCC 23-111 (released Dec.

21, 2023) (“Order”). The Order was published in the Federal Register on February

12, 2024. See 89 Fed. Reg. 9968 (Feb. 12, 2024). A copy of the Order is attached

as Exhibit A to this petition, and the Federal Register entry is attached as Exhibit B.

      The Order imposes certain duties on telecommunications carriers, Voice over

Internet Protocol (“VoIP”) providers, and Telecommunications Relay Service

(“TRS”) providers with respect to unauthorized access to or disclosure of customer

proprietary network information (“CPNI”) and a broader class of personally
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identifiable information (“PII”). See 89 Fed. Reg. at 10003; see also 47 U.S.C.

§ 222(h)(1) (defining CPNI).

      Petitioner Texas Association of Business represents Texas businesses of every

size and in every industry, and several of its members, including providers of

telecommunications and VoIP services, are directly affected by the Order. Petitioner

participated in the agency proceedings on behalf of its members, who are aggrieved

by the Order. See 28 U.S.C. § 2344. Venue is proper in this Court because Texas

Association of Business has its principal office in Austin, Texas. See id. § 2343.

Petitioner now seeks this Court’s review of the Order on the grounds that the Order

exceeds the FCC’s statutory authority; is arbitrary, capricious, and an abuse of

discretion within the meaning of the Administrative Procedure Act, 5 U.S.C. §§ 701

et seq.; and is otherwise contrary to law.

      Accordingly, Texas Association of Business respectfully requests that this

Court hold unlawful, vacate, enjoin, and set aside the Order, and grant such

additional relief as may be appropriate.




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Dated: February 20, 2024                       Respectfully submitted,

                                               /s/ Roman Martinez
                                               Roman Martinez
                                               Matthew A. Brill
                                               Matthew T. Murchison
                                               Charles S. Dameron
                                               LATHAM & WATKINS LLP
                                               555 Eleventh Street, NW
                                               Suite 1000
                                               Washington, DC 20004
                                               (202) 637-2200
                                               roman.martinez@lw.com

                  Counsel for Texas Association of Business




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                 EXHIBIT A
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                                               Federal Communications Commission                                                      FCC 23-111


                                                          Before the
                                               Federal Communications Commission
                                                     Washington, D.C. 20554


 In the Matter of                                                             )
                                                                              )
 Data Breach Reporting Requirements                                           )         WC Docket No. 22-21
                                                                              )

                                                         REPORT AND ORDER

Adopted: December 13, 2023                                                                                  Released: December 21, 2023

By the Commission: Chairwoman Rosenworcel and Commissioners Starks and Gomez issuing separate
statements; Commissioners Carr and Simington dissenting and issuing separate statements.

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I.       INTRODUCTION
        1.        Americans should have confidence that when they use communications services, their
personal information is protected. These services are a ubiquitous feature of modern life, and they
provide a vital lifeline for consumers. In providing these critical services, telecommunications carriers
and interconnected Voice over Internet Protocol (VoIP) providers often collect large quantities of
sensitive customer data. Information such as records of the telephone numbers a person has called, or
mobile phone location data showing the places they have been, can provide insights into medical
conditions, religious beliefs, personal associations, and many other aspects of an individual’s private life.1
         2.     The Commission’s breach notification rule provides an important protection against
improper use or disclosure of customer data, helping to ensure that carriers2 are held accountable and
providing customers with the tools to protect themselves in the event that their data is compromised.
However, in the 16 years since the Commission adopted its data breach reporting rule—designed to
protect customers against the threat of “pretexting”3—data breaches have only grown in frequency and
severity.4
         3.      Telecommunications companies may be particularly vulnerable to these attacks.5 In
response to these evolving threats, today we update the Commission’s rule regarding data breach
notifications. Because consumers may be harmed by the improper use or disclosure of sensitive customer
data other than CPNI, we expand the scope of our breach notification rules to cover various categories of

1 See Carpenter v. United States, 138 S. Ct. 2206, 2218 (2018) (“A cell phone faithfully follows its owner beyond

public thoroughfares and into private residences, doctor’s offices, political headquarters, and other potentially
revealing locales.”); id. at 2217 (cell phone location data “provides an intimate window into a person’s life”
revealing not only physical movements, but “familial, political, professional, religious, and sexual associations.”).
2 As in the Data Breach Notice, in this Order we refer to telecommunications carriers and interconnected VoIP

providers collectively as “telecommunications carriers” or “carriers,” consistent with our existing Part 64, Subpart U
rules. See Data Breach Reporting Requirements, WC Docket No. 22-21, Notice of Proposed Rulemaking, FCC 22-
102, 3, para. 3 n.12 (2023) (Data Breach Notice). In doing so, we do not address the regulatory classification of
interconnected VoIP service or interconnected VoIP service providers. See 47 CFR § 64.2003(o) (defining
telecommunications carrier or carrier for purposes of Subpart U to include an entity that provides interconnected
VoIP service as that term is defined in 47 CFR § 9.3).
3 Pretexting is a practice in which a scammer pretends to be a particular customer or other authorized person in order

to obtain access to that customer’s call detail or other private communications records. Implementation of the
Telecommunications Act of 1996: Telecommunications Carriers’ Use of Customer Proprietary Network Information
and Other Customer Information; IP-Enabled Services, CC Docket No. 96-115, Report and Order and Further
Notice of Proposed Rulemaking, 22 FCC Rcd 6927, 6928, paras. 1-2 & n.1. (2007) (2007 CPNI Order); 47 CFR §
64.2011.
4 According to an IBM report, the global average cost of a data breach has increased 15% over the last three years.

See IBM, Cost of a Data Breach Report 2023, https://www.ibm.com/reports/data-breach (last visited Oct. 25, 2023);
see also Confidentiality Coalition Comments at 1 (reporting a 118% increase from 2020 to 2021 in unauthorized
access incidents, and a 44% increase in ransomware attacks impacting publicly traded companies).
5 See, e.g., Sam Sabin, Wave of Telecom Data Breaches Highlight Industry’s Weaknesses, Axios (Mar. 17, 2023),

https://www.axios.com/2023/03/17/telecom-data-breaches-t-mobile-att; Dan Goodin, T-Mobile Discloses 2nd Data
Breach of 2023, This One Leaking Account PINs and More (May 1, 2023), https://arstechnica.com/information-
technology/2023/05/t-mobile-discloses-2nd-data-breach-of-2023-this-one-leaking-account-pins-and-more/
(reporting that T-Mobile experienced breaches of its customers’ data every year between 2018 and 2023, including a
2023 breach impacting 37 million customers); Catherine Reed, Verizon Data Breaches: Full Timeline Through
2023, Firewall Times (Oct. 5, 2023), https://firewalltimes.com/verizon-data-breaches (describing Verizon’s data
breach experienced earlier this year, which exposed the data of 7.5 million subscribers); Monica Alleven, AT&T
Alerts 9M Wireless Customers of Security Breach, Fierce Wireless (Mar. 10, 2023),
https://www.fiercewireless.com/security/att-informs-9m-wireless-customers-security-breach (noting how AT&T
informed 9 million wireless customers that an unauthorized person accessed their customer proprietary network
information (CPNI) through a vendor’s system).
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personally identifiable information (PII) that carriers hold with respect to their customers.6 We also adopt
the Commission’s proposal to expand the definition of “breach” for both telecommunications carriers and
telecommunications relay service (TRS) providers to include inadvertent disclosures of customer
information, except in those cases where such information is acquired in good faith by an employee or
agent of a carrier or TRS provider, and such information is not used improperly or further disclosed. As
proposed, we require carriers and TRS providers to notify the Commission of breaches, in addition to the
United States Secret Service (Secret Service) and Federal Bureau of Investigation (FBI). We require such
notice to be made as soon as practicable, and in no event later than seven business days, after reasonable
determination of the breach.
         4.       In order to limit the potential burdens on carriers, TRS providers, and consumers from
notifications that are unlikely to require protective action, we eliminate the requirement to notify
customers of a breach in those instances where a carrier or TRS provider can reasonably determine that
no harm to customers is reasonably likely to occur as a result of the breach. And, to further support
consumers’ ability to act quickly to protect themselves following a breach for which there is a risk of
harm, we eliminate the mandatory waiting period for carriers to notify customers, and instead require
carriers and TRS providers to notify customers of breaches of covered data without unreasonable delay
after notification to the Commission and law enforcement, and no later than 30 days after reasonable
determination of a breach, unless a delay is requested by law enforcement. As discussed below, we find
that these changes will better protect consumers from improper use or disclosure of their customer
information and harmonize our rules with new approaches to protecting the public already deployed by
our partners in federal and state government.
II.      BACKGROUND
         5.      Section 222 and Privacy of Telecommunications Customer Information. Section 222 of
the Communications Act of 1934, as amended (Communications Act or Act) requires telecommunications
carriers to protect the confidentiality of customer information that they receive or have access to by virtue
of their provision of a telecommunications service.7 Section 222(a) requires carriers to protect the
confidentiality of “proprietary information” of, and relating to, their customers.8 Pursuant to section
222(c)(1), a carrier that receives CPNI by virtue of its provision of a telecommunications service may
only use, disclose, or permit access to that information in limited circumstances: (1) if it is required by
law; (2) with the customer’s approval; or (3) in its provision of the telecommunications service from
which such information is derived, or services necessary to or used in the provision of such
telecommunications service,9 subject to certain exceptions.10 The Act defines CPNI as “(A) information

6 See 47 U.S.C. § 222(a) (imposing a duty on carriers to protect “proprietary information” of customers, among

other entities). For the purposes of this Report and Order and the rules adopted herein, we use the term “covered
data” to refer collectively to both PII and CPNI. See also Appx. A.
7 47 U.S.C. § 222.  See also Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’
Use of Customer Proprietary Network Information and Other Customer Information, et al., CC Docket Nos. 96-115
et al., Order on Reconsideration and Petitions for Forbearance, 14 FCC Rcd 14409, 14419-20, paras. 12-14 (1999)
(1999 CPNI Reconsideration Order).
8 47 U.S.C. § 222(a); see also TerraCom, Inc. and YourTel America, Inc.; Apparent Liability for Forfeiture, File No.

EB-TCD-13-00009175, NAL/Acct. No. 201432170015, Notice of Apparent Liability for Forfeiture, 29 FCC Rcd
13325, 13330, para. 13 (2014) (TerraCom NAL). Section 222(b) provides that a carrier that receives or obtains
proprietary information from other carriers in order to provide a telecommunications service may only use such
information for that purpose and may not use that information for its own marketing efforts. 47 U.S.C. § 222(b).
9 47 U.S.C. § 222(c)(1).

10 Section 222(d) delineates certain exceptions to the general principle of confidentiality, including, among other

provisions, those permitting a carrier to use, disclose, or permit access to CPNI obtained from its customers to
protect the rights or property of the carrier, or to protect telecommunications services users “from fraudulent,
abusive, or unlawful use” of telecommunications services. Id. § 222(d)(2). Section 222(d)(4) also authorizes certain
                                                                                                         (continued….)
                                                           3
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that relates to the quantity, technical configuration, type, destination, location, and amount of use of a
telecommunications service subscribed to by any customer of a telecommunications carrier, and that is
made available to the carrier by the customer solely by virtue of the carrier-customer relationship; and (B)
information contained in the bills pertaining to telephone exchange service or telephone toll service
received by a customer of a carrier.”11
         6.       While the Commission has not and does not here articulate an exhaustive list of
information that is CPNI, the Commission has determined that in practical terms, CPNI includes
personally identifiable information derived from a customer’s relationship with a provider of
telecommunications services,12 such as the phone numbers called by a consumer; the frequency, duration,
and timing of such calls; and any services purchased by the consumer, such as call waiting.13 Information
collected by a customer’s device, such as lists of numbers called and calls received, and the locations
from which calls have been made, is also considered CPNI when the collection is undertaken at the
carrier’s direction and the carrier has access to or control over the information.14 In 2020, the
Commission concluded in a Notice of Apparent Liability for Forfeiture and Admonishment that CPNI
also includes customer location information derived by or made available to a carrier from the wireless
mobile device of a customer regardless of whether the information was generated in connection with a
call.15 However, some types of sensitive data, such as a customer’s name, address, and telephone number,
are not considered CPNI.16
         7.      The Commission adopted its first rules to implement section 222 in 1998.17 These initial
rules established restrictions on telecommunications carriers’ use and disclosure of CPNI, as well as a
framework to require carriers to take effective steps to protect CPNI.18 Under these rules, the
Commission adopted safeguards such as requiring carriers to train their personnel on when they are and
are not authorized to use CPNI19 and to maintain records that track access to CPNI,20 among other things.




uses of call location information in emergency situations, such as delivery to a public safety answering point for
delivery of emergency services. Id. § 222(d)(4). Section 222(f) provides that for purposes of section 222(c)(1),
without the “express prior authorization” of the customer, a customer shall not be considered to have approved the
use or disclosure of or access to call location information concerning the user of a commercial mobile service other
than in accordance with subsection (d)(4). Id. § 222(f).
11 Id. § 222(h)(1).

12 2007 CPNI Order at 6928, para. 1 n.2.

13 Id. at 6930, para. 5.

14 Implementation of the Telecommunications Act of 1996:
                                                       Telecommunications Carriers’ Use of Customer
Proprietary Network Information and Other Customer Information, CC Docket No. 96-115, Declaratory Ruling, 28
FCC Rcd 9609, 9609-10, paras. 2-4 (2013) (2013 CPNI Declaratory Ruling).
15 AT&T, Inc., File No.: EB-TCD-18-00027704, Notice of Apparently Liability for Forfeiture and Admonishment,

35 FCC Rcd 1743, 1757, paras. 33-35 (2020).
16 1999 CPNI Reconsideration Order, 14 FCC Rcd at 14486-88, paras. 145-47 (adopting the conclusions of the

Common Carrier Bureau that customer names, addresses, and telephone numbers are not CPNI).
17 See Implementation of the Telecommunications Act of 1996:Telecommunications Carriers’ Use of Customer
Proprietary Network Information and Other Customer Information et al., CC Docket No. 96-115 et al., Second
Report and Order and Further Notice of Proposed Rulemaking, 13 FCC Rcd 8061 (1998) (1998 CPNI Order).
18 Id. at 8195, para. 193.

19 47 CFR § 64.2009(b); see also 1998 CPNI Order, 13 FCC Rcd at 8198, para. 198.

20 47 CFR § 64.2009(c); see also 1998 CPNI Order, 13 FCC Rcd at 8198-99, para. 199.


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The Commission’s rulemaking and enforcement regarding section 222 have evolved over time to keep
pace with emerging threats to consumer privacy.21
         8.        FCC Data Breach Notification Rule. Spurred to act by the then-increasing problem of
fraud perpetrated through “pretexting,” in 2007 the Commission amended its rules to require carriers to
notify law enforcement and customers of security breaches involving CPNI.22 For the purpose of this
rule, the Commission defined a “breach” as occurring “when a person, without authorization or exceeding
authorization, has intentionally gained access to, used, or disclosed CPNI.”23 Under this rule,
telecommunications carriers must notify the Secret Service and the FBI through a central reporting
facility no later than seven business days after a reasonable determination of a breach.24 With limited
exceptions,25 the rule also prohibits telecommunications carriers from notifying affected customers or
disclosing the breach publicly until seven business days following notification to the Secret Service and
the FBI.26 The Commission declined to specify the precise content of the notice that must be provided to
customers in the event of a breach of CPNI, leaving telecommunications carriers discretion to tailor the
language and method of notification to the circumstances.27
         9.        In 2013, the Commission adopted rules to protect the privacy of customer information
relating to all relay services authorized under section 225 of the Act.28 In that proceeding, the
Commission applied CPNI protections to TRS providers, to protect the CPNI of TRS users.29 The rules




21 See generally, e.g., 2007 CPNI Order; 2013 CPNI Declaratory Ruling.

22 2007 CPNI Order, 22 FCC Rcd at 6943-45, paras. 26-32.

23 47 CFR § 64.2011(e).    Note that section 222 of the Act and the Commission’s CPNI rules (47 CFR § 64.2001, et
seq.) related to “access” to customer information make no mention of and do not require that such information be
copied, downloaded, exfiltrated, or otherwise acquired. See generally id. § 64.2001, et seq.; see also id. §
64.2010(a) (requiring carriers to “protect against attempts to gain . . . access” to customer information).
24 Id. § 64.2011(b).  Additionally, the Commission’s rules require carriers to maintain a record of any discovered
breaches, notifications to the Secret Service and the FBI regarding those breaches, as well as for a period of at least
two years. This record must include, if available, the date that the carrier discovered the breach, the date that the
carrier notified the Secret Service and the FBI, a detailed description of the CPNI that was breached, and the
circumstances of the breach. See id. § 64.2011(d).
25 Telecommunications carriers can immediately notify a customer or disclose the breach publicly only after

consultation with the relevant investigative agency and only if the carrier believed that there was an extraordinarily
urgent need to notify a customer or class of customers in order to avoid immediate and irreparable harm. See id. §
64.2011(b)(2) (requiring a telecommunications carrier to indicate its desire to notify its customer or class of
customers immediately in the notice that it provides to the Secret Service and FBI).
26 This waiting period for customer notification may be extended by law enforcement if “the relevant investigating

agency determines that public disclosure or notice to customers would impede or compromise an ongoing or
potential criminal investigation or national security.” See id. § 64.2011(b)(3).
27 2007 CPNI Order, 22 FCC Rcd at 6945, para. 32.

28 Structure and Practices of the Video Relay Service Program; Telecommunications Relay Services and Speech-to-

Speech Services for Individuals with Hearing and Speech Disabilities, CG Docket Nos. 10-51 and 03-123, Report
and Order and Further Notice of Proposed Rulemaking, 28 FCC Rcd 8618, 8680, para. 155 (2013) (2013 VRS
Reform Order); 47 CFR § 64.5111. In particular, the Commission “establish[ed] customer privacy requirements for
TRS pursuant to the specific mandate of section 225(d)(1)(A) to establish ‘functional requirements, guidelines, and
operations procedures’ for TRS,” and also found that it had ancillary authority to adopt those rules as well as rules
governing point-to-point video services handled over the VRS network. 2013 VRS Reform Order, 28 FCC Rcd at
8685-87, paras. 170-71.
29 2013 VRS Reform Order, 28 FCC Rcd at 8684, para. 164.


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that the Commission adopted were modeled after the CPNI data breach reporting rule applicable to
telecommunications services, with minor modifications to account for the unique nature of TRS. 30
         10.     As part of a larger proceeding addressing privacy requirements for broadband Internet
access service providers (ISPs), in 2016 the Commission revised its breach notification rule and required
that those providers (and other telecommunications providers) notify the affected customers, the
Commission, the FBI, and the Secret Service of data breaches unless the provider reasonably determined
that no harm to customers was reasonably likely to occur.31 In 2017, however, Congress nullified those
2016 revisions to the Commission’s CPNI rules under the Congressional Review Act.32
         11.      State and Federal Data Breach Notification Laws and Regulations. The Commission’s
data breach rule is “not intend[ed] to supersede any statute, regulation, order, or interpretation in any
state, except to the extent that such statute regulation, order, or interpretation is inconsistent with [its]
provisions,”33 and the Commission has explicitly rejected requests to preempt all state CPNI obligations,
finding instead that states should also be allowed to create rules for protecting CPNI provided that they do
not conflict with federal law.34
        12.     Currently, all 50 states, the District of Columbia, Guam, Puerto Rico, and the U.S. Virgin
Islands have laws requiring covered entities to notify individuals of data breaches.35 Many state and




30 Id. at 8684, para 165.

31 Protecting the Privacy of Customers of Broadband and Other Telecommunications Services, WC Docket No. 16-

106, Report and Order, 31 FCC Rcd 13911, 14019-33, paras. 261-91 (2016) (2016 Privacy Order). In 2015, the
Commission classified broadband Internet access service as a telecommunications service subject to Title II of the
Act, a decision that the D.C. Circuit upheld in United States Telecom Ass’n v. FCC. See Protecting and Promoting
the Open Internet, GN Docket No. 14-28, Report and Order on Remand, Declaratory Ruling, and Order, 30 FCC
Rcd 5601, 5733, para. 306 (2015), aff’d, United States Telecom Ass’n v. FCC, 825 F.3d 674 (D.C. Cir. 2016). As a
result of classifying broadband Internet access service as a telecommunications service, such services were subject
to section 222 of the Act. The rules the Commission adopted in the 2016 Privacy Order applied to carriers and
interconnected VoIP providers in addition to ISPs. See 2016 Privacy Order, 31 FCC Rcd at 13925, para. 39, 14033-
34, para. 293. In 2017, the Commission reversed the 2015 classification decision so that many Title II obligations,
such as section 222, no longer apply to ISPs. Restoring Internet Freedom, WC Docket No. 17-108, Declaratory
Ruling, Report and Order, and Order, 33 FCC Rcd 311 (2017) (subsequent history omitted).
32 See Joint Resolution, Pub. L. No. 115-22, 131 Stat. 88 (2017) (Resolution of Disapproval) (“Resolved by the

Senate and House of Representatives of the United States of America in Congress assembled, That Congress
disapproves the rule submitted by the Federal Communications Commission relating to ‘Protecting the Privacy of
Customers of Broadband and Other Telecommunications Services’ (81 Fed. Reg. 87274 (December 2, 2016)), and
such rule shall have no force or effect.”); 5 U.S.C. § 801(f) (“Any rule that takes effect and later is made of no force
or effect by enactment of a joint resolution under section 802 shall be treated as though such rule had never taken
effect.”); id. § 801(b)(1) (“A rule shall not take effect (or continue), if the Congress enacts a joint resolution of
disapproval . . . of the rule.”); see also Protecting the Privacy of Customers of Broadband and Other
Telecommunications Services; Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’
Use of Customer Proprietary Network Information and Other Customer Information, WC Docket No. 16-106, CC
Docket No. 96-115, Order, 32 FCC Rcd 5442 (2017) (2017 CRA Disapproval Implementation Order).
33 47 CFR § 64.2011(f).

34 See 2007 CPNI Order, 22 FCC Rcd at 6957-58, para. 60 (recognizing that many states have laws relating to the

safeguarding of personal information such as CPNI, and to the extent those laws do not create a conflict with federal
requirements, carriers are able to comply with both federal and state law); see also id. at 6945, para. 31; 47 CFR
64.2011(f).
35 See Data Breach Notice at 5, para. 7 (citing Nat’l Conf. of State Legislatures, Security Breach Notification Laws

(Jan. 17, 2022), https://www.ncsl.org/research/telecommunications-and-information-technology/security-breach-
notification-laws.aspx).
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federal data breach frameworks have evolved since the Commission last visited this issue in 2007.36
Some states, such as California, Virginia, and Colorado, have enacted comprehensive consumer privacy
laws in recent years to protect consumers from, among other threats, the ever-growing harms of breaches
of personal information.37 Additionally, several sector-specific breach notification laws exist in the
United States, such as the Health Insurance Portability and Accountability Act (HIPAA), the Gramm-
Leach-Bliley Act (GLBA), and the Federal Trade Commission (FTC)-enforced Health Breach
Notification Rule, which all have customer notification requirements for breaches of individual data.38 In
July of this year, the Securities and Exchange Commission (SEC) adopted rules requiring public
companies to disclose any cybersecurity incident they determine to be material and to describe the
material aspects of the incident’s nature, scope, and timing, as well as its material impact or reasonably
likely material impact on the registrant.39
        13.       Notice of Proposed Rulemaking. On December 28, 2022, the Commission adopted a
Notice of Proposed Rulemaking (Data Breach Notice) seeking comment on several proposed updates to
telecommunications carriers’ and TRS providers’ breach notification duties.40 In the Data Breach Notice,
the Commission noted that in the decade and a half since the data breach rule was adopted, breaches of
customer information have increased in scale and sophistication, extending far beyond the “pretexting”
practices that originally motivated the Commission to act.41 Additionally, the Commission noted that
both Congress and the states have since taken action to protect consumers from the dangers associated
with breaches of personal information across sectors.42 Accordingly, to better protect consumers from the
dangers associated with security breaches of customer information and to ensure that our rules keep pace
with modern challenges, the Commission proposed to strengthen and update its data breach rules for
CPNI and TRS to provide greater protections to the public, and sought comment on how best to

36 See, e.g., American Recovery and Reinvestment Act, Pub. L No. 111-5, 123 Stat. 258, §§ 13400-13402 (2009);

Dodd-Frank Wall Street Reform and Consumer Protection Act, Pub. Law 111-203, 124 Stat. 1376, §1093 (2010);
Cal. Civ. Code §§ 1798.82 (amended 2020); Del. Code § 12B-102 (amended 2017); Wash. Rev. Code § 19.252.01
(amended 2019).
37 See Data Breach Notice at 7, para. 9 (citing Cal. Civ. Code §§ 1798.100.199; State of California Department of

Justice, California Consumer Privacy Act (CCPA), https://oag.ca.gov/privacy/ccpa (last visited Jan. 4, 2023); IAPP,
The California Privacy Rights Act, https://iapp.org/resources/article/the-california-privacy-rights-act-of-2020 (last
visited Jan. 4, 2023); Sarah Rippy, Virginia Passes the Consumer Data Protection Act (Mar. 3, 2021),
https://iapp.org/news/a/virginia-passes-the-consumer-data-protection-act; GibsonDunn, The Colorado Privacy Act:
Enactment of Comprehensive U.S. State Consumer Privacy Laws Continues (July 9, 2021),
https://www.gibsondunn.com/the-colorado-privacy-act-enactment-of-comprehensive-u-s-state-consumer-privacy-
laws-continues).
38 See Health Insurance Portability and Accountability Act of 1996, Pub. L. No. 104-191, 110 Stat. 1936 (1996)

(HIPAA); Gramm-Leach-Bliley Act (Financial Services Modernization Act of 1999), Pub. L. No. 106-102, 113 Stat.
1338 (1999) (GLBA); 16 CFR § 318.3. Furthermore, as the Data Breach Notice noted, the FTC has also brought
actions under section 5(a) of the FTC Act raising allegations that companies acted unfairly by failing to protect
consumer data thereby resulting in security breaches, and has published extensive guidance for businesses in the
event of a security breach of customer information, including best practices after a data breach has occurred. Data
Breach Notice at 5, para. 7.
39 Press Release, SEC, SEC Adopts Rules on Cybersecurity Risk Management, Strategy, Governance, and Incident

Disclosure by Public Companies (Jul. 26, 2023), https://www.sec.gov/news/press-release/2023-139. The disclosure
will generally be due four business days after a registrant determines that an incident is material, but may be delayed
if the United States Attorney General determines that immediate disclosure would pose a substantial risk to national
security or public safety and notifies the SEC of such determination in writing. Id.
40 See generally Data Breach Notice.

41 Id. at 6, para. 8 (referencing several examples of serious data breaches involving major telecommunications

carriers affecting millions of customers).
42 Id. at 6-7, para. 9.


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accomplish this, including on whether our rules should address breaches of other types of
sensitive customer information beyond CPNI.43
III.      DISCUSSION
         14.      In this Order, we adopt several of the Data Breach Notice’s proposals to modernize our
data breach requirements.44 We first expand the scope of our breach notification rules to cover not just
CPNI, but all PII. We next adopt the Commission’s proposal to expand our definition of “breach” for
telecommunications carriers to include inadvertent access, use, or disclosure of customer information,
except in those cases where such information is acquired in good faith by an employee or agent of a
carrier, and such information is not used improperly or further disclosed. We also adopt the
Commission’s proposal to require carriers to notify the Commission, in addition to the Secret Service and
FBI, as soon as practicable, but no later than seven business days, after reasonable determination of a
breach. We next eliminate the requirement that carriers notify customers of a breach in cases where a
carrier can reasonably determine that no harm to customers is reasonably likely to occur as a result of the
breach. We also eliminate the mandatory waiting period for carriers to notify customers, and instead
require carriers to notify customers of breaches of covered data without unreasonable delay after
notification to federal agencies, and in no case more than 30 days following reasonable determination of a
breach, unless a delay is requested by law enforcement. Finally, to ensure that TRS consumers enjoy the
same level of protection under our rules as consumers of telecommunications services, we adopt
equivalent requirements for TRS providers.
          A.        Defining “Breach”
                    1.       Scope of Protected Consumer Information
       15.       In the Data Breach Notice, the Commission recognized that carriers possess proprietary
information of customers other than CPNI, which customers have an interest in protecting from public
exposure; the notice sought comment on requiring carriers to report breaches of such information.45 We
now conclude that carriers should be obligated to comply with our breach notification rule whenever such
information is the subject of a breach, whether or not the information is CPNI.
         16.     The pervasiveness of data breaches and the frequency of breach notifications have
evolved and increased since the Commission first adopted its breach notification rule in 2007. As
discussed in the Data Breach Notice, our requirement is one of several sector-specific federal breach
notification laws in the United States.46 All state data breach notification requirements explicitly include




43 Id. at 7-8, 12, 21, paras. 10, 22, 43.

44 To the extent that this Report and Order does not expressly address a topic that was subject to comment in the

Data Breach Notice, that issue remains pending.
45 Data Breach Notice at 12, para. 22.

46 Id. at 6-7, para. 9.


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categories of sensitive personal information within their scope,47 as do sector-specific federal laws.48 We
believe that the unauthorized exposure of sensitive personal information that the carrier has received from
the customer (i.e., information “of the customer”), or about the customer (i.e., information “relating to”
the customer), in connection with the customer relationship (e.g., initiation, provision, or maintenance, of
service), such as social security numbers or financial records, is reasonably likely to pose risk of customer
harm. Accordingly, any unauthorized disclosure of such information warrants notification to the
customer, the Commission, and other law enforcement. Consumers expect that they will be notified of
substantial breaches that endanger their privacy, and businesses that handle sensitive personal information
should expect to be obligated to report such breaches.49
        17.      We require notification of breaches that involve PII, which is a well-understood concept
and thus a readily administrable way of requiring breach notifications in the case of proprietary
information.50 The definition of PII is aptly described in OMB Circular A-130, “Managing Information

47 See, e.g., La. Rev. Stat. § 3073(4)(a) (defining “personal information” to mean the first name or first initial and

last name of an individual in combination with any one or more of the following data elements, when the name or
the data element is not encrypted or redacted: (i) social security number; (ii) Driver’s license number or state
identification card number; (iii) Account number, credit or debit card number, in combination with any required
security code, access code, or password that would permit access to an individual’s financial account; (iv) Passport
number; (v) Biometric data); see also Ala. Code § 8-38-2(6); Alaska Stat. § 45.48.090(7); Ariz. Rev. Stat. § 18-
551(7), (11); Ark. Code § 4-110-103(7); Cal. Civ. Code § 1798.29(g)-(h); Colo. Rev. Stat. § 6-1-716(1)(d); Conn.
Gen. Stat. § 36a-701b(a); D.C. Code § 28-3851(3); Del. Code tit. 6, § 12B-101(7); Fla. Stat. § 501.171(1)(g); Ga.
Code § 10-1-911(7); 9 GCA § 48.20(f); Haw. Rev. Stat. § 487N-1; Idaho Stat. § 28-51-104(5); 815 ILCS § 530/5;
Ind. Code § 4-1-11-3; Iowa Code § 715C.1(11); Kan. Stat. § 50-7a01(g); KRS § 365.732(1)(c); KRS § 61.931(6);
Me. Rev. Stat. tit. 10 § 1347(6); Md. Code Com. Law § 14-3501(e); Md. State Govt. Code § 10-1301(c); Mass. Gen.
Laws § 93H-1(a); Mich. Comp. Laws § 445.63(q)-(r); Minn. Stat. § 325E.61 Subd. 1(e); Miss. Code § 75-24-
29(2)(b); Mo. Rev. Stat. § 407.1500 1. (5)-(6), (9); Mont. Code § 2-6-1501(4); Mont. Code § 30-14-1704(4)(b);
Neb. Rev. Stat. § 87-802(5); Nev. Rev. Stat. § 603A.040; N.H. Rev. Stat. § 359-C:19(IV); N.J. Stat § 56:8-161;
N.M. Stat. § 57-12C-2(C); N.Y. Gen. Bus. Law § 899-AA(a)-(b); N.C. Gen. Stat § 75-61(10); N.C. Gen. Stat § 14-
113.20(b); N.D. Cent. Code § 51-30-01(4); Ohio Rev. Code § 1347.12(A)(6); Ohio Rev. Code § 1349.19(A)(7);
Okla. Stat. § 74-3113.1(D)(2); Okla. Stat. § 24-162(6); Oregon Rev. Stat. § 646A.602(12); 73 Pa. Stat. § 2302; 10
L.P.R.A. § 4051(a); R.I. Gen. Laws § 11-49.3-3(a)(8); S.C. Code § 39-1-90(D)(3); S.D. Cod. Laws § 20-40-19(4);
Tenn. Code § 47-18-2107(a)(4); Tex. Bus. & Com. Code § 521.002(a)-(b); Utah Code § 13-44-102(4); 9 V.S.A. §
2430(10); Va. Code § 18.2-186.6(A); V.I. Code tit. 14, § 2208(e)-(f); Wash. Rev. Code § 19.255.005(2); W.V. Code
§ 46A-2A-101(6); Wis. Stat. § 134.98(1)(b); Wyo. Stat. § 40-12-501(a)(vii); Wyo. Stat. § 6-3-901(b).
48 See, e.g., GLBA Privacy Rule, 16 CFR § 313.3(o) (defining personally identifiable financial information as any

information (i) that a consumer provides to the financial institution to obtain a financial product or service; (ii) about
a consumer resulting from any transaction involving a financial product or service between the financial institution
and a consumer; or (iii) the financial institution otherwise obtains about a consumer in connection with providing a
financial product or service to that consumer).
49 See, e.g., Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991 et al., CG Docket

No. 02-278 et al., Declaratory Ruling and Order, 30 FCC Rcd 7961, 8025, para. 132 (2015) (Calls reporting data
breaches or conveying remediation information following a breach are “intended to address exigent circumstances in
which a quick, timely communication with a consumer could prevent considerable consumer harms from occurring
or, in the case of the remediation calls, could help quickly mitigate the extent of harm that will occur.”); TerraCom
NAL, 29 FCC Rcd at 13340-41, para. 43 (“We expect carriers to act in an abundance of caution . . . in their practices
with respect to notifying consumers of security breaches.”).
50 We reject claims that we did not provide sufficient notice to define the scope of protected consumer information

in this manner. See, e.g., Letter from Avonne Bell, Director, Connected Life, CTIA, to Marlene H. Dortch,
Secretary, FCC, WC Docket No. 22-21, at 10-11 (filed Dec. 6, 2023) (CTIA Dec. 6, 2023 Ex Parte); T-Mobile Dec.
6, 2023 Ex Parte at 4. In the Data Breach Notice we sought comment on “requir[ing] telecommunications carriers
to report breaches of proprietary information other than CPNI under Section 222(a),” in which case commenters
were asked to address “how broadly or narrowly [we should] define that category of information.” Data Breach
Notice at 12, para. 22. This provided notice that the Commission could define the scope of protected information to
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as a Strategic Resource,” as “information that can be used to distinguish or trace an individual’s identity,
either alone or when combined with other information that is linked or linkable to a specific individual.”51
CPNI is a subset of PII.52
         18.      For the purposes of our breach notification rules, we further define the scope of covered
PII as (1) first name or first initial, and last name, in combination with any government-issued
identification numbers or information issued on a government document used to verify the identity of a
specific individual,53 or other unique identification number used for authentication purposes;54 (2) user
name or e-mail address, in combination with a password or security question and answer, or any other
authentication method or information necessary to permit access to an account;55 or (3) unique biometric,
genetic, or medical data.56 Moreover, dissociated data that, if linked, would constitute PII is to be

encompass all or any subset of the universe of proprietary information under section 222(a). And as we explain
below, we conclude that the scope of customer information encompassed by section 222(a) is best interpreted to
include PII, and define the scope of our breach notification rules to include PII subject to the additional limitations
that we adopt below. See infra paras. 18, 70. We therefore conclude that there was sufficient notice for the
approach we adopt.
51 Off. of Mgmt. & Budget, Managing Information as a Strategic Resource, OMB Circular No. A-130 § 10(57)

(2016) (OMB Circular No. A-130), https://www.whitehouse.gov/wp-
content/uploads/legacy_drupal_files/omb/circulars/A130/a130revised.pdf.
52 As discussed below, this approach of holding carriers responsible for reporting breaches of PII is supported

independently and alternatively by construing the phrase “proprietary information of . . . customers” in section
222(a) as covering all information defined as PII, and by recognizing that section 201(b)’s just-and-reasonable-
practices obligation requires protection of PII. See infra Section III.E.1-2; 47 U.S.C. § 222(a).
53 Including, but not limited to, Social Security Number, driver’s license number or state identification number,

Taxpayer Identification Number, passport number, military identification number, Tribal identification card, or any
other Federal or state government-issued identification card. See, e.g., Ala. Code § 8-38-2(6)(a)(1)-(2); Alaska Stat.
§ 45.48.090(7)(B)(i); Ariz. Rev. Stat. § 18-551(11)(a); Ark. Code § 4-110-103(7)(A); Cal. Civ. Code §
1798.82(h)(1)(A); Colo. Rev. Stat. § 6-1-716(1)(g)(I)(A); Conn. Gen. Stat. § 36a-701b(a)(2)(A)(i); Del. Code tit. 6 §
12B-101(7)(a)(1); D.C. Code § 28-3851(3)(A)(i)(I); Fla. Stat. § 501.171(1)(g)(1)(a)(I); Ga. Code § 10-1-911(6)(A);
9 GCA § 48.20(f)(1); Haw. Rev. Stat. § 487N-1.
54 Including, but not limited to, a financial institution account number, student identification number, or medical

identification number. See, e.g., Colo. Rev. Stat. § 6-1-716(1)(g)(I)(A); Wash. Rev. Code § 19.255.005(2)(a)(i)(F);
Okla. Stat. tit. 24 § 162(6)(c); Oregon Rev. Stat. § 646A.602(12)(a)(A)(iv); 73 Pa. Stat. § 2302; 10 L.P.R.A. §
4051(a)(3); R.I. Gen. Laws § 11-49.3-3(a)(8)(iii); S.C. Code § 39-1-90(D)(3)(c); S.D. Cod. Laws § 22-40-19(4)(c);
S.D. Cod. Laws § 22-40-19(5)(b); Tenn. Code § 47-18-2107(a)(4)(A)(iii); Tex. Bus. & Com. Code §
521.002(a)(2)(A)(iii); V.I. Code tit. 14, § 2209(e)(3); Utah Code § 13-44-102(4)(a)(ii); 9 V.S.A. § 2430(9)(A)(iii);
Va. Code § 18.2-186.6(A); Wash. Rev. Code § 19.255.005(2)(a)(i)(C); W.V. Code § 46A-2A-101(6)(C); Wis. Stat.
§ 134.98(1)(b)(3); Wyo. Stat. § 40-12-501(a)(vii) (citing Wyo. Stat. § 6-3-901(b)(v)).
55 Including, but not limited to, Personal Identification Numbers, private keys that are unique to an individual and

are used to authenticate or sign an electronic record; unique electronic identifiers or routing codes, in combination
with any required security code, access code, or password that would permit access to an individual’s financial
account; or shared secrets or security tokens that are known to be used for data-based authentication. See, e.g., Ala.
Code § 8-38-2(6)(a)(6); Ariz. Rev. Stat. § 18-551(7)(a)(ii), (11)(c); Cal. Civ. Code § 1798.82(h)(2); Colo. Rev. Stat.
§ 6-1-716(1)(g)(I)(A); Conn. Gen. Stat. § 36a-701b(a)(2)(A)(x); D.C. Code § 28-3851(3)(A)(ii); Del. Code tit. 6 §
12B-101(7)(a)(5); Fla. Stat. § 501.171(1)(g)(1)(b); 815 ILCS § 530/5; Md. Code, Com. § 14-3501(e)(1)(ii); Neb.
Rev. Stat. § 87-802(5)(b); Nev. Rev. Stat. § 603A.040(1)(e); N.J. Stat. § 56:8-161; N.Y. Gen. Bus. Law § 899-
aa(1)(b)(ii); N.C. Gen. Stat § 14-113.20(b)(8); Oregon Rev. Stat. § 646A.602(12)(a)(B); 10 L.P.R.A. § 4051(a)(4);
R.I. Gen. Laws § 11-49.3-3(a)(8)(v); S.D. Cod. Laws § 22-40-19(5); Wash. Rev. Code § 19.255.005(2)(a)(i), (ii);
Wyo. Stat. § 40-12-501(a)(vii) (citing Wyo. Stat. § 6-3-901(b)(ix)).
56 Including, but not limited to, fingerprints, faceprint, a retinal or iris scan, hand geometry, voiceprint analysis, or

other unique biometric data generated from a measurement or analysis of human body characteristics to authenticate
or ascertain an individual’s identity; genetic data such as deoxyribonucleic acid data; and medical records, or other
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considered PII if the means to link the dissociated data were accessed in connection with access to the
dissociated data, and any one of the discrete data elements listed above or any combination of the discrete
data elements listed above is PII if the data element or combination of data elements would enable a
person to commit identity theft or fraud against the individual to whom the data element or elements
pertain.57
         19.      Our approach brings our definition of covered data in line with the approaches taken at
the state level, and responds to concerns raised in the record by certain parties regarding harmonization
with existing breach notification regimes.58 In order to further harmonize our approach with analogous
state law, we also adopt an exception from our definition of PII for publicly available information that is
lawfully made available to the general public from federal, state, or local government records or widely
distributed media.59 Notwithstanding these limitations, we will monitor the data security landscape and
will not hesitate to revisit and revise the list of data elements in a future rulemaking as necessary to ensure
that carriers adequately protect sensitive customer data.
         20.     Without an FCC rule requiring breach notifications for the above categories of PII, there
would be no requirement in federal law that telecommunications carriers report non-CPNI breaches to
their customers. CTIA’s objection that doing so would “[c]reat[e] a system of dual jurisdiction between
the FCC and the FTC”60 is unpersuasive. CTIA asserts that “[c]ustomers do not expect different privacy
protections for the same data depending on which entity holds the data or the kind of product or service
that is being marketed” but concedes the FTC’s lack of authority in the common carrier context.61 By the
statutory design of the Communications Act and the FTC Act, Congress assigned differing areas of
responsibility to the FCC and FTC, and CTIA identifies no grounds for the Commission to ignore its
responsibilities with respect to common carriers. By ensuring that the same data breach notification
requirements also apply to interconnected VoIP and TRS providers, we advance the interest of ensuring
that consumers can have the same expectations regarding services that they view as similar. The
approach we adopt today therefore not only reflects the practical expectations of consumers but also
honors the intention of Congress.62 Despite NCTA’s suggestion that “there is no other ‘proprietary


information regarding an individual’s medical history, mental or physical condition, or medical treatment or
diagnosis by a health care professional. See, e.g., Ariz. Rev. Stat. § 18-551(11)(i); Ark. Code § 4-110-103(7)(E);
Cal. Civ. Code § 1798.82(h)(1)(F); Colo. Rev. Stat. § 6-1-716(1)(g)(I)(A); Conn. Gen. Stat. § 36a-
701b(a)(2)(A)(ix); D.C. Code § 28-3851(3)(A)(i)(VI); Del. Code tit. 6 § 12B-101(7)(a)(8); 815 ILCS § 530/5; Iowa
Code § 715C.1(11)(a)(5); La. Rev. Stat. § 51:3073(4)(a)(v); Md. Code, Com. § 14-3501(e)(1)(i)(6); Neb. Rev. Stat.
§ 87-802(5)(a)(v); N.M. Stat. § 57-12C-2(C)(1)(e); N.Y. Gen. Bus. Law § 899-aa(1)(b)(i)(5); N.C. Gen. Stat § 14-
113.20(b)(11); Oregon Rev. Stat. § 646A.602(12)(a)(A)(v); Tex. Bus. & Com. Code § 521.002(a)(1)(C); 9 V.S.A. §
2430(9)(A)(v); Wash. Rev. Code § 19.255.005(2)(a)(i)(I); Wis. Stat. § 134.98(1)(b)(5); Wyo. Stat. § 40-12-
501(a)(vii) (citing Wyo. Stat. § 6-3-901(b)(xiii)).
57 See, e.g., D.C. Code § 28-3851(3)(A)(i)(VII); N.J. Stat. § 56:8-161; Oregon Rev. Stat. § 646A.602(12)(a)(C)(ii);

Wash. Rev. Code § 19.255.005(2)(a)(iii)(B).
58 See Letter from Steven Morris, Vice President & Deputy General Counsel, NCTA, to Marlene H. Dortch,

Secretary, FCC, WC Docket No. 22-21, at 2-3 (filed Dec. 5, 2023) (NCTA Dec. 5, 2023 Ex Parte) at 2-3; CTIA
Dec. 6, 2023 Ex Parte at 11-12; USTelecom Dec. 6, 2023 Ex Parte at 1-2.
59 See, e.g., Ala. Code § 8-38-2(6)(b)(1); Ariz. Rev. Stat. § 18-551(7)(b); Cal. Civ. Code § 1798.82(i)(1); Colo. Rev.

Stat. § 6-1-716(1)(g)(II); Conn. Gen. Stat. § 36a-701b(2)(A)(x); Del. Code tit. 6 § 12B-101(7)(b); Ga. Code § 10-1-
911(6)(E); ILCS § 530/5; La. Rev. Stat. § 51:3073(4)(b); Me. Rev. Stat. tit. 10 § 1347(6); Minn. Stat. § 325E.61
Subd. 1(f)).
60 CTIA Reply at 7.

61 Id. at 7; see also 15 U.S.C. § 45(a)(2).

62 For example, as discussed in more detail below, Congress ratified the Commission’s 2007 decision to extend

section 222-based privacy protections for telecommunications service customers to the customers of interconnected
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information’ between a provider and its customer that is not CPNI but is covered by Section 222,”63 the
Commission has investigated several instances of breaches involving sensitive personal information about
customers held by telecommunications carriers that was not or may not have been CPNI.64 The
Commission has also in the past concluded that names, addresses, and telephone numbers are not CPNI,
even when a customer has elected not to have them disclosed publicly, and that such information
therefore would not be subject to the CPNI-specific restrictions on use in section 222(c).65 We find that
such information can be sensitive and warrants protection, including a requirement that the Commission,
law enforcement, and customers be notified about breaches. Indeed, because consumers expect to be
notified of substantial breaches that endanger their privacy, it better protects customers that breach
notifications not turn on whether a particular breached element is or is not CPNI.
                  2.       Inadvertent Access, Use, or Disclosure of Covered Data
         21.      Consistent with the Data Breach Notice’s proposal, we expand the Commission’s
definition of “breach” to include inadvertent access, use, or disclosure of covered data.66 Specifically, we
define “breach” as any instance in which a person, without authorization or exceeding authorization, has
gained access to, used, or disclosed covered data.67 While the practice of pretexting that spurred the
Commission to act in 2007 necessarily involves an intent to gain access to customer information, the
record before us here amply demonstrates that the inadvertent exposure of customer information can
result in the loss and misuse of sensitive information by scammers and phishers, and trigger a need to
inform the affected individuals so that they can take appropriate steps to protect themselves and their
information.68 We agree with the wide range of commenters that recognize that any exposure of customer

VoIP providers. See infra Section III.E.3. And ensuring equivalent protections for TRS subscribers advances
Congress’ directive to endeavor to ensure functionally equivalent service. See infra Section III.E.4.
63 NCTA Comments at 13.

64 See, e.g., TerraCom NAL, 29 FCC Rcd at 13330-32, paras. 13-20.

65 Implementation of the Telecommunications Act of 1996:    Telecommunications Carriers’ Use of Customer
Proprietary Network Information and Other Information, Order, 13 FCC Rcd 12390, 12395-96, paras. 8-9 (WCB
1998) (1998 CPNI Clarification Order) (finding that names, addresses, and telephone numbers are not CPNI and
therefore that carriers may use such information for marketing purposes).
66 See Data Breach Notice at 8-9, paras. 12, 14.

67 See infra Appx. A.

68 See, e.g., EPIC Comments at 2; WISPA Comments at 2; NRECA Reply at 2; cf., e.g., Shawn Snow, Major Data

Breach at Marine Forces Reserve Impacts Thousands, Marine Corps Times (Feb. 28, 2018),
https://www.marinecorpstimes.com/news/your-marine-corps/2018/02/28/major-data-breach-at-marine-forces-
reserve-impacts-thousands (describing the accidental disclosure of highly sensitive data of more than 21,000 service
members, including truncated social security numbers, electronic funds transfer and bank routing numbers, truncated
credit card information, mailing and residential addresses, and emergency contact information, caused by the
transmission of an unencrypted email with an attachment to the wrong distribution list); Jan Murphy, Data Breach
Put 360,000 Pa. Teachers, Education Department Staffers’ Personal Information at Risk, PennLive (Mar. 23, 2018),
https://www.pennlive.com/politics/2018/03/data_breach_put_360000_pa_teac.html (reporting that human error led
to the accidental exposure of highly sensitive information of approximately 360,000 current and retired teachers in
Pennsylvania, including users’ social security numbers); Melbourne Student Health Records Posted Online in
‘Appalling’ Privacy Breach: Health and Medication Data Posted in Error on Strathmore Secondary College
Intranet, Guardian (Aug. 21, 2018), https://www.theguardian.com/australia-news/2018/aug/22/melbourne-student-
health-records-posted-online-in-appalling-privacy-breach (reporting that in August 2018, the personal records of
more than 300 students at Strathmore secondary college in Melbourne, Australia were accidentally published to the
school’s intranet service, resulting in the inadvertent disclosure of data relating to medical and mental health
conditions, medications, and learning and behavioral difficulties for hundreds of high school students); Volodymyr
“Bob” Diachenko, Veeam Inadvertently Exposed Marketing Database with Hundreds of Millions of Records,
LinkedIn (Sept. 11, 2018), https://www.linkedin.com/pulse/veeam-inadvertently-exposed-marketing-info-hundreds-
its-bob-diachenko (reporting on an exposed database that had been accidentally made available on the Internet by
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data can risk harming consumers, regardless of whether the exposure was intentional.69 As the
Accessibility Advocacy and Research Organizations (AARO) argue, “[t]he Commission must adapt to an
ever changing technological environment, which implicates all kinds of privacy concerns, and adopt
measures that can effectively counter increasingly complex and evolving breaches.”70 In order to address
these risks, carriers not only must reasonably protect covered information as required by the Act and our
rules, but also must inform affected individuals so that they can take appropriate steps to protect
themselves and their information where breaches occur.71 In addition, notification of both intentional and
unintentional breaches to the Commission and other federal law enforcement will aid investigations and
help prevent new breaches or further harm to consumers.72 We expect that our broadening of “breach” to
include inadvertent exposure will encourage telecommunications carriers to adopt stronger data security
practices, and will help federal agencies identify and address systemic network vulnerabilities.73
         22.      The record supports the Commission’s observation in the Data Breach Notice that
breaches have become more prevalent and more severe in recent years.74 In 2021, the Identity Theft
Resource Center “estimated a record-breaking 1,862 data breaches,” and a survey from IBM has exposed
“a recent decline in response capabilities” due to “informal or ad hoc” data security plans.75 This rising
tide of data breaches has affected the telecommunications sector as well. As the Electronic Privacy
Information Center (EPIC) points out, the proprietary information of subscribers of each of the three
largest carriers “has been breached at least once within the last five years.”76 Indeed, in February 2020,
the Commission proposed more than $200 million in fines against AT&T, Sprint, T-Mobile, and Verizon,
for apparently failing to adequately protect consumer location data.77 In each case, the Commission found
that the carriers’ apparently lacked adequate oversight over third-party location aggregators’ use of their
phone subscribers’ location data, leading to the disclosure of their respective customers’ location



Veeam, a company that develops backup, disaster recovery, and intelligent data management software for virtual,
physical, and multi-cloud infrastructures, which contained more than 200 gigabytes of customer records, including
names, several hundred million email addresses, and IP addresses).
69 See, e.g., ACA Connects Comments at 4 (“[D]isclosures of CPNI can harm consumers whether or not

intentional . . . .”); EPIC Comments at 2-3; NCTA Comments at 4; EPIC et al. Reply at 3-4; JFL Reply at 14
(“Potential harms exist whenever a data breach occurs, whether intentional or inadvertent.”); see also Data Breach
Notice at 8, para. 12 n.47.
70 AARO Reply at 6.

71 Data Breach Notice at 8, para. 12; EPIC Comments at 2.

72 Data Breach Notice at 8, para. 12; see also EPIC Comments at 3 (agreeing “with the Commission’s analysis that

requirements to notify [for] accidental breaches will encourage carriers to adopt stronger data security practices and
help the Commission identify and address systemic network vulnerabilities”).
73 Data Breach Notice at 8, para. 12; EPIC Comments at 3; NRECA Reply at 3; Letter from David Smith, Assistant

Director, Office of Investigations, U.S. Secret Service, to Adam Copeland, Deputy Bureau Chief, FCC, WC Docket
No. 22-21, at 1-2 (filed Nov. 7, 2023) (USSS Letter).
74 Data Breach Notice at 1-2, para. 1; see also Confidentiality Coalition Comments at 2 (reporting a 118% increase

from 2020 to 2021 in unauthorized access incidents, and a 44% increase in ransomware attacks impacting publicly
traded companies); Lincoln Network Comments at 3.
75 EPIC Comments at 3 (citing Record Number of Data Breaches in 2021, IAPP Daily Dashboard (Jan. 25, 2022),

https://iapp.org/news/a/record-number-of-data-breaches-in-2021 (citing to ITRC report)); IBM Security, Cyber
Resilient Organization Study at 8 (2020), https://www.ibm.com/account/reg/us-en/signup?formid=urx-45839.
76 EPIC Comments at 3-4.

77 Press Release, FCC, FCC Proposes Over $200 Million in Fines Against Four Largest Wireless Carriers for

Apparently Failing to Adequately Protect Consumer Location Data (Feb. 28, 2020),
https://www.fcc.gov/document/fcc-proposes-over-200m-fines-wireless-location-data-violations.
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information, without consent, to third parties who were not authorized to receive it.78
         23.      Given these worrying trends, we agree with EPIC that our expansion of “breach” to
include inadvertent exposures is a necessary first step to galvanize carriers to strengthen their data
security policies and oversight of customer data. In particular, our broadening of the breach definition
will better enable the marketplace to respond to the relative strengths of particular carriers’ practices and
enhance the Commission’s ability to identify where additional regulatory oversight might be needed.79
Removing the intent limitation in our breach reporting rule will reduce ambiguity regarding whether
reporting a breach is necessary, and therefore decrease the risk of underreporting.80 Finally, our
expansion of “breach” to include inadvertent access, use, or disclosure of customer information brings our
rules in line with the overwhelming majority of state and federal breach notification laws and regulations
that lack such an intent limitation, ensuring that consumers nationwide—along with the Commission and
other relevant federal authorities—likewise receive critical breach notifications in a timely manner.81
        24.      Notwithstanding these benefits, we acknowledge concerns expressed by carriers that our
expansion of the “breach” definition to include inadvertent disclosures, on its own, could lead to “notice
fatigue” for consumers,82 deplete Commission and law enforcement resources,83 or increase the burden of
reporting obligations.84 In response to these concerns, as discussed below, we exempt from our expanded

78 See, e.g., AT&T, Inc., File No.: EB-TCD-18-00027704, Notice of Apparently Liability for Forfeiture and

Admonishment, 35 FCC Rcd 1743, 1744, para. 3 (2020).
79 EPIC Comments at 3.

80 Id. at 2-3.

81 The data breach laws in 49 states and four U.S. Territories have no intent limitation, and neither do the breach

reporting requirements for federal agencies, established by the Office of Management and Budget (OMB), or the
notification regulations for the Department of Health and Human Services and Federal Trade Commission. See,
e.g., Ala. Code § 8-38-2(1); Alaska Stat. § 45.48.090; Ariz. Rev. Stat. § 18-551(1)(a); Ark. Code § 4-110-103(1)(A);
Cal. Civ. Code § 1798.82(g); Colo. Rev. Stat. § 6-1-716(1)(h); Conn. Gen. Stat. § 36a-701b(a); Del. Code tit. 6 §
12B-101(1)(a); D.C. Code § 28-3851(1); Fla. Stat. § 501.171(1)(a); Ga. Code § 10-1-911(1); 9 GCA § 48.20(a);
Haw. Rev. Stat. § 487N-1; 815 ILCS § 530/5; Ind. Code § 24-4.9-2-2; Iowa Code § 715C.1(1); Kan. Stat. § 50-
7a01(h); KRS § 365.732(1)(a); La. Rev. Stat. § 51:3073(2); Me. Rev. Stat. tit. 10 § 1347(1); Md. Code Com. Law §
14-3504(a)(1); Mass. Gen. Laws § 93H-1(a); Mich. Comp. Laws § 445.63(b); Minn. Stat. § 325E.61 Subd. 1(d);
Miss. Code § 75-24-29(2)(a); Mo. Rev. Stat. § 407.1500(1)(1); Mont. Code § 30-14-1704(4)(a); Neb. Rev. Stat. §
87-802(1); Nev. Rev. Stat. § 603A.020; N.H. Rev. Stat. § 359-C:19(V); N.J. Stat. § 56:8-161; N.M. Stat. § 57-12C-
2(D); N.Y. Gen. Bus. Law § 899-aa(1)(c); N.C. Gen. Stat § 75-61(14); N.D. Cent. Code § 51-30-01(1); Ohio Rev.
Code § 1349.19(A)(1)(a); Ohio Rev. Code § 1354.01(C); Okla. Stat. tit. 24 § 162(1); Oregon Rev. Stat. §
646A.602(1); 73 Pa. Stat. § 2302; 10 L.P.R.A. § 4051(c); R.I. Gen. Laws § 11-49.3-3(a)(1); S.C. Code § 39-1-
90(D)(1); S.D. Cod. Laws § 22-40-19(1); Tenn. Code § 47-18-2107(a)(1)(A); Tex. Bus. & Com. Code § 521.053(a);
Utah Code § 13-44-102(1)(a); 9 V.S.A. § 2430(13)(A); Va. Code § 18.2-186.6(A); V.I. Code tit. 14, § 2208(d);
Wash. Rev. Code § 19.255.005(1); W.V. Code § 46A-2A-101(1); Wis. Stat. § 134.98(2)(a)-(b); Wyo. Stat. § 40-12-
501(a)(i); Preparing for and Responding to a Breach of Personally Identifiable Information, Office of Management
and Budget, M-17-12, Memorandum for Heads of Executive Departments and Agencies at 9 (Jan. 3, 2017) (OMB
M-17-12); 45 CFR § 164.402; 16 CFR § 318.2(a).
82 See, e.g., Blooston Rural Carriers Comments at 2; CCA Comments at 4; CrowdStrike Comments at 2; CTIA

Comments at 26; Verizon Comments at 1-2, 8; WISPA Comments at 3; NRECA Reply at 3; Southern Linc Reply at
2.
83 See, e.g., Blooston Rural Carriers Comments at 2; CTIA Comments at 26; NTCA Comments at 4; WISPA

Comments at 3; WTA Comments at 7; NRECA Reply at 4.
84 See, e.g., NTCA Comments at 4; Staurulakis Comments at 2-3; WISPA Comments at 3; WISPA Reply at 2.           We
are unpersuaded by the arguments of Lincoln Network, which goes even further and contends that data breach
reporting requirements would implicate the major questions doctrine. Lincoln Network Comments at 7-8 (arguing
that expanding notification requirements to include inadvertent breaches would greatly increase costs for carriers,
implicating the major questions doctrine). Lincoln Networks focuses solely on the alleged economic impact of the
                                                                                                       (continued….)
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definition of “breach” a good-faith acquisition of customer data by an employee or agent of a carrier
where such information is not used improperly or further disclosed.85 We also adopt a “harm-based
notification trigger,” such that notification of a breach to consumers is not required in cases where a
carrier can reasonably determine that no harm to customers is reasonably likely to occur as a result of the
breach, or where the breach solely involves encrypted data and the carrier has definitive evidence that the
encryption key was not also accessed, used, or disclosed.86 As discussed below, we also find that our
adoption of a minimum threshold for the number of customers affected to trigger our requirement to
notify the Commission and other federal law enforcement regarding breaches where there is no
reasonable likelihood of harm will further reduce carriers’ reporting burdens, and make more efficient use
of agencies’ resources.87 Although carriers’ obligation to protect covered information under section 222
of the Act and our implementing rules is not limited just to scenarios where there is actual evidence of
consumer harms, these common-sense limitations on our disclosure requirements are well-supported by
the record,88 and are consistent with most state and federal data breach notification regimes.89 Taken
together, we find that these carve-outs will mitigate any legitimate concerns expressed by commenters in
the record regarding the potential for consumer notice fatigue and undue burdens on federal agencies and
carriers by triggering the requirements in situations where we find disclosures most strongly justified.90
        25.     In the Data Breach Notice, the Commission also sought comment on whether it should
“expand the definition of a breach to include situations where a telecommunications carrier or a third
party discovers conduct that could have reasonably led to exposure of customer CPNI, even if it has not




requirement to the exclusion of other considerations, and even then provides no meaningful sense of the likely
magnitude of such effects—citing total estimated economic costs of breaches and asserting in a conclusory manner
that “it is reasonable to conclude that at least some of the cost per breach is assignable to notification,” without
quantifying the cost associated with such notifications, let alone any portion attributable specifically to FCC breach
notification rules. Id. at 8. We thus are unpersuaded that the major questions doctrine is implicated here. In any
case, we explain below why these rules fall comfortably within the Commission’s statutory authority. See infra
Section III.E.
85 See infra Section III.A.3 (discussing good-faith exception).

86 See infra Section III.C.1 (discussing harm-based customer notification trigger).

87 See infra Section III.B.2 (discussing threshold trigger); see, e.g., NRECA Reply at 4 (advocating for a threshold

trigger for notifications to the Commission or federal law enforcement).
88 See, e.g., ACA Connects Comments at 4 n.8 (arguing in favor of a good-faith exception); Blooston Rural Carriers

Comments at 2; CCA Comments at 4-5; CrowdStrike Comments at 3; CTIA Comments at 27; NCTA Comments at
2, 5; NTCA Comments at 5; Verizon Comments at 9-10; WISPA Comments at 4; NRECA Reply at 4.
89 Data Breach Notice at 9, para. 14 n.50 (listing state notification laws that contain a good-faith exception); id. at

10, para. 16 n.53 (listing a selection of state notification laws that contain a harm-based notification trigger); see
also, e.g., Ala. Code § 8-38-5(a) (including a harm-based notification trigger); Del. Code tit. 6 § 12B-102(a) (same);
Ind. Code § 24-4.9-3-1(a) (same); La. Rev. Stat. § 51:3074(I) (same); Mass. Gen. Laws § 93H-3(b) (same); Mich.
Comp. Laws § 445.72(1) (same); Miss. Code § 75-24-29(3) (same); Mo. Rev. Stat. § 407.1500(2)(5) (same); N.Y.
Gen. Bus. Law § 899-aa(2)(a) (same); Ohio Rev. Code § 1349.19(B)(1)(a) (same); Okla. Stat. tit. 24 § 163(A)
(same); R.I. Gen. Laws § 11-49.3-4(a)(1) (same); S.C. Code § 39-1-90(A) (same); S.D. Cod. Laws § 22-40-20
(same); Utah Code § 13-44-202(1)(b) (same); Va. Code Ann. § 18.2-186.6(B) (same); Wash. Rev. Code §
19.255.010(1) (same); W.V. Code § 46A-2A-102(a) (same); Wis. Stat. § 134.98(2)(cm)(1) (same); Wyo. Stat. § 40-
12-502(a) (same).
90 See NCTA Comments at 2 (“If the Commission adopts a reasonable and objective harm-based trigger, NCTA

further supports the Commission’s proposal to include inadvertent access in the definition of ‘breach.’”); cf.
Sorenson Communications LLC Comments at 2 (Sorenson Comments).
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yet determined if such exposure occurred.”91 Commenters generally oppose such an expansion,92 arguing
that it could result in over-notification to customers and to government entities,93 impeding carriers’ and
the government’s investigation of actual breaches,94 and needlessly frightening consumers.95 While we
believe that notification of situations in which customer data are put at risk has value,96 no commenter in
the record provides evidence in support of such an approach. We nevertheless expect that in such
situations, carriers will work reasonably and efficiently to confirm whether or not actual exposure has
occurred. While we decline at this time to amend the definition of breach to include situations where a
carrier or third party has not yet determined if an exposure of covered data has occurred, we also note that
we do not prohibit carriers from providing notice in such situations to their customers if, for example,
they determine that doing so is appropriate under the circumstances.97 We also will continue to monitor
how such situations impact customers, and reserve the ability to expand the breach definition to cover
such situations in the future, should we find such an expansion is warranted.
                  3.       Good-Faith Exception
       26.     We exclude from the definition of “breach” a good-faith acquisition of covered data by
an employee or agent of a carrier where such information is not used improperly or further disclosed.98
As noted above and in the Data Breach Notice,99 the vast majority of state statutes include a similar


91 Data Breach Notice at 10, para. 14.

92 ACA Connects Comments at 4-5 n.10; USTelecom Comments at 5-6; WISPA Comments at 4; CTIA Comments

at 27; Verizon Comments at 9-10; WTA Reply at 2 (contending that “conduct or security weaknesses that
theoretically or potentially could have led to exposure of CPNI (but where there is no evidence that they actually
did) are matters for carrier corrective actions and employee training . . .”).
93 See, e.g., CTIA Comments at 27; USTelecom Comments at 5-6.

94 WISPA Comments at 4.

95 Verizon Comments at 10; WISPA Comments at 4.

96 See Verizon, Verizon Responds to Report:     Confirms No Loss or Theft of Customer Information (July 12, 2017),
https://www.verizon.com/about/news/verizon-responds-report-confirms-no-loss-or-theft-customer-information
(notifying the public that an employee of one of Verizon’s vendors had put information in cloud storage with
settings that could have allowed it to be exposed to the public even though it did not ultimately result in “a loss or
theft of Verizon or Verizon customer information”); cf. OMB M-17-12, at 14 (requiring reporting of “suspected”
breaches to prevent a delay that would undermine an “agency’s ability to apply preventative and remedial measures
to protect the PII or reduce the risk of harm to potentially affected individuals”).
97 While we have not expanded the definition of data breach to include situations where customer data is put at risk

but not exposed, we note that the threshold for reporting a breach is separate from the obligation to “protect the
confidentiality of proprietary information” and to “take reasonable measures to discover and protect against attempts
to gain unauthorized access to CPNI.” 47 U.S.C. § 222(a); 47 CFR § 64.2010(a). Not only may a breach that does
not meet the reporting threshold still reflect a violation of section 222 of the Act or an unreasonable practice in
violation of 64.2010(a) of the rules, but a carrier can violate section 222 of the Act or section 64.2010(a) of the rules
even in the absence of any breach.
98 Data Breach Notice at 9, para. 14.  In the Data Breach Notice, we used the term “exemption” instead of
“exception” when asking commenters whether we should exclude from the definition of “breach” a good-faith
acquisition of covered data. See id. at 10, para. 14. For the purpose of clarity, we instead use the word “exception”
here to describe this exclusion. While we make this exception to our definition of “breach,” we nevertheless expect
carriers to “take reasonable measures” in such scenarios to protect such customer information from improper use or
further disclosure, which may, for example, involve requiring that such an employee or agent destroy the data upon
realizing that the data was disclosed without, or in excess of, authorization. Cf. 47 CFR § 64.2010(a) (requiring
telecommunications carriers to take reasonable measures to discover and protect against attempts to gain
unauthorized access to CPNI).
99 Data Breach Notice at 9, para. 14.


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exception from the definition of “breach,”100 and commenters overwhelmingly agree that such an
exception is appropriate.101 As Blooston Rural Carriers argues, a good-faith exception will prevent
carriers from “unnecessarily confus[ing] and alarm[ing] consumers” in such low-risk situations.102 We
also agree with National Rural Electric Cooperative Association (NRECA) that, without this exception,
“more serious data breaches [will potentially] become lost in the ‘noise’ of multiple notifications.”103 We
therefore find that our good-faith exception will help avoid excessive notifications to consumers, and
reduce reporting burdens on carriers.104
         27.      We disagree with EPIC that our adoption of a good-faith exception would “weaken
privacy and data security protections for consumers.”105 In support of these claims, EPIC cites instances
in which employees, “either through bribery or inadequate training, were illegally disclosing consumer
information to pretexters claiming to have authorization to access subscriber information.”106 We do not
find that these situations justify taking a different approach; indeed, the exception we adopt today would
not apply in the scenarios outlined by EPIC. First, our good-faith exception relieves carriers from
reporting obligations only where customer information is not used improperly or further disclosed, and in
EPIC’s example, the information was, intentionally or not, further disclosed to a pretexter. Second, in
circumstances where an employee improperly discloses consumer information due to bribery, the
employee disclosing the information is, by definition, not acting in “good faith,” and therefore such an
incident would still be considered a breach under our rules.




100 See, e.g., Ala. Code § 8-38-2(1); Alaska Stat. § 45.48.050; Ariz. Rev. Stat. § 18-551(1)(b); Ark. Code § 4-110-

103(1)(B); Cal. Civ. Code § 1798.82(g); Colo. Rev. Stat. § 6-1-716(1)(h); Del. Code tit. 6 § 12B-101(1)(a); D.C.
Code § 28-3851(1); Fla. Stat. § 501.171(1)(a); Ga. Code § 10-1-911(1); 9 GCA § 48.20(a); Haw. Rev. Stat. § 487N-
1; Idaho Stat. § 28-51-104(2); 815 ILCS § 530/5; Ind. Code § 4-1-11-2(b)(1); Iowa Code § 715C.1(1); Kan. Stat. §
50-7a01(h); KRS § 365.732(1)(a); La. Rev. Stat. § 51:3073(2); Me. Rev. Stat. tit. 10 § 1347(1); Md. Code Com.
Law § 14-3504(a)(2); Mass. Gen. Laws § 93H-1(a); Mich. Comp. Laws § 445.63(b); Minn. Stat. § 325E.61 Subd.
1(d); Mo. Rev. Stat. § 407.1500(1)(1); Mont. Code § 30-14-1704(4)(a); Neb. Rev. Stat. § 87-802(1); Nev. Rev. Stat.
§ 603A.020; N.H. Rev. Stat. § 359-C:19(V); N.J. Stat. § 56:8-161; N.M. Stat. § 57-12C-2(D); N.Y. Gen. Bus. Law §
899-aa(1)(c); N.C. Gen. Stat. § 75-61(14); N.D. Cent. Code § 51-30-01(1); Ohio Rev. Code § 1349.19(A)(1)(b)(i);
Ohio Rev. Code § 1354.01(C)(1); Okla. Stat. § 24-162(1); Oregon Rev. Stat. § 646A.602(1); 73 Pa. Stat. § 2302;
R.I. Gen. Laws § 11-49.3-3(a)(1); S.C. Code § 39-1-90(D)(1); S.D. Cod. Laws § 20-40-19(1); Tenn. Code § 47-18-
2107(a)(1)(B); Tex. Bus. & Com. Code § 521.053(a); Utah Code § 13-44-102(1)(b); 9 V.S.A. § 2430(13)(B); Va.
Code § 18.2-186.6(A); V.I. Code tit. 14, § 2209(d); Wash. Rev. Code § 19.255.005(1); W.V. Code § 46A-2A-
101(1); Wis. Stat. § 134.98(2)(cm)(2); Wyo. Stat. § 40-12-501(a)(i); see also CCA Comments at 5; NTCA
Comments at 5; Verizon Comments at 9.
101 See, e.g., ACA Connects Comments at 4 n.8; Blooston Rural Carriers Comments at 2; CCA Comments at 5;

CTIA Comments at 27; NCTA Comments at 2; NRECA Reply at 4; NTCA Comments at 5; Verizon Comments at
9; WISPA Comments at 4.
102 Blooston Rural Carriers Comments at 2 (discussing “cases where there has been a simple mistake, and data is

acquired in good faith by employees or agents but not used improperly or disclosed”).
103 NRECA Reply at 4.

104 CTIA and NCTA’s arguments about the Commission’s allegedly overly broad definition of harm to trigger

customer notifications of breaches of covered data, and their expressed concerns about excessive reporting to federal
agencies, do not account for the fact that this good-faith exception removes an entire category of breaches from the
scope of reporting covered by our rules as a threshold matter. See, e.g., CTIA Dec. 6, 2023 Ex Parte at 14-19;
NCTA Dec. 5, 2023 Ex Parte at 2-3, 5-6. As a result, we are unpersuaded by these parties’ cursory claims about
possible notice fatigue, consumer confusion or frustration, and interference with data breach investigations. See
CTIA Dec. 6, 2023 Ex Parte at 11, 19.
105 EPIC et al. Reply at 4-5.

106 Id.


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          B.        Notifying the Commission and Other Federal Law Enforcement of Data Breaches
                    1.       Requiring Notification to the Commission
         28.      As proposed in the Data Breach Notice,107 we require telecommunications carriers to
notify the Commission of a breach in addition to notification to the Secret Service and FBI.108 The
Commission will maintain a link to the reporting facility at http://www.fcc.gov/eb/cpni or a successor
URL designated by the Wireline Competition Bureau (Bureau). As the Commission found when it
adopted the current data breach rules, notifying law enforcement of a breach is consistent with the goal of
protecting customers’ personal data because it enables such agencies to investigate the breach, “which
could result in legal action against the perpetrators,” thus ensuring that they do not continue to breach
sensitive customer information.109 The Commission also anticipated that law enforcement investigations
into how breaches occurred would enable law enforcement to advise providers and the Commission to
take steps to anticipate and prevent future breaches of a similar nature.110 Our addition of the Commission
as a recipient of federal-agency breach notifications is consistent with other federal sector-specific laws,
which require prompt notification to the relevant subject-matter agency.111 As large-scale security
breaches resulting from lax or inadequate data security practices and employee training have become
more common since the 2007 CPNI Order, notifying the Commission of breaches will provide
Commission staff with important information about data security vulnerabilities and threat patterns that
Commission staff can help address and remediate.112 Commission notification will also shed light on
carriers’ ongoing compliance with our rules.113 Consistent with the Commission’s proposal and the
record in response to the Data Breach Notice, we require carriers to notify the Commission of a
reportable breach contemporaneously with the Secret Service and FBI.114
         29.      The majority of commenters support including the Commission in data breach
notifications.115 Many of these commenters agree, however, that this new notification requirement should

107 Data Breach Notice at 12, 14, paras. 23, 28.

108 We continue to require carriers to notify the Secret Service and the FBI because doing so enables law

enforcement to investigate the breach, “which could result in legal action against the perpetrators, thus ensuring that
they do not continue to breach CPNI.” 2007 CPNI Order, 22 FCC Rcd at 6943, para. 27. Moreover, law
enforcement investigations into how breaches occurred would enable law enforcement to advise the carrier and the
Commission to take steps to prevent future breaches of that kind. See id.; Data Breach Notice at 12, para. 24.
109 2007 CPNI Order, 22 FCC Rcd at 6943, para. 27.

110 Id. at 6943, para. 27.

111 Data Breach Notice at 12, para. 23; see, e.g., 45 CFR § 164.408; 16 CFR § 318.3(a)(2).

112 Data Breach Notice at 13, para. 24; EPIC Comments at 11.

113 Data Breach Notice at 13, para. 24.

114 Id. at 14, para. 28.As stated in the Data Breach Notice, requiring carriers to notify the Commission, Secret
Service, and FBI at the same time will minimize burdens on carriers, eliminate confusion regarding obligations, and
streamline the reporting process, allowing carriers to free up resources that can be used to address the breach and
prevent further harm. Commenters support a single, contemporaneous notification to the Commission, Secret
Service, and FBI. See, e.g., ACA Connects Comments at 9; NTCA Comments at 6 (“NTCA does not oppose
requiring carriers to report CPNI breaches to the Commission simultaneously with the Secret Service and FBI,
provided carriers only need to submit one report and the report can be submitted using the link already provided on
the Commission’s website for reporting CPNI breaches.”); Southern Linc Reply at 5; WTA Comments at 6
(advocating for the same deadline for all federal-agency reports).
115 See, e.g., ACA Connects Comments at 9; CTIA Comments at 28-29; EPIC Comments at 11; NCTA Comments at

9; NTCA Comments at 6; WTA Comments at 4; NRECA Reply at 3; Southern Linc Reply at 5 (supporting adding
the Commission as a recipient of data breach notifications as long as carriers only need to submit one report through
a single portal). WISPA opposes contemporaneous notification to the Commission “[i]f the Commission were to
require separate notice.” WISPA Comments at 8. Because we are not requiring separate notification to the
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not create new obligations which are duplicative or inconsistent with the preexisting requirement to notify
law enforcement agencies, and should instead entail one notification sent to all three.116 We agree with
these suggestions, as we see no need for carriers to file separate or differing notifications to the
Commission.117 As discussed below, we delegate authority to the Bureau to coordinate with the Secret
Service to adapt the existing central reporting facility for reporting breaches to the Commission and other
federal law enforcement agencies.118 Additionally, as discussed below, we do not impose differing
content requirements for notifications to the different agencies.119
         30.      We disagree with commenters that oppose requiring breach notification to the
Commission. For example, ITI and WISPA argue that the existing requirement to notify the Secret
Service and the FBI is sufficient, and that notification to the Commission is unnecessary.120 WISPA also
argues that notification to the Commission would hinder law enforcement investigation efforts,121 and
attempts to distinguish the other federal regulations that require notification to sector-specific agencies as
less burdensome than the Commission notification we adopt here.122 We are unpersuaded by these
arguments. First, as mentioned above, our requirement to notify the Commission of covered data
breaches is necessary to ensure that Commission staff are informed of new types of security
vulnerabilities that arise in today’s fast-changing data security environment. Additionally, we disagree
with WISPA that adding the Commission as a recipient of federal-agency notifications would hinder law
enforcement investigation efforts, given the lack of impact the addition will have on the timing, content,
or format of notification to the other law enforcement agencies. Indeed, the Secret Service is supportive
of the Commission receiving such notifications.123 Furthermore, our action here avoids adding any
additional burden on filers by merely adding the Commission to the list of recipients of the same breach
notifications Commission rules already require carriers to submit, and, as discussed in further detail
below, further streamlines the filing process by adapting the existing reporting facility for submission.124
For these reasons, we do not expect carriers of any size to experience increased regulatory burdens as a
result of the Commission notification requirement. Moreover, to the extent that carriers are faced with
any minimal burdens, such burdens are well justified by the value of these reports to federal law
enforcement agencies and the Commission.125



Commission, but are merely adding the Commission as a recipient of breach notifications submitted through the
preexisting central reporting facility, we expect that this should allay WISPA’s concern.
116 See, e.g., ACA Connects Comments at 9 (supporting a single notification “disseminated to whichever such

entities are designated to receive them”); CTIA Comments at 28-29; Southern Linc Reply at 5.
117 See Data Breach Notice at 13-14, paras. 25, 27.

118 See infra Section III.B.5.

119 See infra Section III.B.4.

120 ITI Comments at 4; WISPA Comments at 6.

121 See WISPA Comments at 7.

122 See id..

123 See USSS Letter at 2.

124 This should also address WISPA’s concern that a contemporaneous, but separate, notice to the Commission

would impact initial efforts to assess a breach. See WISPA Comments at 8.
125 See 2007 CPNI Order, 22 FCC Rcd at 6944, para. 27 (“Notifying law enforcement of CPNI breaches is

consistent with the goal of protecting CPNI. Law enforcement can investigate the breach, which could result in
legal action against the perpetrators, thus ensuring that they do not continue to breach CPNI. When and if law
enforcement determines how the breach occurred, moreover, it can advise the carrier and the Commission, enabling
industry to take steps to prevent future breaches of that kind. Because law enforcement will be informed of all
breaches, it will be better positioned than individual carriers to develop expertise about the methods and motives
                                                                                                         (continued….)
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                  2.        Threshold Trigger for Federal-Agency Notification
         31.     We require carriers to inform federal agencies, via the central reporting facility, of all
breaches, regardless of the number of customers affected or whether there is a reasonable risk of harm to
customers. For breaches that affect 500 or more customers, or for which a carrier cannot determine how
many customers are affected, we require carriers to file individual, per-breach notifications as soon as
practicable, but no later than seven business days, after reasonable determination of a breach.126 As we
describe below, these notifications must include detailed information regarding the nature of the breach
and its impact on affected customers.127 This same type of notification, and the seven business day
timeframe for submission, will also be required in instances where the carrier has conclusively
determined that a breach affects fewer than 500 customers unless the carrier can reasonably determine
that no harm to customers is reasonably likely to occur as a result of the breach.128 For breaches in which
a carrier can reasonably determine that a breach affecting fewer than 500 customers is not reasonably
likely to harm those customers, we require the carrier to file an annual summary of such breaches via the
central reporting facility, instead of a notification.129 In circumstances where a carrier initially determines
that contemporaneous breach notification to federal agencies is not required under these provisions, but
later discovers information that would require such notice, we clarify that a carrier must report the breach
to federal agencies as soon as practicable, but no later than seven business days of their discovery of this
new information.130
         32.     Given our expansion of the definition of “breach” in today’s Order to include inadvertent
exposure of CPNI and other types of data, allowing carriers to file information regarding smaller, less
risky breaches in a summary format on an annual basis will tailor administrative burdens on carriers to
reflect those scenarios where reporting is most critical.131 Our setting of a notification threshold is


associated with CPNI breaches. Again, this should enable law enforcement to advise industry, the Commission, and
perhaps Congress regarding additional measures that might prevent future breaches.”).
126 See infra Section III.B.3 (discussing the timeframe requirement for breach notifications to federal agencies).

127 See infra Section III.B.4 (discussing the content requirements for breach notifications to federal agencies).

128 As discussed below, for breaches affecting fewer than 500 customers and which do not meet the harm-based

trigger, we instead require carriers to submit an annual summary of such incidents. See infra Section III.B.3.
129 See infra Section III.B.3 (discussing annual reporting requirement for breaches that meet these criteria).To
ensure that carriers may be held accountable regarding their determinations of a breach’s likelihood of harm and
number of affected customers, we require carriers to keep records of the bases of those determinations for two years.
See infra, Appx. A. We also note that carriers may voluntarily file notification of such a breach in addition to, but
not in place of, this annual summary filing.
130 For example, if a carrier initially determines that federal agency notification within seven business days is not

required because a breach affects fewer than 500 customers and harm to customers is not reasonably likely to occur,
but later discovers new information suggesting that more than 500 customers were affected, or that harm to
customers has occurred, or is likely to occur, as a result of the breach, then the carrier must notify federal agencies
as soon as practicable, but no later than within seven business days of this discovery.
131 See, e.g., CCA Comments at 6 (“[A] numerical threshold similar to those that states have adopted will help

carriers efficiently direct their resources and avoid notification fatigue for the Commission, law enforcement, and
consumers.”); Verizon Comments at 2 (“A threshold trigger would curb excessive reporting and allow authorities to
focus resources on more serious breaches with the potential to cause greater harm.”); WISPA Comments at 9. We
are unpersuaded by NCTA’s contention that our rule for data breach reporting to federal agencies is “likely to tax
resources and limit the regulator’s ability to identify the most problematic practices and act to protect consumers”
and result in harm due to lack of harmonization. NCTA Dec. 5, 2023 Ex Parte at 3; see also id. at 2, 6-7; Letter
from Michele K. Thomas, T-Mobile USA, Inc., to Marlene H. Dortch, Secretary, FCC, at 5 (filed Dec. 6, 2023) (T-
Mobile Dec. 6, 2023 Ex Parte) (supporting a harm-based trigger for federal-agency notifications). We are likewise
unpersuaded by CTIA’s similar contention that “the FCC is not currently equipped to ‘become a repository for threat
detection and monitoring’” and that the “flood of information threatens to distract FCC and Law Enforcement staff
                                                                                                          (continued….)
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consistent with many state statutes that similarly do not have an intentionality requirement and require
notice to state law enforcement authorities.132 Our adoption of a 500-affected-customer threshold is also
consistent with an analogous breach of health records notification required by the Federal Trade
Commission (FTC).133
        33.       The vast majority of commenters are supportive of the need for a threshold trigger
generally,134 but are divergent regarding what the numerical threshold should be.135 NCTA supports a
threshold of 500 affected customers for federal-agency notifications, noting that such a threshold would
“minimize paperwork burdens on providers that wish to focus their resources on protecting customers,”
and cites a variety of state laws that use that threshold.136 CTIA and Verizon, however, argue that we
should set the threshold to be higher than 1,000 to reflect the larger customer bases of larger carriers.137
CTIA and Verizon do not provide additional reasoning as to why the size of the carrier’s customer base is
relevant in determining the threshold for federal-agency notification. If the rationale for adopting a higher
threshold for larger carriers is to reduce reporting burdens, we note that larger carriers likely have more
resources than smaller carriers to respond to breach incidents. Verizon, for example, admits that it has “a
team of more than 1,000 professionals dedicated to implementing corporate-wide security controls and
constantly monitoring networks to identify and respond to threats.”138 Additionally, the Commission and
other federal law enforcement agencies would likely have an investigative interest in breaches affecting
500 or more customers, regardless of the percentage of the overall customer base those customers
represent.
         34.     We find that the reporting threshold we adopt will both enable the Commission to receive
more granular information regarding larger breaches to aid its investigations while also being able to
study trends in breach activity through reporting of smaller breaches in annual submissions.139 Given that



from real and potentially harmful security threats.” CTIA Dec. 6, 2023 Ex Parte at 15. These parties offer only
generalized assertions in that regard without any evidence or analysis demonstrating concrete harms that are likely
to result in practice. At the same time, NCTA and CTIA appear to neglect the potential we anticipate for federal
agencies to gain useful insight into trends or particular activities that can lead to consumer harm even if, in a given
instance, the reported breach happened not to involve consumer harm (whether under the standard set by our rules or
in NCTA’s and/or CTIA’s own subjective judgment).
132 See, e.g., Data Breach Notice at 15, para. 30 nn.75-77; CCA Comments at 6 (supporting a numerical threshold

“similar to those that states have adopted”); CTIA Comments at 25 (“[A]dopting a threshold for reporting to the
Commission and law enforcement would increase harmonization with state breach notification statutes.”).
133 16 CFR § 318.5(c); see WISPA Comments at 7.

134 See, e.g., Blooston Rural Carriers Comments at 4; CCA Comments at 6; CTIA Comments at 25; NCTA

Comments at 7; NTCA Comments at 5; Verizon Comments at 2, 11-12; WISPA Comments at 9; WTA Comments
at 7; NRECA Reply at 4-5; Southern Linc Reply at 6-7; USTelecom Reply at 7; USSS Letter at 2 (suggesting that a
specific numerical threshold will “reduce the risks of CPNI breaches,” and providing an example of a 500-affected-
customer threshold); see also EPIC et al. Reply at 22 (taking no position on a threshold trigger, but providing an
example of the FTC’s proposed Standards for Safeguarding Customer Information which set a threshold of 1,000
impacted consumers to trigger the reporting requirement).
135 Compare NCTA Comments at 7 (advocating for a 500-customer threshold) with WTA Comments at 7

(advocating for a 5,000-customer threshold).
136 NCTA Comments at 8 (citing Cal. Civ. Code § 1798.82(f); Colo. Rev. Stat. §§ 6-1-716(2)(d), (f)(1); Fla. Stat.

Ann. §§ 501.171(3)(a), (5)).
137 CTIA Comments at 24; Verizon Comments at 2, 11-12.

138 Verizon Comments at 3.

139 See WTA Comments at 7; WTA Reply at 4 (“The critical factor here is not the difference between large and

small service providers . . . .”); accord Blooston Rural Carriers Reply at 5; see NRECA Reply at 4-5.
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a number of states have found such a balance with a 500-affected-customer threshold,140 our adoption of
this threshold also carries the additional benefit of “increas[ing] harmonization with state breach
notification statutes.”141 We therefore also reject rural carriers’ suggestion that we adopt a 5,000-affected-
customer threshold.142
         35.     Finally, as supported by the record, we apply this threshold trigger only to notifications to
federal agencies, and not to customer notifications.143 Breaches affecting even just a few customers can
pose just as much risk to those customers as could breaches with wider impact. For this reason, as
discussed above, we continue to require carriers to notify federal agencies within seven business days of
breaches that implicate a reasonable risk of customer harm, regardless of the number of customers
affected. Doing so will permit federal agencies to investigate smaller breaches where there is a risk of
customer harm, and also allow law enforcement agencies to request customer notification delays where
such notice would “impede or compromise an ongoing or potential criminal investigation or national
security,” as specified in our rules.144
                  3.       Notification Timeframe
         36.     We retain our existing requirement that carriers notify federal agencies of a reportable
breach as soon as practicable, but no later than seven business days, after reasonable determination of the
breach.145 While the Data Breach Notice proposed eliminating the seven business day deadline,146 based
on the record in response, we find that the existing timeframe provides greater certainty for carriers and
customers affected by breaches. We agree with ACA Connects that retaining the seven business day
deadline properly balances the need to give carriers “reasonable time to prioritize remediation efforts
before submitting notifications” with the need to ensure customers receive timely notifications regarding
breaches affecting their data.147 We also agree with NTCA that there is insufficient evidence that the
current timeline “is inadequate to accomplish the Commission’s goals.”148 Additionally, we agree with

140 See, e.g., Cal. Civ. Code § 1798.82(f); Colo. Rev. Stat. § 6-1-716; Del. Code tit. 6, § 12B-102(d); Fla. Stat. §

501.171(3)(a); R.I. Gen. Laws § 11-49.3-4(a)(2).
141 CTIA Comments at 25.

142 See, e.g., WTA Comments at 7; Blooston Rural Carriers Reply at 5.

143 See NCTA Comments at 8 (“[I]t would be reasonable for the Commission to require voice providers to notify

affected customers of breaches whenever the harm-based trigger is met, even where less than the threshold
minimum number of customers is impacted, so that those customers have the opportunity to prevent or mitigate the
harm.”).
144 See infra Appx. A.

145 As commenters point out, in the text of the Data Breach Notice, the Commission occasionally used the phrase

“after discovery of a breach,” rather than “after reasonable determination of a breach” when discussing the
appropriate timeframe for federal-agency notification. See, e.g., CTIA Comments at 34-35; ACA Connects Reply at
5; Southern Linc Reply at 6. However, as the Proposed Rules Appendix makes clear, “after discovery” was
intended as shorthand, rather than a proposal to substantively change the existing “after reasonable determination of
a breach” standard. See Data Breach Notice at Appx. A (proposing to require notification to federal agencies “[a]s
soon as practicable after reasonable determination of a breach”) (emphasis added); see also id. at 14, para. 28
(seeking comment on “an appropriate timeframe for notifying law enforcement after reasonable determination of a
CPNI breach,” and asking a number of questions about “when a carrier should be treated as having ‘reasonably
determined’ that a breach has occurred”) (emphasis added).
146 See Data Breach Notice at 14, para. 28; id. at Appx. A.

147 See ACA Connects Comments at 10; see also NTCA Comments at 6-7; NTCA Reply at 3-4.

148 NTCA Comments at 7.     Particularly given our historical experience with a seven day deadline, we are
unpersuaded by conclusory assertions that meeting that deadline might not always be feasible. See, e.g., CTIA
Comments at 34-35 (arguing that the seven business day deadline for federal-agency notifications “is not always
feasible or advisable, depending on the complexity of the incident”).
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NTCA that eliminating the seven business day deadline and only “requiring breaches to be reported ‘as
soon as practicable’ can be interpreted differently by different carriers or even by law enforcement and
the Commission, thereby placing carriers at risk of inadvertently violating the Commission’s rules if they
construe ‘as soon as practicable’ differently than the Commission.”149
         37.      We disagree with the arguments of other commenters that removing the seven business
day deadline is necessary to afford carriers of different sizes and means the flexibility to respond to an
evolving breach situation and minimize consumer harm, while also providing accurate and detailed
notifications to federal agencies.150 Carriers have long been subject to the existing seven business day
deadline, which was adopted in 2007,151 and, as EPIC notes, some state jurisdictions require notification
to the state attorney general within 3 days.152 As we point out above, ACA Connects and NTCA—both
associations of small-to-medium-sized carriers with presumably fewer resources than larger carriers such
as Verizon153—support retaining the seven business day time limit. Even assuming, arguendo, that the
seven business day deadline is a more burdensome or inflexible timeframe for small carriers with “limited
personnel and/or resources,”154 we still find that the countervailing interest in ensuring customers are
notified quickly of breaches affecting them outweighs this tailored burden. For this reason, as discussed
below, we also remove the seven business day mandatory waiting period between federal-agency
notification and customer notification.155 We lastly clarify that “reasonabl[y] determin[ing]” a breach has
occurred does not mean reaching a conclusion regarding every fact surrounding a data security incident
that may constitute a breach. Rather, a carrier will be treated as having “reasonabl[y] determin[ed]” that a
breach has occurred when the carrier has information indicating that it is more likely than not that there
was a breach.
         38.     While we set this outer bound for federal-agency notifications, we expect that larger
carriers with significant resources and staffing will routinely be providing notification of breaches to the
Commission well within the seven business day deadline, and that other carriers should strive to do so as
well. Indeed, the “as soon as practicable” standard may require such notifications be made in fewer days
than the seven business day deadline, and a failure to swiftly report breaches may, depending on the
circumstances,156 be untimely and unreasonable, even if within the seven business day deadline. The
Enforcement Bureau will continue to investigate carriers that have neglected to provide timely


149 NTCA Reply at 4.

150 See Verizon Comments at 6 & n.16; Blooston Rural Carriers Comments at 4; WISPA Comments at 8; Southern

Linc Reply at 5-6; USTelecom Reply at 6. Given agencies’ ability to calibrate their resources based on the volume
of notifications, and our practical experience dealing with investigations at a stage where information might only be
preliminary or incomplete, we reject arguments that burdens on the Commission and other law enforcement
agencies justify eliminating the seven day reporting deadline. See, e.g., ITI Comments at 3 (“Changing the required
reporting time to law enforcement from seven days to ‘as soon as practicable’ after the discovery of a breach is a
workable time frame to prevent overloading regulatory institutions with incomplete or inaccurate information before
the incident has been properly analyzed or addressed.”)
151 2007 CPNI Order, 22 FCC Rcd at 6944, para. 29.

152 EPIC Comments at 11.

153 See Verizon Comments at 3 (admitting that it has “a team of more than 1,000 professionals dedicated to

implementing corporate-wide security controls and constantly monitoring networks to identify and respond to
threats”).
154 Blooston Rural Carriers Comments at 4.

155 See infra Section III.C.2.

156 For example, if a carrier has made all the determinations necessary to conclude that a breach should be reported

to law enforcement after only a few days, it would be inconsistent with the “as soon as practicable” standard for the
carrier to wait until the seventh business day—merely because that is the outer limit—before providing the required
notice.
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notification to federal agencies after a breach incident pursuant to its delegated authority.
         39.      Annual Reporting of Certain Small Breaches. We require carriers to submit, via the
existing central reporting facility and no later than February 1, a consolidated summary of breaches that
occurred over the course of the previous calendar year which affected fewer than 500 customers, and
where the carrier could reasonably determine that no harm to customers was reasonably likely to occur as
a result of the breach.157 We delegate authority to the Bureau to coordinate with the Secret Service
regarding any modification to the portal that may be necessary to permit the filing of this annual
summary. We also delegate authority to the Bureau, working in conjunction with the Public Safety and
Homeland Security Bureau, and based on the record of this proceeding—or any additional notice and
comment that might be warranted—to determine the content and format requirements of this filing and
direct the Bureau to release a public notice announcing these requirements. We instruct the Bureau to
minimize the burdens on carriers by, for example, limiting the content required for each reported breach
to that absolutely necessary to identify patterns or gaps that require further Commission inquiry. At a
minimum, the Bureau should develop requirements that are less burdensome than what is required for
individual breach submissions to the reporting facility, and consider streamlined ways for filers to report
this summary information. The first annual report will be due the first February 1 after the Office of
Management and Budget (OMB) approves the annual reporting requirement under the Paperwork
Reduction Act. The first report should cover all breaches between the effective date of the annual
reporting requirement and the remainder of the calendar year.158
         40.     We disagree with CTIA’s argument that “there is no regulatory goal served by mandating
record keeping” for incidents affecting fewer customers than the notification threshold.159 Breaches that
are limited in scope may still reveal patterns or provide evidence of security vulnerabilities at an early
stage. As noted in the Data Breach Notice and the 2007 CPNI Order, notification of all breaches,
regardless of the number of customers affected or a carrier’s determination of harm, “could allow the
Commission and federal law enforcement to be ‘better positioned than individual carriers to develop
expertise about the methods and motives’” associated with breaches.160 We therefore find that this annual
summary of smaller breaches will continue to enable the Commission and our federal law enforcement
partners to investigate, remediate, and deter smaller breaches.
        41.      We also disagree with NTCA and Southern Linc who argue that “requiring carriers to
maintain records of any breaches that fall below the notification threshold ‘will place an unnecessary
burden on carriers . . . .’”161 On the contrary, we find that any burdens associated with the annual
reporting requirement are likely to be well justified by the countervailing benefits discussed above. Nor
do commenters objecting to the burden of our rules as unwarranted provide a quantification of their
anticipated burdens that would overcome the benefits anticipated from those rules. Moreover, this single
annual report containing a summary of such breaches will likely end up replacing numerous smaller
breach notifications individually submitted via the central reporting facility throughout the year.

157 See Data Breach Notice at 15, para. 30.

158 See CTIA Dec. 6, 2023 Ex Parte at 16-17 (asking that the Commission explicitly state the due date of the first

annual report and that such report shall cover “events that occur on or after the effective date of the new rules”).
159 CTIA Comments at 25; see also NRECA Reply at 4-5 (“Incidents below [the reporting threshold] likely do not

warrant federal government involvement.”); Southern Linc Reply at 6-7 (arguing that “requiring carriers to maintain
records of any breaches that fall below the notification threshold ‘will place an unnecessary burden on
carriers . . . .’”) (quoting NTCA Comments at 6); CTIA Reply at 16; Letter from Angela Simpson, Senior Vice
President & General Counsel, CCA, to Marlene H. Dortch, Secretary, FCC, WC Docket No. 22-21, at 2 (filed Dec.
8, 2023) (CCA Dec. 8, 2023 Ex Parte). NCTA argues that the annual reporting requirement would “not provide the
Commission with meaningful information to serve its goals of identifying data breach patterns,” but does not
provide more detail as to why such information would not be helpful. NCTA Dec. 5, 2023 Ex Parte at 5.
160 Data Breach Notice at 15, para. 30; 2007 CPNI Order, 22 FCC Rcd at 6943, para. 27.

161 Southern Linc Reply at 6-7 (quoting NTCA Comments at 6).


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Additionally, our rules already require carriers to “maintain a record of all instances where CPNI was
disclosed or provided to third parties, or where third parties were allowed access to CPNI.”162 The first
part of this requirement encompasses all disclosures of CPNI to third parties resulting from a data
breach,163 and thus is broader than the small-breach reporting requirement we adopt today, at least with
regard to CPNI.
                  4.        Notification Contents
         42.      We maintain our existing requirements regarding the contents of data breach notifications
to federal law enforcement agencies,164 with a minor modification as noted below,165 and apply these same
requirements to notifications to the Commission. We agree with comments submitted by WISPA arguing
that “the information currently submitted through the FBI/Secret Service reporting facility is largely
sufficient and that generally the same information should be reported” under our updated rules.166 We
also take this opportunity to codify these categories of information in our rules to improve the ease of
identifying the information that will be needed by regulated entities.167 Specifically, we require carriers to
report, at a minimum, information relevant to the breach, including: carrier address and contact
information; a description of the breach incident;168 the method of compromise; the date range of the
incident;169 the approximate number of customers affected; an estimate of financial loss to the carrier and
customers, if any; and the types of data breached.170 We believe that these disclosures are sufficient to
give the Commission and other federal law enforcement agencies the information needed to determine
appropriate next steps, such as, for example, conducting an investigation, determining and advising on
how such a breach may be prevented in the future, and informing future rulemakings to protect consumers
and businesses from harm.171 Carriers must update their initial breach notification report if: (1) the
carrier learns that, in some material respect, the breach notification report initially submitted was
incomplete or incorrect; or (2) additional information is acquired by or becomes known to the carrier after
the submission of its initial breach notification report.
         43.     A number of carriers request changes to, or elimination of, certain fields contained in the
notification. As discussed below, we are unpersuaded by these arguments, and decline to alter the
             172

fields of information collected through the notification portal.

162 47 CFR § 64.2009(c).

163 See also CTIA Comments at 3-4 (“Verizon maintains records of breaches, notification to law enforcement, and

customer notification for at least two years.”).
164 Data Breach Notice at 13, para. 27.

165 See infra note 180 (removing field that asks carriers whether there is an extraordinarily urgent need to notify

customers before the seven business day waiting period elapses).
166 WISPA Comments at 7; WTA Comments at 5 (acknowledging that “[m]ost of the Commission’s existing

requirements regarding the contents of data breach notifications to federal law enforcement agencies are generally
reasonable”); see also EPIC Comments at 11 (supporting the requirement to share “a detailed description of the
breach to the Commission”).
167 See infra Appx. A.

168 See EPIC Comments at 11.

169 See EPIC et al. Reply at 22 (supporting requiring an estimated date range of when a security incident occurred

rather than requiring providers to determine the precise date).
170 See Data Breach Notice at 13-14, para. 27; 2007 CPNI Order, 22 FCC Rcd at 6944, para. 29.

171 See EPIC Comments at 11.

172 ACA Connects Comments at 11-12; CTIA Comments at 30-31; WTA Comments at 5; CTIA Reply at 22-23; see

also CCA Comments at 7 (stating that, while it “does not take a position on the specific contents that should be
included in all notifications to law enforcement, to the Commission, or to customers[,] . . . . [t]he detailed
                                                                                                           (continued….)
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          44.      Customer Billing Addresses. ACA Connects, CTIA, and WTA request elimination of the
requirement to include the billing addresses of affected customers in notifications.173 ACA Connects
states that this reporting requirement has unclear investigative value, and its elimination would “minimize
the personal information reported to the Commission and law enforcement agencies.”174 While we
acknowledge that federal agencies have been directed to minimize the collection, use, storage, and
disclosure of personal information to only that which is relevant and necessary to accomplish an
authorized purpose,175 carriers are not in a position to know, in the absence of input from law enforcement
agencies in this proceeding, which fields hold investigative value. Furthermore, because the portal was
designed by law enforcement agencies themselves, we must assume that their inclusion of this field
reflects a determination that such information holds some investigative value. Finally, we note that the
field is not currently marked as a required field. For this reason, the field does not present a reporting
burden to carriers, but instead gives carriers an opportunity to provide federal agencies more detail,
should they wish to do so or find such detail relevant. WTA argues that “billing names and addresses . . .
are not classified as CPNI,” and thus should be omitted from the form.176 Our expansion of covered data
to include information beyond CPNI renders this argument moot.177
          45.    Estimate of Financial Loss. WTA argues that “estimated financial loss” is “impossible to
determine or predict with any degree of accuracy during the brief and chaotic period immediately
following discovery of a data breach.”178 We decline to modify or remove this field. While we
understand that estimating financial loss is a complex and context-specific calculation, we emphasize the
critical importance of this data point in helping federal agencies allocate their resources.179 Additionally,
while carriers should strive to provide in their notifications as accurate a value as possible, we note that
even a ballpark estimate or a range of quantities can help agencies determine an incident’s priority for the
purposes of opening or conducting investigations, and understand the magnitude of future risk posed by
certain vulnerabilities.
        46.     Other Fields. CTIA identifies two fields which it argues are no longer necessary given
our change to the reporting threshold for federal-agency notifications, as discussed below.180 Specifically,

information currently reported to law enforcement for purposes of investigation and potential criminal charges is
significantly broader than what is necessary and appropriate for the Commission’s use. Indeed, over-reporting of
such information outside the law enforcement context can introduce additional data-security risks and privacy
concerns”). We note that CCA does not provide further detail on “what is necessary and appropriate” in support of
its argument or to aid our consideration. See id.
173 ACA Connects Comments at 11-12; CTIA Comments at 31; WTA Comments at 5; CTIA Reply at 22.

174 ACA Connects Comments at 11-12; accord CTIA Comments at 31; see also WTA Comments at 5 (“[T]here

does not appear to be any need to send [such addresses] to multiple government databases as part of the initial
incident notice before law enforcement and other agencies determine whether such addresses are relevant and
required for their investigations.”).
175 See OMB, To the Heads of Executive Departments and Agencies, Managing Information as a Strategic

Resource, Circular No. A-130, App. II, Section 3(d) (2016); see also, e.g., CCA Comments at 7 (“[O]ver-reporting
of [broader than necessary] information . . . can introduce additional data-security risks and privacy concerns.”);
EPIC et al. Reply at 18 (urging the Commission to “promote the principle of data minimization as a means of
ensuring data security”).
176 WTA Comments at 5.

177 See supra Section III.A.1.

178 WTA Comments at 5.

179 See ACA Connects Comments at 6 n.15; USTelecom Comments at 5.

180 CTIA Comments at 31.     CTIA also requests elimination of the field that asks whether “the carrier believes that
there is an extraordinarily urgent need to notify any class of affected customers” before “7 full business days have
passed.” Id. at 31; 47 CFR § 64.2011(b)(1)-(2). CTIA argues that “[r]emoving this field is consistent [with] the
                                                                                                         (continued….)
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CTIA requests that we remove the fields regarding whether the breach “resulted from a change of [a
customer’s] billing address” or was based on “a personal issue between two individuals.”181 We decline
to do so. First, these fields are not marked as “required” on the form, and thus create no burden on
reporting carriers that do not wish to complete them, while providing an opportunity for carriers to submit
that information where applicable if they find it helpful or appropriate to do so. Second, under our
revised rules, a breach stemming from a personal issue between two individuals or a change of a single
customer’s billing address may still trigger notification to federal agencies. Our reporting threshold only
impacts the need to notify federal agencies of breaches affecting fewer than 500 customers that do not
implicate harm. As stated below, even small breaches may cause harm for the few customers affected by
them.182
         47.     Harmonizing Reporting Contents with CIRCIA. In the Data Breach Notice, the
Commission sought comment on whether we should require telecommunications carriers to report, at a
minimum, the information required under the Cyber Incident Reporting for Critical Infrastructure Act of
2022 (CIRCIA) as part of their notifications to federal agencies.183 While a few commenters support the
alignment or harmonization of these data breach notifications with the requirements under CIRCIA,184 we
decline to take action in this regard at this early stage. CIRCIA directs the Cybersecurity and
Infrastructure Security Agency (CISA) to publish a notice of proposed rulemaking implementing its
notification provisions by March 15, 2024.185 The CISA must issue final rules no later than 18 months
after the publication of the notice of proposed rulemaking.186 At the time of this Order, the CISA has not
yet released the notice of proposed rulemaking.187 Therefore, we find it is too early to determine the
precise contours of the final reporting requirements, and in the interest of preventing duplicative or
inconsistent fields, and consistent with the approach advocated by ACA Connects, Blooston Rural
Carriers, and CCA, we will refrain from making additional changes based on CIRCIA and continue to
monitor whether such changes may be required in the future.188

NPRM’s proposal to eliminate the seven-business-day waiting period.” CTIA Comments at 31. We agree with this
suggestion as our abrogation of the seven business day waiting period rule will cause such a field to be unnecessary.
181 CTIA Comments at 31.

182 See infra Section III.B.5.

183 Data Breach Notice at 14, para. 27.

184 See, e.g., CrowdStrike Comments at 4; ITI Comments at 4, 6.

185 Consolidated Appropriations Act, 2022, Pub. L. No. 117-103, § 2242(b)(1), 136 Stat. 49, 1044.

186 Id. § 2242(b)(2).

187 See CISA, Cyber Incident Reporting for Critical Infrastructure Act of 2022 (CIRCIA),

https://www.cisa.gov/topics/cyber-threats-and-advisories/information-sharing/cyber-incident-reporting-critical-
infrastructure-act-2022-circia (last visited Oct. 13, 2023) (“CISA is now reviewing the hundreds of comments
received as we start to develop a draft rule. Per the standard rulemaking process, CISA will continue to consult with
Federal interagency partners on the draft prior to its publication. CIRCIA requires that CISA publish the draft
NRPM before the end of March 2024.”).
188 See, e.g., ACA Connects Comments at 9-10 n.23 (“[A]t this juncture there is no way for the Commission to

predict with any certainty whether, and if so to what degree, any revised data breach notification rules the
Commission adopts would align with those ultimately adopted by CISA. . . . [T]he substance of the eventual CISA
rules is too speculative for the Commission to consider harmonizing its data breach notification rules with CISA’s
cyber incident reporting rules at this time. Once both agencies adopt their respective incident notification rules, the
Commission may further evaluate how to minimize potential duplicate reporting of CPNI breaches arising from
cyber incidents, for instance by carving out reporting under the Commission’s rules in favor of reporting to CISA
where the incident is cyber-based.”); Blooston Rural Carriers Comments at 4 (advocating for coordination of our
data breach reporting requirements with the CISA “once data breach reporting under the recently-passed [CIRCIA]
is in place”); CCA Comments at 3-4 (“The Commission should refrain from needlessly duplicating cyber incident
reporting requirements currently being implemented by the [CISA].”).
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         48.      We do not find CTIA’s comparison of our reporting trigger to that of the Critical
Infrastructure Act of 2022 (CIRCIA) compelling.189 CIRCIA is concerned with the category of
“incidents.”190 CIRCIA does not define “breaches.” But under federal guidance to agencies, a breach is a
specific type of incident—an incident that involves the loss of control, compromise, unauthorized
disclosure, unauthorized acquisition (etc.) of PII.191 And it would not be inconsistent for only some
incidents to be reportable under CIRCIA but for all breaches to be reportable under our rules. For
example, for federal agencies, for an incident to qualify as a “major incident” it must be likely to result in
demonstrable harm to the national security interests, foreign relations, or the economy of the United
States, or to the public confidence, civil liberties, or public health and safety of the American people.192
But for a “breach” to qualify as a major incident, it can either satisfy that qualitative threshold, or it can
involve the PII of 100,000 or more people.193 Thus, the individual privacy concerns implicated by a
breach justify a broader reporting trigger.
                   5.       Other Issues
         49.      Harm-based Trigger for Federal-Agency Notifications. In the Data Breach Notice, the
Commission sought comment on whether to forego requiring notification of a breach to customers or
federal agencies in those instances where a telecommunications carrier can reasonably determine that no
harm to customers is reasonably likely to occur as a result of the breach.194 While we adopt such a harm-
based notification trigger for breach notifications to customers generally, as discussed below,195 we
decline to do so for federal-agency notifications of breaches that meet or exceed the 500-affected-
customer threshold we describe above.196 We do not believe that the rationale for adopting a harm-based
notification trigger for customer notifications applies in the federal-agency context. Specifically, unlike
customers, federal agencies do not have the same vulnerability to notice fatigue, confusion, stress, or
financial hardship that would cause the burdens they experience from additional reporting to outweigh the




189 See CTIA Dec. 6, 2023 Ex Parte at 12.

190 6 U.S.C. § 681(3), (5); see also id. § 650(12).We also disagree with CTIA’s characterization of CIRCIA’s
incident reporting framework. CTIA argues that CIRCIA’s reporting framework “only applies—in a risk-based
way—to ‘covered cyber incidents,’ which must be ‘substantial’ and do not include all incidents.’” CTIA Dec. 6,
2023 Ex Parte at 12. This argument misconstrues the statute. Section 2242(c)(2)(A) of CIRCIA sets a minimum on
the types of “substantial cyber incidents that constitute covered cyber incidents” and implicitly allows the CISA to
expand the definition beyond that in the course of its rulemaking. 8 U.S.C. § 681b(c)(2)(A)(i). For example, one of
those required minimums is to report “cyber incident[s] that lead[] to substantial loss of confidentiality, integrity, or
availability of such information system or network, or a serious impact on the safety and resiliency of operational
systems and processes.” Id. While a rulemaking implementing CIRCIA is still pending, the CISA may define “loss
of confidentiality” to include data breaches. We further note that the two statutory exceptions to “substantial cyber
incidents that constitute covered cyber incidents” are narrow, and likely would not prevent the CISA from adopting
implementing regulations that broaden the scope of covered cyber incidents that trigger the statute’s reporting
obligations. See id. § 681b(c)(2)(C).
191 See OMB M-17-12, at 9.

192 OMB M-22-05, at 10.

193 Id. at 11.

194 Data Breach Notice at 10, para. 15.

195 See infra Section III.C.1.

196 See supra Section III.B.2.For breaches that do not meet our reporting threshold of at least 500 affected
customers, we do not require notification to federal agencies via the central reporting facility in those instances
where a carrier can reasonably determine that no harm to customers is reasonably likely to occur as a result of the
breach.
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benefits.197 Additionally, as mentioned above, a report regarding a breach that does not result in harm to
customers could nevertheless aid federal agencies in identifying patterns and potential vulnerabilities and
develop expertise across the industry.198 Commenters argue that we should adopt a harm-based
notification trigger for all federal-agency notifications to avoid draining carrier resources.199 While
commenters are correct that a general harm-based trigger would likely serve to reduce carriers’ reporting
burdens, so too would a reporting threshold.200 We find that our adoption of a reporting threshold is better
tailored to reducing carriers’ burdens in the federal-agency-notification context while maintaining
appropriate benefits of reporting.201 Our targeted application of a harm-based trigger to breaches affecting
fewer than 500 customers ensures that federal agencies are notified before customers and thereby have an
opportunity to request a delay if necessary.202 This trigger also permits federal agencies to investigate
small breaches that are harmful sooner after the breach incident than in a carrier’s annual report, as
described above.203


197 See Data Breach Notice at 12, para. 20; EPIC et al. Reply at 22 (arguing that a minimum threshold for

notification is only appropriate “in the context of reporting to regulators”); cf. ACA Connects Comments at 6
(supporting a harm-based notification trigger for federal-agency notifications, but admitting that “federal
government entities are not prone to suffer ‘notice fatigue’ in the same manner as individual consumers”). CTIA
argues that by not extending the harm-based trigger to federal-agency notifications, we risk that notifications will
“inundate the Commission’s breach reporting facility with information” and the “flood of information threatens to
distract FCC and Law Enforcement staff from real and potentially harmful security threats.” CTIA Dec. 6, 2023 Ex
Parte at 15. As an initial matter, we note that, as private entities, CTIA and its members lack any particular insight
into, or expertise regarding, the administrative burdens affecting federal agencies with respect to these rules.
Contrary to CTIA’s unsupported assertions, the agencies affected by these breach notification rules do not anticipate
significant costs associated with the breach reporting requirements we adopt today. See USSS Letter at 2 (“While
the Secret Service and FBI are primarily interested in reports related to suspected criminal activity, receiving a
broader range of reports through the central reporting facility has not presented substantial costs or challenges.”).
While we agree that receiving notifications or reports of breaches that carriers have reasonably concluded do not
trigger customer notification under the harm-based trigger will require the use of some resources by the Commission
and law enforcement agencies, we find the value of enabling federal agencies to identify patterns and insecurities
and monitor all breaches of covered data outweigh the marginal costs of receiving notifications or reports for
breaches that fall in this category.
198 Data Breach Notice at 15, para. 30; 2007 CPNI Order, 22 FCC Rcd at 6943, para. 27.

199 See ACA Connects Comments at 6; Blooston Rural Carriers Comments at 2; CCA Comments at 5; CTIA

Comments at 21-22, 27; ITI Comments at 2; NCTA Comments at 1-2; NTCA Comments at 5; Staurulakis
Comments at 7; WISPA Comments at 4-5; Blooston Rural Carriers Reply at 2-3; NCTA Reply at 1-2; USTelecom
Reply at 3-4; WTA Reply at 3; CTIA Dec. 6, 2023 Ex Parte at 15; Letter from Joshua M. Bercu, Vice President,
Policy & Advocacy, USTelecom, to Marlene H. Dortch, Secretary, FCC, WC Docket No. 22-21, at 3 (filed Dec. 6,
2023) (USTelecom Dec. 6, 2023 Ex Parte).
200 For our discussion regarding the adoption of a 500-affected-customer threshold for federal-agency notifications,

see supra Section III.B.2.
201 Commenters also argue that a harm-based notification trigger is necessary to reduce burdens on government

resources. See, e.g., ACA Connects Comments at 6; CTIA Reply at 10; WTA Reply at 3. Even assuming,
arguendo, that such burdens exist, they would likely be outweighed by the countervailing public interest in federal
agencies receiving information concerning all breaches for investigative or trend analysis purposes. Our threshold
trigger ensures that federal agencies receive breach information with the appropriate level of detail at the appropriate
time given a breach’s harmful impact or magnitude.
202 See CCA Comments at 7 (“[I]t is important that the Commission’s rules continue to allow law enforcement

authorities an opportunity to provide feedback or request a delay of customer notices to allow proper investigation
and other appropriate law-enforcement measures.”).
203 See supra Section III.B.3 (requiring carriers to submit to the Commission and other law enforcement an annual

summary of breaches that occurred over the course of the previous calendar year that affected fewer than 500
customers and did not satisfy the harm-based notification trigger).
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          50.     Method of Notification. In the Data Breach Notice,204 the Commission proposed to create
and maintain a centralized portal for reporting breaches to the Commission and other federal law
enforcement agencies. After reviewing the record, we instead require carriers to use the existing data
breach reporting facility for notifications to the Secret Service and FBI and delegate authority to the
Bureau to coordinate with the Secret Service, the current administrator of the reporting facility, and the
FBI, to the extent necessary, to ensure that the Commission will be notified when data breaches are
reported and to implement the targeted modifications to the content of breach notifications that we adopt
today.205 Our decision to require the same content and timing for notification to the Commission as we
require for notification to the Secret Service and FBI supports the use of a single portal for notifying all
three agencies.206 Consistent with the Secret Service’s request,207 we also delegate authority to the
Bureau, working in conjunction with the Public Safety and Homeland Security Bureau and the Office of
Managing Director, to collaborate with the Secret Service to explore the possibility of the Commission
assuming control and responsibility for the reporting facility in the future, and to transition control of the
facility to the Commission should the Bureau and Secret Service agree that such a transition is desirable.
         51.      Commenters widely supported the use of a single portal for all federal-agency
notifications.208 ACA Connects argues that using the preexisting portal for Commission notification will
save government resources that would otherwise be spent developing a redundant portal.209 NCTA also
advocates for the use of the preexisting portal, noting that the portal “works well for service providers.”210
We agree with commenters’ analysis and thus require carriers to submit their breach notifications to the
Commission and other federal law enforcement agencies through the existing portal. We disagree with
John Staurulakis’ suggestion that the Commission should instead require carriers to maintain a summary
of inadvertent breaches for inclusion in their annual CPNI certification.211 We find that this approach
would significantly delay notification of such breaches to federal agencies, preventing law enforcement
from acting quickly to investigate inadvertent breaches that may have widespread, harmful impact on
customers.
          C.      Customer Notification
                  1.       Harm-Based Notification Trigger
        52.      We adopt a harm-based trigger for notification of breaches to customers so that they may
focus their time, effort, and financial resources on the most important and potentially harmful incidents.212
We agree with commenters that adopting a harm-based trigger serves the public interest by protecting
customers from over-notification and notice fatigue, specifically in instances where the carrier has



204 Data Breach Notice at 13, para. 25.

205 See, e.g., ACA Connects Comments at 10; NCTA Comments at 9; USSS Letter at 2.          The existing data breach
reporting facility is located at https://www.cpnireporting.gov.
206 See supra Section III.B.4 (discussing adopting the same content requirements for Commission notifications as for

notification to other federal agencies); supra Section III.B.1 (discussing requiring notifying the Commission
contemporaneously with other federal agencies).
207 USSS Letter at 2 (“[T]he Secret Service supports transitioning operation of the current reporting facility to the

FCC.”).
208 See, e.g., Blooston Rural Carriers Comments at 4; CCA Comments at 7; CTIA Comments at 28-29; NTCA

Comments at 6; WTA Comments at 4; NRECA Reply at 3.
209 See ACA Connects Comments at 10.

210 NCTA Comments at 9; see also id. at 6 (generally supporting the use of the preexisting portal).

211 Staurulakis Comments at 5-6.

212 Data Breach Notice at 10, para. 15.


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reasonably determined that no harm is likely to occur.213 As the Commission recognized in the Data
Breach Notice, it is not only distressing, but time consuming and expensive, to deal with a data breach,
costing customers time, effort, and financial difficulty to change their passwords, purchase fraud alerts or
credit monitoring, and freeze their credit in instances where the breach is not reasonably likely to result in
any harm.214 Therefore we find that adopting a harm-based notification trigger, along with our expanded
definition of breach,215 will ensure that customers are made aware of potentially harmful instances of
breach, whether intentional or not, while preventing unnecessary financial and emotional difficulty in no-
harm situations.216 A harm-based trigger for notification to customers also allows carriers, particularly
small and rural providers, to focus their resources on data security and mitigating any harms caused by
breaches rather than generating notifications where harm was unlikely.217 Our decision to adopt a harm-
based notification trigger is also consistent with the majority of state laws, which generally do not require
covered entities to notify customers of breaches when a determination is made that the breach is unlikely
to result in harm.218
         53.      While the record overwhelmingly supports the adoption of a harm-based notification
trigger,219 some commenters worry that such a framework could result in legal ambiguity or lead to
underreporting of breaches.220 We take several actions to mitigate these concerns. First, we clarify that
where a carrier is unable to make a reasonable determination of whether or not harm to customers is
likely, the obligation to notify customers remains.221 Stated differently, we establish a rebuttable

213 See, e.g., NCTA Comments at 1-2; ACA Connects Comments at 5; NRECA Reply at 4; Southern Linc Reply at

3; CTIA Comments at 21-22 (“If notification is required absent a reasonable risk of actual customer harm,
customers may be inundated with notifications that are not meaningful or relevant. This poses the real risk of notice
fatigue, which could lead to customers not taking notices about potential actual risk seriously.”); Letter from
Amanda E. Potter, Assistant Vice President – Senior Legal Counsel, AT&T Services, Inc., to Marlene H. Dortch,
Secretary, FCC, WC Docket No. 22-21, at 3 (filed Dec. 6, 2023) (AT&T Dec. 6, 2023 Ex Parte); see also NRECA
Reply at 4 (“Over-notification risks creating a general numbing effect for consumers, potentially unintentionally
promoting less safe consumer behavior. For that reason, NRECA supports other commenters that call for a harm-
based trigger for data breach notifications.”).
214 Data Breach Notice at 10, para. 16.

215 We agree with those commenters that argue that the risk of notice fatigue to customers is important in light of our

decision to expand the definition of breach. See, e.g., USTelecom Reply at 3; Verizon Comments at 2. Our
adoption of the harm-based notification trigger will ensure that customer notification is focused on the incidents
which are likely to cause harm, whether the incident was the result of intentional or inadvertent conduct.
216 See WISPA Comments at 4-5 (“A harm-based trigger would tailor the data breach notification rule to situations it

is intended to protect—those that could have a harmful impact on consumers.”).
217 Blooston Rural Carriers Comments at 2; WISPA Comments at 5.

218 See, e.g., Ala. Code § 8-38-5(a); Alaska Stat. § 45.48.010(c); Ariz. Rev. Stat. §18-552(J); Ark. Code § 4-110-

105(d); Colo. Rev. Stat. § 6-1-716(2); Conn. Gen. Stat. § 36a-701b(b)(1); see also Data Breach Notice at 10, para.
16 n.53; USTelecom Reply at 4; CTIA Reply at 11 (“[E]stablishing a harm-based trigger will align the CPNI rules
with the many state data breach notification laws that include harm-based breach notification triggers, furthering
harmonization between reporting frameworks.”); cf. OMB M-17-12, at 29 (“When deciding whether or not to notify
individuals potentially affected by a breach, agencies shall consider the assessed risk of harm . . . [which] shall
inform the agency’s decision of whether or not to notify individuals.”).
219 See ACA Connects Reply at 2.

220 EPIC Comments at 8-10; JFL Reply at 3-5.      Additionally, EPIC notes that “carriers have a strong incentive to
classify any data security incidents they think they can get away with as non-harmful and only admit to harm where
the reputational harm (or enforcement penalty) of an exposed cover-up would be greater.” EPIC et al. Reply at 19-
20.
221 Data Breach Notice at 12, para. 21.
                                     In making this determination, we do not require carriers to consult federal
law enforcement or the Commission, as suggested by some commenters. See ACA Connects Comments at 8.
                                                                                                    (continued….)
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presumption of harm and require carriers to notify customers of a breach in situations where the carrier is
unable to reasonably determine that harm is reasonably unlikely to occur.222 Second, as discussed above,
we decline to adopt a harm-based trigger for notification to federal law enforcement agencies and the
Commission for breaches affecting 500 or more customers. As such, carriers are required to provide
notification for all incidents which meet the expanded definition of data breach and this affected-customer
threshold to federal law enforcement agencies and to the Commission.223 Moreover, under the rules we
adopt today, breaches falling below this threshold must be compiled and reported to federal agencies
annually.224 We believe that this will serve as a backstop to any potential underreporting to customers, as
the federal agencies will have an opportunity to act even in instances where the provider may have
concluded that harm to the consumer was unlikely.
         54.      Evaluating Harm to Customers. To the extent that a provider has evidence of actual
harm to customers, notification is required and the harm-based analysis is conclusive. In instances where
there is no definitive evidence of actual harm, as suggested in the Data Breach Notice, we identify a set of
factors that telecommunications carriers should consider when evaluating whether harm to customers is
reasonably likely.225 We believe that identifying these factors will promote consistency and further
remedy concerns about ambiguity.
         55.      We find that “harm” to customers could include, but is not limited to: financial harm,




Rather, carriers must determine using the factors outlined below whether harm to customers is likely to occur. If a
provider concludes that harm to customers was unlikely and therefore customer notification was not required, but
the Commission finds that conclusion to be unreasonable, the Commission will notify the provider.
222 See 45 CFR § 164.402(2) (establishing a rebuttable presumption of a “breach” that triggers the notification

requirements under HIPAA except where covered entities demonstrate that there is a low probability that the
protected health information in question has been compromised based on a risk assessment of four listed factors).
ACA Connects argues that the Commission should decline to establish a rebuttable presumption of consumer harm
because having to make filings in the interest of overcoming such a presumption would be burdensome for small
providers. ACA Connects Comments at 8. However, we do not require any such filing. Rather, carriers must
determine, based on the specific facts of a breach, whether consumer harm is reasonably unlikely to occur. We
provide further guidance to carriers on what constitutes harm to consumers below. See infra paras. 54-55. We
reject NCTA’s proposal to limit the rebuttable presumption of harm to “instances where the breach involves a risk of
tangible, financial harm, identity theft or theft of service.” NCTA Dec. 5, 2023 Ex Parte at 5. NCTA’s list is
underinclusive in that it omits other harms that are significant. Nor does the record enable us to readily draw a line
that separates the risks of some harms from others. We clarify that carriers do not need to disprove the potential for
each type of harm in every instance to overcome the presumption, but must rather come to a reasonable fact-specific
conclusion that, when considering all of the factors as a whole, harm is unlikely to occur.
223 ACA Connects comments that the harm-based trigger should apply not only to customer breach notifications, but

to federal-agency notifications as well. ACA Connects Comments at 6. We disagree. As ACA Connects notes,
federal agencies are not prone to notice fatigue in the same way that consumers are. See id. Additionally, as
discussed above, notifying federal agencies of all breaches allows the Commission and law enforcement agencies to
identify patterns and potential vulnerabilities and develop expertise across the industry, thereby enabling them to
respond in appropriate and targeted ways. See Data Breach Notice at 15, para. 30.
224 See supra Section III.B.3.

225 Data Breach Notice at 11, para. 18.   WISPA and ACA Connects support the Commission adopting a set of
factors to help guide providers in determining whether harm to consumers is reasonably likely. See WISPA
Comments at 5; ACA Connects Comments at 7. We believe that establishing a set of guidelines and
recommendations strikes the right balance between preventing ambiguity, versus adopting a rigid definition which is
too inflexible. Compare EPIC Comments at 10 (arguing that “any standard based on ‘likelihood’ of harm
is . . . highly malleable”) with CTIA Comments at 23 (“There is no need for the Commission to identify a set of
factors if it clearly defines harm to hone in on actual harm.”).
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physical harm, identity theft, theft of services, potential for blackmail, the disclosure of private facts,226
the disclosure of contact information for victims of abuse, and other similar types of dangers.227 Our
broad approach to the privacy harms that merit customer notice has ample legal support. First, OMB has
noted that “types of harms” that individuals affected by a breach can experience have evolved: “Identity
theft can result in embarrassment, inconvenience, reputational harm, emotional harm, financial loss,
unfairness, and, in rare cases, risks to public safety.”228 Second, our approach finds support from case
law—e.g., decisions holding that reputational harm can confer Article III standing.229 And third, our
approach better reflects consumer expectations than a more cabined-approach to harm: Privacy harms
that merit individual notice should be linked to those harms that individuals’ experience, not those that
carriers can most easily identify.230
         56.      We find that this broader conception of harm is consistent with previous Commission
precedent,231 and we disagree with commenters arguing that “harm” should only include the risk of
identity theft or financial harm.232 We find that adopting such a narrow definition of harm is not only
inconsistent with the Commission’s longstanding approach, but also could lead to underreporting of
breaches, and disregards other important and potentially costly consequences of a breach to customers.233

226 Some parties raise administrability concerns about including harms such as “disclosure of private facts” on the
theory that they are too speculative for providers. NCTA Dec. 5, 2024 Ex Parte at 5; CTIA Dec. 6, 2023 Ex Parte at
18; USTelecom Dec. 6, 2023 Ex Parte; AT&T Dec. 6, 2023 Ex Parte at 3; CCA Dec. 8, 2023 Ex Parte at 2; Letter
from Charles R. Moses, President, Ohio Telecom Association, to Marlene H. Dortch, Secretary, FCC, WC Docket
No. 22-21, at 3 (filed Dec. 6, 2023) (Ohio TA Dec. 6, 2023 Ex Parte); Letter from Glenn Hamer, President, Texas
Association of Business, to Marlene H. Dortch, Secretary, FCC, WC Docket No. 22-21, at 2 (filed Dec. 6, 2023).
Beyond this bare assertion, these parties do not meaningfully explain what administrability problems would arise in
practice. Additionally, they fail to account for the fact that providers only need make a reasonable determination of
whether or not harm to customers is likely. Thus, even assuming arguendo that particular harms are challenging to
evaluate in particular circumstances, a provider is not held to a standard of perfection, and any inherent challenges
can be accounted for when evaluating the reasonableness of a given determination.
227 Data Breach Notice at 11, para. 19.

228 OMB M-17-12, at 7.    While OMB was specifically describing harms arising from an identity theft, the fact that
those harms go beyond financial supports our conclusion that other types of harm should be considered when
assessing the risk of harm from a breach.
229 See, e.g., TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2204 (2021) (“Various intangible harms can also be

concrete. Chief among them are injuries with a close relationship to harms traditionally recognized as providing a
basis for lawsuits in American courts. Those include, for example, reputational harms, disclosure of private
information, and intrusion upon seclusion” (citations omitted)).
230 See generally Danielle Keats Citron & Daniel J. Solove, Privacy Harms, 102 B.U. L. Rev. 793, 830-861 (2022).

231 Data Breach Notice at 11, n.56.

232 See, e.g., ITI Comments at 2; ACA Connects Comments at 7; CTIA Reply at 12; WTA Reply at 3-4; CCA

Comments at 5 (“The Commission should limit the scope of ‘harm’ for this purpose to financial harm or identity
theft, rather than broader and more amorphous concepts like ‘emotional harm,’ ‘personal embarrassment,’ or ‘loss of
control’ over information.”); NCTA Dec. 5, 2023 Ex Parte at 5; Letter from Michael Romano, Executive Vice
President, NTCA – The Rural Broadband Association, to Marlene H. Dortch, Secretary, FCC, WC Docket No. 22-
21, at 1 (filed Dec. 6, 2023) (NTCA Dec. 6, 2023 Ex Parte). The limited types of harm suggested by these
commenters is underinclusive in that it omits other harms that are significant, particularly in the aggregate.
233 See JFL Reply at 5 (“[I]f a harm trigger rule is implemented, the Commission should adopt expansive definitions

of harm and breach so that consumers receive notifications about unauthorized access to or use of their information
in as many cases as possible. An expansive definition of harm would conform to the word’s plain meaning and its
ordinary usage and would encompass situations in which some people might reasonably be concerned about possible
harm, such as when providers share information with law enforcement representatives or imposters without a lawful
order and without following appropriate process.”). Blooston Rural Carriers suggests that we adopt a tiered
approach to defining harm. Blooston Rural Carriers Comments at 2-3. We believe that a tiered approach would be
                                                                                                      (continued….)
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While a broader definition of harm may be more difficult for carriers to apply in certain cases, we believe
that carriers will be fully capable of understanding when to comply with our disclosure requirements in
light of our decision to adopt a rebuttable presumption of harm.
         57.     When assessing the likelihood of harm to customers, carriers should consider the
following factors. Consistent with the Data Breach Notice, we find that no single factor on its own is
sufficient to make a determination regarding harm to customers.234
             •    The sensitivity of the information (including in totality) which was breached.235 For
                  example, the disclosure of a phone number is less likely to create harm than if the number
                  of calls to that phone number, the duration of those calls, the name of the caller, the
                  content of the conversations, and/or other layers of information is also disclosed.236
                  Additionally, harm is more likely if financial information237 or sensitive personal
                  information238 was included in the breach. The data’s potential for reuse should also be
                  considered. For example, if a password is compromised, it is possible that the
                  information could be reused to attack other accounts. Finally, if information is not able
                  to be changed, it is more sensitive than information that is changeable. For example, a
                  customer could change their password for an account, but the customer is unable to
                  change their social security number, for instance.
             •    The nature and duration of the breach.239 For example, if the information was widely
                  accessible online over a long period of time, harm is more likely than if the information


unnecessarily complicated for carriers to assess the various “levels” of harm. See CTIA Reply at 12-13 (“[s]uch an
approach would be difficult for carriers to quantify when considering whether access or exposure rises to the level
where reporting is required.”). Nevertheless, many of the factors that Blooston Rural Carriers suggests as relevant
to their proposed analysis (i.e., financial harm, encryption, risk of identity theft) are consistent with the approach
that we adopt today.
234 Data Breach Notice at 11, para. 18.

235 See CrowdStrike Comments at 3; OMB M-17-12, at 22 (“Data Elements” and “Private Information”).          NCTA
proposes an alternative approach under which the rebuttable presumption of harm only would apply “where specific
types of data are compromised.” NCTA Dec. 5, 2023 Ex Parte at 6. But our framework already factors in the
sensitivity of the data as part of the overall analysis of harm. And as indicated by our guidance for evaluating harm,
we find multiple considerations should be evaluated collectively to accurately gauge the likelihood of consumer
harm. Thus, we find that our approach already accounts for potential differences in the risk of harm associated with
specific types of data, but does so more effectively than NCTA’s proposal by calling for a consideration of the
broader relevant context, as well.
236 This contextual approach to gauging the sensitivity of customer information is consistent with the definition of

PII we adopt above with respect to our breach notification rules, which considers whether information is disclosed in
combination with other information which inherently increases the risk associated with the disclosure. See supra
Section III.A.1 (breach notification requirements directed at disclosure of “first name or first initial, and last name,
in combination with any government-issued identification numbers,” or “user name or e-mail address, in
combination with a password or security question and answer”) (emphasis added).
237 Commenters agree that a breach implicating financial information is likely harmful.   See Blooston Rural Carriers
Comments at 3; NTCA Comments at 5; Southern Linc Reply at 3-4.
238 Some data elements are always considered sensitive, such as bank account numbers and Social Security

Numbers. Other data elements (e.g., Date of Birth) become sensitive when paired with another data element (e.g.,
name, address, or phone number). And still other data elements may be sensitive in context (e.g., data identifying a
subscriber in a TRS program, because confirmed participation may be sufficient to reveal an individual’s hearing- or
speech-related disability). Consistent with the approach we take in this order, carriers must consider each element
and all of the elements taken together, in context, to determine whether sensitive information was revealed in a
breach.
239 OMB M-17-12, at 23-25 (“Permanence,” “Format and Media,” and “Duration of Exposure”).


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                   was only briefly accessible to a limited number of individuals. Information on a portable
                   USB flash drive which does not require any special skill or knowledge to access is more
                   likely to cause harm than information on a secured back-up device which is password
                   protected. Covered data that was exposed for an extended period of time is more likely
                   to have been accessed or used to the detriment of customers than data that was only
                   briefly exposed.
             •     Mitigations.240 How quickly the carrier discovered the breach, and whether it took
                   actions to mitigate any potential harm to the customers, is also a factor.
             •     Intentionality.241 In the case of an individual or entity intentionally obtaining access to
                   covered data, such as by using the practice of pretexting, unauthorized intrusion into a
                   physical or virtual space, theft of a device, or other similar activities, harm is more likely
                   to occur. Conversely, an accidental breach, such as that resulting from a misdirected
                   email, accidentally losing a device with covered data stored on it, or other similar
                   activities, is less likely to result in harm.
         58.     Encryption Safe Harbor. As requested by a number of parties, we adopt a safe harbor
under which customer notification is not required where a breach solely involves encrypted data and the
carrier has definitive evidence that the encryption key was not also accessed, used, or disclosed.242 For
the purposes of this safe harbor, we define encrypted data as covered data that has been transformed
through the use of an algorithmic process into a form that is unusable, unreadable, or indecipherable
through a security technology or methodology generally accepted in the field of information security.243
We agree with commenters that the risk of harm to customers is significantly reduced when the data was
encrypted,244 provided that the carrier has evidence that the encryption key has not been compromised.245
We also agree with commenters that our decision to implement a notification exception for encrypted data
will incentivize and encourage the use of encryption to the benefit of the public,246 and further the goal of
harmonization with state and other laws.247 To the extent that a threat actor appears to have circumvented

240 See CrowdStrike Comments at 3; 45 CFR § 164.402(2)(iv).

241 OMB M-17-12, at 26 (“Intent”).

242 Comments in the record support establishing a notification exception for encrypted data.
                                                                                      See, e.g., NCTA Reply
at 5; Sorenson Comments at 4; NCTA Dec. 5, 2023 Ex Parte at 6; USTelecom Dec. 6, 2023 Ex Parte at 3; AT&T
Dec. 6, 2023 Ex Parte at 3; T-Mobile Dec. 6, 2023 Ex Parte at 5.
243 See Appx. A.

244 CTIA Comments at 23; Blooston Rural Carriers Comments at 2-3.

245 While EPIC recommends that the Commission not exempt breaches solely involving encrypted data from its

breach notification rules, EPIC does nonetheless acknowledge that “a typical breach of encrypted data may present a
lower risk of harm to consumers”, though “encrypted data can nevertheless be compromised if a third party obtains
access to the requisite encryption keys or is able to identify and exploit an additional security vulnerability.” EPIC
Comments at 9. We agree. For those reasons, encrypted data is only exempted from the customer breach
notification requirement where the carrier has definitive evidence that the encryption key was not compromised.
Additionally, whether data was encrypted or not is irrelevant to the federal-government breach notification
requirement. As such, carriers are still required to report all breaches of covered data, whether that data was
encrypted or not, to the Commission and law enforcement agencies. As we have previously explained, data
regarding breaches, even breaches with little or no risk of consumer harm, can be helpful to assist federal agencies to
determine data security vulnerabilities and threat patterns. Stated differently, encryption does not exempt an
incident from the Commission’s definition of breach, but rather only limits the instances where notification to a
customer may be necessary.
246 CTIA Reply at 14; NCTA Dec. 5, 2023 Ex Parte at 6-7; CTIA Dec. 6, 2023 Ex Parte at 20-21.

247 CTIA Dec. 6, 2023 Ex Parte at 20-21.  Several states have established an exception for encrypted data from their
breach notification requirements so long as the key has not been compromised or also breached. See Cal. Civ. Code
                                                                                                      (continued….)
                                                          35
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encryption, however, the carrier should conduct a harm-based analysis as if the data was never encrypted.
                    2.     Customer Notification Timeframe
         59.      Consistent with the Commission’s proposal in the Data Breach Notice,248 we require
telecommunications carriers to notify customers of covered data breaches without unreasonable delay
after notification to federal agencies. We find that the current framework, which imposes a mandatory
seven business day waiting period, is out-of-step with current approaches regarding the urgency of
notifying victims about breaches of their personal information,249 and that the public interest is better
served by eliminating the waiting period and thereby increasing the speed at which customers can receive
the important information contained in a notice.250 At the same time, we recognize the importance of law
enforcement’s ability to investigate a breach, and understand that in certain situations, notification of a
breach may interfere with a criminal investigation or national security.251 Therefore, consistent with the
Secret Service’s request,252 we will allow law enforcement to request an initial delay of up to 30 days253 in
those specific circumstances where one is warranted.254
        60.     We find that the “without unreasonable delay” standard encourages carriers to promptly
notify customers of covered data breaches while offering the flexibility to be responsive to the specifics of

§ 1798.82(a) (unless “encryption key or security credential was, or is reasonably believed to have been, acquired by
an unauthorized person and the person or business that owns or licenses the encrypted information has a reasonable
belief that the encryption key or security credential could render that personal information readable or usable”);
Colo. Rev. Stat. § 6-1-716(a.4) (unless “the confidential process, encryption key, or other means to decipher the
secured information was also acquired in the security breach or was reasonably believed to have been acquired”); 9
GCA § 48.30(a)-(b) (unless “encrypted information is accessed and acquired in an unencrypted form, or if the
security breach involves a person with access to the encryption key and the individual or entity reasonably believes
that such breach has caused or will cause identity theft or other fraud to any resident of Guam”); Mich. Comp. Laws
§ 445.72(1); Okla. Stat. tit. 24 § 163(A)-(B); 73 Pa. Stat. § 2303(b); S.D. Cod. Laws § 22-40-19(1); Va. Code §
18.2-186.6(C); Wash. Rev. Code § 19.255.010(1); W.V. Code § 46A-2A-102(a)-(b). Additionally, in recent
amendments to the Gramm-Leach-Bliley Act’s Safeguards Rule, the FTC exempted encrypted data from its
notification requirement. See Standards for Safeguarding Customer Information, Final Rule, 88 Fed. Reg. 77,499,
77,503 (Nov. 13, 2023).
248 Data Breach Notice at 15-16, para. 31.

249 Id. at 16, para. 32.

250 Consumer Groups Comments at 2; CTIA Comments at 19-20; ITI Comments at 3; NCTA Comments at 3;

USTelecom Comments at 6; Verizon Comments at 1 (“[T]he Commission should adopt its proposal to eliminate the
existing seven-day customer notification rule. This rule harms consumers by delaying their ability to take steps to
protect themselves in the event of a breach involving their customer proprietary network information (‘CPNI’). The
Commission should amend the rule, as proposed, so that providers may notify customers of breaches without
unreasonable delay.”).
251 See Data Breach Notice at 16, para. 31 (citing 2007 CPNI Order, 22 FCC Rcd at 6943-44, para. 28); see also

CCA Comments at 7 (“CCA agrees that a strict rule requiring a delay of at least seven business days after
notification to law enforcement is unnecessary. That said, it is important that the Commission’s rules continue to
allow law enforcement authorities an opportunity to provide feedback or request a delay of customer notices to
allow proper investigation and other appropriate law-enforcement measures.”).
252 See USSS Letter at 2 (supporting the continued ability for law enforcement to request a delay of customer

notification).
253 CTIA Comments at 20.

254 WISPA commented that the seven business day waiting period can be “crucial for law enforcement to effectively

investigate the breach.” WISPA Comments at 9. We agree that law enforcement requires an opportunity to
investigate a breach, but do not find that a seven business day waiting period, applied to all breaches, is necessary.
Under the framework that we adopt today, law enforcement may request a delay when one would be useful, but in
the many circumstances where a delay is not necessary, this rule will allow carriers to more promptly notify
customers, thereby empowering them to take action to mitigate any harms.
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a situation.255 This approach is consistent with many existing data breach notification laws that require
expedited notice but refrain from requiring a specific timeframe.256 As suggested by commenters, the
“without unreasonable delay” standard could take into account factors such as the provider’s size, as a
small carrier may have limited resources and could require additional time to investigate a CPNI data
breach than a larger carrier.257
         61.    In order to ensure that carriers notify customers quickly even in complex situations,258 we
require customer notification no later than 30 days after reasonable determination of a breach.259 The 30-
day maximum amount of time is consistent with many existing state laws.260 Some commenters request
that the Commission adopt a safe-harbor for customer notification after determination or discovery of a
breach.261 We decline to adopt such a safe harbor because we encourage providers to notify customers as
quickly as possible in each individual instance. However, we do establish a requirement that carriers
notify customers no later than 30 days after reasonable determination of a breach to provide a clear outer
bound to the “without unreasonable delay” standard.262
                  3.       Other Issues
        62.      Content of Customer Breach Notification. Consistent with our current rules, we decline
to adopt specific minimum categories of information required in a customer breach notification.263 We
make clear, however, that a notification must include sufficient information so as to make a reasonable
customer aware that a breach occurred on a certain date, or within a certain estimated timeframe, and that

255 NCTA Reply at 2; ITI Comments at 3; WISPA Comments at 9-10; Southern Linc Reply at 7.

256 See Data Breach Notice at 16, para. 33 (citing 12 CFR pt. 364, Appx. B, Supp. A § III(A)(1) (interpreting GLBA

§ 501(b)); Cal. Civ. Code § 1798.29(a); Va. Code Ann. § 18.2-186.6(B) (“without unreasonable delay”); D.C. Code
§ 28-3852(a) (“in the most expedient time possible and without unreasonable delay”); Wyo. Stat. Ann. § 40-12-
502(a) (“notice shall be made in the most expedient time possible and without unreasonable delay”); FTC, Data
Breach Response: A Guide for Business at 6 (2021), https://www.ftc.gov/system/files/documents/plain-
language/560a_data_breach_response_guide_for_business.pdf (FTC Data Breach Guide)); see also USTelecom
Comments at 7.
257 ACA Connects Comments at 14; Blooston Rural Carriers Comments at 5-6; Blooston Rural Carriers Reply at 3

(“A reasonableness timeframe will allow service providers to respond more quickly when circumstances warrant,
while at the same time allowing flexibility if a small service provider has limited personnel and/or resources
available and is focused on addressing and minimizing harm to consumers.”).
258 While in many circumstances, the “without unreasonable delay” standard means that the customer will be

notified in less than seven business days, we note that in some circumstances, this standard may lead to a longer
waiting time than the previous seven days. See, e.g., USTelecom Reply at 6 (“[A]llowing carriers to fully
investigate an incident before providing notice of the breach reduces the risk of inaccurate or incomplete
information. It also avoids circumstances in which premature customer notice could lead to further harm, such as
when the breach is a result of a cybersecurity vulnerability. The Commission therefore should adopt its proposals to
require providers to notify customers of breaches without unreasonable delay . . . after reasonable determination of a
breach.”). For that reason, we adopt the 30-day back-stop in order to prevent unnecessarily long delays, even in
such instances as the one described by USTelecom, where the carrier is engaged in investigations of the incident.
259 Data Breach Notice at 17, para. 34.

260 Id. at 17, para. 34 (citing Colo. Rev. Stat. § 6-1-716; Fla. Stat. § 501.171(4)(a); Wash. Rev. Code §

19.255.010(8)). In the Data Breach Notice, we also considered adopting an “outside limit” of 45 or 60 days after
discovery of a breach. Id. However, we find that 30 days offers providers enough flexibility while recognizing the
urgency of notifying customers as quickly as possible and without unnecessary delays.
261 See CTIA Comments at 35-36 (requesting a 45-day safe harbor); WTA Comments at 6-7 (requesting a 60-day

safe harbor).
262 See ACA Connects Comments at 14 (requesting Commission guidance as to the potential outer bounds of

‘without unreasonable delay’).
263 Data Breach Notice at 18, para. 38.


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such a breach affected or may have affected that customer’s data. While all 50 states, the District of
Columbia, Guam, Puerto Rico, and the U.S. Virgin Islands have laws requiring private or governmental
entities to notify individuals of breaches involving their personal information, not all of those entities
impose minimum content requirements for those notices.264 We agree with NTCA that adding
requirements with the potential to differ from other customer notice requirements imposed by states or
otherwise may create unnecessary burdens on carriers, particularly small ones,265 as well as confusion
among customers.266 We also find persuasive arguments by commenters that specifying the required
content of customer notifications beyond the basic standard described above would prevent carriers from
having enough flexibility267 to craft notifications that are more responsive to, and appropriate for, the
specific facts of a breach, the customers, and the carrier involved.268 Finally, imposing minimum
requirements may delay a carrier’s ability to timely notify customers, as it may take time to gather all of
the necessary details and information even where it would be in the customer’s best interest to receive
notification more quickly albeit with less detail.
         63.      Instead, we adopt as recommendations269 the following categories of information in
security breach notices to customers: (1) the estimated date of the breach;270 (2) a description of the
customer information that was used, disclosed, or accessed; (3) information on how customers, including
customers with disabilities, can contact the carrier to inquire about the breach; (4) information about how
to contact the Commission, FTC, and any state regulatory agencies relevant to the customer and the
service; (5) if the breach creates a risk of identity theft,271 information about national credit reporting
agencies and the steps customers can take to guard against identity theft, including any credit monitoring,
credit reporting, or credit freezes the carrier is offering to affected customers; and (6) what other steps
customers should take to mitigate their risk based on the specific categories of information exposed in the



264 See id. at 19, para. 39; see also Blooston Rural Carriers Comments at 6 (“While some state laws specify

minimum notice requirements, other states do not and the Commission should avoid adopting notice requirements
that are more stringent than what individual states require.”).
265 NTCA Comments at 8; NTCA Reply at 6; USTelecom Comments at 8.

266 CTIA Comments at 31-32.

267 Southern Linc Reply at 7-8; USTelecom Comments at 2; Verizon Comments at 1; CTIA Reply at 23.

268 CTIA Comments at 31-33; USTelecom Reply at 6.          We find this argument particularly persuasive as it relates to
small and rural carriers. See Staurulakis Comments at 6-7; Blooston Rural Carriers Reply at 4 (“Small and rural
service providers have a strong connection to their customers and communities and should continue to have
discretion to tailor notifications to the precise circumstances and to their customers’ needs.”).
269 Beyond the basic standard set by our rules, we agree with commenters that adopting guidance (rather than

requirements) fosters the goal of ensuring that the customer has access to pertinent information about a breach while
affording carriers flexibility to tailor the contents of a customer notification to the specific circumstances at hand.
ACA Connects Comments at 15.
270 We agree with some commenters that carriers may not know, with certainty, the precise date of a breach.
                                                                                                        Id. at
16; NTCA Comments at 8. For that reason, we have modified this requirement from our original proposal by
suggesting the estimated date of the breach.
271 Breaches which involve data such as a social security number, birth certificate, taxpayer identification number,

bank account number, driver’s license number, and other similar types of personally identifiable information unique
to each person create the highest level of risk of identity theft. See Am. Bar Ass’n, Identity Theft and Fraud: How
to Evaluate and Manage Risks (Mar. 2020),
https://www.americanbar.org/news/abanews/publications/youraba/2020/youraba-march-2020/identity-theft-and-
fraud. While breaches involving the types of data listed here should be considered to create a risk of identity theft
for customers, this is not an exclusive list and should not be considered as such. There may be other types of data
not listed here that, either alone or in conjunction with other data, may potentially create a risk of identity theft for
customers.
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breach.272 We believe that adopting recommendations will further the goals of consistently and
sufficiently notifying customers of data breaches while maintaining some flexibility for carriers to tailor
each notification to the specific facts and details of the breach.273
         64.       Method of Customer Breach Notification. We decline to specify at this time the method
of customer breach notification, and instead allow the carriers to assess for themselves how to best notify
their customers of a data breach incident.274 Generally, carriers have pre-established methods of
communicating with their customers about other important matters related to their service, such as
outages and scheduled repairs.275 These methods may differ among carriers based on their size, their
unique relationship with their customers, the types of customers impacted, and other factors.276 Therefore,
we find that maintaining flexibility in the method of customer breach notification both reduces the burden
on the carriers and prevents customer confusion that could arise if carriers were required to provide
disclosures in a way that differed from how customers were used to receiving important information from
their carriers.277
         D.       TRS Breach Reporting
        65.     In 2013, the Commission adopted privacy rules applicable to telecommunications relay
services (TRS) providers, to protect the CPNI of TRS users.278 In doing so, the Commission found that
“for TRS to be functionally equivalent to voice telephone services, consumers with disabilities who use
TRS are entitled to have the same assurances of privacy as do consumers without disabilities for voice
telephone services.”279 The privacy rules for TRS include a breach notification rule that is equivalent to
section 64.2011 in terms of the substantive protection afforded to TRS users.280
        66.      To maintain functional equivalency, we amend section 64.5111 so that it continues to
provide equivalent privacy protection for TRS users in line with our amendments to section 64.2011.
Thus, in this Order we apply our breach notification and reporting obligations for TRS providers to

272 Data Breach Notice at 20, para. 40.

273 While some commenters such as EPIC suggest that the Commission should adopt minimum content

requirements, we believe that adopting recommendations furthers the same objective of “inform[ing] the consumer
of the risks they face but also equip[ping] the consumer with options for immediate steps to reduce the downstream
harms that may result” while also maintaining the flexibility that commenters overwhelmingly noted was important
for effectively and quickly notifying customers. EPIC Comments at 8; see also JFL Reply at 6-7; WISPA
Comments at 10.
274 Data Breach Notice at 20, para. 41.

275 Blooston Rural Carriers Comments at 6.

276 CCA Comments at 8 (noting that a carrier may communicate differently, for example, with residential customers

versus business customers); CTIA Reply at 24.
277 USTelecom Comments at 2.

278 2013 VRS Reform Order, 28 FCC Rcd at 8680-87, paras. 155-72; 47 CFR §§ 64.5101-64.5111.            The adopted
rules apply to all forms of TRS and point-to-point service over the facilities of a video relay service (VRS) provider
using VRS access technology. Point-to-Point service is not compensated on a per-minute basis, because such calls
are not relayed with the assistance of a communications assistant or technological equivalent, but are an essential
aspect of ensuring individuals who are deaf, hard of hearing, deafblind, or who have a speech disability engage in
communication in a manner that is functionally equivalent to the ability of a hearing individual who does not have a
speech disability to communicate using voice communication services. See 47 U.S.C. § 225(a)(3).
279 2013 VRS Reform Order, 28 FCC Rcd at 8683, para. 164.

280 The texts of the two provisions are virtually identical, except for the substitution of the term “TRS provider” for

“telecommunications carrier” in section 64.5111. Compare 47 CFR § 64.2011 with id. § 64.5111. The only
substantive difference is that under the TRS rule, after a TRS provider notifies law enforcement of a breach, it “shall
file a copy of the notification with the Disability Rights Office of the Consumer and Governmental Affairs Bureau at
the same time as when the TRS provider notifies the customers.” Id. § 64.5111(a).
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covered data, including PII and CPNI. We also expand the definition of “breach” in section 64.5111 to
include inadvertent access, use, or disclosure of customer information, except in those cases where such
information is acquired in good faith by an employee or agent of a TRS provider, and such information is
not used improperly or further disclosed. We also require TRS providers to notify the Commission, in
addition to the Secret Service and FBI, as soon as practicable, and in no event later than seven business
days, after reasonable determination of a breach, except in cases where a breach affects fewer than 500
individuals, and a provider can reasonably determine that no harm to customers is reasonably likely to
occur as a result of the breach.281 Any breach affecting fewer than 500 individuals where there is no
reasonable likelihood of harm to customers must be reported simultaneously to the Commission, Secret
Service, and FBI in a single, consolidated annual filing. We further revise our rules to require TRS
providers to report breaches to the Commission, Secret Service, and FBI contemporaneously via the
existing centralized portal that providers already use and with which they are familiar. In terms of the
content of such notifications, we mandate that notifications to the Commission, Secret Service, and FBI
must, at a minimum, include: TRS provider address and contact information; a description of the breach
incident; a description of the customer information that was used, disclosed, or accessed; the method of
compromise; the date range of the incident and approximate number of customers affected; an estimate of
the financial loss to providers and customers, if any; and the types of data breached. More specifically,
we clarify that, if any data, whether partial or complete, on the contents of conversations is compromised
as part of a breach—such as call transcripts—the compromise must be disclosed as part of the notification
to the Commission, Secret Service, and FBI.
         67.      Regarding breach notifications furnished to TRS users, we introduce a harm-based trigger
and eliminate the requirement to notify TRS users of a breach in those instances where a TRS provider
can reasonably determine that no harm to TRS users is reasonably likely to occur as a result of the breach.
We further revise our rules to eliminate the mandatory seven business day waiting period to notify TRS
users and instead require TRS providers to notify TRS users of breaches without unreasonable delay after
notification to law enforcement, and in no case later than 30 days after reasonable determination of a
breach, unless law enforcement requests a longer delay. We also recommend minimum categories of
information for inclusion in TRS user notifications. Notifications shall be provided in formats that are
accessible to individuals with disabilities.
        68.      As with our revisions to section 64.2011, we find that these changes will best protect and
inform TRS users without resulting in overreporting or excessively burdening TRS providers or federal
agencies. These changes to our rules will also allow the Commission and its law enforcement partners to
receive the information they require in a timely manner so that they can mitigate the harm and fallout of
breaches while also taking action to deter future breaches.
                  1.       Defining “Breach”
         69.      In this section, we apply our breach notification and reporting obligations for TRS
providers to covered data, including PII and CPNI. We also take the opportunity to emphasize that
covered data under the TRS data breach notification rule includes call content given the unique concerns
that arise with respect to call content in the TRS context. And, we expand the definition of “breach” in
section 64.5111 to include inadvertent access, use, or disclosure of customer information, except in those
cases where such information is acquired in good faith by an employee or agent of a TRS provider, and
such information is not used improperly or further disclosed.
        70.      Covered Data. Consistent with the provisions we adopt above for carriers, we apply our
breach notification and reporting obligations for TRS providers to covered data, including PII and
CPNI.282 We do so for the reasons discussed above with respect to our breach notification and reporting

281 As with our breach reporting rules for telecommunications carriers, where a TRS provider is unable to reasonably

determine that no harm to consumers is reasonably likely to occur as a result of the breach, it must promptly notify
the relevant federal agencies regardless of the size of the breach. See supra Section III.C.1.
282 See supra Section III.A.1; infra Appx. A (47 CFR § 64.5111(e) (defining “breach” for TRS providers).


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obligations for carriers.283 In addition, as discussed below,284 section 225 of the Act directs the
Commission to ensure that TRS are available to enable communication in a manner that is functionally
equivalent to voice telephone services.285 The Commission has found that applying the privacy
protections of the Commission’s regulations to TRS users advances the functional equivalency of TRS.286
In order to ensure the functional equivalency of TRS, and to ensure that TRS users enjoy the same
protections as customers of telecommunications carriers and interconnected VoIP providers, we apply our
TRS data breach obligations to the same scope of customer information, including both PII and CPNI.
We also incorporate, by reference, the scope of covered PII adopted above, for the same reasons as
discussed above.287
         71.      We disagree with Hamilton Relay that the “assurances of privacy” that TRS users can
expect “are limited to CPNI and should not be extended to other elements of personal information,
including sensitive personal information.”288 In the Data Breach Notice, the Commission recognized that
providers possess proprietary information of customers other than CPNI, which customers have an
interest in protecting from public exposure.289 This interest is particularly acute in the case of TRS users.
TRS providers have access to the contents of customers’ conversations, and, as AARO notes, any
potential disclosure of TRS conversation content is a “grave privacy concern.”290 While section 225 and
our TRS rules generally prohibit TRS providers from disclosing the content of any relayed conversation
and from keeping records of the content of any such conversation beyond the duration of the call, that
prohibition is not sufficient to protect TRS users from risks that may arise from data breaches.291 For
instance, if a breach were to expose transcripts of TRS calls that were in progress at the time of the
breach, the breaching party could obtain conversation contents between a TRS user and medical
professionals, romantic partners, family members, friends, or professional colleagues, and as such may
include sensitive details, such as a user’s medical history, disability status, financial situation, political
views, relationship status and dynamics, and religious beliefs.292 The disclosure of such information
could lead to serious consequences, including embarrassment, ostracization from family and friends, and
extortion by the breaching party or others who have gained access to the information.293
        72.     Indeed, information about call content is not commonly available to traditional voice
service providers, and thus traditional voice service customers do not face the same privacy risks in this
regard as TRS users. As a result, it is particularly important in the TRS context that we emphasize the
need for breach notifications with respect to call content.294 Consistent with the congressional directive

283 See supra Section III.A.1.

284 See infra Section III.E.4.

285 47 U.S.C. § 225(a)(3), (b)(1).

286 2013 VRS Reform Order, 28 FCC Rcd at 8685-86, para. 170.

287 See supra Section III.A.1.

288 Hamilton Relay Comments at 9.

289 Data Breach Notice at 12, para. 22.

290 AARO Comments at 2.

291 47 U.S.C. § 225(d)(1)(F); 47 CFR § 64.604(a)(2)(i).  Section 64.604(a)(2)(i) of our rules generally includes an
exception where “authorized by section 705 of the Communications Act, 47 U.S.C. 605,” and “a limited exception
for STS CAs,” who “may retain information from a particular call in order to facilitate the completion of
consecutive calls, at the request of the user.” 47 CFR § 64.604(a)(2)(i).
292 AARO Comments at 2-3.

293 Id. at 3.

294 CPNI, PII, and the contents of calls are non-exclusive, and potentially overlapping, categories of information.

See supra para. 17 (noting, for example, that CPNI is a subset of PII).
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that the Commission’s TRS rules guard against the disclosure of call content,295 and to promote functional
equivalence between TRS and traditional voice communications services,296 we therefore make explicit in
the text of section 64.5111 of our rules that a breach involving call content implicates those notification
requirements.
        73.      Just as with telecommunications carriers, we believe that the unauthorized exposure of
sensitive personal information that the provider has received from the customer or about the customer in
connection with the customer relationship (e.g., initiation, provision, or maintenance, of service) is
reasonably likely to pose risk of customer harm. Accordingly, any unauthorized disclosure of such
information warrants notification to the customer, the Commission, and other law enforcement.297
Consumers expect that they will be notified of substantial breaches that endanger their privacy, and
businesses that handle sensitive personal information should expect to be obligated to report such
breaches.298
        74.      We further disagree with Hamilton Relay’s assertion that our privacy authority does not
extend to other elements of personal information beyond CPNI, or that doing so would be inconsistent
with the plain language of the Act or result in duplicative or inconsistent requirements between
Commission rules and state laws.299 We do so for the reasons discussed above,300 and because of the
principle of functional equivalency. By ensuring that the same data breach notification requirements we
apply to traditional telecommunications carriers also apply to TRS providers, we advance the interest of
ensuring that consumers can have the same expectations regarding services that they view as similar.
Thus, the approach we adopt today not only reflects the practical expectations of consumers but also
honors the intention of Congress.301
        75.      EPIC concurs with this approach.302 We note that covered data would include PII that a
TRS provider collects to register a customer in the TRS User Registration Database in order to provide
services.303 In November 2021 and March 2022 orders revoking the operating authority of certain
telecommunications carriers, the Commission further stated that all communications service providers
have “a statutory responsibility to ensure the protection of customer information, including PII and




295 47 U.S.C. § 225(d)(1)(F).

296 Id. § 225(a)(3); see also id. § 225(d)(1)(A) (directing the Commission to “establish functional requirements,

guidelines, and operations procedures for telecommunications relay services”).
297 See supra Section III.A.1.

298 See, e.g., Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991 et al., CG Docket

No. 02-278 et al., Declaratory Ruling and Order, 30 FCC Rcd 7961, 8025, para. 132 (2015) (Calls reporting data
breaches or conveying remediation information following a breach are “intended to address exigent circumstances in
which a quick, timely communication with a consumer could prevent considerable consumer harms from occurring
or, in the case of the remediation calls, could help quickly mitigate the extent of harm that will occur.”); TerraCom
NAL, 29 FCC Rcd at 13340-41, para. 43 (“We expect carriers to act in an abundance of caution . . . in their practices
with respect to notifying consumers of security breaches.”).
299 Hamilton Relay Comments at 9.

300 See supra Section III.A.1.

301 For example, as discussed in more detail below, Congress ratified the Commission’s 2007 decision to extend

section 222-based privacy protections for telecommunications service customers to the customers of interconnected
VoIP providers. See infra Section III.E.3. And ensuring equivalent protections for TRS subscribers advances
Congress’ directive to endeavor to ensure functionally equivalent service. See infra Section III.E.4.
302 EPIC et al. Reply Comments at 5-11, 17.

303 EPIC Comments at 7.


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CPNI.”304
        76.     Because TRS providers have access to proprietary information of customers other than
CPNI, and customers have an interest in protecting that information from public exposure, we find that
TRS providers should be obligated to comply with our breach notification rule whenever customers’
personally identifiable information is the subject of a breach, whether or not the information is CPNI.
         77.      Inadvertent Access, Use, or Disclosure. We expand the definition of “breach” in section
64.5111 to include inadvertent access, use, or disclosure of covered data, except in those cases where such
information is acquired in good faith by an employee or agent of a TRS provider, and such information is
not used improperly or further disclosed.305 Section 64.5111(e) of our rules currently defines a breach
more narrowly as occurring “when a person, without authorization or exceeding authorization, has
intentionally gained access to, used, or disclosed CPNI.”306 As noted above, this construction was
adopted in response to the practice of pretexting.307 As discussed above, in the years since, numerous data
breaches have shown that the inadvertent exposure—as much as intentional exposure—of customer
information can and does result in the loss and misuse of sensitive information by scammers, phishers,
and other bad actors, and can thus trigger a need to inform the affected consumers so that they can take
appropriate action to protect themselves and their sensitive information.308 Whether a breach was
intentional may not be readily apparent, and continuing to require disclosure of only intentional breaches
could thus lead to underreporting. It is moreover critical that the Commission and law enforcement be
made aware of any unintentional access, use, or disclosure of covered data so that we can investigate and
advise TRS providers on how best to avoid future breaches and so that we are prepared and ready to
investigate if and when any of the affected information is accessed by malicious actors.309 Requiring
notification for accidental breaches will encourage TRS providers to adopt stronger data security practices
and will help the Commission and law enforcement to better identify and address systemic network
vulnerabilities, consistent with our analysis above.310
         78.     The record in this proceeding confirms the need for the Commission to expand the
definition of “breach” in section 64.5111 to include inadvertent disclosures.311 As AARO note in their
comments, the Commission must keep pace with evolving threats to consumer privacy, and “adopt
measures that can effectively counter increasingly complex and evolving breaches.”312 AARO further
agrees with our assessment that an intentionality requirement would lead to legal ambiguity and
underreporting.313 According to AARO and EPIC, the industry will “continue to witness breaches unless
companies that operate in this area” are required or incentivized to “make proper investments in their
‘staff and procedures to safeguard the consumer data with which they have been entrusted.’”314 We agree

304 Pacific Networks Corp. and Comnet (USA) LLC, Order on Revocation and Termination, FCC 22-22, 37 FCC Rcd

4220, 2022 WL 905270, at *37, para. 82 (Mar. 23, 2022); China Telecom (Americas) Corporation, Order on
Revocation and Termination, FCC 21-114, 36 FCC Rcd 15966, 16013-14, para. 72 (2021), aff’d, China Telecom
(Americas) Corporation v. FCC, 57 F.4th 256 (D.C. Cir. 2022).
305 Data Breach Notice at 21, para. 42.

306 47 CFR § 64.5111(e).

307 2007 CPNI Order, 22 FCC Rcd at 6928, paras. 1-2 & n.1.

308 See supra note 68.

309 Data Breach Notice at 8, para. 12; 2007 CPNI Order, 22 FCC Rcd at 6944, para. 27.

310 See supra Section III.A.

311 Accessibility Advocacy and Research Organizations Reply at 6 (AARO Reply).

312 Id.

313 Id.

314 Id. at 7 (quoting EPIC Comments at 3); see also EPIC et al. Reply at 16.


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with these commenters that expanding the definition of “breach” in section 64.5111 to include inadvertent
access, use, or disclosure of covered data will help provide this incentive.315
        79.      Good-Faith Exception. While we expand the definition of “breach” in section 64.5111 to
include inadvertent access, use, or disclosure of covered data, consistent with our approach to the carrier
data breach rule, we carve out an exception for a good-faith acquisition of covered data by an employee
or agent of a TRS provider where such information is not used improperly or further disclosed. No
commenters opposed this amendment to our rules for TRS providers.316 With only a handful of
exceptions, the vast majority of state statutes include a similar provision excluding from the definition of
“breach” a good-faith acquisition of covered data by an employee or agent of a company where such
information is not improperly used or disclosed further,317 and we see no reason not to include such an
exception in the TRS rule. Our good-faith exception will help reduce overreporting and, by extension,
will avoid worrying consumers unnecessarily.
                  2.       Notifying the Commission and Other Federal Law Enforcement of Data
                           Breaches
         80.     In this section, we require TRS providers to notify the Commission, in addition to the
Secret Service and FBI, as soon as practicable, and in no event later than seven business days, after
reasonable determination of a breach, except in those instances where a breach implicates fewer than 500
individuals and a TRS provider reasonably determines that no harm to customers is reasonably likely to
occur as a result of the breach. Where a breach affects fewer than 500 individuals and the TRS provider
reasonably determines that no harm to customers is reasonably likely to occur as a result of the breach, we
require that providers report such breaches annually to the Commission, Secret Service, and FBI in a
single, consolidated annual filing. We also require TRS providers to report breaches to the Commission,
Secret Service, and FBI contemporaneously via the existing centralized portal maintained by the Secret
Service, and implement mandatory minimum content requirements for notifications filed with the
Commission and law enforcement.
         81.      Notification to the Commission and Law Enforcement. We require TRS providers to
notify the Commission, in addition to the Secret Service, and the FBI, of breaches through the central
reporting facility. The Commission will maintain a link to the reporting facility at
http://www.fcc.gov/eb/cpni or a successor URL designated by the Bureau. This requirement is consistent

315 The only two commenters who opposed expanding the Commission’s definition of “breach” in section 64.5111

to include inadvertent disclosures of customer information were Hamilton Relay and Sorenson, and both modified
their opposition to state that they only opposed such an expansion unless accompanied by the introduction of a
harm-based trigger for data breach notification. See Hamilton Relay Comments at 5; Sorenson Comments at 2. As
we adopt a harm-based trigger for data breach notifications to consumers below, see infra Section III.D.3, there is no
need to address these two comments further.
316 We rejected more general criticisms of such a rule above.   See supra Section III.A.3.
317 See, e.g., Ala. Code § 8-38-2(1); Alaska Stat. § 45.48.050; Ariz. Rev. Stat. § 18-551(1)(b); Ark. Code § 4-110-

103(1)(B); Cal. Civ. Code § 1798.82(g); Colo. Rev. Stat. § 6-1-716(1)(h); Del. Code tit. 6 § 12B-101(1)(a); D.C.
Code § 28-3851(1); Fla. Stat. § 501.171(1)(a); Ga. Code § 10-1-911(1); 9 GCA § 48.20(a); Haw. Rev. Stat. § 487N-
1; Idaho Stat. § 28-51-104(2); 815 ILCS § 530/5; Ind. Code § 4-1-11-2(b)(1); Iowa Code § 715C.1(1); Kan. Stat. §
50-7a01(h); KRS § 365.732(1)(a); La. Rev. Stat. § 51.3073(2); Me. Rev. Stat. tit. 10 § 1347(1); Md. Code Com.
Law § 14-3504(a)(2); Mass. Gen. Laws § 93H-1(a); Mich. Comp. Laws § 445.63(b); Minn. Stat. § 325E.61 Subd.
1(d); Mo. Rev. Stat. § 407.1500(1)(1); Mont. Code § 30-14-1704(4)(a); Neb. Rev. Stat. § 87-802(1); Nev. Rev. Stat.
§ 603A.020; N.H. Rev. Stat. § 359-C:19(V); N.J. Stat. § 56:8-161; N.M. Stat. § 57-12C-2(D); N.Y. Gen. Bus. Law §
899-aa(1)(c); N.C. Gen. Stat § 75-61(14); N.D. Cent. Code § 51-30-01(1); Ohio Rev. Code § 1349.19(A)(1)(b)(i);
Ohio Rev. Code § 1354.01(C)(1); Okla. Stat. § 74-3113.1(D)(1); Okla. Stat. § 24-162(1); Oregon Rev. Stat. §
646A.602(1); 73 Pa. Stat. § 2302; R.I. Gen. Laws § 11-49.3-3(a)(1); S.C. Code § 39-1-90(D)(1); S.D. Cod. Laws §
20-40-19(1); Tenn. Code § 47-18-2107(a)(1)(B); Tex. Bus. & Com. Code § 521.053(a); Utah Code § 13-44-
102(1)(b); 9 V.S.A. § 2430(13)(B); Va. Code § 18.2-186.6(A); V.I. Code tit. 14, § 2209(d); Wash. Rev. Code §
19.255.005(1); W.V. Code § 46A-2A-101(1); Wis. Stat. § 134.98(2)(cm)(2); Wyo. Stat. § 40-12-501(a)(i).
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with other federal sector-specific laws, including HIPAA and the Health Breach Notification Rule, which
require prompt notification to the Department of Health and Human Services (HHS) and the Federal
Trade Commission (FTC), respectively.318
         82.      As the Commission found when it adopted the current data breach rules, notifying law
enforcement of breaches is consistent with the goal of protecting customers’ personal data because it
enables such agencies to investigate the breach, “which could result in legal action against the
perpetrators,” thus ensuring that they do not continue to breach sensitive customer information.319 The
Commission also anticipated that law enforcement investigations into how breaches occurred would
enable law enforcement to advise providers and the Commission to take steps to anticipate and prevent
future breaches of a similar nature.320 While this reasoning remains sound, in the years since our rules
were adopted it has become apparent that large-scale security breaches need not be purposeful in order to
be harmful. As we discuss above,321 breaches that occur as a result of lax or inadequate data security
practices and employee training can be just as devastating as those perpetrated by malicious actors.322
Notification to the Commission of breaches, including inadvertent breaches, will provide Commission
staff with critical information regarding data security vulnerabilities, and will help to shed light on TRS
providers’ ongoing compliance with our data breach rules.
        83.      The record in this proceeding supports requiring TRS providers to notify the
Commission, the Secret Service, and the FBI of breaches. EPIC agrees that a breach impacting TRS users
requires notification to the Commission in addition to the impacted user(s),323 and no commenter opposed
amending our rules to require notification to the Commission concurrently with the Secret Service and
FBI in the specific context of TRS.324
        84.       Reporting Threshold. We require providers to inform federal agencies, via the central
reporting facility, of all breaches, regardless of the number of customers affected or whether there is a
reasonable risk of harm to customers. For breaches that affect 500 or more customers, or for which a
TRS provider cannot determine how many customers are affected, we require providers to file individual,
per-breach notifications as soon as practicable, but no later than seven business days after reasonable
determination of a breach.325 As we describe below, these notifications must include detailed information
regarding the nature of the breach and its impact on affected customers.326 This same type of notification,
and the seven business day timeframe for submission, will also be required in instances where the TRS
provider has conclusively determined that a breach affects fewer than 500 customers unless the provider
can reasonably determine that no harm to customers is reasonably likely to occur as a result of the breach.
         85.      For breaches in which a TRS provider can reasonably determine that a breach affecting
fewer than 500 customers is not reasonably likely to harm those customers, we require the provider to file
an annual summary of such breaches with the Commission, Secret Service, and FBI via the central
reporting facility, instead of a notification. TRS providers must submit, via the existing central reporting
facility and no later than February 1, a consolidated summary of breaches that occurred over the course of

318 45 CFR § 164.408 (“A covered entity shall, following the discovery of a breach . . . notify the Secretary); 16 CFR

§ 318.3(a)(2).
319 2007 CPNI Order, 22 FCC Rcd at 6943, para. 27.

320 Id.

321 See supra Section III.A.

322 Data Breach Notice at 13, para. 24.

323 EPIC et al. Reply at 16.

324 We rejected more general criticisms of such a rule above.   See supra Section III.B.1.
325 See infra para. 88.

326 See infra paras. 91-92.


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the previous calendar year which affected fewer than 500 customers, and where the provider could
reasonably determine that no harm to customers was reasonably likely to occur as a result of the breach.327
In circumstances where a TRS provider initially determines that contemporaneous breach notification to
federal agencies is not required under these provisions, but later discovers information that would require
such notice, we clarify that a TRS provider must report the breach to federal agencies as soon as
practicable, but no later than seven business days after their discovery of this new information.328 We
delegate authority to the Bureau to coordinate with the Secret Service regarding any modification to the
portal that may be necessary to permit the filing of this annual summary. We also delegate authority to
the Bureau, working in conjunction with the Public Safety and Homeland Security Bureau and the
Disability Rights Office, and based on the record of this proceeding—or any additional notice and
comment that might be warranted—to determine the content and format requirements of this filing and
direct the Bureau to release a public notice announcing these requirements.329 The first annual report will
be due the first February 1 after the Office of Management and Budget (OMB) approves the annual
reporting requirement under the Paperwork Reduction Act. The first report should cover all breaches
between the effective date of the annual reporting requirement and the remainder of the calendar year.330
        86.      As we determined above,331 this reporting threshold will enable the Commission to
receive more granular information regarding larger breaches to aid its investigations while also being able
to study trends in breach activity through reporting of smaller breaches in annual submissions. Such a
reporting threshold is also consistent with many state statutes that require notice of breaches to state law
enforcement authorities.332 Moreover, given our expansion of the definition of “breach” in today’s Order
to include inadvertent exposure of CPNI and other types of data, allowing TRS providers to file
information regarding certain smaller breaches in a summary format on an annual basis will tailor
administrative burdens on TRS providers to reflect those scenarios where reporting is most critical.333 At
the same time, requiring TRS providers to report breaches that fall below the threshold in a single,
consolidated annual filing will continue to enable the Commission and our federal law enforcement




327 To ensure that TRS providers may be held accountable regarding their determinations of a breach’s likelihood of

harm and number of affected customers, we require providers to keep records of the bases of those determinations
for two years. See infra, Appx. A. We also note that TRS providers may voluntarily file notification of such a
breach in addition to, but not in place of, this annual summary filing.
328 See supra Section III.B.2.

329 As above with respect to carriers, we instruct the Bureau to minimize the burdens on TRS providers by, for
example, limiting the content required for each reported breach to that absolutely necessary to identify patterns or
gaps that require further Commission inquiry. At a minimum, the Bureau should develop requirements that are less
burdensome than what is required for individual breach submissions to the reporting facility, and consider
streamlined ways for filers to report this summary information. See supra Section III.B.3.
330 See CTIA Dec. 6, 2023 Ex Parte at 16-17 (asking that the Commission explicitly state the due date of the first

annual report and that such report shall cover “events that occur on or after the effective date of the new rules”).
331 See supra Section III.B.3.

332 See, e.g., Cal. Civ. Code § 1798.82(f) (requiring entities to report data breaches affecting 500 residents or more to

the state Attorney General); Colo. Rev. Stat. § 6-1-716 (requiring entities to report data breaches affecting 500
residents or more to the state Attorney General); Del. Code tit. 6, § 12B-102(d); Fla. Stat. § 501.171(3)(a); R.I. Gen.
Laws § 11-49.3-4(a)(2) (requiring entities to report data breaches affecting 500 residents or more to the state
Attorney General and major credit reporting agencies); see also 45 CFR § 164.408 (requiring notification to the
Secretary of Health and Human Services for breaches of unsecured protected health information involving 500 or
more individuals).
333 See supra Section III.B.2.


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partners to investigate, remediate, and deter smaller breaches.334 As above, in circumstances where a TRS
provider initially determines that contemporaneous breach notification to federal agencies is not required
under these provisions, but later discovers information that would require such notice, we clarify that the
TRS provider must report the breach to federal agencies as soon as practicable, but no later than within
seven business days of their discovery of this new information.335
          87.    We apply this threshold trigger only to notifications to federal agencies, and not to
customer notifications. Breaches affecting even just a few customers can pose just as much risk to those
customers as could breaches with wider impact. For this reason, as discussed above, we continue to
require TRS providers to notify federal agencies within seven business days of breaches that implicate a
reasonable risk of customer harm, regardless of the number of customers affected. Doing so will permit
federal agencies to investigate smaller breaches where there is a risk of customer harm, and also allow
law enforcement agencies to request customer notification delays where such notice would “impede or
compromise an ongoing or potential criminal investigation or national security,” as specified in our
rules.336
         88.     Timeframe. We retain our existing rule and require TRS providers to notify the
Commission of a reportable breach contemporaneously with the Secret Service and FBI, as soon as
practicable, and in no event later than seven business days, after reasonable determination of a breach.
While we proposed eliminating the seven business day deadline in the Data Breach Notice,337 the record
we received convinces us that we should instead retain the more definite timeframe. We agree with
AARO that the earlier TRS users are notified of breaches, the more time they will have to take actions to
reduce the extent of the potential damage, and that eliminating the seven business day deadline would
potentially extend the period between a breach and notification far beyond the current deadline, thus
“leaving consumers unable to remediate harms.”338 We find that retaining the seven business day
deadline properly balances the need to afford TRS providers sufficient time to conduct remediation efforts
prior to submitting notifications with the need to ensure that customers receive timely notifications
regarding breaches affecting their data.339 There is insufficient evidence that the current timeline is
inadequate to accomplish the Commission’s goals, and requiring breaches to be reported “as soon as
practicable” without a definite timeframe could potentially be interpreted differently by different TRS
providers or even by law enforcement and the Commission, thereby placing TRS providers at risk of
inadvertently violating the Commission’s rules should they construct “as soon as practicable” to mean
something different than the Commission.340
        89.     We do not believe it is necessary to shorten the existing timeframe of seven business
days. As Sorenson notes, businesses with any Internet presence “must routinely investigate large
numbers of potential security events,” and find that a shorter deadline would put tremendous pressure on
providers to report all potential security incidents before having time to determine whether a breach is
reasonably likely to have occurred.341 Such a result would distract providers from investigating and


334 Data Breach Notice at 15, para. 30.We note that no commenter addressed this potential amendment to our rule
for TRS providers in response to the Data Breach Notice, and we address more general comments in this regard in
Section III.B.2, above.
335 See supra Section III.B.2.

336 See infra Appx. A.

337 See Data Breach Notice at 21, para. 42; id. at Appx. A.

338 AARO Reply at 8-9.

339 See supra Section III.B.3.

340 See supra Section III.B.3.

341 Sorenson Comments at 5.


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correcting any incident that may have occurred.342 As Sorenson notes, the current reporting timeline of
seven business days allows providers a reasonable opportunity to investigate potential incidents and
determine whether a breach is reasonably likely to have occurred.343
         90.      We disagree with Hamilton Relay that the rigid structure in our current rules is “out of
step” with other data breach notification obligations and “does not provide TRS providers with sufficient
flexibility to address the different circumstances that surround data breaches.”344 To begin, numerous
states as well as HIPAA, the Health Breach Notification Rule, and CIRCIA impose a specific time limit
on when breach notifications must be made to the state or relevant federal agency.345 Furthermore, there
is nothing in the record beyond Hamilton Relay’s unsupported assertion to indicate that TRS providers
find the current seven day business deadline to be unduly burdensome or inflexible. Indeed, Sorenson
advocates in favor of retaining the current seven business day deadline.346 Even if we were to assume the
seven business day deadline to be a more burdensome or inflexible standard than a more open-ended
standard, we still find that the countervailing interest in ensuring customers are notified quickly of
breaches affecting them outweighs this hypothetical burden.347 As above, we clarify that a reasonable
determination that a breach has occurred does not mean reaching a conclusion regarding every fact
surrounding a data security incident that may constitute a breach.348 Rather, a TRS provider will be
treated as having “reasonabl[y] determin[ed]” that a breach has occurred when the provider has
information indicating that it is more likely than not that there was a breach.349
        91.     Content of Notification. As currently structured, the existing central reporting facility
requires TRS providers to report: information relevant to a breach, including TRS provider address and
contact information; a description of the breach incident; the method of compromise; the date range of the
incident and approximate number of customers affected; an estimate of the financial loss to providers and
customers, if any; and the types of data breached.350 The record supports the imposition of minimum
content requirements for breach notifications to the Commission, Secret Service, and FBI.351
          92.     While we find that these existing content requirements are largely sufficient, we agree

342 Id.

343 Id.

344 Hamilton Relay Comments at 7-8.

345 See e.g., Ala. Code § 8-38-6; Ariz. Rev. Stat. Ann. § 18-552(B); Ark. Code § 4-110-105(b)(2); Colo. Rev. Stat. §

6-1-716(f)(I); Conn. Gen. Stat. § 36a-701b(b)(2)(A); Del. Code tit. 6, § 12B-102(d); Fla. Stat. § 501.171(3)(b); Iowa
Code § 715C.2(8); Md. Code Ann., Com. Law § 14-3504(h); N.M. Stat. § 57-12C-10; Or. Rev. Stat. §
646A.604(10); 10 L.P.R.A. § 4052; Tex. Bus. & Com. Code § 521.053(i); 9 V.S.A. § 2435(b)(3)(B)(i); Wash. Rev.
Code § 19.255.010(7); 45 CFR § 164.408(c); 16 CFR § 318.4(a); 2242(a)(1)(A). Iowa requires notification within 5
days, HIPAA immediately, and CIRCIA within 72 hours. See Iowa Code § 715C.2(8); 45 CFR § 164.408(c);
2242(a)(1)(A); see also EPIC Comments at 11 (noting that, “in several states, entities are required to report incidents
to the attorney general within three days”) (citing Nat’l Conf. of State Legislatures, Security Breach Notification
Laws (Jan. 17, 2022), https://www.ncsl.org/research/telecommunications-and-information-technology/security-
breach-notification-laws.aspx).
346 Sorenson Comments at 5.

347 See supra Section III.B.3.

348 See supra Section III.B.3.

349 See supra Section III.B.3.

350 Data Breach Notice at 13-14, para. 27.

351 See AARO Comments at 6; EPIC Comments at 10-11; AARO Reply at 1-3.            Of the commenters who addressed
this issue, only Hamilton Relay opposes minimum content requirements for TRS providers, and as their comments
pertain specifically to the content of breach notifications to customers, we address them below. See infra Section
III.D.3.
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with AARO that the nature of TRS and the sensitive information involved warrants more granular
clarification regarding the required disclosures as part of notifications in that context.352 As AARO notes,
TRS users face privacy risks that voice telephone service users do not face because TRS providers and
their commercial partners collect particularly sensitive data about TRS users that could be accessed in a
data breach.353 In particular, TRS providers and their partners have direct access to call audio, transcripts,
and other data on the contents of TRS users’ conversations.354 Given this, we find that providers must
include a description of the customer information that was used, disclosed, or accessed as part of their
notification, including whether data on the contents of conversations, such as call transcripts, are
compromised as part of a breach.355 We note that the actual call audio or transcripts themselves should
not be disclosed as part of the notification, as doing so would be a violation of the Commission’s rules.356
Because of the unique nature of TRS technology, which often result in the creation of transcripts or
similar artifacts, we find that clarifying these additional details of the disclosures will better protect
consumers and better enable the Commission and our federal law enforcement partners to investigate,
remediate, and deter breaches.
         93.      Method of Notification. Under our current rules, TRS providers are required to notify the
Secret Service and FBI “through a central reporting facility” to which the Commission maintains a link on
its website.357 We retain this requirement and revise it slightly to clarify that notifications filed through
the existing central reporting facility will be transmitted to and accessible by the Disability Rights Office
(DRO) of the Commission’s Consumer and Governmental Affairs Bureau (CGB), in addition to the
Secret Service and FBI. We delegate authority to the Bureau, working in conjunction with CGB, to
ensure that the central reporting facility sufficiently relays notifications to DRO. We find that retaining
the existing central reporting facility, rather than creating and operating a new centralized reporting
facility as contemplated in the Data Breach Notice,358 will be the simplest and most efficient approach,
and will not result in the unnecessary expenditure of resources needed to build and operate a new
electronic reporting facility when one already exists. It will also reduce potential provider confusion and
simplify regulatory compliance by allowing providers to continue filing notifications through the existing
reporting facility.359
                  3.       Customer Notification
         94.     In this section, we introduce a harm-based trigger and eliminate the requirement to notify
customers of a breach in any instance where a TRS provider can reasonably determine that no harm to
customers is reasonably likely to occur as a result of the breach. We also eliminate the mandatory seven
business day waiting period to notify customers and instead require TRS providers to notify customers of
breaches without unreasonable delay after notification to the Commission and law enforcement, and in no
case later than 30 days after reasonable determination of the breach, unless law enforcement requests a
longer delay. We recommend minimum categories for information inclusion in customer notifications.
We decline to specify the method that notifications to customers must take, instead leaving such a
determination to the discretion of TRS providers, except that such notifications must be accessible to TRS

352 AARO Comments at 5-6.

353 Id. at 1.

354 Id. at 1-2.

355 Id. at 6.

356 47 CFR § 64.604(a)(2)(i).

357 Id. § 64.5111(b).

358 Data Breach Notice at 13, para. 25.

359 We note that no commenter addressed this potential amendment to our rule governing TRS providers in response

to the Data Breach Notice, and we discuss more general comments regarding the method of disclosure to the
Commission in Section III.B.5, above.
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users.
        95.      Harm-Based Notification Trigger. Our current TRS data breach rule requires notification
to customers in every instance where a breach of their information has occurred, regardless of the risk of
harm.360 We modify that standard and forego the requirement to notify customers of a breach in those
instances where a TRS provider can reasonably determine that no harm to customers is reasonably likely
to occur as a result of the breach. In order to ensure the functional equivalency of TRS, and to ensure that
TRS users enjoy the same protections as customers of telecommunications carriers and interconnected
VoIP providers, we adopt here the same definition of “harm” as that adopted above in the context of
telecommunications carriers, for the reasons stated above.361
         96.      In determining whether “harm” is likely to occur, providers should consider all the
factors enumerated in our discussion above.362 In situations where call content—including call audio,
transcripts, or other data on the contents of TRS users’ conversations—has been or has the potential to be
disclosed as a result of a breach, a TRS provider must assume that harm has or is reasonably likely to
occur, and the obligation to notify customers of a breach would remain. As with the rules we adopt for
telecommunications services above, where a TRS provider is unable to make a determination regarding
harm, the obligation to notify customers of a breach would remain.363 For the reasons discussed above,
and in order to ensure functional equivalency for TRS users, we also adopt a safe harbor under which
customer notification is not required where a breach solely involves encrypted data and the TRS provider
has definitive evidence that the encryption key was not also accessed, used, or disclosed.364 To the extent
that a threat actor appears to have circumvented encryption, however, the TRS provider should conduct a
harm-based analysis as if the data was never encrypted.
         97.     We find that introducing a harm-based trigger for notifications to customers of TRS data
breaches will benefit customers by avoiding confusion and “notice fatigue” with respect to breaches that
are unlikely to cause harm. Given that it is not only emotionally distressing, but also time consuming and
expensive to deal with the fallout of a data breach, we believe that introducing a harm-based trigger will
spare customers the time, effort, and financial strain of changing their passwords, purchasing fraud alerts
or credit monitoring, and freezing their credit in the wake of any breach that is not reasonably likely to
result in harm. A harm-based notification trigger also has a basis in the data breach notification
frameworks employed by states, many of which do not require covered entities to notify customers of
breaches when a determination has been made that the breach is unlikely to cause harm.365

360 47 CFR § 64.5111(c), (e).

361 See supra para. 55.

362 See supra Section III.C.1 (enumerating the factors providers should consider when assessing the likelihood of

harm to customers, including the sensitivity of the information (including in totality) which was breached, the nature
and duration of the breach, mitigations, and intentionality).
363 See supra Section III.C.1.

364 See supra para. 58; see infra Appx. A.

365 See, e.g., Alaska Stat. § 45.48.010(c); Ariz. Rev. Stat. § 18-552(J); Conn. Gen. Stat. § 36a-701b(b)(1) (exempting

entities from disclosing breaches when an investigation determines that no harm is likely); Ark. Code § 4-110-
105(d) (stating that notice is not required if there is no reasonable likelihood of harm); Fla. Stat. § 501.171(4)(c)
(stating that no notice is required if it is reasonably determined that breach has not and will not likely result in
identity theft or any other financial harm); Iowa Code § 715C.2(6) (stating that no notice is required if no reasonable
likelihood of financial harm has resulted or will result from the breach); Or. Rev. Stat. § 646A.604(8) (stating that
no notice is required if no reasonable likelihood of harm has resulted or will result from the breach); N.J. Stat. Ann.
§ 56:8-163(a) (stating that notice is not required if it is determined that misuse of the information is not reasonably
possible); 9 V.S.A. § 2435(d)(1); Md. Com. Law Code Ann. § 14-3504(b); see also OMB M-17-12, at 29 (granting
federal agencies discretion on whether to notify individuals potentially affected by a breach when the assessed risk
of harm is low, and advising agencies to “balance the need for transparency with concerns about over-notifying
individuals”).
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        98.      We find further that employing a harm-based notification trigger will not only benefit
customers, but also assist TRS providers by allowing them to better focus their resources on improving
data security and ameliorating the harms caused by data breaches rather than providing notifications to
customers in instances where harm is unlikely to occur. Nor will the introduction of a harm-based trigger
overburden providers by saddling them with the task of determining whether particular breaches are
reasonably likely to cause harm. By making the standard for notification a rebuttable presumption of
harm, providers must assume that harm is reasonably likely to occur as a result of a breach except where
they can reasonably determine otherwise.
         99.      When determining whether a breach is reasonably likely to result in harm, TRS providers
should consider the same factors laid out in our discussion above.366 In addition, in situations where call
content—including call audio, transcripts, or other data on the contents of TRS users’ conversations—has
been or has the potential to be disclosed as a result of a breach, a TRS provider must assume that harm
has or is reasonably likely to occur, and the obligation to notify customers of a breach would remain.
TRS providers must construe “harm” in this context broadly.367 Even in those instances where no harm to
customers is reasonably likely to occur, and thus the requirement to notify customers of a data breach is
not triggered, TRS providers must still notify the Commission, Secret Service, and FBI of any such
breach affecting 500 or more customers as soon as practicable and in any event no later than seven
business days after reasonable determination of the breach via the central reporting facility. In the case of
such breaches affecting fewer than 500 customers, they must be reported annually in a single,
consolidated filing to the Commission, Secret Service, and FBI. While a harm-based trigger will help
reduce customer notice fatigue and spare customers the time, effort, and financial strain of dealing with
the fallout of a breach that is not reasonably likely to result in harm, the Commission and our law
enforcement partners can still garner critical information regarding data security vulnerabilities by
analyzing larger breaches, even those that are not reasonably likely to result in harm to customers.
         100.    The record generally supports the adoption of a harm-based trigger for TRS consumer
breach notifications.368 AARO, however, argues that “harm-based triggers should not be used in the
context of TRS breach reporting to customers . . . because of the inherent privacy risks faced by TRS
users.”369 AARO goes on to argue that, because TRS involves the collection of data on the content of a
user’s conversation, the Commission should presume that any data breach of a TRS provider is harmful
and require the disclosure of that breach to customers and law enforcement.370 While we agree that the
Commission and law enforcement should be apprised of all breaches, we disagree that customers must be
made aware of breaches where no harm to customers is reasonably likely to result. While we agree that
TRS users face heightened privacy risks because of the nature of the technology involved, such risk alone
does not justify a requirement that customers receive notification of breaches in instances where a
provider can reasonably determine that no harm to customers is reasonably likely to occur as a result of
the breach. TRS providers can and must take the heightened risks inherent to TRS users into account
when determining whether harm is likely to result in the wake of a breach, and we reiterate that providers
must assume, in every case, that harm is reasonably likely to occur as a result of a breach except where
they can reasonably determine otherwise. Moreover, we reiterate that, in situations where call content—

366 See supra Section III.C.1 (enumerating the factors providers should consider when assessing the likelihood of

harm to customers, including the sensitivity of the information (including in totality) which was breached, the nature
and duration of the breach, mitigations, and intentionality).
367 See AARO Reply at 5 (“[B]ecause TRS involves such sensitive data, a breach that does not create financial or

tangible harm may still cause dignitary harm to a TRS user. In that case, such a user has the right to notification.
TRS users have no choice but to hand over extremely sensitive information to TRS providers. They should be
empowered to know when that data is breached.”).
368 See Hamilton Relay Comments at 6-7; Sorenson Comments at 2-3; Convo Communications Reply at 8.

369 AARO Comments at 5; see also AARO Reply at 3-4.

370 AARO Comments at 5; see also EPIC et al. Reply at 16.


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including call audio, transcripts, or other data on the contents of TRS users’ conversations—has been or
has the potential to be disclosed as a result of a breach, a TRS provider must assume that harm has or is
reasonably likely to occur, and the obligation to notify customers of a breach would remain. We agree
with AARO that, given the sensitive data at stake, “it is conceivable that a TRS user would want to be
aware of a data breach, even if the harm of that breach is not fully determined, so that they can take
remedial measures,” which is why we impose a rebuttable presumption of harm that requires notification
in cases where the harm of a breach cannot be fully determined, or where call content has been or has the
potential to be disclosed.371 We find that imposing a rebuttable presumption of harm, and requiring TRS
providers to consider the heightened privacy risks experienced by TRS users when attempting to rebut
this presumption, sufficiently addresses AARO’s concerns without the need for mandatory consumer
notifications that may result in notice fatigue and obligate consumers to expend time, effort, and resources
dealing with the fallout of breaches that are not reasonably likely to result in harm.
         101.    We agree with Sorenson that, without a harm-based trigger, our rules could result in over-
notification regarding non-critical security events without any corresponding benefit to consumers.372 We
also agree with Hamilton Relay that such over-notification could very well result in notice fatigue and
consumer indifference,373 which would perversely cause consumers to ignore or discount notifications,
leading to failure to take action even in those instances where a breach is substantially likely to result in
harm, and thus eliminating the main benefit of requiring consumer notifications. We therefore conclude
that a harm-based trigger strikes the correct balance between keeping TRS users adequately informed, and
reducing over-notification and notice fatigue while reducing the attendant burdens on TRS providers.
         102.    We disagree with EPIC that a harm-based trigger will lead to “legal ambiguity and
underreporting,” or that it will delay reporting “as it may take time to assess whether the minimum
threshold for reportable harm has been met.”374 By adopting a rebuttable presumption of harm and
requiring consumer notification except in those instances where a provider can reasonably determine that
no harm to customers is reasonably likely to occur, we do not think that underreporting is a likely risk, as
customers will still be made aware of breaches where protective action from the consumer is required.
While we do not here include a specific definition of how or under what circumstances this presumption
may be rebutted—finding that such an approach would be too prescriptive—we nevertheless provide
guidance for evaluating customer harm, as outlined above.375 And, as discussed below, we require
notification to customers without unreasonable delay after notification to law enforcement, and in no case
later than 30 days after reasonable determination of a breach unless law enforcement requests a longer
delay.376
          103.    Notifying Customers of Data Breaches Without Unreasonable Delay. Our current TRS
data breach rule prohibits TRS providers from notifying customers or disclosing a breach to the public
until at least seven full business days after notification to the Secret Service and FBI.377 We eliminate this
mandatory waiting period and instead require TRS providers to notify customers of CPNI breaches
without unreasonable delay after notification to law enforcement, and in no case later than 30 days after
reasonable determination of a breach, unless law enforcement requests a longer delay.


371 See AARO Reply at 5; see also infra Appx. A, § 64.5111(b).

372 Sorenson Comments at 2-3; see also Convo Communications Reply at 8.

373 Hamilton Relay Comments at 6-7.

374 EPIC Comments at 8; see also AARO Reply at 4.

375 See supra Section III.C (enumerating the factors providers should consider when assessing the likelihood of harm

to customers, including the sensitivity of the information (including in totality) which was breached, the nature and
duration of the breach, mitigations, and intentionality).
376 See infra para. 103.

377 47 CFR § 64.5111(b)(1).


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         104.     In adopting the current rule, the Commission concluded that once customers have been
notified of a breach, it becomes public knowledge, “thereby impeding law enforcement’s ability to
investigate the breach, identify the perpetrators, and determine how the breach occurred.”378 The
Commission found that “immediate customer notification may compromise all the benefits of requiring
carriers to notify law enforcement of CPNI breaches,” and that a short delay was thus warranted.379
         105.     As discussed above,380 given the sheer volume of personal data at risk, and the
proliferation of malicious schemes designed to exploit that data, we find that the need to notify victims of
breaches as soon as possible has grown exponentially in the years since our rules were adopted. The rules
we adopt in this Order will better serve the public interest by increasing the speed at which customers
may receive the important information contained in a notification, except in those circumstances when
law enforcement specifically requests otherwise.381 We find that a requirement to notify customers of
data breaches without unreasonable delay after discovery of a breach and notification to law enforcement
appropriately balances legitimate law enforcement needs with customers’ need to take swift action to
protect their information in the wake of a breach.
         106.    Our revised rule is consistent with many existing data breach notification laws that
require expedited notice but refrain from requiring a specific timeframe.382 While requiring notification to
customers without unreasonable delay will increase the speed at which customers receive important
information related to a breach, we decline to adopt a specific timeframe, and find that such an approach
would be overly prescriptive. Because each data breach is different, providers must be given sufficient
latitude to address each breach separately, in the manner best befitting the nature of the breach. Even so,
we find it appropriate to impose an outside limit on when customers must be notified of a breach.
Requiring providers to notify customers no later than 30 days after reasonable determination of a breach,
unless a longer delay is requested by law enforcement, will allow TRS providers sufficient flexibility to
deal with each breach on an individual basis while simultaneously installing a backstop to ensure that
customers are not made unaware of a breach indefinitely.
        107.     This approach is generally consistent with HIPAA, which requires notification to
individuals “without unreasonable delay and in no case later than 60 calendar days after discovery of a
breach,”383 as well as the Health Breach Notification Rule, which requires notification to individuals

378 2007 CPNI Order, 22 FCC Rcd at 6943-44, para. 28.

379 Id. at 6944, para. 28.

380 See supra Section III.C.2.

381 Cf., e.g., R.I. Gen. Laws § 11-49.3-4(a)(2), (b) (requiring notification to state Attorney General and major credit

reporting agencies if more than 500 residents are affected by a breach, specifying that such notice should be made
without delaying notice to affected residents, and permitting law enforcement to delay notification if necessary for
investigation).
382 See, e.g., 12 CFR pt. 364, Appx. B, Supp. A § III(A)(1) (interpreting GLBA § 501(b)) (requiring customer

notification “as soon as possible” after a determination that customer information has been misused or misuse is
reasonably possible); Cal. Civ. Code § 1798.82(a) (requiring notification to “be made in the most expedient time
possible and without unreasonable delay, consistent with the legitimate needs of law enforcement”); Va. Code Ann.
§ 18.2-186.6(B) (“without unreasonable delay”); D.C. Code § 28-3852(a) (“in the most expedient time possible and
without unreasonable delay”); Wyo. Stat. Ann. § 40-12-502(a) (“notice shall be made in the most expedient time
possible and without unreasonable delay”); see also FTC Data Breach Guide at 6 (explaining that, “if you quickly
notify people that their personal information has been compromised, they can take steps to reduce the chance that
their information will be misused”).
383 45 CFR § 164.404(b).    For breaches involving more than 500 residents of a state or other jurisdiction, HIPAA
also requires notification of “prominent media outlets serving the State or Jurisdiction” without unreasonable delay
and no later than 60 calendar days after discovery of a breach. Id. § 164.406. For breaches involving 500 or more
residents of a state or other jurisdictions, HIPAA also requires notification to the Secretary of Health and Human
Services (HHS). Id. § 164.408.
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“without unreasonable delay and in no case later than 60 calendar days after the discovery of a breach of
security.”384 Additionally, many states impose an outside limit on when customers must be notified of a
breach following discovery of said breach.385
         108.     Consistent with our current rules implementing section 222, the rule we adopt today will
allow law enforcement to direct a TRS provider to delay customer notification for an initial period of up
to 30 days if such notification would interfere with a criminal investigation or national security.386 We
find that in those instances where a provider reasonably decides to consult with law enforcement, a short
initial delay of no longer than 30 days pending such consultation is reasonable under the “without
unreasonable delay” standard we adopt for customer notification. We note that HIPAA, the GLBA, and
the Health Breach Notification Rule all allow for a delay of customer notification if law enforcement
determines notification to customers would “impede a criminal investigation or cause damage to national
security,” but only if law enforcement officials request such a delay.387 More specifically, both HIPAA
and the Health Breach Notification Rule allow for notification delays of up to 30 days if orally requested
by law enforcement.388 Similarly, most, if not all, states permit delays in notifying affected customers for
legitimate law enforcement reasons.389 We find that the rule we adopt today strikes the appropriate
balance between the needs of law enforcement to have sufficient time to investigate criminal activity and
the needs of customers to be notified of data breaches without unreasonable delay.
        109.      The record supports reconfiguring our rules in this manner. As Hamilton Relay notes,
TRS providers require flexibility when addressing data breaches,390 and a standard requiring providers to
notify customers of a breach as soon as practicable will allow TRS providers sufficient time to determine
the nature of the incident, “including what consumer data may be implicated, if any.391 And we agree
with Sorenson that imposing a rigid timeline on providers without offering sufficient time to investigate
runs the risk of placing “tremendous pressure on providers to report all potential security incidents before
having time to determine whether a breach is reasonably likely to have occurred,” and that such a result
would not only overload the Commission but “also distract providers from investigating and correcting



384 16 CFR § 318.4(a).

385 See, e.g., Ala. Code § 8-38-5(b); Ariz. Rev. Stat. Ann. § 18-552(B); Colo. Rev. Stat. § 6-1-716; Del. Code Ann.

Tit. 6, § 12B-102(c); Fla. Stat. § 501.171(4)(a); Md. Code Ann. § 14-3504(b)(3); N.M. Stat. Ann. § 57-12C-6(A);
Ohio Rev. Code Ann. § 1349.19(B)(2); Or. Rev. Stat. § 646A.604(3)(a); R.I. Gen. Laws § 11-49.3-4(a)(2); S.D.
Codified Laws § 22-40-20; Tenn. Code § 47-18-2107(b); Vt. Stat. Ann. Tit. 9, § 2435(b)(1); Wash. Rev. Code §
19.255.010(8).
386 47 CFR § 64.5111(b)(3).

387 See 16 CFR § 318.4(c); 12 CFR part 364, Appx. B, Supp. A; 45 CFR § 164.412.

388 45 CFR § 164.412; 16 CFR § 318.4(c); see also 12 CFR part 364, Appx. B, Supp. A § III(A)(1) (allowing that

“customer notice may be delayed if an appropriate law enforcement agency determines that notification will
interfere with a criminal investigation and provides the institution with a written request for a delay”).
389 See, e.g., Alaska Stat. Ann. § 45.48.020 (“An information collector may delay disclosing the breach . . . if an

appropriate law enforcement agency determines that disclosing the breach will interfere with a criminal
investigation.”); Ariz. Rev. Stat. Ann. § 18-552(D) (“The notifications required by subsection B of this section may
be delayed if a law enforcement agency advises the person that the notifications will impede a criminal
investigation.”); Cal. Civ. Code § 1798.82(c) (“The notification required by this section may be delayed if a law
enforcement agency determines that the notification will impede a criminal investigation.”); Conn. Gen. Stat. Ann. §
36a-701b(d) (“Any notification required by this section shall be delayed for a reasonable period of time if a law
enforcement agency determines that the notification will impede a criminal investigation and such law enforcement
agency has made a request that the notification be delayed.”).
390 Hamilton Relay Comments at 7.

391 Id. at 8-9; see also Convo Communications Reply at 8-9.


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any incident that may have occurred.”392 We find that retaining our seven business day deadline for
federal-agency notifications will allow TRS providers a reasonable opportunity to investigate potential
incidents, determine whether a breach is reasonably likely to have occurred, and report it to the
Commission and our law enforcement partners, if necessary,393 while the elimination of the mandatory
seven business day waiting period and imposition of a 30-day backstop will ensure that customers receive
notification of any such breach in a timely fashion.
         110.    We disagree with AARO that the timeframe revisions we make will result in unwarranted
delays of notifications to customers.394 On the contrary, we find that our pairing of an unreasonable delay
standard with our elimination of the mandatory seven business day waiting period between notification of
law enforcement and notification of customers is more likely to result in consumers receiving notice of a
breach more quickly than they would under our current rule in many instances. By requiring TRS
providers to issue consumer notifications without unreasonable delay, but in no case later than 30 days
after a breach has been detected unless a longer delay is requested by law enforcement, we believe that
our revised rule balances the needs of law enforcement and TRS providers—to respond flexibly, with
sufficient time to investigate data breaches—and customers—to take swift action in the wake of a breach.
         111.    Content of Customer Breach Notification. Consistent with our current TRS data breach
rule, we decline to adopt specific minimum categories of information required in a customer breach
notification.395 We make clear, however, that a notification must include sufficient information so as to
make a reasonable customer aware that a breach occurred on a certain date, or within a certain estimated
timeframe, and that such a breach affected or may have affected that customer’s data. While all 50 states,
the District of Columbia, Guam, Puerto Rico, and the U.S. Virgin Islands have laws requiring private or
governmental entities to notify individuals of breaches involving their personal information,396 of these,
less than half impose minimum content requirements on the notifications that must be transmitted to
affected individuals in the wake of a data breach.397 As noted above regarding carriers, adding
requirements with the potential to differ from such a high number of state requirements may create
unnecessary burdens on small TRS providers.398 We also find that specifying the required content of
customer notifications beyond the basic standard described above would inhibit TRS providers from
having the flexibility to craft notifications that are more responsive to, and appropriate for, the specific
facts of a breach, the customers, and the provider involved. A stricter standard could conflict with other
customer notice requirements—thus burdening providers and potentially sowing confusion among

392 Sorenson Comments at 5.

393 Id.

394 AARO Reply at 8-9.

395 47 CFR § 64.5111.

396 See Nat’l Conf. of State Legislatures, Security Breach Notification Laws (Jan. 17, 2022),

https://www.ncsl.org/research/telecommunications-and-information-technology/security-breach-notification-
laws.aspx.
397 See, e.g., Ala. Code § 8-38-5(d); Ariz. Rev. Stat. § 18-552(E); Cal. Civ. Code § 1798.82(d)(2); Colo. Rev. Stat. §

6-1-716(2)(a.2); 815 ILCS § 530/10(a)(1); Md. Code Com. Law § 14-3504(g), Md. State Govt. Code § 10-1305(g);
Mass. Gen. Laws ch. 93H-1, § 3(b); Mich. Comp. Laws § 445.72(6)(c)-(g); N.Y. Gen. Bus. Law § 899-AA(7);
Oregon Rev. Stat. § 646A.604(5); 9 V.S.A. § 2435(b)(5); Wash. Rev. Code §§ 19.255.010(6)(b), 42.56.590(6)(b);
see also 45 CFR § 164.404(c)(1); Am. Bankers Ass’n, Data Security & Customer Notification Requirements for
Banks, https://www.aba.com/banking-topics/technology/data-security/data-security-customer-notification; Final
Guidance on Response Programs: Guidance on Response Programs for Unauthorized Access to Customer
Information and Customer Notice, Federal Deposit Insurance Corporation, Michael J. Zamorski, Director, Division
of Supervision and Consumer Protection, Financial Institution Letters, FIL-27-2005 (Apr. 1, 2005),
https://www.fdic.gov/news/financial-institution-letters/2005/fil2705.html (GLBA Customer Notice Guidance); FTC
Data Breach Guide.
398 See supra Section III.C.3.


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consumers—and could delay providers’ ability to timely notify their customers of a breach, since it could
take time to gather all of the necessary details and information even in cases where it would be in
customers’ best interests to receive notification more quickly, albeit with less detail.399
          112.    Instead, we adopt as recommendations the following categories of information in security
breach notifications to TRS customers: (1) the date of the breach; (2) a description of the customer
information that was used, disclosed, or accessed; (3) whether data on the contents of conversations, such
as call transcripts, was compromised as part of the breach;400 (4) information on how customers can
contact the provider to inquire about the breach; (5) information about how to contact the Commission,
FTC, and any state regulatory agencies relevant to the customer and the service; (6) if the breach creates a
risk of identity theft,401 information about national credit reporting agencies and the steps customers can
take to guard against identity theft, including any credit monitoring, credit reporting, or credit freezes the
provider is offering to affected customers; and (7) what other steps customers should take to mitigate their
risk based on the specific categories of information exposed in the breach.
         113.     We find that adopting recommendations for minimum consistent fields of information
will further the goal of assisting customers in better understanding the circumstances and nature of a
breach while retaining some flexibility for TRS providers to precisely tailor each notification, depending
on the specific facts and details of each breach.402 We agree with Hamilton Relay that the Commission
should give providers the flexibility to craft breach notifications that include relevant information in an
accessible format,403 depending on the circumstances of each breach. While we acknowledge arguments
by AARO and EPIC supporting the imposition of minimum content requirements for customer breach
notifications,404 we are wary of imposing specific requirements that could conflict with many state
regulations, and of attempting to impose a one-size-fits-all solution for all providers and all data breaches.
Rather, we find that the seven categories of information we recommend appropriately balance our goal of
empowering consumers to take the necessary steps to protect themselves and their information in the
wake of a data breach while simultaneously enabling TRS providers to respond flexibly to data breaches
as they occur, and to issue customer notifications as swiftly as possible without the need to delay as they
gather all of the information needed to satisfy a rigidly prescribed set of predetermined informational
categories.
         114.     Method of Customer Breach Notification. We decline to specify the form that
notifications to customers must take, instead leaving such a determination to the discretion of TRS
providers, except to require that such notifications be provided in a format accessible to individuals with
disabilities. In this proceeding, commenters were uniform in their insistence that the method of customer




399 See supra Section III.C.3.

400 AARO Comments at 6.

401 Breaches which involve data such as a social security number, birth certificate, taxpayer identification number,

bank account number, driver’s license number, and other similar types of personally identifiable information unique
to each person create the highest level of risk of identity theft. See Am. Bar Ass’n, Identity Theft and Fraud: How
to Evaluate and Manage Risks (Mar. 2020),
https://www.americanbar.org/news/abanews/publications/youraba/2020/youraba-march-2020/identity-theft-and-
fraud. While breaches involving the types of data listed here should be considered to create a risk of identity theft
for customers, this is not an exclusive list and should not be considered as such. There may be other types of data
not listed here that, either alone or in conjunction with other data, may potentially create a risk of identity theft for
customers.
402 See supra Section III.C.3.

403 Hamilton Relay Comments at 3-4.

404 AARO Comments at 5-6; EPIC Comments at 8, 10-11; AARO Reply at 1-2.


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breach notification be left to the discretion of providers where it is not specified in state law.405 As CCA
notes, the “best means for reaching business customers and residential customers . . . can differ
significantly, and carriers are best positioned based on their experience and contact with consumers to
know customers’ preferred way of receiving notifications.”406 CTIA argues further that mandating the
manner of customer CPNI incident notifications could “reduc[e] carrier flexibility to provide the most up-
to-date information to customers in fluid situations.”407 As Hamilton Relay points out, “TRS providers do
not have standard billing information for their customers because . . . most if not all TRS users do not pay
for the service.”408 Because this lack of standard billing information may complicate notifications to such
users, we agree with Hamilton Relay that the Commission should grant TRS providers the discretion to
take all reasonable steps necessary to provide the required information to their customers in a “usable and
readily understandable format” whenever a breach occurs.409 We thus decline to specify the manner that
accessible notifications to customers must take, and leave such a determination to the discretion of TRS
providers where the manner of customer breach notifications is not specified by applicable state law.
         115.    TRS User Registration Information. In their comments, Sorenson notes that “TRS
customers must undergo intrusive identity and address verification that other voice telephone customers
do not,”410 and that data retention requirements of TRS providers put customers who rely on these critical
services at heightened risk.411 Sorenson thus recommends that our revised rules permit TRS providers to
delete sensitive customer information, such as copies of users’ driver’s licenses/passports and other
identity or address identifying information.412 Convo Communications take this recommendation a step
further, advocating that the Commission not just permit but require providers to destroy identifying
records regarding TRS users after a user is successfully registered in the TRS User Registration Database
(TRS URD).413
         116.     We decline to adopt these recommendations at this time. The requirements to collect and
retain user registration information for registration in the TRS User Registration Database are outside the
scope of this proceeding. The TRS User Registration Database is a centralized system of registration
records established to protect the TRS Fund from waste, fraud, and abuse and to improve the
Commission’s ability to manage and oversee the TRS program.414 A necessary component of the
administration and oversight of the TRS User Registration Database and the TRS program in general, is
the ability of the Commission, the TRS User Registration Database administrator, and the TRS Fund
administrator to review and audit the registration information of TRS users and the registration practices
of TRS providers. Any consideration of changes to the rules concerning TRS providers retaining required
registration information for TRS users must include an assessment of the impact of the ability of the
Commission and relevant administrators to review the data upon which users were verified in the
database. The record in this proceeding is incomplete as the Commission did not seek comment on this
issue. We therefore do not take action on this issue at this time.


405 See Blooston Rural Carriers Comments at 6; CCA Comments at 8; CTIA Comments at 31-32; USTelecom

Comments at 2, 8; CTIA Reply at 24.
406 CCA Comments at 8.

407 CTIA Comments at 32.

408 Hamilton Relay Comments at 4-5.

409 Id. at 5.

410 Sorenson Comments at 6.

411 Id. at 6-8.

412 Id. at 8.

413 Convo Communications Reply at 4-7; see also AARO Reply at 10.

414 47 CFR § 64.601(a)(48); id. § 64.611(a), (j).


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         E.       Legal Authority
        117.     We find that sections 201(b), 222, 225, and 251(e) provide us with authority to adopt the
breach notification rules enumerated in this Order. We conclude further that we have authority to apply
these revised rules to interconnected VoIP providers. Lastly, we find that Congress’ nullification of the
Commission’s revisions to its data breach rules in the 2016 Privacy Order pursuant to the Congressional
Review Act (CRA) does not now preclude us from adopting the rules set forth in this Order.415
                  1.       Section 222
         118.    Section 222 of the Act provides authority for the requirements we adopt and revise
today.416 Section 222(a) imposes a duty on carriers to “protect the confidentiality of proprietary
information of, and relating to” customers, fellow carriers, and equipment manufacturers.417 Section
222(c) imposes more specific requirements on carriers as to the protection and confidentiality of customer
proprietary network information.418 Both subsections independently provide us authority to adopt rules
requiring telecommunications carriers and interconnected VoIP providers to address breaches of customer
information, but the breadth of section 222(a) provides the additional clarity that the Commission’s
breach reporting rules can and must apply to all PII rather than just to CPNI.
         119.     The Commission has long required carriers to report data breaches as part of their duty to
protect the confidentiality of customers’ information.419 The revisions to the Commission’s data breach
reporting rules adopted in this Order reinforce carriers’ duty to protect the confidentiality of their
customers’ information, including information that may not fit the statutory definition of CPNI. Data
breach reporting requirements also reinforce the Commission’s other rules addressing the protection of
customer information by meaningfully informing customer decisions regarding whether to give, withhold,
or retract their approval for carriers to use or disclose their information. Moreover, requiring carriers to
notify the Commission in the event of a data breach will better enable the Commission to identify and
confront systemic network vulnerabilities and help investigate and advise carriers on how best to avoid
future breaches, while simultaneously assisting carriers in fulfilling their duty pursuant to section 222(a)
to protect the confidentiality of their customers’ information.420
        120.     We reject Lincoln Network’s argument that section 222 does not grant us authority to
adopt rules requiring telecommunications carriers and interconnected VoIP providers to address breaches
of covered data.421 Section 222 explicitly imposes a duty on telecommunications carriers to “protect the
confidentiality of proprietary information of, and relating to, other telecommunication carriers, equipment


415 See Protecting the Privacy of Customers of Broadband and Other Telecommunications Services, WC Docket No.

16-106, Report and Order, 31 FCC Rcd 13911, 14019-33, paras. 261-91 (2016) (2016 Privacy Order); Resolution of
Disapproval (“Resolved by the Senate and House of Representatives of the United States of America in Congress
assembled, That Congress disapproves the rule submitted by the Federal Communications Commission relating to
‘Protecting the Privacy of Customers of Broadband and Other Telecommunications Services’ (81 Fed. Reg. 87274
(December 2, 2016)), and such rule shall have no force or effect.”); 5 U.S.C. § 801(f) (“Any rule that takes effect
and later is made of no force or effect by enactment of a joint resolution under section 802 shall be treated as though
such rule had never taken effect.”); 5 U.S.C. § 801(b)(1) (“A rule shall not take effect (or continue), if the Congress
enacts a joint resolution of disapproval . . . of the rule.”); see also 2017 CRA Disapproval Implementation Order.
416 See Data Breach Notice paras. 46-47.

417 47 U.S.C. § 222(a); see H.R. Rep. No. 104-458 at 205 (“New subsection 222(a) stipulates that it is the duty of

every telecommunications carrier to protect the confidentiality of proprietary information of and relating to other
carriers, equipment manufacturers and customers . . . .”).
418 47 U.S.C. § 222(c).

419 See 2007 CPNI Order, 22 FCC Rcd at 6943-45, paras. 26-32.

420 47 U.S.C. § 222(a).

421 See generally Lincoln Network Comments.


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manufacturers, and customers.”422 To argue, as Lincoln Network does, that section 222 does not grant the
Commission “clear authority to protect the security of data”423 contravenes the clear language and intent
of section 222.424 Ever since it began implementation of the 1996 Act, the Commission has understood
section 222(a) as a source of carriers’ duties and as a source of Commission rulemaking authority.425 To
the extent that the Commission has described its section 222 authority as coextensive with the definition
of CPNI, we disavow such an interpretation. In those proceedings, the Commission was not examining
the distinction between CPNI and other sensitive personal information, and it never explicitly decided that
section 222(a) does not reach other forms of personal information. In fact, the Commission in 2007
described section 222(a)’s duty as extending to “proprietary or personal customer information,”426 and
more recent enforcement actions have affirmed that carriers’ duty to protect customer information extends
beyond CPNI.427 To find that carriers have no duty to protect the confidentiality of non-CPNI PII would
be inconsistent with the plain language of section 222(a)’s use of the term “proprietary information of,
and relating to, . . . customers” and is not the best interpretation of that provision. Instead, consistent with
those recent Commission actions, we find that the phrase “information of, and relating to, . . . customers”
in section 222(a) is naturally—and indeed best—interpreted to have the same definition as PII, subject to
the additional limitation that the information be “proprietary” to the carrier—i.e., obtained in connection
with establishing or maintaining a communications service.428 Finally, given the larger context discussed
below,429 to the extent that an obligation to take reasonable measures to protect all PII were not derived
directly from section 222(a), that would be because Congress understood it already to be based in section
201(b)’s prohibition on unjust or unreasonable practices.
        121.    Some commenters contend that section 222(a) simply sets out high-level principles the
substantive details of which are specified elsewhere.430 But even beyond our foregoing analysis, that

422 47 U.S.C. § 222(a).

423 Lincoln Network Comments at 1-2.

424 47 U.S.C. § 222(a).

425 See 1998 CPNI Order, 13 FCC Rcd at 8196, para. 194 (“[S]ection 222(a) specifically imposes a protection

duty . . . .”); id. at 8200, para. 203 (“The Commission in the Notice focused on issues relating to the implementation
of sections 222(c)-(f). Based on various responses from parties, we now seek further comment on three general
issues that principally involve carrier duties and obligations established under sections 222(a) and (b) of the Act.”).
426 2007 CPNI Order, para. 64.

427 TerraCom NAL, 29 FCC Rcd at 13330-32, paras. 14-20.       As noted below, the general interpretation of section
222 in the TerraCom NAL also was confirmed by the Commission in a subsequent rulemaking order. See infra note
442. And as noted above, in November 2021 and March 2022 orders revoking the operating authority of certain
telecommunications carriers, the Commission further stated that all communications service providers have “a
statutory responsibility to ensure the protection of customer information, including PII and CPNI.” See supra note
304.
428 NCTA asserts that “most PII . . . is not ‘proprietary information,” but does not justify why we should adopt an

understanding of that term different than the one here. NCTA Dec. 5, 2023 Ex Parte at 2.
429 See infra Section III.E.2 (discussing authority under section 201(b)).

430 See, e.g., CTIA Comments at 11-12; NCTA Dec. 5, 2023 Ex Parte at 4; CTIA Dec. 6, 2023 Ex Parte at 2-3.       We
reject NCTA’s claim that “legislative history supports an interpretation of Section 222 that does not impose an
affirmative obligation under Section 222(a), which shows that Congress deliberately chose not to use ‘personally
identifiable information’ in Section 222.” NCTA Dec. 5, 2023 Ex Parte at 4. NCTA cites a statement from the
conference report that “‘the new section 222 strives to balance both competitive and consumer privacy interests with
respect to CPNI.’” NCTA Dec. 5 Ex Parte at 4 (quoting H.R. Conf. Rep. No. 104-458, at 205 (Jan. 31, 1996) (Conf.
Rep.)). But as even commenters opposed to our interpretation of section 222(a) recognize, section 222 applies to
more than just CPNI, undercutting any understanding of that statement as reflecting the full scope and contours of
section 222. See, e.g., CTIA Comments at 11 (observing that section 222(b) imposes certain obligations on carriers
with respect to the proprietary information of other carriers). NCTA also cites a House Report discussing earlier
                                                                                                        (continued….)
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interpretation of section 222(a) is at odds with the fact that section 222(a) lists “equipment
manufacturers” among the classes of entities owed confidentiality protections as part of a carrier’s
“general” duty.431 Given that section 222 never otherwise mentions confidentiality protections owed to
those entities, this reinforces our view that section 222(a) is best read as imposing enforceable obligations
on telecommunications carriers separate and apart from the requirements of section 222(b) and (c).432 Nor
does section 222(a) otherwise include textual indicia at odds with our understanding. Section 222(a)
employs regulatory terminology in imparting a general “duty” on telecommunications carriers. Section
222(a)’s heading of “In General” also is fully compatible with our understanding of that provision as
imposing a general duty—in contrast to alternative headings such as “Purpose” or “Preamble” that would
indicate that the “duty” announced by such a provision is merely precatory or a “statement of purpose”
with no legal force of its own.
         122.     Contrary to some commenters’ claims,433 our interpretation of section 222(a) also
otherwise is compatible with the remainder of section 222. We read section 222(a) as imposing a broad
duty that can and must be read in harmony with the more specific mandates set forth elsewhere in the
statute.434 Provisions such as sections 222(b) and (c) directly impose specific requirements on
telecommunications carriers to address concerns that were particularly pressing at the time of section
222’s enactment, which continue to control over the more general duty in section 222(a) to the extent of
any overlap. Our interpretation of section 222(a) thus preserves the role of each of these provisions
within the section 222 framework. And given the more detailed statutory specification of carriers’
requirements regarding CPNI in section 222, it is understandable the Congress made a point of
establishing express exceptions from those requirements in section 222(d).435 Part of interpreting section
222(a) in harmony with section 222 as a whole includes interpreting it in harmony with section 222(d).
Thus, we do not interpret the grounds for disclosure authorized by section 222(d) as violating carriers’
obligation to protect the confidentiality of proprietary information imposed by section 222(a). Our
analysis is the same regarding other provisions of section 222, such as the subscriber information


statutory language considered by the House, which would have specified a different scope of covered information.
NCTA Dec. 5 Ex Parte at 4 (citing H.R. Rep. No. 104-204, Pt. I, 104th Cong., 1st Sess., at 23 (July 24, 1995) (July
24, 1995 House Rep.)). But that alternative definition also was part of a statutory provision that different in many
other ways from section 222 as ultimately adopted, see July 24, 1995 House Rep., at 22-23, and section 222 as
enacted ultimately was based on the Senate version. Conf. Rep. at 205. In sum, we see nothing in the legislative
history that would persuade us to depart from what we see as the best interpretation of section 222(a) based on the
statutory text.
431 47 U.S.C. § 222(a).

432 Admittedly, as CTIA points out, see CTIA Comments at 12, section 273(d)(2) separately prohibits “[a]ny entity

which establishes standards for telecommunications equipment or customer premises equipment, or generic network
requirements for such equipment, or certifies telecommunications equipment or customer premises equipment . . .
from releasing or otherwise using any proprietary information, designated as such by its owner, in its possession as a
result of such activity, for any purpose other than purposes authorized in writing by the owner of such information.”
47 U.S.C. § 273(d)(2). But CTIA fails to demonstrate that the entities that are the focus of section 222(a)—i.e.,
telecommunications carriers—are fully subsumed by (or even substantially overlap with) the entities that are the
focus of section 273(d)(2)—e.g., entities that establish equipment standards or requirements or certify such
equipment. The significant mismatch between sections 222(a) and 273(d)(2) thus gives us no reason to question our
understanding of section 222(a).
433 See, e.g., CTIA Comments at 12-14; NCTA Dec. 5, 2023 Ex Parte at 4; CTIA Dec. 6, 2023 Ex Parte at 3.

434 This understanding of section 222(a) also accords with the fact that the Commission generally has relied on a

“reasonableness” standard when evaluating carriers’ protection of information under section 222. See, e.g., 2007
CPNI Order, 22 FCC Rcd at 6959, para. 63 (in the event of a breach a carrier “must demonstrate that the steps it has
taken to protect CPNI from unauthorized disclosure, including the carrier’s policies and procedures, are reasonable”
under the circumstances).
435 47 U.S.C. § 222(d).


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disclosure requirements in section 222(e) and (g).436 Thus, we do not interpret section 222(a) to impose
obligations inconsistent with those disclosure requirements, either. Because we read section 222(a) in
harmony with the remainder of section 222 there is no incompatibility in our approach. And the mere
omission of section 222(a) from provisions like section 222(d), (e), and (g) would have been an oblique
and indirect way of dictating an interpretation of section 222(a) that runs counter to its plain meaning: a
reasonable person would not interpret “a duty to protect the confidentiality” of customer information as
prohibiting its use for billing, for example, as is permitted by section 222(d)(1).
         123.     Lincoln Network attempts to draw a distinction between security and confidentiality that
is unavailing.437 Lincoln Network itself appears to recognize that something that could be characterized
as a “security” breach can result in loss of confidentiality for data or information.438 Thus, even assuming
arguendo that breaches of security and breaches of confidentiality are not coextensive, that would matter
only if the Commission were attempting to act beyond the scope of section 222’s statutory grant of
authority with respect to confidentiality—which is not the case here. Based on relevant textual indicia,
we conclude that “confidentiality” within the meaning of section 222 encompasses impermissible access
to, use of, and/or disclosure of covered information.439 Our data breach reporting requirements focus on
“breaches,” which occur when “a person, without authorization or exceeding authorization, gains access
to, uses, or discloses covered data.”440 The “covered data” is defined in terms of the statutory categories
of proprietary information and customer proprietary network information, and the focus on access, use,
and disclosure of those data fits comfortably within our section 222 authority.
                   2.          Section 201(b)
         124.    Section 201(b) of the Act requires practices of common carriers to be just and reasonable
and declares any unjust or unlawful practices to be unlawful.441 The Commission concluded in the
TerraCom NAL that section 201(b) was violated when carriers failed to notify customers whose personal
information had been breached by the carriers’ inadequate data-security policies.442 The TerraCom NAL
explicitly put carriers “on notice that in the future we fully intend to assess forfeitures for such violations”



436 47 U.S.C. § 222(e), (g).

437 See, e.g., Lincoln Network Comments at 2-4 (discussing terminology used in certain industry publications); id. at

8-9 (citing other federal laws that use both “confidentiality” and “security” or refer to “security” when describing
requirements that Lincoln Network sees as analogous to the Commission’s data breach reporting requirements).
438 See, e.g., Lincoln Network Comments at 2 (stating that “[d]ata breaches are cybersecurity attacks that result in

the loss of confidentiality of consumer personal information”); id. at 4 (citing an industry report as taking the
position that “security incidents, . . . may conclude with data breaches”); id. (stating that “not all security incidents
are data breaches, but all data breaches are security incidents”).
439 Section 222(a) establishes carriers’ “duty to protect the confidentiality of proprietary information . . . .”

47 U.S.C. § 222(a). Section 222(b), in turn, is entitled “[c]onfidentiality of carrier information,” and limits carriers’
“use” of proprietary information. 47 U.S.C. § 222(b). Section 222(c) is entitled “[c]onfidentiality of customer
proprietary network information” and limits how carriers “use, disclose, or permit access to” individually
identifiable CPNI. 47 U.S.C. § 222(c)(1). “Although section headings cannot limit the plain meaning of a statutory
text, ‘they supply cues’ as to what Congress intended.” Merit Management Group v. FTI Consulting, 138 S. Ct.
883, 893 (2018) (citation omitted). Against that backdrop we reject Lincoln Network’s attempts to rely on isolated
examples of terminology uses from recent industry reports or the like. See, e.g., Lincoln Network Comments at 2-4.
440 See infra Appx. A, 47 CFR § 64.2011(e)(1); see also id., 47 CFR § 64.5111(f)(1).

441 47 U.S.C. § 201(b).

442 TerraCom NAL, 29 FCC Rcd at 13329-30, para. 12, 13335-37, paras. 31-35.     In a subsequent Report and Order
adopting Lifeline rules, the Commission “confirm[ed] the general interpretation of sections 201 and 222 reflected in
the TerraCom NAL.” Lifeline and Link Up Reform and Modernization et al., WC Docket No. 11-42 et al., 30 FCC
Rcd. 7818, 7846, para. 65 n.168 (2015).
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under section 201(b).443 We therefore conclude that our authority to prohibit unjust and unreasonable
practices444 and to “prescribe such rules and regulations as may be necessary in the public interest to carry
out the provisions of” the Act pursuant to section 201(b) provides independent authority for us to consider
PII as protected consumer information and to require carriers to notify customers, law enforcement, and
the Commission about breaches as discussed throughout this Report and Order.445
         125.    CTIA provides no explanation for its conclusory assertion that carriers’ data privacy and
security practices are not practices “in connection with” communications services.446 Certainly any
information collected from a customer or prospective customer related to establishing or maintaining the
provision of a communications service would qualify. As discussed above, it is well established that
carriers have come into possession of, and sometimes suffered breaches of, sensitive personal information
that may not be CPNI.447 Nor does the canon of statutory construction about specific provisions
governing general ones apply here.448 Section 222, adopted as part of the Telecommunications Act of
1996 (1996 Act), was not intended to narrow carriers’ privacy duties or the Commission’s authority to
oversee carriers’ privacy practices.449 The Commission regulated carriers’ privacy practices under its

443 TerraCom NAL, 29 FCC Rcd at 13341, para. 43 n.97; see EPIC et al. Reply at 11.        As NCTA points out, the
Commission did not propose a forfeiture under section 201(b), NCTA Reply at 10-11, but that was because it was
the first time the Commission had declared a carrier’s practices related to its failure to notify consumers of a data
breach to be a violation of section 201(b). The Commission made explicit that, in the future, such violations would
be penalized under section 201(b). TerraCom NAL, 29 FCC Rcd at 13341, para. 43 n.97 (“Because this is the first
time we declare a carrier’s practices related to its failure to adequately notify consumers in connection with a
security breach unjust and unreasonable in apparent violation of Section 201(b), we do not propose to assess a
forfeiture for the apparent violations here. However, through our action today, carriers are now on notice that in the
future we fully intend to assess forfeitures for such violations, taking into account the factors identified above.”).
We now make that clear again here.
444 See EPIC Comments at 7; EPIC et al. Reply at 9-11; Ambassador, Inc. v. United States, 325 U.S. 317, 323 (1945)

(holding that “the supervisory power of the Commission is not limited to rates and services, but . . . [includes]
‘charges, practices, classifications, and regulations for and in connection with such communication service’”); see
also, e.g., Advanced Methods to Target and Eliminate Unlawful Robocalls, CG Docket No. 17-59, Fourth Report
and Order, 35 FCC Rcd 15221, 15233-34, para. 37 (2020).
445 1998 CPNI Order, 13 FCC Rcd at 8066, para. 15 (“Based on the Act’s grant of jurisdiction, the Commission has

historically regulated the use and protection of CPNI by AT&T, the BOCs, and GTE, through the rules established
in the Computer III proceedings. Sections 4(i), 201(b), and 303(r) of the Act authorize the Commission to adopt any
rules it deems necessary or appropriate to carry out its responsibilities under the Act, so long as those rules are not
otherwise inconsistent with the Act.”).
446 See CTIA Comments at 15.       We are no more persuaded by arguments that take a different tack and contend that
the carrier actions at issue in this proceeding are not “charges,” “practices,” “classifications,” or “regulations” within
the meaning of section 201(b). See, e.g., CTIA Dec. 6, 2023 Ex Parte at 6. This argument relies on the theory that
the Supreme Court has held “that activity is not covered by Section 201(b) unless it ‘resembles activity that . . .
transportation and communications agencies have long regulated.’” CTIA Dec. 6 Ex Parte at 6 (quoting Global
Crossing Telecomms., Inc. v. Metrophones Telecomms., Inc., 550 U.S. 45, 55–58 (2007) (Global Crossing)). But in
that decision, the Supreme Court did not so hold; it merely considered that factor in support of its threshold
determination that the activity at issue there “easily fits within the language of the statutory phrase” as understood
“in ordinary English.” Global Crossing, 550 U.S. at 55. We see no reason why a carrier’s privacy and data breach
notification practices with respect to customer PII that it has by virtue of its service relationship with them would not
easily fit within the ordinary understanding of that statutory phrase, as well. Independently, we also observe that the
Commission has, in fact, historically regulated carriers’ privacy practices under its section 201(b) authority. See
supra note 442 and accompanying text.
447 See supra para. 20.

448 See CTIA Comments at 15.

449 We reject contrary arguments premised on the fact that section 222 does not itself include a savings clause

expressly preserving the Commission’s authority under section 201, in contrast to section 251 of the Act. See, e.g.,
                                                                                                      (continued….)
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general Title II authority even before enactment of the 1996 Act,450 and the 1996 Act codified the privacy
duty and enacted specific restrictions for the new competitive environment that the Act was intended to
promote.451 As the Commission stated in 1998, “Congress … enacted section 222 to prevent consumer
privacy protections from being inadvertently swept away along with the prior limits on competition.”452


CTIA Dec. 6, 2023 Ex Parte at 5. The 1996 Act made clear that “the amendments made by this Act shall not be
construed to modify, impair, or supersede Federal, State, or local law unless expressly so provided in such Act or
amendments.” Telecommunications Act of 1996, Pub. L. 104-104, § 601(c)(1) (1996) (codified at 47 U.S.C. § 152
nt). Nothing in section 222 expressly modifies, impairs, or supersedes the Commission’s authority under section
201(b) to act to ensure that carriers’ practices are just and reasonable. While it is not entirely clear why Congress
felt the need for an additional savings clause in section 251(i), it might simply have done so “to be doubly sure,”
Barton v. Barr, 140 S. Ct. 1442, 1453 (2020), particularly given the responsibilities assigned to the states in the
implementation of sections 251 and 252 of the Act. See generally 47 U.S.C. §§ 251, 252. Nor are we persuaded by
contrary claims based on high-level statements in legislative history about the balancing various interests underlying
various legislative alternatives that eventually led to section 222 of the Act. See, e.g., CTIA Dec. 6, 2023 Ex Parte
at 5-6. Such high-level statements in legislative history do not persuade us to depart from what we see as the best
interpretation of the statutory text. Nor is it even clear that the relevant balancing of interests in the cited legislative
history necessarily is relevant to the particular exercise of section 201(b) authority at issue here. See, e.g., H.R. Rep.
No. 103-559, at 60 (June 24, 1994) (discussing the “careful balance of competing, often conflicting, considerations”
of consumers’ need “to be sure that information about them that carriers can collect is not misused” with consumers’
expectation that “the carrier’s employee will have available all relevant information about their service,” which
“argues for looser restrictions on internal use of customer information”).
450 See, e.g., Application of Open Network Architecture and Nondiscrimination Safeguards to GTE Corp., Report

and Order, 9 FCC Rcd 4922, para. 45 (1994) (“Our CPNI requirements reflect a careful balancing of customer
privacy, efficiency, and competitive equity interests.”).
451 See H.R. Rep. No. 104-458, Joint Explanatory Statement of the Committee of Conference, 104th Cong., 2d Sess.

203-05. In the course of rejecting a request that carriers be compelled to share customer information with certain
other carriers to protect against discrimination against competitors under sections 201(b) and 202(a) of the Act, the
Commission stated that “the specific consumer privacy and consumer choice protections established in section 222
supersede the general protections identified in sections 201(b) and 202(a).” Implementation of the
Telecommunications Act of 1996: Telecommunications Carriers’ Use of Customer Proprietary Network
Information and Other Customer Information et al., CC Docket No. 96-115 et al., Order on Reconsideration and
Petitions for Forbearance, 14 FCC Rcd 14409, 14491, para. 153 (1999) (1999 Order on Reconsideration); see also
e.g., Implementation of the Telecommunications Act of 1996, et al., CC Docket No. 96-115, et al., Second Report
and Order and Further Notice of Proposed Rulemaking, 13 FCC Rcd 8061, 8073, para. 14 (1998) (1998 Second
Report and Order) (“Congress established a comprehensive new framework in section 222, which balances
principles of privacy and competition in connection with the use and disclosure of CPNI and other customer
information.”). Understood in context, that simply stands for the proposition that where consumer privacy issues
addressed specifically in section 222 are implicated, the requirements of section 222 are controlling over more
general protections in section 201(b) and 202(a) that are unrelated to privacy—such as advancing competitive
neutrality. See, e.g.,1999 Order on Reconsideration, 14 FCC Rcd at 14491, para. 153 (explaining that “requiring the
disclosure of CPNI to other companies to maintain competitive neutrality” under sections 201(b) and 202(a) “would
defeat, rather than protect, customers’ privacy expectations and control over their own CPNI” in contravention of
“the specific consumer privacy and consumer choice protections established in section 222”). We similarly reject
attempts to rely on statements about section 222 that the Commission made in analogous statutory contexts where it
rejected pro-competition requirements under statutory provisions like sections 272 or 274 in light of the privacy
requirements of section 222. See, e.g., CTIA Dec. 6, 2023 Ex Parte at 6 (citing 1998 Second Report and Order, 13
FCC Rcd at 8066-67, para. 4 (discussing the interplay of section 222 with sections 272 and 274) and 1999 Order on
Reconsideration, 14 FCC Rcd at 14485, para. 142 (discussing the interplay of sections 222 and 272)). More
generally, to the extent that the Commission has made statements that its section 222 authority supersedes its
authority under section 201(b), we disavow such an interpretation for the reasons stated in this section.
Independently, with particular respect to data breach notification requirements, we do not find either section 201(b)
or section 222 to be a more specific provision. And even assuming arguendo that section 222 were controlling
within its self-described scope, our rules are fully consistent with that authority as well. See supra Section III.E.1.
452 1998 CPNI Order, 13 FCC Rcd at 8061, para. 1.


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For the reasons discussed throughout this Report and Order, notification to customers, law enforcement,
and the Commission are essential to the Commission’s oversight of carriers’ privacy practices.
         126.     The structure of the Communications Act and its relationship with the Federal Trade
Commission Act also demonstrate that this Commission has authority to make rules governing common
carriers’ protection of PII. The FTC has broad statutory authority to protect against “unfair or deceptive”
acts or practices, but that authority is limited by carving out several exceptions for categories of entities
subject to oversight by other regulatory agencies, one of which is common carriers subject to the
Communications Act.453 The clear intent is that the expert agencies in those areas will act based on the
authorities provided by those agencies’ statutes. It is implausible that Congress would have exempted
common carriers from any obligation to protect their customers’ private information that is not CPNI.454
                  3.       Interconnected VoIP
         127.    We find that section 222 and our ancillary jurisdiction grant us authority to apply the
rules we adopt today to interconnected VoIP providers. Interconnected VoIP providers have been
explicitly subject to the Commission’s data breach rules since 2007, when the Commission first adopted
the data breach notification rule.455 In the 2007 CPNI Order, the Commission recognized that if
interconnected VoIP services were telecommunications services, they self-evidently would be covered by
section 222 and the Commission’s implementing rules.456 But because the Commission generally had not
classified interconnected VoIP, the Commission also exercised its Title I ancillary jurisdiction to extend
its CPNI rules to interconnected VoIP services, finding that “interconnected VoIP services fall within the
subject matter jurisdiction granted to [the Commission] in the Act,” and that “imposing CPNI obligations
is reasonably ancillary to the effective performance of the Commission’s various responsibilities.”457
        128.     We proceed under the same alternative bases here, and conclude that legal and factual
bases for the findings relied on in the 2007 CPNI Order have only grown more persuasive since then.
The Commission observed at the time that “interconnected VoIP service ‘is increasingly used to replace


453 15 U.S.C. § 44 (defining “Acts to regulate commerce” as including “the Communications Act of 1934 and all

Acts amendatory thereof and supplementary thereto”); id. § 45(a)(2) (exempting from FTC authority “common
carriers subject to the Acts to regulate commerce”).
454 Insofar as some parties contend that section 222 establishes a comprehensive scheme of privacy regulation for

carriers to the exclusion of section 201(b), yet also contest our interpretation of section 222(a), see, e.g., NCTA Dec.
5, 2023 Ex Parte at 2-5; CTIA Dec. 6, 2023 Ex Parte at 2-6, they effectively ask us to accept that the supposedly
comprehensive privacy scheme that Congress enacted intentionally left the non-CPNI PII of carriers’ customers
unprotected by federal law. As we discuss, we not only find that view contrary to the statutory text, but find it
implausible more generally.
455 See 2007 CPNI Order, 22 FCC Rcd at 6954-57, paras. 54-59; see also 47 CFR § 64.2003(o) (defining

“telecommunications carrier or carrier” for purposes of the data breach rules to include interconnected VoIP
providers).
456 2007 CPNI Order, 22 FCC Rcd at 6954-55, para. 54.         Although the Commission has not broadly addressed the
statutory classification of interconnected VoIP as a general matter, it has consistently recognized that a provider may
offer VoIP on a Title II basis if it voluntarily “holds itself out as a telecommunications carrier and complies with
appropriate federal and state requirements.” IP-Enabled Services; E911 Requirements for IP-Enabled Service
Providers, WC Docket Nos. 04-36 and 05-196, First Report and Order and Notice of Proposed Rulemaking, 20 FCC
Rcd 10245, 10268, para. 38 n.128 (2005), aff’d sub nom. Nuvio Corp. v. FCC, 473 F.3d 302 (D.C. Cir. 2006); see
also Connect America Fund et al., WC Docket No. 10-90 et al., Report and Order and Further Notice of Proposed
Rulemaking, 26 FCC Rcd 17663, 18143-44, para. 1389 (“[S]ome providers of facilities-based retail VoIP services
state[d] that they are providing those services on a common carrier basis . . . .”).
457 See 2007 CPNI Order, 22 FCC Rcd at 6955, para. 55; see also United States v. Southwestern Cable, 392 U.S.

157, 177-78 (1968) (setting forth the two-part “ancillary jurisdiction” test); Comcast Corp. v. FCC, 600 F.3d 642,
654 (D.C. Cir. 2010) (holding that ancillary jurisdiction must be “necessary to further its regulation of activities over
which [the Commission] does have express statutory authority”).
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analog voice service.’”458 This trend has continued. Interconnected VoIP now accounts for a far larger
share of the residential fixed voice services market than legacy switched access services, and “fixed
switched access continues to decline while interconnected VoIP services continue to increase.”459
Therefore, as the Commission found in 2007, today’s consumers should reasonably expect “that their
telephone calls are private irrespective of whether the call is made using the services of a wireline carrier,
a wireless carrier, or an interconnected VoIP provider, given that these services, from the perspective of a
customer making an ordinary telephone call, are virtually indistinguishable.”460 We likewise think
interconnected VoIP subscribers should reasonably expect their other information to also be protected and
treated confidentially consistent with the other protections that apply under section 222. Furthermore,
extending section 222’s protections to interconnected VoIP service customers remains “necessary to
protect the privacy of wireline or wireless customers that place calls to or receive calls from
interconnected VoIP customers.”461 Indeed, following the 2007 CPNI Order, Congress ratified the
Commission’s decision to apply section 222’s requirements to interconnected VoIP services, adding
language to section 222 that applied provisions of section 222 to users of “IP-enabled voice service.”462
These revisions to section 222 would not make sense if the privacy-related duties of subsections (a) and
(c) did not apply to interconnected VoIP providers.463
         129.    In the case of interconnected VoIP providers that have obtained direct access to telephone
numbers, we conclude that section 251(e) also gives us authority to condition that access on those
providers’ compliance with privacy requirements equivalent to those that apply to telecommunications
carriers. The Commission previously exercised its authority under section 251(e) to ensure, for example,
that an interconnected VoIP provider receiving direct access to numbers “possesses the financial,
managerial, and technical expertise to provide reliable service.”464 Ensuring that interconnected VoIP
providers remain on the same regulatory footing as telecommunications carriers with respect to customer
privacy—as was the case when direct access to numbers for interconnected VoIP providers began—will
ensure a level competitive playing field and ensure that consumers’ expectations are met regarding the
privacy of their information when using the telephone network.465
                   4.        Legal Authority to Adopt Rules for TRS
        130.    We find that we have separate and independent authority under sections 225 and 222 to
amend our data breach rule for TRS to ensure that TRS users receive privacy protections equivalent to
those enjoyed by users of telecommunications and VoIP services. Section 225 of the Act directs the
Commission to ensure that TRS are available to enable communication in a manner that is functionally

458 See 2007 CPNI Order, 22 FCC Rcd at 6956, para. 56.

459 Communications Marketplace Report, GN Docket No. 22-203, FCC 22-103, at 120-21, para. 170 (2022) (“As of

December 2021, residential fixed voice connections were about 28% switched access and 72% interconnected VoIP,
with residential switched access connections comprising only 12.2% of all fixed retail voice connections.”).
460 2007 CPNI Order, 22 FCC Rcd at 6956, para. 56.

461 Id. at 6956, para. 57.

462 See New and Emerging Technologies 911 Improvement Act of 2008, Pub. L. No. 110-283 (2008) (NET 911

Act); see also 47 U.S.C. § 222(d)(4), (f)(1), (g) (applying provisions of section 222 to “IP-enabled voice service”
and defining “IP-enabled voice service” as having “the meaning given the term ‘interconnected VoIP service’ by
section 9.3 of the Federal Communications Commission’s regulations (47 CFR 9.3)”); id. § 615b(8).
463 We note that no commenter chose to address this issue in the course of this proceeding.

464 47 CFR § 52.15(g)(3)(i)(F); see also Numbering Policies for Modern Communications et al., WC Docket Nos.

13-97 et al., Report and Order, 30 FCC Rcd 6839, 6849-50, 6878-80, paras. 24, 78-82 (2015) (2015 Direct Access to
Numbering Order).
465 See, e.g., 2015 Direct Access to Numbering Order, 30 FCC Rcd at 6850-51, 6852-53, paras. 25, 28 (citing

competitive neutrality as a benefit of the Commission’s approach to providing interconnected VoIP providers direct
access to numbers); id. at 6861, para. 47 (seeking to take account of customers’ expectations).
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equivalent to voice telephone services.466 In the 2013 VRS Reform Order, the Commission found that
applying the privacy protections of the Commission’s regulations to TRS users advances the functional
equivalency of TRS.467 The Commission concluded further that the specific mandate of section 225 to
establish “functional requirements, guidelines, and operations procedures for TRS” authorizes the
Commission to make the privacy protections included in the Commission’s data breach regulations
applicable to TRS users.468
         131.    The Commission also found that extending its privacy—including data breach—
regulations to TRS users was ancillary to its responsibilities under section 222 of the Act to
telecommunications service subscribers that place calls to or receive calls from TRS users, because TRS
call records include call detail information concerning all calling and called parties.469 The Commission
moreover determined that applying data breach requirements to point-to-point video services provided by
VRS providers470 is ancillary to its responsibilities under sections 222 and 225, including the need to
protect information that VRS providers had by virtue of being a given customer’s registered VRS
provider—even in the context of point-to-point video service—and to guard against the risk to consumers
who are likely to expect the same privacy protections when dealing with VRS providers, whether they are
using VRS or point-to-point video services.471
        132.    We conclude that, for the same reasons cited in the 2013 VRS Reform Order, these
sources of authority for establishing the current data breach rule for TRS now authorize the Commission
to amend this rule to ensure that TRS users continue to receive privacy protections equivalent to those
enjoyed by users of telecommunications and VoIP services. The record in this proceeding supports this
conclusion. As AARO states, the Commission has “ample legal authority” to amend its data breach rule
for TRS under sections 222 and 225.472
                  5.        Impact of the Congressional Disapproval of the 2016 Privacy Order
         133.   In 2016, the Commission attempted to revise its breach notification rules as part of a
larger proceeding addressing privacy requirements for broadband Internet service providers (ISPs).473
The rules the Commission adopted in the 2016 Privacy Order applied to telecommunications carriers and
interconnected VoIP providers in addition to ISPs, which had been classified as providers of
telecommunications services in 2015.474 In 2017, however, Congress nullified those 2016 revisions to the


466 47 U.S.C. § 225(a)(3), (b)(1).

467 2013 VRS Reform Order, 28 FCC Rcd at 8685-86, para. 170.

468 Id. at 8685-86, para. 170 & n.430 (citing 47 U.S.C. § 225(d)(1)(A)).

469 2013 VRS Reform Order, 28 FCC Rcd at 8685-86, para. 170.

470 Such point-to-point services, while provided in association with VRS, are not themselves a form of TRS.

471 2013 VRS Reform Order, 28 FCC Rcd at 8686-87, para. 171.

472 AARO Comments at 4; see also Hamilton Relay Comments at 9 (stating that section 225 “provides sufficient

authority to impose CPNI data breach notification obligations on TRS providers”); EPIC et al. Reply at 17.
473 2016 Privacy Order, 31 FCC Rcd at 14019-33, paras. 261-291.     In 2015, the Commission classified broadband
Internet access service as a telecommunications service subject to Title II of the Act, a decision that the D.C. Circuit
upheld in U.S. Telecom Ass’n v. FCC, 825 F.3d 674 (D.C. Cir. 2016). See Protecting and Promoting the Open
Internet, GN Docket No. 14-28, Report and Order on Remand, Declaratory Ruling, and Order, 30 FCC Rcd 5601,
5733-34, paras. 306-308 (2015), aff’d, U.S. Telecom Ass’n v. FCC, 825 F.3d 674 (D.C. Cir. 2016). As a result of
classifying broadband Internet access service as a telecommunications service, such services were subject to sections
201 and 222 of the Act.
474 See 2016 Privacy Order, 31 FCC Rcd at 13925, para. 39, 14033-34, para. 293.        In 2017, the Commission
reversed the 2015 classification decision so that Title II obligations, including section 222, no longer apply to ISPs.
Restoring Internet Freedom, WC Docket No. 17-108, Declaratory Ruling, Report and Order, and Order, 33 FCC
                                                                                                          (continued….)
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Commission’s privacy rules under the CRA.475 Pursuant to the language of the Resolution of
Disapproval, the 2016 Privacy Order was rendered “of no force or effect.”476 That resolution conformed
to the procedure set out in the CRA, which requires agencies to submit most rules to Congress before they
can take effect and provides a mechanism for Congress to disapprove of such rules. Pursuant to the
operation of the CRA, the 2016 Privacy Order “may not be reissued in substantially the same form, and a
new rule that is substantially the same as such a rule may not be issued, unless the reissued or new rule is
specifically authorized by a law enacted after the date of the joint resolution disapproving the original
rule.”477
         134.     In analyzing the impact of the Resolution of Disapproval of the 2016 Privacy Order, we
first explain our understanding of the CRA’s prohibition on reissuance. We also show that, in any event,
the revisions that we make here to the breach notification rule are different in substantial ways from those
that were included in the 2016 Privacy Order.
        135.     First, we conclude that the CRA is best interpreted as prohibiting the Commission from
reissuing the 2016 Privacy Order in whole, or in substantially the same form, or from adopting another
item that is substantially the same as the 2016 Privacy Order. It does not prohibit the Commission from
revising its breach notification rules in ways that are similar to, or even the same as,478 some of the
revisions that were adopted in the 2016 Privacy Order, unless the revisions adopted are the same, in
substance, as the 2016 Privacy Order as a whole.479
        136.     Congress’s Resolution of Disapproval, by its terms, disapproved “the rule submitted by
the Federal Communications Commission relating to ‘Protecting the Privacy of Customers of Broadband
and Other Telecommunications Services’ (81 Fed. Reg. 87274 (December 2, 2016)).”480 This referred to
the 2016 Privacy Order in its entirety, which was summarized in the cited Federal Register document.
The statutory term “rule,” as used in the CRA, refers to “the whole or a part of an agency statement of
general or particular applicability and future effect designed to implement, interpret, or prescribe law or
policy or describing the organization, procedure, or practice requirements of an agency.”481 Thus, “rule”


Rcd 311 (2017), aff’d in part and remanded in part, Mozilla Corp. v. FCC, 940 F.3d 1 (D.C. Cir. 2019), on remand,
Order on Remand, 35 FCC Rcd 12328 (2020), ptns. for recon. pending.
475 See Resolution of Disapproval; 5 U.S.C. § 801(b)(1), (f); see also 2017 CRA Disapproval Implementation Order.

476 Resolution of Disapproval.

477 5 U.S.C. § 801(b)(2).

478 To be clear, although the CRA would permit the Commission to adopt a breach notification rule that is the same

as the breach notification rule that was adopted by the 2016 Privacy Order, the rule that we adopt here today has
substantial differences.
479 We reject arguments that there was insufficient notice for the Commission to adopt this interpretation of the

effect of the CRA resolution of disapproval. See, e.g., CTIA Dec. 6, 2023 Ex Parte at 8. In pertinent part, notice
under the APA requires “reference to the legal authority under which the rule is proposed” and “either the terms or
substance of the proposed rule or a description of the subjects and issues involved.” 5 U.S.C. § 553(b)(2), (3). The
Data Breach Notice described the proposal to adopt expanded data breach notification requirements pursuant to its
statutory authority under sections 222, 225, and other possible sources of authority. See generally Data Breach
Notice at 1-26, paras. 1-61. In the course of this request for comment, the Commission sought specific comment
regarding “the effect and scope of the Congressional disapproval of the 2016 Privacy Order.” Id. at 24, para. 52.
This satisfies the requirements of the APA. Even beyond that, however, our interpretation flows from ordinary tools
of statutory interpretation, first and foremost by focusing on the relevant statutory text and context. Contrary to the
suggestion of some, see CTIA Dec. 6, 2023 Ex Parte at 8, we find nothing “novel” about this interpretive approach,
providing additional grounds to conclude that the notice and comment requirements of the APA were satisfied here.
480 Resolution of Disapproval.

481 5 U.S.C. § 804(3) (incorporating the definition of “rule” in 5 U.S.C. § 551, with exclusions); id. § 551(4)

(defining “rule”).
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can and does refer to an entire decision that adopts rules.482 The term “rule” can also refer to parts of such
a decision, or to various requirements as adopted or amended by such a decision. In the context of the
CRA’s bar on reissuance, we must consider which rule is specified by that bar. The reissuance bar,
5 U.S.C. § 801(b)(2), provides that “a new rule that is substantially the same as such a rule may not be
issued”—where “such a rule” refers to the rule specified in the joint resolution of disapproval as described
in section 802.483 As shown above, the joint resolution referred to the entirety of the 2016 Privacy Order.
Therefore, we conclude that the “rule” to which the reissuance bar applies is the entire 2016 Privacy
Order with all of the rule revisions adopted therein.484
         137.     We conclude that it would be erroneous to construe the resolution of disapproval as
applying to anything other than all of the rule revisions, as a whole, adopted as part of the 2016 Privacy
Order. That resolution had the effect of nullifying each and every provision of the 2016 Privacy Order—
each of those parts being rules under the APA—but not “the rule” specified in the resolution of
disapproval. By its terms, the CRA does not prohibit the adoption of a rule that is merely substantially
similar to a limited portion of the disapproved rule or one that is the same as individual pieces of the
disapproved rule.485
         138.   To prohibit an agency from making any of the individual decisions made in an entire
disapproved rulemaking action would not only be contrary to the text of the resolution of disapproval,
interpreted consistently with the CRA, but also would be contrary to the apparent intent of the CRA.

482 In implementing Congress’s resolution of disapproval, the Commission treated the 2016 Privacy Order as a

single rule. In a ministerial order, the Commission “simply recogniz[ed] the effect of the resolution of disapproval”
should be that “the 2016 Privacy Order ‘shall be treated as though [it] had never taken effect.’” As a result, all of
the changes that the 2016 Privacy Order made to the Commission rules codified in the Code of Federal Regulations
were reversed, with the result that all of the Commission rules in part 64, subpart U, were restored to how they read
prior to their amendment by the 2016 Privacy Order. 2017 CRA Disapproval Implementation Order, 32 FCC Rcd at
5442-43 paras. 2, 3 (quoting 5 U.S.C. § 801(f)) (second alteration in original).
483 5 U.S.C. § 801(b)(2); see also id. § 802.

484 Because it is contrary to our understanding of the appropriate focus under the CRA, we reject arguments that we

must conduct the 5 U.S.C. § 801(b)(2) evaluation by reference specifically to the breach notification rule from the
2016 Privacy Order. See, e.g., CTIA Dec. 6, 2023 Ex Parte at 7.
485 See generally Michael J. Cole, Interpreting the Congressional Review Act:      Why the Courts Should Assert
Judicial Review, Narrowly Construe “Substantially the Same,” and Decline to Defer to Agencies Under Chevron,
70 Admin. L. Rev. 53, 83-94 (2018) (arguing for a narrow interpretation of “substantially the same”).� We reject
arguments that because the CRA borrows from the APA’s definition of “rule” as referring to the whole or a part of
certain agency statements of general applicability and future effect, an agency cannot adopt a rule substantially
similar to any part of an agency rulemaking decision that does not take effect due to a resolution of disapproval
under the CRA. See, e.g., CTIA Dec. 6 Ex Parte at 8. The key issue is not the definition of “rule” in the abstract,
but the wording of 5 U.S.C. § 801(b)(2) (along with the wording of the resolution of disapproval itself). And 5
U.S.C. § 801(b)(2) is worded in singular terms—referring to “A rule that does not take effect (or does not continue)
under paragraph (1) . . . ” as opposed to saying “Any rule that does not take effect (or does not continue) under
paragraph (1) . . . ” or “Rules that do not take effect (or do not continue) under paragraph (1) . . . .” So even if there
might be multiple APA rules that do not take effect as a result of a resolution of disapproval, the CRA’s focus is on
a singular “rule” that does not take effect. Since the whole 2016 Privacy Order was the subject of the resolution of
disapproval, and the whole 2016 Privacy Order did not take effect as a result, we conclude that the whole 2016
Privacy Order is the relevant “rule” for purposes of 5 U.S.C. § 801(b)(2). And although some commenters claim
that our approach to interpreting the CRA could lead to uncertainty about what is subject to 5 U.S.C. § 801(b)(2),
they do not identify any actual ambiguity as our approach is applied here—instead, they seemingly just dislike the
outcome. See, e.g., CTIA Dec. 6, 2024 Ex Parte at 8-9. Nor are we persuaded that Congress lacks the tools to
address any concerns about the scope of a resolution of disapproval if any were to arise. See Dissenting Statement
of Commissioner Carr at 1. For example, the record does not reveal why Congress could not specify the “relating
to” criterion in the resolution of disapproval language required by 5 U.S.C. § 802(a) in more granular or detailed
ways. Independently, Congress also always remains free to enact laws outside the CRA process that reject agency
rules with as much detail and precision as they wish should ambiguity concerns become a practical problem.
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When Congress adopted the CRA, it recognized that it would be necessary for agencies to interpret the
scope of the bar on reissuance in the future. According to a floor statement that its authors intended to be
authoritative,
          [t]he authors [of the CRA] intend the debate on any resolution of disapproval to focus on the law
          that authorized the rule and make the congressional intent clear regarding the agency’s options or
          lack thereof after enactment of a joint resolution of disapproval. It will be the agency’s
          responsibility in the first instance when promulgating the rule to determine the range of discretion
          afforded under the original law and whether the law authorizes the agency to issue a substantially
          different rule. Then, the agency must give effect to the resolution of disapproval.486
         139.    Accordingly, we observe that, in the floor debate on the resolution of disapproval in
2017, supporters of the resolution did not mention the breach notification provision apart from a brief
reference.487 Senators who spoke in favor of the resolution cited the 2016 Privacy Order’s treatment of
broadband providers and the information they hold as different from providers of other services on the
internet.488 The debate gives no reason to believe that the breach notification rule motivated those
members of Congress who supported the resolution.489
        140.  As EPIC notes in its comments, Congressional disapproval of the 2016 Privacy Order
under the CRA was largely predicated on claims that the Order would create duplicative privacy authority




486 Statement for the Record by Senators Nickles, Reid, and Stevens, 142 Cong. Rec. S3686 (Apr. 18, 1996) (post-

enactment).�
487 See Providing for Congressional Disapproval of a Rule Submitted by the Federal Communications Commission,

163 Cong. Rec. S1925-55 (daily ed. Mar. 22, 2017), https://www.congress.gov/congressional-
record/2017/3/22/senate-section/article/S1925-2; Providing for Congressional Disapproval of a Rule Submitted by
the Federal Communications Commission, 163 Cong. Rec. H2478-86 (daily ed. Mar. 28, 2017),
https://www.congress.gov/congressional-record/volume-163/issue-54/house-section/article/H2478-1. But see 163
Cong. Rec. H2479 (daily ed. Mar. 28, 2017) (statement of Rep. Burgess) (referencing the 2016 data breach
consumer notice requirements among many other aspects of the 2016 Privacy Order),
488 Id.

489 See Adam M. Finkel & Jason W. Sullivan, A Cost-Benefit Interpretation of the “Substantially Similar” Hurdle in

the Congressional Review Act: Can OSHA Ever Utter the E-Word (Ergonomics) Again?, 63 Admin. L. Rev. 707,
740-41 (2011) (arguing that, because a resolution of disapproval must be all-or-nothing, a “far-reaching
interpretation of ‘substantially the same’ would limit an agency’s authority in ways Congress did not intend in
exercising the veto”), cited in Cole, supra note 485, at 89. Although our conclusion that the whole 2016 Privacy
Order is the relevant “rule” for purposes of 5 U.S.C. § 801(b)(2) is fully justified even without considering the
legislative history of the resolution of disapproval, we reject arguments that it is inappropriate to also look at that
history and contentions that we are misinterpreting that history. See, e.g., CTIA Dec. 6, 2023 Ex Parte at 9; AT&T
Dec. 6, 2023 Ex Parte at 2. In addition to legislative history of the CRA that indicates that the legislative history of
each resolution of disapproval should be relevant, out of an abundance of caution given the lack of an authoritative
determination specifying the details of how to evaluate whether a rule is substantially the same under 5 U.S.C.
§ 801(b)(2), we consider whether there are indicia from the legislative history of the resolution of disapproval here
to inform that analysis. For instance, if the legislative history indicated that the resolution of disapproval of the 2016
Privacy Order somehow hinged entirely or significantly on concern about some or all of the 2016 data breach
reporting requirements, we then could consider whether and how to account for that in the 5 U.S.C. § 801(b)(2)
analysis notwithstanding the fact that there is little practical overlap between this order and the entirety of the 2016
Privacy Order. Although data breach notification issues occasionally appear to have been raised by of opponents of
the resolution of disapproval, high-level statements by supporters of the resolution about “FCC overreach” or the
like do not, without more, persuade us that the 2016 data breach notification requirements played a significant role
in motivating the resolution of disapproval. Thus, we see nothing in the legislative history of the resolution of
disapproval that would cause us to question our conclusion that our action here does not adopt substantially the same
rule for CRA purposes.
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with the Federal Trade Commission as relates to broadband Internet service providers.490 A review of the
Congressional record from 2017 reveals that this indeed appears to have been the animating justification
for Congressional disapproval of the 2016 Privacy Order.491 Whatever the merits of such an argument,
we find that it does not now preclude us from adopting the rules set forth in this Order. As EPIC notes,
the rules we adopt today are not privacy measures directed at broadband Internet service providers, but
rather, data security measures directed at providers of telecommunications, interconnected VoIP services,
and TRS, and which build upon rules that have existed since 2007.492 Thus, the primary animating
justification behind Congressional disapproval of the 2016 Privacy Order is irrelevant to the present case.
         141.     In addition, the revisions that we make here to the breach notification rule are different in
substantial ways from those that Congress disapproved in 2017. The 2016 Privacy Order was focused in
large part on adopting privacy rules for broadband Internet access service, and also made a number of
changes to the Commission’s privacy rules more generally that, among other things, required carriers to
disclose their privacy practices, revised the framework for customer choice regarding carriers’ access,
use, and disclosure of the customers’ information, and imposed data security requirements in addition to
data breach notification requirements.493 When the 2016 Privacy Order is viewed as a whole, it is clear
that there is at most a small conceptual overlap between the adoption of data breach notification
requirements at issue here and the many actions taken in that Order of which data breach notification
requirements represented only a small fraction.
         142.    Independently, even assuming arguendo that the CRA were interpreted to require an
evaluation on a more granular basis here, we are not persuaded that the requirements we adopt here are
substantially the same as analogous requirements in the 2016 Privacy Order.494 For example, the
customer notification requirement we adopt here is materially less prescriptive regarding the content and
manner of customer notice than what the Commission adopted in 2016.495 Further, the 2016 data breach
notification rules for customer notifications and government agency notifications did not incorporate the
good-faith exception from the definition of covered breaches that we adopt here.496 With respect to the
federal agency notification requirements, as compared to the 2016 rules, the rules we adopt here in that
regard provide for the Commission and other law enforcement agencies to gain a much more complete
picture of data breaches, including trends and emerging activities, consistent with the demonstrated need
for such oversight.497 Consequently, even assuming arguendo that one were to conduct the 5 U.S.C.
§ 801(b)(2) evaluation on a more granular basis, we are not persuaded that the data breach notification
requirements we adopt here would be substantially the same as breach notification requirements adopted

490 See EPIC Comments at 12; Providing for Congressional Disapproval of a Rule Submitted by the Federal

Communications Commission, 163 Cong. Rec. H2489, H2489 (2017) (statement of Rep. Blackburn).
491 See, e.g., Providing for Congressional Disapproval of a Rule Submitted by the Federal Communications

Commission, 163 Cong. Rec. H2489, H2489 (2017) (statement of Rep. Blackburn) (arguing that the Commission
had “unilaterally swiped jurisdiction from the Federal Trade Commission [(FTC)],” that the “FTC has served as our
Nation’s sole online privacy regulator for over 20 years,” and that “having two privacy cops on the beat will create
confusion within the internet ecosystem and will end up harming consumers”).
492 EPIC Comments at 12.

493 See, e.g., 2016 Privacy Order, 31 FCC Rcd at 13913-16, paras. 6-18 (summarizing the actions and decisions in

the 2016 Privacy Order).
494   See, e.g., CTIA Dec. 6, 2023 Ex Parte Letter at 7.
495 See, e.g., 2016 Privacy Order, 31 FCC Rcd at 14085, Appx. A (section 64.2006(a) specifying customer

notification requirements).
496 See, e.g., id. at 14080, Appx. A (section 64.2002(c) defining   “breach of security,” “breach,” or “data breach”).
497 See, e.g., id. at 14085, Appx. A (section 64.2006(b), (c) providing for the Commission, FBI, and Secret Service to

receive breach notifications, but only for breaches affecting 5,000 or more customers and only if the carrier does not
reasonably determine that no harm to customers is reasonably likely to occur as a result of the breach).
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in the 2016 Privacy Order.498
         143.     Nor are we adopting something substantially the same as the 2016 Privacy Order as a
whole through the aggregate effect of individual Commission actions.499 For one, the theory that
classification of broadband Internet access service as a telecommunications service will automatically
subject those services to our privacy rules, including the data breach notification requirements adopted
here, is belied by multiple considerations: (1) the Commission has simply sought comment on those
classification issues in its Open Internet Notice and has not yet acted in that regard;500 (2) the 2015 Open
Internet Order shows that the Commission is willing and able to decline to apply rules that might be
triggered by a classification decision, having done so there, for example, by forbearing from all rules
implementing section 222 pending consideration in a subsequent proceeding;501 and (3) the Open Internet
Notice sought comment on following the same approach to privacy that the Commission took in the 2015
Open Internet Order and specifically noted the resolution of disapproval of the 2016 Privacy Order as a
relevant consideration bearing on how it proceeds there.502 Our analysis also is not materially altered by
arguments that the Commission otherwise has adopted “data security, customer authentication, employee
training, and other requirements.”503 In addition to being unpersuaded that such requirements
substantially “mirror provisions of the 2016 order,”504 we independently are not persuaded that the
aggregation of such requirements and the data breach notification requirements adopted here lead to such
a significant overlap with the 2016 Privacy Order as to render our collective actions substantially the
same as the 2016 Privacy Order as a whole.505


498 Even assuming one were to conduct the 5 U.S.C. § 801(b)(2) evaluation at a more granular basis, we are not

persuaded that the breach notification rule from the 2016 Privacy Order is the right level of granularity, nor that the
evaluation of whether rules are substantially the same should be conducted based on high-level policy similarities, as
some commenters contend. See, e.g., CTIA Dec. 6, 2023 Ex Parte at 7. For example, the customer notification
requirement is itself a “rule” within the meaning of the APA, as is the federal agency notification requirement.
Ultimately, however viewed, we are persuaded that the rules we adopt here are not substantially the same as a
disapproved rule for purposes of the CRA.
499 See Dissenting Statement of Commissioner Simington at 1.

500 See generally Safeguarding and Securing the Open Internet, WC Docket No. 23-320, Notice of Proposed

Rulemaking, FCC 23-83 (Oct. 20, 2023) (Open Internet Notice).
501 Protecting and Promoting the Open Internet, GN Docket No. 14-28, Report and Order, Order on Remand,

Declaratory Ruling, and Order, 30 FCC Rcd 5601, 5823-24, para. 467 (2015) (2015 Open Internet Order).
502 Open Internet Notice, FCC 23-83, para. 104 & n.352.

503 Dissenting Statement of Commissioner Simington at 1.

504 Dissenting Statement of Commissioner Simington at 1.     For example, in the recent SIM Swap Order, the
Commission adopted certain privacy requirements focused on wireless carriers’ practices in the specific context of
account transfers (or “swaps”) from a device associated with one subscriber identity module (SIM) to a device
associated with a different SIM on in connection with a wireless number being ported out. Protecting Consumers
from SIM Swap and Port-Out Fraud, WC Docket No. 21-341, Report and Order and Further Notice of Proposed
Rulemaking, FCC 23-95 (Nov. 16, 2023). That is a vastly different focus than the 2016 Privacy Order, which
focused on the general privacy practices of all carriers. See generally 2016 Privacy Order. Thus, even assuming
arguendo some high-level conceptual similarities, the operation and practical effect is significantly different than
even arguably analogous requirements that were part of the 2016 Privacy Order.
505 As discussed above, the primary focus of the 2016 Privacy Order was privacy rules for broadband Internet access

service, along with a number of changes to the Commission’s privacy rules more generally that, among other things,
required carriers to disclose their privacy practices, and revised the framework for customer choice regarding
carriers’ access, use, and disclosure of the customers’ information. See supra note 493 and accompanying text.
Given the other significant issues central to that decision, even assuming arguendo that there were some conceptual
overlap between the issues addressed in the 2016 Privacy Order and data security, customer authentication, and
employee training requirements recently adopted by the Commission—and even considered in conjunction with the
                                                                                                        (continued….)
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IV.      EFFECTIVE DATES
        144.     The revised recordkeeping and reporting requirements adopted in this Report and Order,
including the revisions to 47 CFR §§ 64.2011 and 64.5111 set forth in Appendix A, are subject to
approval by the Office of Management and Budget (OMB). Unless and until such time as OMB approves
these new or modified requirements, the current, unmodified versions of 47 CFR §§ 64.2011 and 64.5111
shall continue to apply.
        145.    We direct the Wireline Competition Bureau to announce OMB approval and effective
dates for the modified rules contained within this Order by subsequent public notice. Pursuant to this
process, we anticipate that carriers of all sizes will have ample time to come into compliance with these
requirements, and therefore reject CCA’s request for a 12-month implementation timeline.506
V.       PROCEDURAL MATTERS
        146.    Final Regulatory Flexibility Analysis. Pursuant to the Regulatory Flexibility Act of 1980
(RFA), as amended,507 the Commission’s Final Regulatory Flexibility Analysis is set forth in Appendix B.
The Commission’s Consumer and Governmental Affairs Bureau, Reference Information Center, will send
a copy of this Report and Order, including the FRFA, to the Chief Counsel for Advocacy of the Small
Business Administration (SBA).508
         147.    Paperwork Reduction Act. This document contains new or modified information
collection requirements subject to the Paperwork Reduction Act of 1995 (PRA), Public Law 104-13. All
such new or modified requirements will be submitted to OMB for review under section 3507(d) of the
PRA.509 OMB, the general public, and other federal agencies will be invited to comment on any new or

data breach notification rules we adopt here—we are not persuaded that the Commission has adopted substantially
the same rule as the 2016 Privacy Order. Separately, insofar as we consider the legislative history of the 2017
resolution of disapproval, data security, customer authentication, and employee training requirements likewise
received only isolated mention, and then primarily with respect to broadband Internet access service. See 163 Cong.
Rec. S1928 (daily ed. Mar. 22, 2017) (statement of Sen. Thune) (noting calls “for returning jurisdiction over
broadband providers’ privacy and data security practices to the FTC”); 163 Cong. Rec. H2485 (Mar. 28, 2017)
(statement of Rep. Burgess) (including an op-ed in the record expressing concern about the loss of the FTC as
“America’s sole online privacy regulator” that enforced “privacy and data-security requirements”). Consequently,
that legislative history does not reveal that the resolution of disapproval hinged entirely or significantly on concerns
about such issues, even considered collectively. Thus, whether viewed alone or in the aggregate, we are not
persuaded that we have adopted substantially the same rule as the 2016 Privacy Order as a whole. Cf. Securities
and Exchange Commission, Disclosure of Payments by Resource Extraction Issuers, 86 Fed. Reg. 4662, 4665 (Jan.
15, 2021) (ensuring that the new rule adopted there was not substantially the same as the rule previously subject to a
resolution of disapproval under the CRA “is reasonably achieved by changing at least one of the two central
discretionary determinations at the heart of the” previously disapproved rule and effectuating that by “requir[ing]
less granularity in the payment disclosures than in the disapproved rule,” which was itself “sufficient to comply with
the CRA’s requirements that the disapproved rule not be reissued in ‘substantially the same form’ and a new rule
may not be ‘substantially the same’ as the disapproved rule.”). And we note, of course, that Congressional
disapproval of a particular rule implementing a statute does not nullify an agency’s general authority under that
statute. Id.; 142 Cong. Rec. S3686 (daily ed. Apr. 18, 1996) (“If the law that authorized the disapproved rule
provides broad discretion to the issuing agency regarding the substance of such rule, the agency may exercise its
broad discretion to issue a substantially different rule. If the law that authorized the disapproved rule did not
mandate the promulgation of any rule, the issuing agency may exercise its discretion not to issue any new rule.
Depending on the law that authorized the rule, an issuing agency may have both options.”).
506 See CCA Dec. 8, 2023 Ex Parte at 3.

507 See 5 U.S.C. § 603.

508 See id. § 603(a).

509 See NCTA Dec. 5, 2023 Ex Parte at 7 (requesting clarification as to which of the rules in the Order will be

submitted to OMB for approval); CCA Dec. 8, 2023 Ex Parte at 2-3; see also CTIA Dec. 6, 2023 Ex Parte at 16
n.107.
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modified information collection requirements contained in this proceeding. In addition, we note that
pursuant to the Small Business Paperwork Relief Act of 2002, Public Law 107-198, see 47 U.S.C.
3506(c)(4), we previously sought specific comment on how the Commission might further reduce the
information collection burden for small business concerns with fewer than 25 employees.510
         148.     In this Report and Order, we have assessed the effects of (1) expanding the scope of the
data breach notification rules to cover specific categories of PII that carriers hold with respect to their
customers; (2) expanding the definition of “breach” to include inadvertent access, use, or disclosure of
customer information, except in those cases where such information is acquired in good faith by an
employee or agent of a carrier, and such information is not used improperly or further disclosed; (3)
requiring carriers to notify the Commission, in addition to Secret Service and FBI, as soon as practicable,
and in no event later than seven business days after reasonable determination of a breach; (4) eliminating
the requirement that carriers notify customers of a breach in cases where a carrier can reasonably
determine that no harm to customers is reasonably likely to occur as a result of the breach, or where the
breach solely involved encrypted data and the carrier had definitive evidence that the encryption key was
not also accessed, used, or disclosed; and (5) applying similar rules to TRS providers, and we find that the
impact on small businesses with fewer than 25 employees will be minimal. While the Commission
expanded the scope of the data breach notification rules, we also adopted a good-faith exception from the
definition of breach which limits the reportable instances. Additionally, the Commission decided to
utilize the existing reporting portal, which small carriers and TRS providers are already accustomed to
using, for federal agency breach notifications rather than creating a new centralized portal. The
Commission delegated authority to the Wireline Competition Bureau to coordinate with the Secret
Service, the current administrator of the reporting facility, and the FBI, to the extent necessary, to ensure
that the Commission will be notified when data breaches are reported, thereby ensuring that no additional
burden would be imposed on small and other carriers and TRS providers from separate reporting
requirements. We also exempted from the federal agency reporting requirement breaches that affect
fewer than 500 customers and for which the carrier reasonably determines that no harm to customers is
reasonably likely to occur, and instead require carriers to file with federal agencies an annual summary
regarding all such breaches occurring in the previous calendar year. This annual reporting requirement is
intended to minimize the burden of reporting such breaches to federal law enforcement and the
Commission. In determining the content and format requirements of the annual report, the Commission
instructed the Bureau to minimize the burdens on carriers and TRS providers by, for example, limiting the
content required for each reported breach to that absolutely necessary to identify patterns or gaps that
require further Commission inquiry. Additionally, with the support of several small carriers, the
Commission adopted a harm-based notification trigger for reporting breaches to customers, which allows
small providers to focus their resources on data security and mitigation measures rather than generating
notifications where harm to the consumer is unlikely.
         149.    Congressional Review Act. The Commission has determined, and the Administrator of
the Office of Information and Regulatory Affairs, Office of Management and Budget, concurs, that this
rule is non-major under the Congressional Review Act, 5 U.S.C. § 804(2). The Commission will send a
copy of this Report and Order to Congress and the Government Accountability Office pursuant to 5
U.S.C. § 801(a)(1)(A).
       150.    OPEN Government Data Act. The OPEN Government Data Act,511 requires agencies to
make “public data assets” available under an open license and as “open Government data assets,” i.e., in
machine-readable, open format, unencumbered by use restrictions other than intellectual property rights,




510 See 44 U.S.C. § 3506(c)(4).

511 Congress enacted the OPEN Government Data Act as Title II of the Foundations for Evidence-Based

Policymaking Act of 2018, Pub. L. No. 115-435 (2019), §§ 201-202.
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and based on an open standard that is maintained by a standards organization.512 This requirement is to be
implemented “in accordance with guidance by the Director” of the OMB.513 The term “public data asset”
means “a data asset, or part thereof, maintained by the Federal Government that has been, or may be,
released to the public, including any data asset, or part thereof, subject to disclosure under [the Freedom
of Information Act (FOIA)].”514 A “data asset” is “a collection of data elements or data sets that may be
grouped together,”515 and “data” is “recorded information, regardless of form or the media on which the
data is recorded.”516 We delegate authority, including the authority to adopt rules, to the Wireline
Competition Bureau, in consultation with the agency’s Chief Data Officer and after seeking public
comment to the extent it deems appropriate, to determine whether to make publicly available any data
assets maintained or created by the Commission pursuant to the rules adopted herein, and if so, to
determine when and to what extent such information should be made publicly available. In doing so, the
Bureau shall take into account the extent to which such data assets should not be made publicly available
because they are not subject to disclosure under the FOIA.517
         151.     People with Disabilities. To request materials in accessible formats for people with
disabilities (Braille, large print, electronic files, audio format), send an e-mail to fcc504@fcc.gov or call
the Consumer & Governmental Affairs Bureau at 202-418-0530 (voice).
        152.    Contact Person. For further information, please contact Mason Shefa, Competition
Policy Division, Wireline Competition Bureau, at (202) 418-2494 or mason.shefa@fcc.gov.
VI.      ORDERING CLAUSES
        153.    Accordingly, IT IS ORDERED that, pursuant to sections 1, 2, 4(i), 4(j), 201, 202, 222,
225, 251, 303(b), 303(r), 332, and 705 of the Communications Act of 1934, as amended, 47 U.S.C. §§
151, 152, 154(i), 154(j), 201, 202, 222, 225, 251, 303(b), 303(r), 332, 605, this Report and Order IS
ADOPTED.
         154.    IT IS FURTHER ORDERED that part 64 of the Commission’s rules IS AMENDED as
set forth in Appendix A.
         155.     IT IS FURTHER ORDERED that this Report and Order SHALL BE effective thirty (30)
days after publication of the text or a summary thereof in the Federal Register, except that the
amendments to 47 CFR §§ 64.2011 and 64.5111, which contain new or modified information collection
requirements that require approval by the Office of Management and Budget under the Paperwork
Reduction Act, will not be effective until the Office of Management and Budget completes any required
review under the Paperwork Reduction Act. The Commission directs the Wireline Competition Bureau to
publish a notice in the Federal Register announcing completion of such review and the relevant effective
date. It is our intention in adopting the foregoing Report and Order that, if any provision of the Report
and Order or the rules, or the application thereof to any person or circumstance, is held to be unlawful, the
remaining portions of such Report and Order and the rules not deemed unlawful, and the application of
such Report and Order and the rules to other person or circumstances, shall remain in effect to the fullest
extent permitted by law.
         156.     IT IS FURTHER ORDERED that the Commission’s Office of the Secretary, Reference

512 44 U.S.C. § 3502(20), (22) (definitions of “open Government data asset” and “public data asset”); id. §

3506(b)(6)(B) (public availability).
513 OMB has not yet issued final guidance.

514 44 U.S.C. § 3502(22).

515 Id. § 3502(17).

516 Id. § 3502(16).

517 See, e.g., 5 U.S.C. § 552(b)(4), (6)-(7) (exemptions concerning confidential commercial information, personal

privacy, and information compiled for law enforcement purposes, respectively).
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Information Center, SHALL SEND a copy of this Report and Order to Congress and the Government
Accountability Office pursuant to the Congressional Review Act, see 5 U.S.C. § 801(a)(1)(A).
         157.   IT IS FURTHER ORDERED that the Commission’s Office of the Secretary, Reference
Information Center, SHALL SEND a copy of this Report and Order, including the Final Regulatory
Flexibility Analysis, to the Chief Counsel for Advocacy of the Small Business Administration.




                                            FEDERAL COMMUNICATIONS COMMISSION




                                            Marlene H. Dortch
                                            Secretary




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                                                APPENDIX A
                                                  Final Rules

For the reasons discussed above, the Federal Communications Commission part 64 of Title 47 of the
Code of Federal Regulations as follows:
PART 64 – MISCELLANEOUS RULES RELATING TO COMMON CARRIERS
1.       The authority citation for part 64 continues to read as follows:
Authority: 47 U.S.C. 151, 152, 154, 201, 202, 217, 218, 220, 222, 225, 226, 227, 227b, 228, 251(a),
251(e), 254(k), 255, 262, 276, 403(b)(2)(B), (c), 616, 620, 716, 1401-1473, unless otherwise noted; Pub.
L. 115-141, Div. P, sec. 503, 132 Stat. 348, 1091.
2.       Amend Subpart U by revising the Subpart heading to read as follows:
Subpart U – Privacy of Customer Information
3.       Amend § 64.2011 by revising paragraphs (a) through (e) to read as follows:
§ 64.2011 Notification of security breaches.
(a) Commission and Federal Law Enforcement Notification. Except as provided in paragraph (a)(3) of
this section, as soon as practicable, but no later than seven business days, after reasonable determination
of a breach, a telecommunications carrier shall electronically notify the Commission, the United States
Secret Service (Secret Service), and the Federal Bureau of Investigation (FBI) through a central reporting
facility. The Commission will maintain a link to the reporting facility on its website.
     (1) A telecommunications carrier shall, at a minimum, include in its notification to the Commission,
     Secret Service, and FBI:
         (i) the carrier’s address and contact information;
         (ii) a description of the breach incident;
         (iii) the method of compromise;
         (iv) the date range of the incident;
         (v) the approximate number of customers affected;
         (vi) an estimate of financial loss to the carrier and customers, if any; and
         (vii) the types of data breached.
     (2) If the Commission, or a law enforcement or national security agency, notifies the carrier that
     public disclosure or notice to customers would impede or compromise an ongoing or potential
     criminal investigation or national security, such agency may direct the carrier not to so disclose or
     notify for an initial period of up to 30 days. Such period may be extended by the agency as
     reasonably necessary in the judgment of the agency. If such direction is given, the agency shall notify
     the carrier when it appears that public disclosure or notice to affected customers will no longer
     impede or compromise a criminal investigation or national security. The agency shall provide in
     writing its initial direction to the carrier, any subsequent extension, and any notification that notice
     will no longer impede or compromise a criminal investigation or national security.
     (3) A telecommunications carrier is exempt from the requirement to provide notification to the
     Commission and law enforcement pursuant to paragraph (a) of this section of a breach that affects
     fewer than 500 customers and the carrier reasonably determines that no harm to customers is
     reasonably likely to occur as a result of the breach. In circumstances where a carrier initially
     determined that it qualified for an exemption under this subsection, but later discovers information
     such that this exemption no longer applies, the carrier must report the breach to federal agencies as
     soon as practicable, but no later than within seven business days of this discovery, as required in
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    paragraph (a).
(b) Customer Notification. Except as provided in paragraph (a)(2) of this section, a telecommunications
carrier shall notify affected customers of a breach of covered data without unreasonable delay after
notification to the Commission and law enforcement pursuant to paragraph (a) of this section, and no later
than 30 days after reasonable determination of a breach. This notification shall include sufficient
information so as to make a reasonable customer aware that a breach occurred on a certain date, or within
a certain estimated timeframe, and that such a breach affected or may have affected that customer’s data.
Notwithstanding the foregoing, customer notification shall not be required where a carrier reasonably
determines that no harm to customers is reasonably likely to occur as a result of the breach, or where the
breach solely involves encrypted data and the carrier has definitive evidence that the encryption key was
not also accessed, used, or disclosed.
(c) Recordkeeping. All carriers shall maintain a record, electronically or in some other manner, of any
breaches discovered, notifications made to the Commission, Secret Service, and the FBI pursuant to
paragraph (a) of this section, and notifications made to customers pursuant to paragraph (b) of this
section. The record shall include, if available, dates of discovery and notification, a detailed description
of the covered data that was the subject of the breach, the circumstances of the breach, and the bases of
any determinations regarding the number of affected customers or likelihood of harm as a result of the
breach. Carriers shall retain the record for a minimum of 2 years.
(d) Annual Reporting of Certain Small Breaches. A telecommunications carrier shall have an officer, as
an agent of the carrier, sign and file with the Commission, Secret Service, and FBI, a summary of all
breaches occurring in the previous calendar year affecting fewer than 500 individuals and where the
carrier could reasonably determine that no harm to customers was reasonably likely to occur as a result of
the breach. This filing shall be made annually, on or before February 1 of each year, through the central
reporting facility, for data pertaining to the previous calendar year.
(e) Definitions.
    (1) As used in this section, a “breach” occurs when a person, without authorization or exceeding
    authorization, gains access to, uses, or discloses covered data. A “breach” shall not include a good-
    faith acquisition of covered data by an employee or agent of a telecommunications carrier where such
    information is not used improperly or further disclosed.
    (2) As used in this section, “covered data” includes both a customer’s CPNI, as defined by § 64.2003,
    and personally identifiable information.
    (3) As used in this section, “encrypted data” means covered data that has been transformed through
    the use of an algorithmic process into a form that is unusable, unreadable, or indecipherable through a
    security technology or methodology generally accepted in the field of information security.
    (4) As used in this section, “encryption key” means the confidential key or process designed to
    render encrypted data useable, readable, or decipherable.
    (5) Except as provided in paragraph (e)(6) of this section, as used in this section, “personally
    identifiable information” means:
        (i) An individual’s first name or first initial, and last name, in combination with any government-
        issued identification numbers or information issued on a government document used to verify the
        identity of a specific individual, or other unique identification number used for authentication
        purposes;
        (ii) An individual’s user name or e-mail address, in combination with a password or security
        question and answer, or any other authentication method or information necessary to permit
        access to an account; or
        (iii) Unique biometric, genetic, or medical data.

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         (iv) Notwithstanding the above:
             (A) Dissociated data that, if linked, would constitute personally identifiable information is
             to be considered personally identifiable if the means to link the dissociated data were
             accessed in connection with access to the dissociated data; and
             (B) Any one of the discrete data elements listed in paragraphs (e)(5)(i) to (iii) of this
             section, or any combination of the discrete data elements listed above is personally
             identifiable information if the data element or combination of data elements would enable a
             person to commit identity theft or fraud against the individual to whom the data element or
             elements pertain.
     (6) As used in this section, “personally identifiable information” does not include information about
     an individual that is lawfully made available to the general public from federal, state, or local
     government records or widely distributed media.
*****
4.       Amend § 64.5111 by revising paragraphs (a) through (e) to read as follows:
§ 64.5111 Notification of security breaches.
(a) Commission and Federal Law Enforcement Notification. Except as provided in paragraph (a)(3) of
this section, as soon as practicable, but not later than seven business days, after reasonable determination
of a breach, a TRS provider shall electronically notify the Disability Rights Office of the Federal
Communications Commission’s (Commission) Consumer and Governmental Affairs Bureau, the United
States Secret Service (Secret Service), and the Federal Bureau of Investigation (FBI) through a central
reporting facility. The Commission will maintain a link to the reporting facility on its website.
     (1) A TRS provider shall, at a minimum, include in its notification to the Commission, Secret
     Service, and FBI:
         (i) the TRS provider’s address and contact information;
         (ii) a description of the breach incident;
         (iii) a description of the customer information that was used, disclosed, or accessed;
         (iv) the method of compromise;
         (v) the date range of the incident;
         (vi) the approximate number of customers affected;
         (vii) an estimate of financial loss to the provider and customers, if any; and
         (viii) the types of data breached.
     (2) If the Commission, or a law enforcement or national security agency notifies the TRS provider
     that public disclosure or notice to customers would impede or compromise an ongoing or potential
     criminal investigation or national security, such agency may direct the TRS provider not to so
     disclose or notify for an initial period of up to 30 days. Such period may be extended by the agency
     as reasonably necessary in the judgment of the agency. If such direction is given, the agency shall
     notify the TRS provider when it appears that public disclosure or notice to affected customers will no
     longer impede or compromise a criminal investigation or national security. The agency shall provide
     in writing its initial direction to the TRS provider, any subsequent extension, and any notification that
     notice will no longer impede or compromise a criminal investigation or national security and such
     writings shall be contemporaneously logged on the same reporting facility that contains records of
     notifications filed by TRS providers.
     (3) A TRS provider is exempt from the requirement to provide notification to the Commission and
     law enforcement pursuant to paragraph (a) of this section of a breach that affects fewer than 500
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    customers and the carrier reasonably determines that no harm to customers is reasonably likely to
    occur as a result of the breach. In circumstances where a carrier initially determined that it qualified
    for an exemption under this subsection, but later discovers information such that this exemption no
    longer applies, the carrier must report the breach to federal agencies as soon as practicable, but not
    later than within seven business days of this discovery, as required in paragraph (a).
(b) Customer Notification. Except as provided in paragraph (a)(2) of this section, a TRS provider shall
notify affected customers of breaches of covered data without unreasonable delay after notification to the
Commission and law enforcement as described in paragraph (a) of this section, and no later than 30 days
after reasonable determination of a breach. This notification shall include sufficient information so as to
make a reasonable customer aware that a breach occurred on a certain date, or within a certain estimated
timeframe, and that such a breach affected or may have affected that customer’s data. Notwithstanding
the foregoing, customer notification shall not be required where a TRS provider reasonably determines
that no harm to customers is reasonably likely to occur as a result of the breach, or where the breach
solely involves encrypted data and the provider has definitive evidence that the encryption key was not
also accessed, used, or disclosed.
(c) Recordkeeping. A TRS provider shall maintain a record, electronically or in some other manner, of
any breaches discovered, notifications made to the Commission, Secret Service, and the FBI pursuant to
paragraph (a) of this section, and notifications made to customers pursuant to paragraph (b) of this
section. The record shall include, if available, the dates of discovery and notification, a detailed
description of the covered data that was the subject of the breach, the circumstances of the breach, and the
bases of any determinations regarding the number of affected customers or likelihood of harm as a result
of the breach. TRS providers shall retain the record for a minimum of 2 years.
(d) Annual Reporting of Certain Small Breaches. A TRS provider shall have an officer, as an agent of the
provider, sign and file with the Commission, Secret Service, and FBI, a summary of all breaches
occurring in the previous calendar year affecting fewer than 500 individuals and where the provider could
reasonably determine that no harm to customers was reasonably likely to occur as a result of the breach.
This filing shall be made annually, on or before February 1 of each year, through the central reporting
facility, for data pertaining to the previous calendar year.
(e) Definitions.
    (1) As used in this section, a “breach” occurs when a person, without authorization or exceeding
    authorization, gains access to, uses, or discloses covered data. A “breach” shall not include a good-
    faith acquisition of covered data by an employee or agent of a TRS provider where such information
    is not used improperly or further disclosed.
    (2) As used in this section, “covered data” includes (1) a customer’s CPNI, as defined by section
    64.5103 of this chapter; (2) personally identifiable information, as defined by section 64.2011(e)(5) of
    this chapter; and (3) the content of any relayed conversation within the meaning of § 64.604(a)(2)(i).
    (3) As used in this section, “encrypted data” means covered data that has been transformed through
    the use of an algorithmic process into a form that is unusable, unreadable, or indecipherable through a
    security technology or methodology generally accepted in the field of information security.
    (4) As used in this section, “encryption key” means the confidential key or process designed to
    render encrypted data useable, readable, or decipherable.
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                                                  APPENDIX B
                                     Final Regulatory Flexibility Analysis

        1.       As required by the Regulatory Flexibility Act of 1980, as amended (RFA),1 an Initial
Regulatory Flexibility Analysis (IRFA) was incorporated into the Data Breach Reporting Requirements
(Data Breach Notice), released in January 2023.2 The Commission sought written public comment on the
proposals in the Data Breach Notice, including comment on the IRFA. No comments were filed
addressing the IRFA. This Final Regulatory Flexibility Analysis (FRFA) conforms to the RFA.3
         A.         Need for, and Objectives of, the Report and Order
         2.      The Report and Order takes several important steps aimed at updating the Commission’s
rules regarding data breach notifications, both to federal agencies and to customers, to better protect
consumers from the dangers associated with data security breaches of customer information and to ensure
that the Commission’s rules keep pace with modern challenges.
         3.      First, the Commission expands the scope of the data breach notification rules to cover
various categories of personally identifiable information (PII) that carriers hold with respect to their
customers. Second, the Commission expands the definition of “breach” for telecommunications carriers4
to include inadvertent access, use, or disclosure of customer information, except in those cases where
such information is acquired in good faith by an employee or agent of a carrier, and such information is
not used improperly or futher disclosed. Third, we require carriers to notify the Commission, in addition
to the United States Secret Service (Secret Service) and Federal Bureau of Investigation (FBI), as soon as
practicable, and in no event later than seven business days after reasonable determination of a breach.
Fourth, we eliminate the requirement that carriers notify customers of a breach in cases where a carrier
can reasonably determine that no harm to customers is reasonably likely to occur as a result of the breach,
or where a breach solely involves encrypted data and the carrier has definitive evidence that the
encryption key was not also accessed, used, or disclosed. Fifth, we eliminate the mandatory waiting
period for carriers to notify customers, and instead requires carriers to notify customers of breaches of
covered data without unreasonable delay after notification to federal agencies, and in no case more than
30 days following reasonable determination of a breach, unless a delay is requested by law enforcement.
Sixth, and finally, to ensure that telecommunications relay service (TRS) customers enjoy the same level
of protections as customers of telecommunications carriers, we adopt equivalent requirements for TRS
providers. By adopting these requirements we increase the the protection of consumers from improper
use and/or disclosure of their information consistent with approaches to protect the public adopted by our
federal and state government partners.
         B.         Summary of Significant Issues Raised by Public Comments in Response to the IRFA
         4.      There were no comments raised that specifically addressed the proposed rules and
policies presented in the IRFA. Nonetheless, the Commission considered the general comments received
about the potential impact of the rules proposed in the IRFA on small entities and took steps where

1 5 U.S.C. § 604.
                The RFA, 5 U.S.C. §§ 601–612, has been amended by the Small Business Regulatory
Enforcement Fairness Act of 1996 (SBREFA), Pub. L. No. 104-121, Title II, 110 Stat. 857 (1996).
2 See Data Breach Reporting Requirements, WC Docket No. 22-21, Notice of Proposed Rulemaking, FCC 22-102

(2023) (Data Breach Notice).
3 5 U.S.C. § 604.

4 As in the Data Breach Notice, in the Report and Order we refer to telecommunications carriers and interconnected

VoIP providers collectively as “telecommunications carriers” or “carriers,” consistent with our existing Part 64,
Subpart U rules. See Data Breach Notice, at 3, para. 3 n.12. In doing so, the Commission does not address the
regulatory classification of interconnected VoIP service or interconnected VoIP service providers. 47 CFR
§ 64.2003(o) (defining telecommunications carrier or carrier for purposes of Subpart U to include an entity that
provides interconnected VoIP service as that term is defined in 47 CFR § 9.3).
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appropriate and feasible, as discussed below, to reduce the compliance burden and the economic impact
of the rules adopted in the Report and Order on small entities.
         C.        Response to Comments by the Chief Counsel for Advocacy of the Small Business
                   Administration
         5.     Pursuant to the Small Business Jobs Act of 2010, which amended the RFA, the
Commission is required to respond to any comments filed by the Chief Counsel for Advocacy of the
Small Business Administration (SBA), and to provide a detailed statement of any change made to the
proposed rules as a result of those comments.5 The Chief Counsel did not file any comments in response
to the proposed rules in this proceeding.
         D.        Description and Estimate of the Number of Small Entities to Which the Rules Will
                   Apply
         6.      The RFA directs agencies to provide a description of, and where feasible, an estimate of
the number of small entities that may be affected by the rules adopted herein.6 The RFA generally defines
the term “small entity” as having the same meaning as the terms “small business,” “small organization,”
and “small governmental jurisdiction.”7 In addition, the term “small business” has the same meaning as
the term “small-business concern” under the Small Business Act.8 A “small-business concern” is one
which: (1) is independently owned and operated; (2) is not dominant in its field of operation; and (3)
satisfies any additional criteria established by the SBA.9
        7.        Small Businesses, Small Organizations, Small Governmental Jurisdictions. Our actions,
over time, may affect small entities that are not easily categorized at present. We therefore describe, at
the outset, three broad groups of small entities that could be directly affected herein.10 First, while there
are industry specific size standards for small businesses that are used in the regulatory flexibility analysis,
according to data from the Small Business Administration’s (SBA) Office of Advocacy, in general a
small business is an independent business having fewer than 500 employees.11 These types of small
businesses represent 99.9% of all businesses in the United States, which translates to 32.5 million
businesses.12
         8.      Next, the type of small entity described as a “small organization” is generally “any not-
for-profit enterprise which is independently owned and operated and is not dominant in its field.”13 The
Internal Revenue Service (IRS) uses a revenue benchmark of $50,000 or less to delineate its annual



5 5 U.S.C. § 604(a)(3).

6 See id. § 604(a)(4).

7 Id. § 601(6).

8 Id. § 601(3) (incorporating by reference the definition of “small-business concern” in the Small Business Act, 15

U.S.C. § 632). Pursuant to 5 U.S.C. § 601(3), the statutory definition of a small business applies “unless an agency,
after consultation with the Office of Advocacy of the Small Business Administration and after opportunity for public
comment, establishes one or more definitions of such term which are appropriate to the activities of the agency and
publishes such definition(s) in the Federal Register.” Id.
9 See 15 U.S.C. § 632.

10 See 5 U.S.C. § 601(3)-(6).

11 See SBA, Office of Advocacy, Frequently Asked Questions, “What is a small business?” (Mar. 2023),

https://advocacy.sba.gov/wp-content/uploads/2023/03/Frequently-Asked-Questions-About-Small-Business-March-
2023-508c.pdf.
12 Id.

13 See 5 U.S.C. § 601(4).


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electronic filing requirements for small exempt organizations.14 Nationwide, for tax year 2020, there
were approximately 447,689 small exempt organizations in the U.S. reporting revenues of $50,000 or less
according to the registration and tax data for exempt organizations available from the IRS.15
         9.       Finally, the small entity described as a “small governmental jurisdiction” is defined
generally as “governments of cities, counties, towns, townships, villages, school districts, or special
districts, with a population of less than fifty thousand.”16 U.S. Census Bureau data from the 2017 Census
of Governments17 indicate there were 90,075 local governmental jurisdictions consisting of general
purpose governments and special purpose governments in the United States.18 Of this number there were
36,931 general purpose governments (county19, municipal and town or township20) with populations of
less than 50,000 and 12,040 special purpose governments - independent school districts21 with enrollment




14 The IRS benchmark is similar to the population of less than 50,000 benchmark in 5 U.S.C § 601(5) that is used to

define a small governmental jurisdiction. Therefore, the IRS benchmark has been used to estimate the number small
organizations in this small entity description. See Annual Electronic Filing Requirement for Small Exempt
Organizations — Form 990-N (e-Postcard), https://www.irs.gov/charities-non-profits/annual-electronic-filing-
requirement-for-small-exempt-organizations-form-990-n-e-postcard. We note that the IRS data does not provide
information on whether a small exempt organization is independently owned and operated or dominant in its field.
15 See Exempt Organizations Business Master File Extract (EO BMF), “CSV Files by Region,”

https://www.irs.gov/charities-non-profits/exempt-organizations-business-master-file-extract-eo-bmf. The IRS
Exempt Organization Business Master File (EO BMF) Extract provides information on all registered tax-
exempt/non-profit organizations. The data utilized for purposes of this description was extracted from the IRS EO
BMF data for businesses for the tax year 2020 with revenue less than or equal to $50,000, for Region 1-Northeast
Area (58,577), Region 2-Mid-Atlantic and Great Lakes Areas (175,272), and Region 3-Gulf Coast and Pacific Coast
Areas (213,840) that includes the continental U.S., Alaska, and Hawaii. This data does not include information for
Puerto Rico.
16 See 5 U.S.C. § 601(5).

17 See 13 U.S.C. § 161. The Census of Governments survey is conducted every five (5) years compiling data for
years ending with “2” and “7.” See also U.S. Census Bureau, About Census of Governments,
https://www.census.gov/programs-surveys/cog/about.html (last updated Nov. 2021).
18 See U.S. Census Bureau, 2017 Census of Governments – Organization Table 2. Local Governments by Type and

State: 2017 [CG1700ORG02], https://www.census.gov/data/tables/2017/econ/gus/2017-governments.html. Local
governmental jurisdictions are made up of general purpose governments (county, municipal and town or township)
and special purpose governments (special districts and independent school districts). See also tbl.2. CG1700ORG02
Table Notes_Local Governments by Type and State_2017.
19 See id. at tbl.5.
                  County Governments by Population-Size Group and State: 2017 [CG1700ORG05],
https://www.census.gov/data/tables/2017/econ/gus/2017-governments.html. There were 2,105 county governments
with populations less than 50,000. This category does not include subcounty (municipal and township)
governments.
20 See id. at tbl.6.
                 Subcounty General-Purpose Governments by Population-Size Group and State: 2017
[CG1700ORG06], https://www.census.gov/data/tables/2017/econ/gus/2017-governments.html. There were 18,729
municipal and 16,097 town and township governments with populations less than 50,000.
21 See id. at tbl.10.
                  Elementary and Secondary School Systems by Enrollment-Size Group and State: 2017
[CG1700ORG10], https://www.census.gov/data/tables/2017/econ/gus/2017-governments.html. There were 12,040
independent school districts with enrollment populations less than 50,000. See also tbl.4. Special-Purpose Local
Governments by State Census Years 1942 to 2017 [CG1700ORG04], CG1700ORG04 Table Notes_Special Purpose
Local Governments by State_Census Years 1942 to 2017.
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populations of less than 50,000.22 Accordingly, based on the 2017 U.S. Census of Governments data, we
estimate that at least 48,971 entities fall into the category of “small governmental jurisdictions.”23
                 1.       Wireline Carriers
          10.      Wired Telecommunications Carriers. The U.S. Census Bureau defines this industry as
establishments primarily engaged in operating and/or providing access to transmission facilities and
infrastructure that they own and/or lease for the transmission of voice, data, text, sound, and video using
wired communications networks.24 Transmission facilities may be based on a single technology or a
combination of technologies. Establishments in this industry use the wired telecommunications network
facilities that they operate to provide a variety of services, such as wired telephony services, including
VoIP services, wired (cable) audio and video programming distribution, and wired broadband Internet
services.25 By exception, establishments providing satellite television distribution services using facilities
and infrastructure that they operate are included in this industry.26 Wired Telecommunications Carriers
are also referred to as wireline carriers or fixed local service providers.27
         11.     The SBA small business size standard for Wired Telecommunications Carriers classifies
firms having 1,500 or fewer employees as small.28 U.S. Census Bureau data for 2017 show that there
were 3,054 firms that operated in this industry for the entire year.29 Of this number, 2,964 firms operated
with fewer than 250 employees.30 Additionally, based on Commission data in the 2022 Universal Service
Monitoring Report, as of December 31, 2021, there were 4,590 providers that reported they were engaged
in the provision of fixed local services.31 Of these providers, the Commission estimates that 4,146



22 While the special purpose governments category also includes local special district governments, the 2017 Census

of Governments data does not provide data aggregated based on population size for the special purpose governments
category. Therefore, only data from independent school districts is included in the special purpose governments
category.
23 This total is derived from the sum of the number of general purpose governments (county, municipal and town or

township) with populations of less than 50,000 (36,931) and the number of special purpose governments -
independent school districts with enrollment populations of less than 50,000 (12,040), from the 2017 Census of
Governments - Organizations tbls.5, 6 & 10.
24 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”

https://www.census.gov/naics/?input=517311&year=2017&details=517311.
25 Id.

26 Id.

27 Fixed Local Service Providers include the following types of providers: Incumbent Local Exchange Carriers

(ILECs), Competitive Access Providers (CAPs) and Competitive Local Exchange Carriers (CLECs), Cable/Coax
CLECs, Interconnected VOIP Providers, Non-Interconnected VOIP Providers, Shared-Tenant Service Providers,
Audio Bridge Service Providers, and Other Local Service Providers. Local Resellers fall into another U.S. Census
Bureau industry group and therefore data for these providers is not included in this industry.
28 See 13 CFR § 121.201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

29 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
30 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
31 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf. https://docs.fcc.gov/public/attachments/DOC-
379181A1.pdf
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providers have 1,500 or fewer employees.32 Consequently, using the SBA’s small business size standard,
most of these providers can be considered small entities.
         12.      Local Exchange Carriers (LECs). Neither the Commission nor the SBA has developed a
size standard for small businesses specifically applicable to local exchange services. Providers of these
services include both incumbent and competitive local exchange service providers. Wired
Telecommunications Carriers33 is the closest industry with an SBA small business size standard.34 Wired
Telecommunications Carriers are also referred to as wireline carriers or fixed local service providers.35
The SBA small business size standard for Wired Telecommunications Carriers classifies firms having
1,500 or fewer employees as small.36 U.S. Census Bureau data for 2017 show that there were 3,054 firms
that operated in this industry for the entire year.37 Of this number, 2,964 firms operated with fewer than
250 employees.38 Additionally, based on Commission data in the 2022 Universal Service Monitoring
Report, as of December 31, 2021, there were 4,590 providers that reported they were fixed local exchange
service providers.39 Of these providers, the Commission estimates that 4,146 providers have 1,500 or
fewer employees.40 Consequently, using the SBA’s small business size standard, most of these providers
can be considered small entities. Incumbent Local Exchange Carriers (Incumbent LECs). Neither the
Commission nor the SBA have developed a small business size standard specifically for incumbent local
exchange carriers. Wired Telecommunications Carriers41 is the closest industry with an SBA small
business size standard.42 The SBA small business size standard for Wired Telecommunications Carriers
classifies firms having 1,500 or fewer employees as small.43 U.S. Census Bureau data for 2017 show that
there were 3,054 firms in this industry that operated for the entire year.44 Of this number, 2,964 firms



32 Id.

33 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”

https://www.census.gov/naics/?input=517311&year=2017&details=517311.
34 See 13 CFR § 121.201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

35 Fixed Local Exchange Service Providers include the following types of providers: Incumbent Local Exchange

Carriers (ILECs), Competitive Access Providers (CAPs) and Competitive Local Exchange Carriers (CLECs),
Cable/Coax CLECs, Interconnected VOIP Providers, Non-Interconnected VOIP Providers, Shared-Tenant Service
Providers, Audio Bridge Service Providers, Local Resellers, and Other Local Service Providers.
36 Id.

37 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
38 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
39 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
40 Id.

41 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”

https://www.census.gov/naics/?input=517311&year=2017&details=517311.
42 See 13 CFR § 121.201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

43 Id.

44 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
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operated with fewer than 250 employees.45 Additionally, based on Commission data in the 2022
Universal Service Monitoring Report, as of December 31, 2021, there were 1,212 providers that reported
they were incumbent local exchange service providers.46 Of these providers, the Commission estimates
that 916 providers have 1,500 or fewer employees.47 Consequently, using the SBA’s small business size
standard, the Commission estimates that the majority of incumbent local exchange carriers can be
considered small entities.
          13.     Incumbent Local Exchange Carriers (Incumbent LECs). Neither the Commission nor the
SBA have developed a small business size standard specifically for incumbent local exchange carriers.
Wired Telecommunications Carriers48 is the closest industry with an SBA small business size standard.49
The SBA small business size standard for Wired Telecommunications Carriers classifies firms having
1,500 or fewer employees as small.50 U.S. Census Bureau data for 2017 show that there were 3,054 firms
in this industry that operated for the entire year.51 Of this number, 2,964 firms operated with fewer than
250 employees.52 Additionally, based on Commission data in the 2022 Universal Service Monitoring
Report, as of December 31, 2021, there were 1,212 providers that reported they were incumbent local
exchange service providers.53 Of these providers, the Commission estimates that 916 providers have
1,500 or fewer employees.54 Consequently, using the SBA’s small business size standard, the
Commission estimates that the majority of incumbent local exchange carriers can be considered small
entities.
       14.      Competitive Local Exchange Carriers (LECs). Neither the Commission nor the SBA has
developed a size standard for small businesses specifically applicable to local exchange services.
Providers of these services include several types of competitive local exchange service providers.55
Wired Telecommunications Carriers56 is the closest industry with a SBA small business size standard.
The SBA small business size standard for Wired Telecommunications Carriers classifies firms having

45 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
46 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
47 Id.

48 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”

https://www.census.gov/naics/?input=517311&year=2017&details=517311.
49 See 13 CFR § 121.201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

50 Id.

51 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
52 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
53 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
54 Id.

55 Competitive Local Exchange Service Providers include the following types of providers: Competitive Access

Providers (CAPs) and Competitive Local Exchange Carriers (CLECs), Cable/Coax CLECs, Interconnected VOIP
Providers, Non-Interconnected VOIP Providers, Shared-Tenant Service Providers, Audio Bridge Service Providers,
Local Resellers, and Other Local Service Providers.
56 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”

https://www.census.gov/naics/?input=517311&year=2017&details=517311.
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1,500 or fewer employees as small.57 U.S. Census Bureau data for 2017 show that there were 3,054 firms
that operated in this industry for the entire year.58 Of this number, 2,964 firms operated with fewer than
250 employees.59 Additionally, based on Commission data in the 2022 Universal Service Monitoring
Report, as of December 31, 2021, there were 3,378 providers that reported they were competitive local
exchange service providers.60 Of these providers, the Commission estimates that 3,230 providers have
1,500 or fewer employees.61 Consequently, using the SBA’s small business size standard, most of these
providers can be considered small entities.
         15.      Interexchange Carriers (IXCs). Neither the Commission nor the SBA have developed a
small business size standard specifically for Interexchange Carriers. Wired Telecommunications
Carriers62 is the closest industry with a SBA small business size standard.63 The SBA small business size
standard for Wired Telecommunications Carriers classifies firms having 1,500 or fewer employees as
small.64 U.S. Census Bureau data for 2017 show that there were 3,054 firms that operated in this industry
for the entire year.65 Of this number, 2,964 firms operated with fewer than 250 employees.66
Additionally, based on Commission data in the 2022 Universal Service Monitoring Report, as of
December 31, 2021, there were 127 providers that reported they were engaged in the provision of
interexchange services. Of these providers, the Commission estimates that 109 providers have 1,500 or
fewer employees.67 Consequently, using the SBA’s small business size standard, the Commission
estimates that the majority of providers in this industry can be considered small entities.
        16.       Cable System Operators (Telecom Act Standard). The Communications Act of 1934, as
amended, contains a size standard for a “small cable operator,” which is “a cable operator that, directly or
through an affiliate, serves in the aggregate fewer than one percent of all subscribers in the United States
and is not affiliated with any entity or entities whose gross annual revenues in the aggregate exceed
$250,000,000.”68 For purposes of the Telecom Act Standard, the Commission determined that a cable
system operator that serves fewer than 498,000 subscribers, either directly or through affiliates, will meet

57 See 13 CFR § 121.201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

58 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
59 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
60 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
61 Id.

62 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”

https://www.census.gov/naics/?input=517311&year=2017&details=517311.
63 See 13 CFR § 121.201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

64 Id.

65 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
66 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
67 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
68 47 U.S.C. § 543(m)(2).


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the definition of a small cable operator.69 Based on industry data, only six cable system operators have
more than 498,000 subscribers.70 Accordingly, the Commission estimates that the majority of cable
system operators are small under this size standard. We note however, that the Commission neither
requests nor collects information on whether cable system operators are affiliated with entities whose
gross annual revenues exceed $250 million.71 Therefore, we are unable at this time to estimate with
greater precision the number of cable system operators that would qualify as small cable operators under
the definition in the Communications Act.
         17.      Other Toll Carriers. Neither the Commission nor the SBA has developed a definition for
small businesses specifically applicable to Other Toll Carriers. This category includes toll carriers that do
not fall within the categories of interexchange carriers, operator service providers, prepaid calling card
providers, satellite service carriers, or toll resellers. Wired Telecommunications Carriers72 is the closest
industry with a SBA small business size standard.73 The SBA small business size standard for Wired
Telecommunications Carriers classifies firms having 1,500 or fewer employees as small.74 U.S. Census
Bureau data for 2017 show that there were 3,054 firms in this industry that operated for the entire year.75
Of this number, 2,964 firms operated with fewer than 250 employees.76 Additionally, based on
Commission data in the 2022 Universal Service Monitoring Report, as of December 31, 2021, there were
90 providers that reported they were engaged in the provision of other toll services.77 Of these providers,
the Commission estimates that 87 providers have 1,500 or fewer employees.78 Consequently, using the
SBA’s small business size standard, most of these providers can be considered small entities.
                  2.       Wireless Carriers
         18.    Wireless Telecommunications Carriers (except Satellite). This industry comprises
establishments engaged in operating and maintaining switching and transmission facilities to provide



69 FCC Announces Updated Subscriber Threshold for the Definition of Small Cable Operator, Public Notice, DA

23-906 (MB 2023) (2023 Subscriber Threshold PN). In this Public Notice, the Commission determined that there
were approximately 49.8 million cable subscribers in the United States at that time using the most reliable source
publicly available. Id. This threshold will remain in effect until the Commission issues a superseding Public
Notice.. See 47 CFR § 76.901(e)(1).
70 S&P Global Market Intelligence, S&P Capital IQ Pro, Top Cable MSOs 06/23Q (last visited Sept. 27, 2023); S&P

Global Market Intelligence, Multichannel Video Subscriptions, Top 10 (April 2022).
71 The Commission does receive such information on a case-by-case basis if a cable operator appeals a local

franchise authority’s finding that the operator does not qualify as a small cable operator pursuant to § 76.901(e) of
the Commission’s rules. See 47 CFR § 76.910(b).
72 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”

https://www.census.gov/naics/?input=517311&year=2017&details=517311.
73 See 13 CFR § 121.201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

74 Id.

75 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
76 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
77 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf. https://docs.fcc.gov/public/attachments/DOC-
379181A1.pdf
78 Id.


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communications via the airwaves.79 Establishments in this industry have spectrum licenses and provide
services using that spectrum, such as cellular services, paging services, wireless Internet access, and
wireless video services.80 The SBA size standard for this industry classifies a business as small if it has
1,500 or fewer employees.81 U.S. Census Bureau data for 2017 show that there were 2,893 firms in this
industry that operated for the entire year.82 Of that number, 2,837 firms employed fewer than 250
employees.83 Additionally, based on Commission data in the 2022 Universal Service Monitoring Report,
as of December 31, 2021, there were 594 providers that reported they were engaged in the provision of
wireless services.84 Of these providers, the Commission estimates that 511 providers have 1,500 or fewer
employees.85 Consequently, using the SBA’s small business size standard, most of these providers can be
considered small entities.
          19.     Satellite Telecommunications. This industry comprises firms “primarily engaged in
providing telecommunications services to other establishments in the telecommunications and
broadcasting industries by forwarding and receiving communications signals via a system of satellites or
reselling satellite telecommunications.”86 Satellite telecommunications service providers include satellite
and earth station operators. The SBA small business size standard for this industry classifies a business
with $38.5 million or less in annual receipts as small.87 U.S. Census Bureau data for 2017 show that 275
firms in this industry operated for the entire year.88 Of this number, 242 firms had revenue of less than
$25 million.89 Additionally, based on Commission data in the 2022 Universal Service Monitoring Report,
as of December 31, 2021, there were 65 providers that reported they were engaged in the provision of
satellite telecommunications services.90 Of these providers, the Commission estimates that approximately




79 See U.S. Census Bureau, 2017 NAICS Definition, “517312 Wireless Telecommunications Carriers (except

Satellite),” https://www.census.gov/naics/?input=517312&year=2017&details=517312.
80 Id.

81 See 13 CFR § 121.201, NAICS Code 517312 (as of 10/1/22, NAICS Code 517112).

82 See U.S. Census Bureau, 2017 Economic Census of the United States, Employment Size of Firms for the U.S.:

2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517312,
https://data.census.gov/cedsci/table?y=2017&n=517312&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
83 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
84 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
85 Id.

86 See U.S. Census Bureau, 2017 NAICS Definition, “517410 Satellite Telecommunications,”

https://www.census.gov/naics/?input=517410&year=2017&details=517410.
87 See 13 CFR § 121.201, NAICS Code 517410.

88 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Sales, Value of Shipments,

or Revenue Size of Firms for the U.S.: 2017, Table ID: EC1700SIZEREVFIRM, NAICS Code 517410,
https://data.census.gov/cedsci/table?y=2017&n=517410&tid=ECNSIZE2017.EC1700SIZEREVFIRM&hidePrevie
w=false.
89 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard. We also note that according to the U.S. Census Bureau glossary, the terms receipts and
revenues are used interchangeably, see https://www.census.gov/glossary/#term_ReceiptsRevenueServices.
90 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
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42 providers have 1,500 or fewer employees.91 Consequently, using the SBA’s small business size
standard, a little more than half of these providers can be considered small entities.
                 3.       Resellers
         20.      Local Resellers. Neither the Commission nor the SBA have developed a small business
size standard specifically for Local Resellers. Telecommunications Resellers is the closest industry with
a SBA small business size standard.92 The Telecommunications Resellers industry comprises
establishments engaged in purchasing access and network capacity from owners and operators of
telecommunications networks and reselling wired and wireless telecommunications services (except
satellite) to businesses and households.93 Establishments in this industry resell telecommunications; they
do not operate transmission facilities and infrastructure.94 Mobile virtual network operators (MVNOs) are
included in this industry.95 The SBA small business size standard for Telecommunications Resellers
classifies a business as small if it has 1,500 or fewer employees.96 U.S. Census Bureau data for 2017
show that 1,386 firms in this industry provided resale services for the entire year.97 Of that number, 1,375
firms operated with fewer than 250 employees.98 Additionally, based on Commission data in the 2022
Universal Service Monitoring Report, as of December 31, 2021, there were 207 providers that reported
they were engaged in the provision of local resale services.99 Of these providers, the Commission
estimates that 202 providers have 1,500 or fewer employees.100 Consequently, using the SBA’s small
business size standard, most of these providers can be considered small entities.
         21.      Toll Resellers. Neither the Commission nor the SBA have developed a small business
size standard specifically for Toll Resellers. Telecommunications Resellers101 is the closest industry with
a SBA small business size standard. The Telecommunications Resellers industry comprises
establishments engaged in purchasing access and network capacity from owners and operators of
telecommunications networks and reselling wired and wireless telecommunications services (except
satellite) to businesses and households. Establishments in this industry resell telecommunications; they
do not operate transmission facilities and infrastructure.102 Mobile virtual network operators (MVNOs)
are included in this industry.103 The SBA small business size standard for Telecommunications Resellers

91 Id.

92 See U.S. Census Bureau, 2017 NAICS Definition, “517911 Telecommunications Resellers,”

https://www.census.gov/naics/?input=517911&year=2017&details=517911.
93 Id.

94 Id.

95 Id.

96 See 13 CFR § 121.201, NAICS Code 517911 (as of 10/1/22, NAICS Code 517121).

97 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms

for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517911,
https://data.census.gov/cedsci/table?y=2017&n=517911&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
98 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
99 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf.
100 Id.

101 See U.S. Census Bureau, 2017 NAICS Definition, “517911 Telecommunications Resellers,”

https://www.census.gov/naics/?input=517911&year=2017&details=517911.
102 Id.

103 Id.


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classifies a business as small if it has 1,500 or fewer employees.104 U.S. Census Bureau data for 2017
show that 1,386 firms in this industry provided resale services for the entire year.105 Of that number,
1,375 firms operated with fewer than 250 employees.106 Additionally, based on Commission data in the
2022 Universal Service Monitoring Report, as of December 31, 2021, there were 457 providers that
reported they were engaged in the provision of toll services.107 Of these providers, the Commission
estimates that 438 providers have 1,500 or fewer employees.108 Consequently, using the SBA’s small
business size standard, most of these providers can be considered small entities.
        22.       Prepaid Calling Card Providers. Neither the Commission nor the SBA has developed a
small business size standard specifically for prepaid calling card providers. Telecommunications
Resellers109 is the closest industry with a SBA small business size standard. The Telecommunications
Resellers industry comprises establishments engaged in purchasing access and network capacity from
owners and operators of telecommunications networks and reselling wired and wireless
telecommunications services (except satellite) to businesses and households. Establishments in this
industry resell telecommunications; they do not operate transmission facilities and infrastructure.110
Mobile virtual network operators (MVNOs) are included in this industry.111 The SBA small business size
standard for Telecommunications Resellers classifies a business as small if it has 1,500 or fewer
employees.112 U.S. Census Bureau data for 2017 show that 1,386 firms in this industry provided resale
services for the entire year.113 Of that number, 1,375 firms operated with fewer than 250 employees.114
Additionally, based on Commission data in the 2022 Universal Service Monitoring Report, as of
December 31, 2021, there were 62 providers that reported they were engaged in the provision of prepaid
card services.115 Of these providers, the Commission estimates that 61 providers have 1,500 or fewer


104 See 13 CFR § 121.201, NAICS Code 517911 (as of 10/1/22, NAICS Code 517121).

105 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of

Firms for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517911,
https://data.census.gov/cedsci/table?y=2017&n=517911&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
106 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
107 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),

https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf. https://docs.fcc.gov/public/attachments/DOC-
379181A1.pdf
108 Id.

109 See U.S. Census Bureau, 2017 NAICS Definition, “517911 Telecommunications Resellers,”

https://www.census.gov/naics/?input=517911&year=2017&details=517911.
110 Id.

111 Id.

112 See 13 CFR § 121.201, NAICS Code 517911 (as of 10/1/22, NAICS Code 517121).

113 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of

Firms for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517911,
https://data.census.gov/cedsci/table?y=2017&n=517911&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie
w=false.
114 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.
115 Federal-State Joint Board on Universal Service, Universal Service Monitoring Report at 26, Table 1.12 (2022),


https://docs.fcc.gov/public/attachments/DOC-391070A1.pdf. https://docs.fcc.gov/public/attachments/DOC-
379181A1.pdf
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employees.116 Consequently, using the SBA’s small business size standard, most of these providers can
be considered small entities. Other Entities
          23.     All Other Telecommunications. This industry is comprised of establishments primarily
engaged in providing specialized telecommunications services, such as satellite tracking, communications
telemetry, and radar station operation.117 This industry also includes establishments primarily engaged in
providing satellite terminal stations and associated facilities connected with one or more terrestrial
systems and capable of transmitting telecommunications to, and receiving telecommunications from,
satellite systems.118 Providers of Internet services (e.g. dial-up ISPs) or Voice over Internet Protocol
(VoIP) services, via client-supplied telecommunications connections are also included in this industry.119
The SBA small business size standard for this industry classifies firms with annual receipts of $35 million
or less as small.120 U.S. Census Bureau data for 2017 show that there were 1,079 firms in this industry
that operated for the entire year.121 Of those firms, 1,039 had revenue of less than $25 million.122 Based
on this data, the Commission estimates that the majority of “All Other Telecommunications” firms can be
considered small.
          E.     Description of Projected Reporting, Recordkeeping, and Other Compliance
                 Requirements for Small Entities
         24.     In the Report and Order, we expanded the scope of the Commission’s breach notification
rules to cover various categories of customer PII held by telecommunications carriers. We also adopted a
requirement that all telecommunications carriers notify the Commission, in addition to the Secret Service
and the FBI, as soon as practicable, and in no event later than seven business days after reasonable
determination of a breach of covered data. We exempted from this notification requirement breaches that
affect fewer than 500 customers and for which the carrier reasonably determines that no harm to
customers is reasonably likely to occur as a result of the breach. Instead, we required carriers to sign and
file with the Commission and other law enforcement an annual summary regarding all such breaches
occurring in the previous calendar year. Carriers must also notify affected customers of breaches, with
the exception of instances where a carrier can reasonably determine that no harm to such customers is
reasonably likely to occur as a result of the breach. Additionally, we applied similar rules to TRS
providers.123
        25.    Our review of the record included comments about unique burdens for small businesses
that may be impacted by the notification requirements adopted in the Report and Order. Accordingly, the
Commission considered, and adopted provisions to mitigate, some of those concerns. For example, the

116 Id.

117 See U.S. Census Bureau, 2017 NAICS Definition, “517919 All Other Telecommunications,”

https://www.census.gov/naics/?input=517919&year=2017&details=517919.
118 Id.

119 Id.

120 See 13 CFR § 121.201, NAICS Code 517919 (as of 10/1/22, NAICS Code 517810).

121 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Sales, Value of

Shipments, or Revenue Size of Firms for the U.S.: 2017, Table ID: EC1700SIZEREVFIRM, NAICS Code 517919,
https://data.census.gov/cedsci/table?y=2017&n=517919&tid=ECNSIZE2017.EC1700SIZEREVFIRM&hidePrevie
w=false.
122 Id.The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard. We also note that according to the U.S. Census Bureau glossary, the terms receipts and
revenues are used interchangeably, see https://www.census.gov/glossary/#term_ReceiptsRevenueServices.


123 The breach notification and reporting obligations for TRS providers to covered data which includes TRS call

content, includes customer PII and Customer Proprietary Network Information (CPNI).
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Commission decided to utilize the existing reporting portal, which small and other carriers and TRS
providers are already accustomed to using to notify the Commission along with the Secret Service and
FBI of breaches rather than creating a centralized reporting facility operated by the Commission to report
breaches to the Commission and these agencies as proposed in the Data Breach Notice. As such, the
Commission anticipates that the requirement to notify it of data breaches will have de minimis cost
implications because small and other carriers and TRS providers are already obligated to notify the Secret
Service and FBI of such breaches, and will use the existing portal to do so. The Commission delegated
authority to the Wireline Competition Bureau to coordinate with the Secret Service, the current
administrator of the reporting facility, and the FBI, to the extent necessary, to ensure that the Commission
will be notified when data breaches are reported, thereby ensuring that no additional burden would be
imposed on small and other carriers and TRS providers. The Commission also adopted a threshold
trigger that permits carriers and TRS providers to forgo notifying federal agencies of breaches that are
limited in scope and unlikely to pose harm to customers, instead requiring small and other carriers and
TRS providers to maintain the information, and file an annual summary of such breaches. Additionally,
with the support of several small carriers, the Commission adopted a harm-based notification trigger for
reporting breaches to customers, which allows small and rural providers to focus their resources on data
security and mitigation measures rather than generating notifications where harm to the consumer is
unlikely.124
         26.     In the Report and Order we also adopted a “without unreasonable delay, but no later than
30 days after reasonable determination of the breach” timeframe for notifying customers of covered data
breaches. Consistent with the comments in support of small carriers interests, we recognize that this
reporting standard can take into account factors such as the provider’s size, as a small carrier may have
limited resources and could require additional time to investigate a data breach than a large carrier.125 We
note that many state laws similarly require breach notifications which are in line with the requirements
that the Commission adopts today. Therefore, although the Commission cannot quantify the compliance
costs, we do not expect the adopted rules to impose any significant cost burdens for small entities, or
require these entities to hire professionals to meet their compliance obligations.
         F.       Steps Taken to Minimize the Significant Economic Impact on Small Entities, and
                  Significant Alternatives Considered
         27.     The RFA requires an agency to provide “a description of the steps the agency has taken
to minimize the significant economic impact on small entities . . . including a statement of the factual,
policy, and legal reasons for selecting the alternative adopted in the final rule and why each one of the
other significant alternatives to the rule considered by the agency which affect the impact on small entities
was rejected.”126
         28.     The Commission took steps and considered alternatives in this proceeding that may
reduce the impact of the adopted rule changes on small entities. For example, our expansion of the
definition of “breach” included consideration of whether to include situations where a
telecommunications carrier, or a third party discovers conduct that could have reasonably led to exposure
of customer CPNI, even if it has not yet determined if such exposure occurred.127 Small and other




124 Blooston Rural Carriers Comments at 2; WISPA Comments at 5.

125 ACA Connects Comments at 14; Blooston Rural Carriers Comments at 5-6; Blooston Rural Carriers Reply at 3

(“A reasonableness timeframe will allow service providers to respond more quickly when circumstances warrant,
while at the same time allowing flexibility if a small service provider has limited personnel and/or resources
available and is focused on addressing and minimizing harm to consumers.”).
126 5 U.S.C. § 604(a)(6).

127 Data Breach Notice at 10, para. 14.


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commenters generally opposed such an expansion,128 and we ultimately declined to expand “breach” to
include these situations. Conversely, although some commenters on behalf of small entities opposed
requiring breach notification to the Commission, we were not persuaded by their arguments.129 We
disagreed that the existing requirement to notify the Secret Service and the FBI is sufficient and that
adding the Commission to the list of recipients of the same breach notifications Commission rules already
require carriers to submit would impose any additional burden on carriers. Several actions we take in the
Report and Order will avoid imposing additional burdens on small and other carriers who have to file
breach notifications with the Commission.
         29.      As an initial matter the Commission considered, and included a good-faith exception that
excluded from the definition of “breach” a good-faith acquisition of covered data by an employee or agent
of a carrier where such information is not used improperly or further disclosed.130 We believe this
exception will help avoid excessive notifications to consumers, and reduce reporting burdens on small
and other carriers.131 Furthermore, in the Data Breach Notice, the Commission proposed to create a new
portal for reporting breaches to the Commission. However, in the Report and Order we decided instead
to make use of the existing portal which small and other carriers and TRS providers are already
accustomed to using for data breach reporting requirements to federal law enforcement agencies. Our
decision to continue using a portal that small and other carriers and providers are already familiar and
comfortable working with reduces the administrative burdens on small entities of learning a new
mechanism and creating new reporting processes. Additionally, the contents of the notification to the
Commission are the same fields that carriers and providers already report to the Secret Service and the
FBI. We agreed with commenters on behalf of small entities that the breach notification information
small and other carriers and providers are required to submit to the FBI and Secret Service is largely
sufficient, and the Commission should generally require reporting of the same information.132 As such,
the impact of also reporting the breach to the Commission should be de minimis on small carriers and
providers. The Commission considered adopting a lower reporting threshold for the affected-customer
notification of no-harm-risk breaches to the federal agencies but ultimately decided to adopt a 500-
customer threshold because that is consistent with many other state laws, and would therefore promote
consistency and efficiency in compliance. A lower threshold could impose higher burdens on small and
other carriers and providers, so we declined to adopt such a rule. Likewise for consistency and efficiency,
we similarly declined to adopt a threshold of 5000 affected customers to trigger notification to federal

128 ACA Connects Comments at 4-5 n.10; USTelecom Comments at 5-6; WISPA Comments at 4; CTIA Comments

at 27; Verizon Comments at 9-10; WTA Reply at 2 (contending that “conduct or security weaknesses that
theoretically or potentially could have led to exposure of CPNI (but where there is no evidence that they actually
did) are matters for carrier corrective actions and employee training . . .”).
129 WISPA Comments at 6.

130 Data Breach Notice at 9, para. 14.  In the Data Breach Notice, we used the term “exemption” instead of
“exception” when asking commenters whether we should exclude from the definition of “breach” a good-faith
acquisition of covered data. See id. at 10, para. 14. For the purpose of clarity, we instead use the word “exception”
here to describe this exclusion. While we make this exception to our definition of “breach,” we nevertheless expect
carriers to “take reasonable measures” in such scenarios to protect such customer information from improper use or
further disclosure, which may, for example, involve requiring that such an employee or agent destroy the data upon
realizing that the data was disclosed without, or in excess of, authorization. Cf. 47 CFR § 64.2010(a) (requiring
telecommunications carriers to take reasonable measures to discover and protect against attempts to gain
unauthorized access to CPNI).
131 Blooston Rural Carriers Comments at 2 (Arguing that a good-faith exception will prevent carriers from

“unnecessarily confus[ing] and alarm[ing] consumers” in such low-risk situations); National Rural Electric
Cooperative Association (NRECA) Reply at 4 (Arguing that without the exception, “more serious data breaches
[will potentially] become lost in the ‘noise’ of multiple notifications.”)
132 WISPA Comments at 7 (Arguing that “the information currently submitted through the FBI/Secret Service

reporting facility is largely sufficient and that generally the same information should be reported” under the
Commission's updated rules).
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agencies.133 The Commission also considered ways to reduce the burden of the annual reporting
requirement for breaches affecting fewer than 500 individuals and where the carrier or TRS provider
could reasonably determine that no harm to customers was reasonably likely to occur as a result of the
breach. In determining the content and format requirements of the annual report, the Commission
instructed the Bureau to minimize the burdens on carriers and TRS providers by, for example, limiting the
content required for each reported breach to that absolutely necessary to identify patterns or gaps that
require further Commission inquiry. At a minimum, the Commission directed the Bureau to develop
requirements that are less burdensome than what is required for individual breach submissions to the
reporting facility, and to consider streamlined ways for filers to report this summary information.
         30.     The Commission also considered adopting minimum requirements for the contents of
customer notifications for telecommunications carriers and TRS providers. However, we declined to
impose such minimum requirements on carriers and TRS providers because doing so may create
unnecessary burdens on carriers and TRS providers, particularly small ones. Specifically, we considered
but declined to adopt minimum reporting requirements harmonizing content requirements for carriers
with the information required under the Cyber Incident Reporting for Critical Infrastructure Act of 2022
(CIRCIA) as part of their notifications to federal agencies.134 In the absence of final rules, and a potential
for imposing duplicative or inconsistent fields,135 by declining to adopt such a requirement we minimize
the economic impact for small entities. Relatedly, we declined to adopt a specific method of notification
for customers, instead deciding that carriers and TRS providers have pre-established methods of reaching
their customers, each carrier or TRS provider is in the best position to know how best to reach their
customers, and imposing a specific method would add unnecessary burdens to the industry. The
Commission also considered requiring notification to all customers whenever a breach occurred. Such a
requirement would lead to increased obligations to notify customers of every instance which qualified as
a “breach” under the expanded definition and scope of the rules described in the Report and Order.
However, by adopting the harm-based trigger, we limit the applicability of the customer-notification
obligations to breaches which are likely to cause harm to customers, thereby reducing burdens on small
and other telecommunications carriers and TRS providers. In addition, we also adopted a safe harbor
under which customer notification is not required where a breach solely involves encrypted data and the
carrier has definitive evidence that the encryption key was not also accessed, used, or disclosed, further
reducing burdens on small and other carriers from the Commission’s customer notification requirements.
        31.      The Commission’s actions and the considerations discussed above lead us to believe that
the new requirements adopted in the Report and Order are minimally burdensome, and small carriers and
TRS providers should not have any increased regulatory burdens, or significant compliance issues with
including these new breach notification requirements in their existing processes. Nevertheless, the
importance of the breach notification requirements adopted in the Report and Order to safeguard the
public against improper use or disclosure of their customer data, to hold telecommunications carriers and
TRS providers accountable, and to ensure customers are provided with the necessary resources to protect

133 WTA Comments at 7; Blooston Rural Carriers Reply at 5.

134 Data Breach Notice at 14, para. 27.

135 ACA Connects Comments at 9-10 n.23 (“[A]t this juncture there is no way for the Commission to predict with

any certainty whether, and if so to what degree, any revised data breach notification rules the Commission adopts
would align with those ultimately adopted by CISA. . . . [T]he substance of the eventual CISA rules is too
speculative for the Commission to consider harmonizing its data breach notification rules with CISA’s cyber
incident reporting rules at this time. Once both agencies adopt their respective incident notification rules, the
Commission may further evaluate how to minimize potential duplicate reporting of CPNI breaches arising from
cyber incidents, for instance by carving out reporting under the Commission’s rules in favor of reporting to CISA
where the incident is cyber-based.”); Blooston Rural Carriers Comments at 4 (advocating for coordination of our
data breach reporting requirements with the CISA “once data breach reporting under the recently-passed [CIRCIA]
is in place”); CCA Comments at 3-4 (“The Commission should refrain from needlessly duplicating cyber incident
reporting requirements currently being implemented by the [CISA].”).
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themselves in the event their data through their association with a telecommunications carrier or TRS
provider is compromised, outweighs any minimal burdens that telecommunications carriers and TRS
providers may experience in providing information to the Commission, and federal law enforcement
agencies.
         G.        Report to Congress
         32.     The Commission will send a copy of the Report and Order, including this FRFA, in a
report to be sent to Congress pursuant to the Congressional Review Act.136 In addition, the Commission
will send a copy of the Report and Order, including this FRFA, to the Chief Counsel for Advocacy of the
Small Business Administration. A copy of the Report and Order (or summaries thereof) will also be
published in the Federal Register.137




136 Id. § 801(a)(1)(A).

137 See id. § 604(b).


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                                    STATEMENT OF
                            CHAIRWOMAN JESSICA ROSENWORCEL

Re:     Data Breach Reporting Requirements, WC Docket No. 22-21, Report and Order
        (December 13, 2023)

         It has been sixteen years since the Federal Communications Commission last updated its policies
to protect consumers from data breaches. Sixteen years! To be clear, that was before the iPhone was
introduced. There were no smart phones, there was no app store, there were no blue and green bubbles
for text. It was a long time ago. In the intervening years a lot has changed about when, where, and how
we use our phones, and what data our providers collect about us when we do. But not the FCC’s data
breach rules; they remain stuck in the analog age.

        Today we fix this problem. We update our policies to protect consumers from digital age data
breaches. We make clear that under the Communications Act carriers have a duty to protect the privacy
and security of consumer data.

         First, we modernize our data breach rules to make clear they include all personally identifiable
information. In the past, these rules have only prohibited the disclosure of information about who we call
and when. But consumers also deserve to know if their carrier has disclosed their social security number
or financial data or other sensitive information that could put them in harm’s way. We fix that today—
and it is overdue.

         Second, we modernize our data breach rules to make clear they cover intentional and inadvertent
disclosure of customer information. Consumers deserve protection regardless of whether the release of
their personally identifiable information was intentional or accidental. Either way, they could find
themselves in trouble, so our rules need to address both.

        Third, we modernize our standards for notification. That means in the event of a data breach,
your carrier has to tell the FCC and tell you in a timely way just what happened and what personal
information may be at risk. Our old rules required carriers to wait seven business days before telling
consumers what breaches had taken place. But there is no reason why consumers should have to wait that
long before learning that their personal information has been stolen or misused.

         Finally, we update reporting requirements associated with data breaches. We also make clear our
policies apply to telecommunications relay service providers, so that those with disabilities get the same
protections as everyone else.

        These are necessary updates. Find a consumer with a phone anywhere and they would tell you
every one of these changes make sense. What makes no sense is leaving our policies stuck in the analog
era. Our phones now know so much about where we go and who we are, we need rules on the books that
make sure carriers keep our information safe and cybersecure.

         I want to thank the Commission’s Privacy and Data Protection Task Force for their input into this
effort and work to update our privacy and security policies across the board. I also want to note that with
the help of the task force, for the first time ever the FCC has signed Memoranda of Understanding with
Attorneys General from Pennsylvania, Illinois, Connecticut, and New York who are committing to work
with us on privacy, data protection, and cybersecurity enforcement matters.

        A thank you also goes to our colleagues at the U.S. Secret Service and Federal Bureau of
Investigation for their input and support on this effort. Let me also commend staff at the agency for their
work, including Callie Coker, Adam Copeland, Trent Harkrader, Melissa Kirkel, Jodie May, Kimia
Nikseresht, Zach Ross, Mason Shefa, and John Visclosky from the Wireline Competition Bureau; Robert
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Aldrich, Diane Burstein, Aaron Garza, Eliot Greenwald, Ike Ofobike, Alejandro Roark, Michael Scott,
and Mark Stone from the Consumer and Governmental Affairs Bureau; Maureen Bizhko, John
Blumenschein, Justin Cain, Michael Connelly, Debra Jordan, Nicole McGinnis, Erika Olsen, Austin
Randazzo, and Chris Smeenk from the Public Safety and Homeland Security Bureau; Hunter Deeley,
Loyaan Egal, Peter Hyun, Ryan McDonald, Victoria Randazzo, Phillip Rosario, Kristi Thompson, and
Shana Yates from the Enforcement Bureau; Barbara Esbin, Garnet Hanly, and John Lockwood from the
Wireless Telecommunications Bureau; Michael Janson, Douglas Klein, Marcus Maher, Richard Mallen,
Royce Sherlock, Anjali Singh, and Elliot Tarloff from the Office of General Counsel; Mark Azic, Eugene
Kiselev, Giulia McHenry, and Steven Rosenberg from the Office of Economics and Analytics; and Joy
Ragsdale and Chana Wilkerson from the Office of Communications Business Opportunities.




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                                     DISSENTING STATEMENT OF
                                    COMMISSIONER BRENDAN CARR

Re:      Data Breach Reporting Requirements, Report and Order, WC Docket No. 22-21.

         In 2016, the FCC adopted a data breach notification rule in a partisan, 3-2 decision. In 2017, the
House, the Senate, and the President all came together and nullified that rule by passing a joint resolution
of disapproval under the Congressional Review Act (CRA). It was a rare rebuke of an agency rule.
Indeed, in the 27 years since Congress enacted the CRA, the law has only been used 20 times. It is strong
medicine, too. When a President signs a CRA into a law, it not only prohibits an agency from readopting
the relevant rule, it also prohibits the agency from enacting a substantially similar rule in the future
without specific legislative authorization from Congress. In other words, when an agency earns the
distinction of having a rule nullified by the CRA, the Legislative Branch and Executive Branch are
joining together to take back the agency’s rulemaking authority in the relevant area and, going forward,
future regulation, if any, must come from Congress itself. As a constitutional matter, administrative
agencies have an obligation to abide by these decisions.

         Yet today, the Commission makes no real attempt to explain how the data breach rule we adopt
today is not the same or substantially similar to the one nullified by the House, the Senate, and the
President in the 2017 CRA.1 This plainly violates the law.

         The FCC’s only real defense is one that reads the CRA out of the United States Code altogether.
The Order notes that the 2016 FCC decision adopted several rules—all of which were nullified by the
2017 CRA. But in the Order’s view, the CRA does not prohibit the FCC from putting any one of those
rules (or even some combination of them) back in place here provided that the FCC does not put all of
those 2016 rules back in place in this one decision. This creates an exception that swallows the CRA
whole. Indeed, if the FCC’s theory were correct, then agencies could insulate any one of their rules from
the CRA (no matter how strongly the House, the Senate, and the President felt about the rule) simply by
packaging that one rule together with other rules in a single document. Then, under the FCC’s theory, the
agency could always put that one rule back in place, provided it did not reenact those other rules that the
agency packaged along with it. This is a sweeping theory that far exceeds the limits that the Legislative
Branch and the Executive Branch have placed on agency decision making. Indeed, in a letter to the FCC
this week, leaders in the Senate warned that the Commission’s interpretation “would eviscerate the
CRA”.2

        But the FCC’s decision today violates more than the CRA. It also violates the APA. In the
Notice of Proposed Rulemaking (NPRM) that launched this proceeding, the Commission expressly stated,
in negotiated language, that the agency was not seeking comment on putting back in place or otherwise
issuing a new rule that is the same as or substantially similar to the rule disapproved by Congress in 2017.
Yet that is exactly what the FCC chooses to do with this data breach rule. Thus, while some have argued
that any FCC violation of the CRA is unreviewable by the courts, an FCC violation of the APA is always
reviewable.




1 Through a set of late-round edits, the Order suggests that there are a couple of ways that this data breach rule may

be different from the 2016 data breach rule. But the changes highlighted by the Order in this respect are not of the
type or substance that would be necessary for this 2023 rule to fall outside the reach of the 2017 CRA.
2 Letter from Sen. Ted Cruz, Ranking Member, Senate Committee on Commerce, Science, and Technology, et al., to

Hon. Jessica Rosenworcel, Chair, FCC (Dec. 12, 2023) (stating the FCC “is defying clear and specific direction not
to issue requirements that are substantially similar to parts of a rule disapproved by Congress.” on behalf of 4 U.S.
Senators).
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         The Order’s problems only compound from there. Indeed, even if the CRA never passed, the
FCC’s decision would exceed the Commission’s authority. For instance, instead of limiting the FCC’s
rule to the set of customer proprietary network information (CPNI) over which the agency has
jurisdiction, the Order purports to expand the agency’s CPNI framework to an expansive set of personally
identifiable information (PII)—even though Congress never gave us authority to regulate PII in this
manner and the Commission never sought comment on doing so.

        In the end, the agency could have proceeded with a set of rules based on the NPRM that would
have made progress on data breach issues while staying within the clear bounds Congress set on FCC
action. However, I cannot support this expansive interpretation of the Commission’s authority—
especially in light of the clear constraints that the House, the Senate, and the President imposed on the
agency through the 2017 CRA. Accordingly, I dissent.




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                                         STATEMENT OF
                                 COMMISSIONER GEOFFREY STARKS

Re:     Data Breach Reporting Requirements, WC Docket No. 22-21, Report and Order

         Unfortunately, we’ve all been there. You check your mail only to find a letter from a service
provider announcing that your sensitive information has been leaked as part of a data breach. And, if it
seems like these notifications and announcements are happening more frequently, you’re right.
According to a recent report, data breaches impacting US organizations are already at an all-time high.
There were more breaches in the first three quarters of 2023 than in any prior year.1 Another report states
that the United States saw 1,802 data breaches in 2022 with 422.14 million records exposed and 298
million Americans impacted.2
        This matters. Sensitive data breaches include the type of information that bad actors can exploit
for identify theft, financial fraud and crimes, and scams, placing consumers at risk in a multitude of ways.
         Congress recognized this too. Section 222 of the Communications Act gives us clear authority,
and carriers a duty, to protect the confidentiality of proprietary information of and relating to consumers
and others.3 We first adopted our data breach rules 16 years ago in 2007, but the intervening years have
shown that our data breach rules are badly in need of an update. The amount of data service providers
now collect and retain has greatly expanded the risk profile for consumers and their carriers, as does the
sophistication of bad actors who are constantly trying to access that data. So, I’m glad that we update our
rules today in response to the reality that we need to do more to both protect sensitive consumer data and
notify consumers and the authorities when a data breach occurs.
        One overdue change is to properly expand the definition of “breach” beyond the intentional
access, use, or disclosure of covered data. Many breaches are inadvertent, but harmful nonetheless, and
the impact on consumers when their data is disclosed does not turn on the question of intent. At the same
time, we recognize that breach notice fatigue is real. To avoid this risk, the Order properly adopts a harm-
based notification trigger and an affected consumer trigger threshold that limits the consumer reporting
requirement and balances the need for notice with the burden on consumers if harm is unlikely. We
should also continue to work with our agency partners to coordinate filing obligations across the
government over time, including as the Cybersecurity and Information Security Agency works on their
Cybersecurity Incident Reporting rulemaking.
         I also agree with the need for providers to encrypt their data, especially sensitive data. I can’t
emphasize it enough—at a minimum, providers should be encrypting the data they hold as a basic best
practice. While we do not require encryption in this item, we adopt encryption as a safe harbor,
recognizing it is a critical defense against data breaches and incentivizing providers to embrace it.
Consumers trust providers with their most sensitive information, and the marketplace demands that
carriers take these widely available steps to protect them, including measures like access controls,
firewalls, intrusion detection and prevention, and security audits and updates to further defend against
modern cyber threats.
         I thank the Chairwoman for working with me on the edits that I suggested to help the item strike
the right balance in defining the Personally Identifiable Information (PII) data that needs to be protected

1 Stuart E. Madnick, Ph.D., The Continued Threat to Personal Data: Key Factors Behind the 2023 Increase, Dec.

2023, https://www.apple.com/newsroom/pdfs/The-Continued-Threat-to-Personal-Data-Key-Factors-Behind-the-
2023-Increase.pdf.
2 Ani Petrosyan, Annual number of data compromises and individuals impacted in the United States from 2005 to

2022, Statista Aug. 29, 2023, https://www.statista.com/statistics/273550/data-breaches-recorded-in-the-united-
states-by-number-of-breaches-and-records-exposed/.
3 See 47 U.S.C. § 222(a).


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and the level of harm that triggers a reporting obligation. Data breaches will continue to be a problem,
but by notifying consumers and the government we can take steps to mitigate the harm. I thank the
Chairwoman for her leadership in updating our data breach rules and I thank the Commission staff for
their hard work on this item. I approve.




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                                  DISSENTING STATEMENT OF
                               COMMISSIONER NATHAN SIMINGTON

Re:     In the Matter of Data Breach Reporting Requirements, WC Docket No. 22-21

         My primary objection to the order we adopt today is not that it is necessarily bad policy—even
though it could benefit from greater clarity and specificity, as well as better targeting—but that it is part
of an effort to nullify the 2017 Congressional Review Act resolution that overturned the 2016 Privacy
Order, which this order reimplements various provisions of.

         The CRA prohibits an agency from adopting a rule that is “substantially the same” as a previous
rule that was overturned by a CRA resolution. A wooden reading of the statute—that an order does not
reissue “substantially the same” rule unless the individual order has almost all of the same provisions of
the overturned rule—would turn the CRA’s prohibition into a nullity. An agency seeking to circumvent a
previous CRA resolution could just split the desired regulations into several orders and pass it piecemeal.
To give the CRA meaningful effect, we must look at not just the content of any one order, but the totality
of related orders adopted subsequent to a CRA resolution.

         Readopting the 2016 Privacy Order in piecemeal is exactly what the Commission is doing.
Today, we adopt a breach notification rule for Title II providers, which right now, mostly means
telephone companies. But two months ago, this Commission began the process of reclassifying
broadband as a Title II service, which when complete, will subject broadband providers to these new rules
as well, just as the 2016 order did. Last month, we adopted data security, customer authentication,
employee training, and other requirements that mirror provisions of the 2016 order.1 And I have no doubt
that this Commission will, if given the chance, adopt even more aspects of the 2016 order.

         In a further similarity, the order we adopt today dramatically expands the kinds of data that the
FCC has jurisdiction over, exactly like the 2016 Privacy Order. And it relies on the same dubious legal
theory as the 2016 order. Traditionally, the FCC’s privacy authority has been limited to “Customer
Proprietary Network Information” (CPNI), a term of art defined and used in Section 222’s grants of
authority. CPNI is limited to “ quantity, technical configuration, type, destination, location, and amount
of use of a telecommunications service.” The majority is not satisfied with jurisdiction over only this
data, and instead asserts jurisdiction over all personally identifiable information (PII). To justify this, it
relies on the omission of the word “network” from the introductory sentence at Section 222(a). But this
interpretation is inconsistent with decades of FCC interpretation and practice. The best interpretation of
Section 222(a) is that it is not an independent source of authority, but a high-level summary of the more
specific provisions that follow it.




1 The majority argues that the requirements imposed by our SIM Swap Order are substantially different from similar

requirements in the 2016 order because they are motivated by the prevention of SIM swap and port-out fraud, while
the 2016 order was motivated by more general privacy and data security concerns. But the purposes which motivate
our rulemakings are irrelevant, and only the actual scope of the adopted rules matters. The SIM Swap Order
requires that “employees who receive inbound customer communications” be unable to access CPNI until the
customer has been "properly authenticated.” Nothing about this requirement is limited to the prevention of SIM
swap or port-out fraud, and it is very similar to the 2016 order’s requirement for providers to “take reasonable
measures to secure PI,” which was accompanied by a list of practices the FCC deemed “exemplary of reasonable
data security” that included “robust customer authentication.” And while other elements of the SIM Swap Order,
like employee training and customer notification requirements, are in fact limited to SIM swap and port-out
procedures, they nonetheless mirror employee training and customer notification requirements in the 2016 order.
Taken with this order today and likely future Commission action, this looks like exactly the kind of piecemeal
readoption of the 2016 Privacy Order that I am concerned is underway.
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        With this order today, has the Commission reissued “substantially the same” rule as the 2016
Privacy Order? Quite possibly. And I am sure that this item is at least a major step toward doing that,
which I cannot support. Therefore, I must dissent.




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                                         STATEMENT OF
                                   COMMISSIONER ANNA M. GOMEZ

Re:      Data Breach Reporting Requirements, WC Docket No. 22-21, Report and Order (December 13,
         2023).

         Nearly a decade ago, a unanimous Supreme Court noted that “[m]odern cell phones are not just
another technological convenience. With all they contain and all they may reveal, they hold for many
Americans ‘the privacies of life.’”1 Since 2014, the importance of mobile phones in our daily lives has
only increased, and the data at risk has only become more sensitive. The sheer breadth and depth of
information collected and stored by these devices underscore the increasing privacy and sensitivity of our
digital footprints. As consumers rely more heavily on cell phones for daily activities, consumers expect
that telecommunications providers will safeguard this sensitive data and their networks.
         It is more than timely that we take a look at the Commission’s existing data breach notification
rules, and modernize them, where appropriate, aligning with the evolving landscape of cybersecurity
threats. At the same time, we must be sure that in updating our rules and protecting consumers, we are
striking the right balance of cost and benefit to implementing additional obligations on providers. We
must be sure that our updates are intentional, and most importantly, that they benefit consumers.
        To that extent, I am grateful to the stakeholders who have come in on this item and the
discussions we’ve had on modernizing the data breach rules. We’ve made progress to ensure that these
updates strike that balance between protecting consumers and refraining from imposing unnecessary
burdens on providers. I thank the Chairwoman for taking my suggestions to reduce burdens on providers,
while also maintaining strong safeguards to protect consumers. To the Wireline Competition Bureau, and
the Public Safety and Homeland Security Bureau, thank you for your tireless work on this item.




1 Riley v. California, 573 U.S. 373, 403 (2014).


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                   EXHIBIT B
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                                              FEDERAL COMMUNICATIONS                                  and other Federal agencies will be                    determination of a breach. The
                                              COMMISSION                                              invited to comment on any new or                      Commission next eliminates the
                                                                                                      modified information collection                       requirement that carriers notify
                                              47 CFR Part 64                                          requirements contained in this                        customers of a breach in cases where a
                                              [WC Docket No. 22–21; FCC 23–111, FR                    proceeding.                                           carrier can reasonably determine that no
                                              ID 198806]                                                                                                    harm to customers is reasonably likely
                                                                                                      Congressional Review Act
                                                                                                                                                            to occur as a result of the breach. The
                                              Data Breach Reporting Requirements                        The Commission has determined, and                  Commission also eliminates the
                                                                                                      the Administrator of the Office of                    mandatory waiting period for carriers to
                                              AGENCY: Federal Communications                          Information and Regulatory Affairs,                   notify customers, and instead requires
                                              Commission.                                             OMB, concurs, that this rule is non-                  carriers to notify customers of breaches
                                              ACTION: Final rule.                                     major under the Congressional Review                  of covered data without unreasonable
                                                                                                      Act, 5 U.S.C. 804(2). The Commission                  delay after notification to Federal
                                              SUMMARY: In this document, the Federal                  will send a copy of this Report and                   agencies, and in no case more than 30
                                              Communications Commission                               Order to Congress and the Government                  days following reasonable
                                              (Commission) modifies the                               Accountability Office pursuant to 5                   determination of a breach, unless a
                                              Commission’s data breach notification                   U.S.C. 801(a)(1)(A).                                  delay is requested by law enforcement.
                                              rules to better ensure that providers of
                                                                                                      Synopsis                                              Finally, to ensure that TRS consumers
                                              telecommunications, interconnected
                                                                                                                                                            enjoy the same level of protection under
                                              Voice over Internet Protocol (VoIP), and                I. Report and Order                                   its rules as consumers of
                                              telecommunications relay services
                                                                                                         1. In this Order, the Commission                   telecommunications services, the
                                              (TRS) are held accountable in their
                                                                                                      adopts several proposals from the Data                Commission adopts equivalent
                                              obligations to safeguard sensitive
                                                                                                      Breach Notice, 88 FR 3953 (Jan. 23,                   requirements for TRS providers.
                                              customer information, and to provide
                                              customers with the tools needed to                      2023), to modernize its data breach                   A. Defining ‘‘Breach’’
                                              protect themselves in the event that                    requirements. The Commission’s breach
                                                                                                      notification rule provides an important               1. Scope of Protected Consumer
                                              their data is compromised.                                                                                    Information
                                                                                                      protection against improper use or
                                              DATES: This rule is effective March 13,
                                                                                                      disclosure of customer data, helping to                  3. In the Data Breach Notice, the
                                              2024, except for the amendments
                                                                                                      ensure that carriers are held accountable             Commission recognized that carriers
                                              codified at 47 CFR 64.2011 and 64.5111,
                                                                                                      and providing customers with the tools                possess proprietary information of
                                              instructions 3 and 4, respectively,
                                                                                                      to protect themselves in the event that               customers other than CPNI, which
                                              which are delayed indefinitely. The
                                                                                                      their data is compromised. However, in                customers have an interest in protecting
                                              Commission will publish a document in
                                                                                                      the 16 years since the Commission                     from public exposure; the notice sought
                                              the Federal Register announcing the
                                                                                                      adopted its data breach reporting rule—               comment on requiring carriers to report
                                              effective dates for the amendments to 47
                                                                                                      designed to protect customers against                 breaches of such information. The
                                              CFR 64.2011 and 64.5111.
                                                                                                      the threat of ‘‘pretexting’’—data                     Commission concludes that carriers
                                              FOR FURTHER INFORMATION CONTACT:                        breaches have only grown in frequency                 should be obligated to comply with its
                                              Mason Shefa, Competition Policy                         and severity. As discussed below, the                 breach notification rule whenever such
                                              Division, Wireline Competition Bureau,                  Commission finds that these changes                   information is the subject of a breach,
                                              at (202) 418–2494, mason.shefa@                         will better protect consumers from                    whether or not the information is CPNI.
                                              fcc.gov.                                                improper use or disclosure of their                      4. The pervasiveness of data breaches
                                              SUPPLEMENTARY INFORMATION: This is a                    customer information and harmonize its                and the frequency of breach
                                              summary of the Commission’s Report                      rules with new approaches to protecting               notifications have evolved and
                                              and Order in WC Docket No. 22–21;                       the public already deployed by the                    increased since the Commission first
                                              FCC 23–111, adopted on December 13,                     Commission’s partners in Federal and                  adopted its breach notification rule in
                                              2023 and released on December 21,                       State government. To the extent that this             2007. As discussed in the Data Breach
                                              2023. The document is available for                     Report and Order does not expressly                   Notice, the Commission’s requirement is
                                              download at https://docs.fcc.gov/public/                address a topic that was subject to                   one of several sector-specific Federal
                                              attachments/FCC-23-111A1.pdf. To                        comment in the Data Breach Notice,                    breach notification laws in the United
                                              request materials in accessible formats                 that issue remains pending.                           States. All State data breach notification
                                              for people with disabilities (Braille,                     2. The Commission first expands the                requirements explicitly include
                                              large print, electronic files, audio                    scope of its breach notification rules to             categories of sensitive personal
                                              format), send an email to FCC504@                       cover not just CPNI, but all PII. The                 information within their scope, as do
                                              fcc.gov or call the Consumer &                          Commission next adopts its proposal to                sector-specific Federal laws. The
                                              Governmental Affairs Bureau at 202–                     expand its definition of ‘‘breach’’ for               Commission believes that the
                                              418–0530 (voice), 202–418–0432 (TTY).                   telecommunications carriers to include                unauthorized exposure of sensitive
                                                                                                      inadvertent access, use, or disclosure of             personal information that the carrier has
                                              Final Paperwork Reduction Act of 1995                   customer information, except in those                 received from the customer (i.e.,
                                              Analysis                                                cases where such information is                       information ‘‘of the customer’’), or about
                                                This document contains new or                         acquired in good faith by an employee                 the customer (i.e., information ‘‘relating
                                              modified information collection                         or agent of a carrier, and such                       to’’ the customer), in connection with
khammond on DSKJM1Z7X2PROD with RULES3




                                              requirements subject to the Paperwork                   information is not used improperly or                 the customer relationship (e.g.,
                                              Reduction Act of 1995 (PRA), Public                     further disclosed. The Commission also                initiation, provision, or maintenance, of
                                              Law 104–13. All such new or modified                    adopts its proposal to require carriers to            service), such as social security numbers
                                              requirements will be submitted to the                   notify the Commission, in addition to                 or financial records, is reasonably likely
                                              Office of Management and Budget                         the Secret Service and FBI, as soon as                to pose risk of customer harm.
                                              (OMB) for review under section 3507(d)                  practicable, but no later than seven                  Accordingly, any unauthorized
                                              of the PRA. OMB, the general public,                    business days, after reasonable                       disclosure of such information warrants


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                                              notification to the customer, the                       government document used to verify the                further harmonize its approach with
                                              Commission, and other law                               identity of a specific individual                     analogous State law, the Commission
                                              enforcement. Consumers expect that                      (including, but not limited to, Social                also adopts an exception from its
                                              they will be notified of substantial                    Security Number, driver’s license                     definition of PII for publicly available
                                              breaches that endanger their privacy,                   number or State identification number,                information that is lawfully made
                                              and businesses that handle sensitive                    Taxpayer Identification Number,                       available to the general public from
                                              personal information should expect to                   passport number, military identification              Federal, State, or local government
                                              be obligated to report such breaches.                   number, Tribal identification card, or                records or widely distributed media.
                                                 5. The Commission requires                           any other Federal or State government-                Notwithstanding these limitations, the
                                              notification of breaches that involve PII,              issued identification card), or other                 Commission will monitor the data
                                              which is a well-understood concept and                  unique identification number used for                 security landscape and will not hesitate
                                              thus a readily administrable way of                     authentication purposes (including, but               to revisit and revise the list of data
                                              requiring breach notifications in the                   not limited to, a financial institution               elements in a future rulemaking as
                                              case of proprietary information. The                    account number, student identification                necessary to ensure that carriers
                                              Commission rejects claims that it did                   number, or medical identification                     adequately protect sensitive customer
                                              not provide sufficient notice to define                 number); (2) user name or email                       data.
                                              the scope of protected consumer                         address, in combination with a                           8. Without an FCC rule requiring
                                              information in this manner. In the Data                 password or security question and                     breach notifications for the above
                                              Breach Notice the Commission sought                     answer, or any other authentication                   categories of PII, there would be no
                                              comment on ‘‘requir[ing]                                method or information necessary to                    requirement in Federal law that
                                              telecommunications carriers to report                   permit access to an account (including,               telecommunications carriers report non-
                                              breaches of proprietary information                     but not limited to, Personal                          CPNI breaches to their customers.
                                              other than CPNI under Section 222(a),’’                 Identification Numbers, private keys                  CTIA’s objection that doing so would
                                              in which case commenters were asked                     that are unique to an individual and are              ‘‘[c]reat[e] a system of dual jurisdiction
                                              to address ‘‘how broadly or narrowly                    used to authenticate or sign an                       between the FCC and the FTC’’ is
                                              [the Commission should] define that                     electronic record; unique electronic                  unpersuasive. CTIA asserts that
                                              category of information.’’ This provided                identifiers or routing codes, in                      ‘‘[c]ustomers do not expect different
                                              notice that the Commission could define                 combination with any required security                privacy protections for the same data
                                              the scope of protected information to                   code, access code, or password that                   depending on which entity holds the
                                              encompass all or any subset of the                      would permit access to an individual’s
                                              universe of proprietary information                                                                           data or the kind of product or service
                                                                                                      financial account; or shared secrets or               that is being marketed’’ but concedes
                                              encompassed by section 222(a). And as                   security tokens that are known to be
                                              the Commission explains below, the                                                                            the FTC’s lack of authority in the
                                                                                                      used for data-based authentication); or               common carrier context. By the
                                              scope of customer information                           (3) unique biometric, genetic, or medical
                                              encompassed by section 222(a) is best                                                                         statutory design of the Communications
                                                                                                      data (including, but not limited to,                  Act and the FTC Act, Congress assigned
                                              interpreted to include PII, and the                     fingerprints, faceprint, a retinal or iris
                                              Commission defines the scope of its                                                                           differing areas of responsibility to the
                                                                                                      scan, hand geometry, voiceprint                       FCC and FTC, and CTIA identifies no
                                              breach notification rules to include PII                analysis, or other unique biometric data
                                              subject to the additional limitations that                                                                    grounds for the Commission to ignore
                                                                                                      generated from a measurement or                       its responsibilities with respect to
                                              the Commission adopts below. The
                                                                                                      analysis of human body characteristics                common carriers. By ensuring that the
                                              Commission therefore concludes that
                                                                                                      to authenticate or ascertain an                       same data breach notification
                                              there was sufficient notice for the
                                                                                                      individual’s identity; genetic data such              requirements also apply to
                                              approach the Commission adopt. The
                                                                                                      as deoxyribonucleic acid data; and                    interconnected VoIP and TRS providers,
                                              definition of PII is aptly described in
                                                                                                      medical records, or other information                 the Commission advances the interest of
                                              OMB Circular A-130, ‘‘Managing
                                                                                                      regarding an individual’s medical                     ensuring that consumers can have the
                                              Information as a Strategic Resource,’’ as
                                                                                                      history, mental or physical condition, or             same expectations regarding services
                                              ‘‘information that can be used to
                                                                                                      medical treatment or diagnosis by a                   that they view as similar. The approach
                                              distinguish or trace an individual’s
                                                                                                      health care professional). Moreover,                  the Commission adopts therefore not
                                              identity, either alone or when combined
                                              with other information that is linked or                dissociated data that, if linked, would               only reflects the practical expectations
                                              linkable to a specific individual.’’ CPNI               constitute PII is to be considered PII if             of consumers but also honors the
                                              is a subset of PII. As discussed below,                 the means to link the dissociated data                intention of Congress. For example, as
                                              this approach of holding carriers                       were accessed in connection with access               discussed in more detail below,
                                              responsible for reporting breaches of PII               to the dissociated data, and any one of               Congress ratified the Commission’s 2007
                                              is supported independently and                          the discrete data elements listed above               decision to extend section 222-based
                                              alternatively by construing the phrase                  or any combination of the discrete data               privacy protections for
                                              ‘‘proprietary information of . . .                      elements listed above is PII if the data              telecommunications service customers
                                              customers’’ in section 222(a) as covering               element or combination of data                        to the customers of interconnected VoIP
                                              all information defined as PII, and by                  elements would enable a person to                     providers. And ensuring equivalent
                                              recognizing that section 201(b)’s just-                 commit identity theft or fraud against                protections for TRS subscribers
                                              and-reasonable-practices obligation                     the individual to whom the data                       advances Congress’ directive to
                                              requires protection of PII.                             element or elements pertain.                          endeavor to ensure functionally
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                                                 6. For the purposes of its breach                       7. This approach brings the                        equivalent service. Despite NCTA’s
                                              notification rules, the Commission                      Commission’s definition of covered data               suggestion that ‘‘there is no other
                                              further defines the scope of covered PII                in line with the approaches taken at the              ‘proprietary information’ between a
                                              as (1) first name or first initial, and last            State level, and responds to concerns                 provider and its customer that is not
                                              name, in combination with any                           raised in the record by certain parties               CPNI but is covered by Section 222,’’
                                              government-issued identification                        regarding harmonization with existing                 the Commission has investigated several
                                              numbers or information issued on a                      breach notification regimes. In order to              instances of breaches involving


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                                              sensitive personal information about                    and their information where breaches                  include inadvertent access, use, or
                                              customers held by telecommunications                    occur. In addition, notification of both              disclosure of customer information
                                              carriers that was not or may not have                   intentional and unintentional breaches                brings the Commission’s rules in line
                                              been CPNI. The Commission has also in                   to the Commission and other Federal                   with the overwhelming majority of State
                                              the past concluded that names,                          law enforcement will aid investigations               and Federal breach notification laws
                                              addresses, and telephone numbers are                    and help prevent new breaches or                      and regulations that lack such an intent
                                              not CPNI, even when a customer has                      further harm to consumers. The                        limitation, ensuring that consumers
                                              elected not to have them disclosed                      Commission expects that its broadening                nationwide—along with the
                                              publicly, and that such information                     of ‘‘breach’’ to include inadvertent                  Commission and other relevant Federal
                                              therefore would not be subject to the                   exposure will encourage                               authorities—likewise receive critical
                                              CPNI-specific restrictions on use in                    telecommunications carriers to adopt                  breach notifications in a timely manner.
                                              section 222(c). The Commission finds                    stronger data security practices, and will               12. Notwithstanding these benefits,
                                              that such information can be sensitive                  help Federal agencies identify and                    the Commission acknowledges concerns
                                              and warrants protection, including a                    address systemic network                              expressed by carriers that its expansion
                                              requirement that the Commission, law                    vulnerabilities.                                      of the ‘‘breach’’ definition to include
                                              enforcement, and customers be notified                     10. The record supports the                        inadvertent disclosures, on its own,
                                              about breaches. Indeed, because                         Commission’s observation in the Data                  could lead to ‘‘notice fatigue’’ for
                                              consumers expect to be notified of                      Breach Notice that breaches have                      consumers, deplete Commission and
                                              substantial breaches that endanger their                become more prevalent and more severe                 law enforcement resources, or increase
                                              privacy, it better protects customers that              in recent years. In 2021, the Identity
                                                                                                                                                            the burden of reporting obligations. The
                                              breach notifications not turn on whether                Theft Resource Center ‘‘estimated a
                                                                                                                                                            Commission is unpersuaded by the
                                              a particular breached element is or is                  record-breaking 1,862 data breaches,’’
                                                                                                                                                            arguments of Lincoln Network, which
                                              not CPNI.                                               and a survey from IBM has exposed ‘‘a
                                                                                                                                                            goes even further and contends that data
                                                                                                      recent decline in response capabilities’’
                                              2. Inadvertent Access, Use, or                                                                                breach reporting requirements would
                                                                                                      due to ‘‘informal or ad hoc’’ data
                                              Disclosure of Covered Data                                                                                    implicate the major questions doctrine.
                                                                                                      security plans. This rising tide of data
                                                 9. Consistent with the Data Breach                                                                         Lincoln Networks focuses solely on the
                                                                                                      breaches has affected the
                                              Notice’s proposal, the Commission                                                                             alleged economic impact of the
                                                                                                      telecommunications sector as well. As
                                              expands the Commission’s definition of                                                                        requirement to the exclusion of other
                                                                                                      the Electronic Privacy Information
                                              ‘‘breach’’ to include inadvertent access,               Center (EPIC) points out, the proprietary             considerations, and even then provides
                                              use, or disclosure of covered data.                     information of subscribers of each of the             no meaningful sense of the likely
                                              Specifically, the Commission defines                    three largest carriers ‘‘has been breached            magnitude of such effects—citing total
                                              ‘‘breach’’ as any instance in which a                   at least once within the last five years.’’           estimated economic costs of breaches
                                              person, without authorization or                        Indeed, in February 2020, the                         and asserting in a conclusory manner
                                              exceeding authorization, has gained                     Commission proposed more than $200                    that ‘‘it is reasonable to conclude that at
                                              access to, used, or disclosed covered                   million in fines against AT&T, Sprint, T-             least some of the cost per breach is
                                              data. While the practice of pretexting                  Mobile, and Verizon, for apparently                   assignable to notification,’’ without
                                              that spurred the Commission to act in                   failing to adequately protect consumer                quantifying the cost associated with
                                              2007 necessarily involves an intent to                  location data. In each case, the                      such notifications, let alone any portion
                                              gain access to customer information, the                Commission found that the carriers’                   attributable specifically to FCC breach
                                              record before the Commission here                       apparently lacked adequate oversight                  notification rules. The Commission thus
                                              amply demonstrates that the inadvertent                 over third-party location aggregators’                is unpersuaded that the major questions
                                              exposure of customer information can                    use of their phone subscribers’ location              doctrine is implicated here. In any case,
                                              result in the loss and misuse of sensitive              data, leading to the disclosure of their              the Commission explains below why
                                              information by scammers and phishers,                   respective customers’ location                        these rules fall comfortably within the
                                              and trigger a need to inform the affected               information, without consent, to third                Commission’s statutory authority. In
                                              individuals so that they can take                       parties who were not authorized to                    response to these concerns, as discussed
                                              appropriate steps to protect themselves                 receive it.                                           below, the Commission exempt from its
                                              and their information. The Commission                      11. Given these worrying trends, the               expanded definition of ‘‘breach’’ a good-
                                              agrees with the wide range of                           Commission agrees with EPIC that its                  faith acquisition of customer data by an
                                              commenters that recognize that any                      expansion of ‘‘breach’’ to include                    employee or agent of a carrier where
                                              exposure of customer data can risk                      inadvertent exposures is a necessary                  such information is not used improperly
                                              harming consumers, regardless of                        first step to galvanize carriers to                   or further disclosed. The Commission
                                              whether the exposure was intentional.                   strengthen their data security policies               also adopts a ‘‘harm-based notification
                                              As the Accessibility Advocacy and                       and oversight of customer data. In                    trigger,’’ such that notification of a
                                              Research Organizations (AARO) argue,                    particular, broadening the breach                     breach to consumers is not required in
                                              ‘‘[t]he Commission must adapt to an                     definition will better enable the                     cases where a carrier can reasonably
                                              ever changing technological                             marketplace to respond to the relative                determine that no harm to customers is
                                              environment, which implicates all kinds                 strengths of particular carriers’ practices           reasonably likely to occur as a result of
                                              of privacy concerns, and adopt                          and enhance the Commission’s ability to               the breach, or where the breach solely
                                              measures that can effectively counter                   identify where additional regulatory                  involves encrypted data and the carrier
                                              increasingly complex and evolving                       oversight might be needed. Removing                   has definitive evidence that the
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                                              breaches.’’ In order to address these                   the intent limitation in the                          encryption key was not also accessed,
                                              risks, carriers not only must reasonably                Commission’s breach reporting rule will               used, or disclosed. As discussed below,
                                              protect covered information as required                 reduce ambiguity regarding whether                    the Commission also finds that its
                                              by the Act and the Commission’s rules,                  reporting a breach is necessary, and                  adoption of a minimum threshold for
                                              but also must inform affected                           therefore decrease the risk of                        the number of customers affected to
                                              individuals so that they can take                       underreporting. Finally, the                          trigger its requirement to notify the
                                              appropriate steps to protect themselves                 Commission’s expansion of ‘‘breach’’ to               Commission and other Federal law


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                                              enforcement regarding breaches where                    obligation to ‘‘protect the confidentiality           about the Commission’s allegedly overly
                                              there is no reasonable likelihood of                    of proprietary information’’ and to ‘‘take            broad definition of harm to trigger
                                              harm will further reduce carriers’                      reasonable measures to discover and                   customer notifications of breaches of
                                              reporting burdens, and make more                        protect against attempts to gain                      covered data, and their expressed
                                              efficient use of agencies’ resources.                   unauthorized access to CPNI.’’ 47 U.S.C.              concerns about excessive reporting to
                                              Although carriers’ obligation to protect                222(a); 47 CFR 64.2010(a). Not only may               Federal agencies, do not account for the
                                              covered information under section 222                   a breach that does not meet the                       fact that this good-faith exception
                                              of the Act and the Commission’s                         reporting threshold still reflect a                   removes an entire category of breaches
                                              implementing rules is not limited just to               violation of section 222 of the Act or an             from the scope of reporting covered by
                                              scenarios where there is actual evidence                unreasonable practice in violation of                 the Commission’s rules as a threshold
                                              of consumer harms, these common-                        64.2010(a) of the rules, but a carrier can            matter. As a result, the Commission is
                                              sense limitations on the Commission’s                   violate section 222 of the Act or section             unpersuaded by these parties’ cursory
                                              disclosure requirements are well-                       64.2010(a) of the rules even in the                   claims about possible notice fatigue,
                                              supported by the record and are                         absence of any breach. The Commission                 consumer confusion or frustration, and
                                              consistent with most State and Federal                  also will continue to monitor how such                interference with data breach
                                              data breach notification regimes. Taken                 situations impact customers, and                      investigations.
                                              together, the Commission finds that                     reserve the ability to expand the breach                 15. The Commission disagrees with
                                              these carve-outs will mitigate any                      definition to cover such situations in the            EPIC that its adoption of a good-faith
                                              legitimate concerns expressed by                        future, should the Commission find                    exception would ‘‘weaken privacy and
                                              commenters in the record regarding the                  such an expansion is warranted.                       data security protections for
                                              potential for consumer notice fatigue                   3. Good-Faith Exception                               consumers.’’ In support of these claims,
                                              and undue burdens on Federal agencies                                                                         EPIC cites instances in which
                                              and carriers by triggering the                             14. The Commission excludes from                   employees, ‘‘either through bribery or
                                              requirements in situations where the                    the definition of ‘‘breach’’ a good-faith             inadequate training, were illegally
                                              Commission finds disclosures most                       acquisition of covered data by an                     disclosing consumer information to
                                              strongly justified.                                     employee or agent of a carrier where                  pretexters claiming to have
                                                                                                      such information is not used improperly               authorization to access subscriber
                                                 13. In the Data Breach Notice, the                   or further disclosed. In the Data Breach
                                              Commission also sought comment on                                                                             information.’’ The Commission does not
                                                                                                      Notice, the Commission used the term                  find that these situations justify taking
                                              whether it should ‘‘expand the                          ‘‘exemption’’ instead of ‘‘exception’’
                                              definition of a breach to include                                                                             a different approach; indeed, the
                                                                                                      when asking commenters whether the                    exception the Commission adopts
                                              situations where a telecommunications                   Commission should exclude from the
                                              carrier or a third party discovers                                                                            would not apply in the scenarios
                                                                                                      definition of ‘‘breach’’ a good-faith                 outlined by EPIC. First, the good-faith
                                              conduct that could have reasonably led                  acquisition of covered data. For the
                                              to exposure of customer CPNI, even if it                                                                      exception relieves carriers from
                                                                                                      purpose of clarity, the Commission                    reporting obligations only where
                                              has not yet determined if such exposure                 instead uses the word ‘‘exception’’ here
                                              occurred.’’ Commenters generally                                                                              customer information is not used
                                                                                                      to describe this exclusion. While the                 improperly or further disclosed, and in
                                              oppose such an expansion, arguing that                  Commission makes this exception to its
                                              it could result in over-notification to                                                                       EPIC’s example, the information was,
                                                                                                      definition of ‘‘breach,’’ it nevertheless
                                              customers and to government entities,                                                                         intentionally or not, further disclosed to
                                                                                                      expects carriers to ‘‘take reasonable
                                              impeding carriers’ and the government’s                                                                       a pretexter. Second, in circumstances
                                                                                                      measures’’ in such scenarios to protect
                                              investigation of actual breaches, and                                                                         where an employee improperly
                                                                                                      such customer information from
                                              needlessly frightening consumers.                                                                             discloses consumer information due to
                                                                                                      improper use or further disclosure,
                                              While the Commission believes that                                                                            bribery, the employee disclosing the
                                                                                                      which may, for example, involve
                                              notification of situations in which                                                                           information is, by definition, not acting
                                                                                                      requiring that such an employee or
                                              customer data are put at risk has value,                                                                      in ‘‘good faith,’’ and therefore such an
                                                                                                      agent destroy the data upon realizing
                                              no commenter in the record provides                                                                           incident would still be considered a
                                                                                                      that the data was disclosed without, or
                                              evidence in support of such an                          in excess of, authorization. As noted                 breach under the Commission’s rules.
                                              approach. The Commission nevertheless                   above and in the Data Breach Notice,                  B. Notifying the Commission and Other
                                              expects that in such situations, carriers               the vast majority of State statutes                   Federal Law Enforcement of Data
                                              will work reasonably and efficiently to                 include a similar exception from the                  Breaches
                                              confirm whether or not actual exposure                  definition of ‘‘breach,’’ and commenters
                                              has occurred. While the Commission                      overwhelmingly agree that such an                     1. Requiring Notification to the
                                              declines at this time to amend the                      exception is appropriate. As Blooston                 Commission
                                              definition of breach to include                         Rural Carriers argues, a good-faith                      16. As proposed in the Data Breach
                                              situations where a carrier or third party               exception will prevent carriers from                  Notice, the Commission requires
                                              has not yet determined if an exposure of                ‘‘unnecessarily confus[ing] and                       telecommunications carriers to notify
                                              covered data has occurred, the                          alarm[ing] consumers’’ in such low-risk               the Commission of a breach in addition
                                              Commission also notes that it does not                  situations. The Commission also agrees                to notification to the Secret Service and
                                              prohibit carriers from providing notice                 with National Rural Electric Cooperative              FBI. The Commission continues to
                                              in such situations to their customers if,               Association (NRECA) that, without this                require carriers to notify the Secret
                                              for example, they determine that doing                  exception, ‘‘more serious data breaches               Service and the FBI because doing so
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                                              so is appropriate under the                             [will potentially] become lost in the                 enables law enforcement to investigate
                                              circumstances. While the Commission                     ‘noise’ of multiple notifications.’’ The              the breach, ‘‘which could result in legal
                                              has not expanded the definition of data                 Commission therefore finds that its                   action against the perpetrators, thus
                                              breach to include situations where                      good-faith exception will help avoid                  ensuring that they do not continue to
                                              customer data is put at risk but not                    excessive notifications to consumers,                 breach CPNI.’’ Moreover, law
                                              exposed, it notes that the threshold for                and reduce reporting burdens on                       enforcement investigations into how
                                              reporting a breach is separate from the                 carriers. CTIA and NCTA’s arguments                   breaches occurred would enable law


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                                              enforcement to advise the carrier and                   Commission, but are merely adding the                 require carriers to submit, and, as
                                              the Commission to take steps to prevent                 Commission as a recipient of breach                   discussed in further detail below,
                                              future breaches of that kind. The                       notifications submitted through the                   further streamlines the filing process by
                                              Commission will maintain a link to the                  preexisting central reporting facility, the           adapting the existing reporting facility
                                              reporting facility at http://www.fcc.gov/               Commission expects that this should                   for submission. This should also
                                              eb/cpni or a successor URL designated                   allay WISPA’s concern. Many of these                  address WISPA’s concern that a
                                              by the Wireline Competition Bureau                      commenters agree, however, that this                  contemporaneous, but separate, notice
                                              (Bureau). As the Commission found                       new notification requirement should not               to the Commission would impact initial
                                              when it adopted the current data breach                 create new obligations which are                      efforts to assess a breach. For these
                                              rules, notifying law enforcement of a                   duplicative or inconsistent with the                  reasons, the Commission does not
                                              breach is consistent with the goal of                   preexisting requirement to notify law                 expect carriers of any size to experience
                                              protecting customers’ personal data                     enforcement agencies, and should                      increased regulatory burdens as a result
                                              because it enables such agencies to                     instead entail one notification sent to all           of the Commission notification
                                              investigate the breach, ‘‘which could                   three. The Commission agrees with                     requirement. Moreover, to the extent
                                              result in legal action against the                      these suggestions, as the Commission                  that carriers are faced with any minimal
                                              perpetrators,’’ thus ensuring that they                 sees no need for carriers to file separate            burdens, such burdens are well justified
                                              do not continue to breach sensitive                     or differing notifications to the                     by the value of these reports to Federal
                                              customer information. The Commission                    Commission. As discussed below, the                   law enforcement agencies and the
                                              also anticipated that law enforcement                   Commission delegates authority to the                 Commission.
                                              investigations into how breaches                        Bureau to coordinate with the Secret                  2. Threshold Trigger for Federal-Agency
                                              occurred would enable law enforcement                   Service to adapt the existing central                 Notification
                                              to advise providers and the Commission                  reporting facility for reporting breaches
                                              to take steps to anticipate and prevent                 to the Commission and other Federal                      19. The Commission requires carriers
                                              future breaches of a similar nature.                    law enforcement agencies. Additionally,               to inform Federal agencies, via the
                                              Addition of the Commission as a                         as discussed below, the Commission                    central reporting facility, of all breaches,
                                              recipient of Federal-agency breach                      does not impose differing content                     regardless of the number of customers
                                              notifications is consistent with other                  requirements for notifications to the                 affected or whether there is a reasonable
                                                                                                      different agencies.                                   risk of harm to customers. For breaches
                                              Federal sector-specific laws, which
                                                                                                                                                            that affect 500 or more customers, or for
                                              require prompt notification to the                         18. The Commission disagrees with                  which a carrier cannot determine how
                                              relevant subject-matter agency. As large-               commenters that oppose requiring                      many customers are affected, the
                                              scale security breaches resulting from                  breach notification to the Commission.                Commission requires carriers to file
                                              lax or inadequate data security practices               For example, ITI and WISPA argue that                 individual, per-breach notifications as
                                              and employee training have become                       the existing requirement to notify the                soon as practicable, but no later than
                                              more common since the 2007 CPNI                         Secret Service and the FBI is sufficient,             seven business days, after reasonable
                                              Order, notifying the Commission of                      and that notification to the Commission               determination of a breach. As described
                                              breaches will provide Commission staff                  is unnecessary. WISPA also argues that                below, these notifications must include
                                              with important information about data                   notification to the Commission would                  detailed information regarding the
                                              security vulnerabilities and threat                     hinder law enforcement investigation                  nature of the breach and its impact on
                                              patterns that Commission staff can help                 efforts, and attempts to distinguish the              affected customers. This same type of
                                              address and remediate. Commission                       other Federal regulations that require                notification, and the seven business day
                                              notification will also shed light on                    notification to sector-specific agencies              timeframe for submission, will also be
                                              carriers’ ongoing compliance with the                   as less burdensome than the                           required in instances where the carrier
                                              Commission’s rules. Consistent with its                 Commission notification adopted here.                 has conclusively determined that a
                                              proposal and the record in response to                  The Commission is unpersuaded by                      breach affects fewer than 500 customers
                                              the Data Breach Notice, the Commission                  these arguments. First, as mentioned                  unless the carrier can reasonably
                                              requires carriers to notify the                         above, the requirement to notify the                  determine that no harm to customers is
                                              Commission of a reportable breach                       Commission of covered data breaches is                reasonably likely to occur as a result of
                                              contemporaneously with the Secret                       necessary to ensure that Commission                   the breach. As discussed below, for
                                              Service and FBI. As stated in the Data                  staff are informed of new types of                    breaches affecting fewer than 500
                                              Breach Notice, requiring carriers to                    security vulnerabilities that arise in                customers and which do not meet the
                                              notify the Commission, Secret Service,                  today’s fast-changing data security                   harm-based trigger, the Commission
                                              and FBI at the same time will minimize                  environment. Additionally, the                        instead requires carriers to submit an
                                              burdens on carriers, eliminate confusion                Commission disagrees with WISPA that                  annual summary of such incidents. For
                                              regarding obligations, and streamline                   adding the Commission as a recipient of               breaches in which a carrier can
                                              the reporting process, allowing carriers                Federal-agency notifications would                    reasonably determine that a breach
                                              to free up resources that can be used to                hinder law enforcement investigation                  affecting fewer than 500 customers is
                                              address the breach and prevent further                  efforts, given the lack of impact the                 not reasonably likely to harm those
                                              harm. Commenters support a single,                      addition will have on the timing,                     customers, the Commission requires the
                                              contemporaneous notification to the                     content, or format of notification to the             carrier to file an annual summary of
                                              Commission, Secret Service, and FBI.                    other law enforcement agencies. Indeed,               such breaches via the central reporting
                                                17. The majority of commenters                        the Secret Service is supportive of the               facility, instead of a notification. To
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                                              support including the Commission in                     Commission receiving such                             ensure that carriers may be held
                                              data breach notifications. WISPA                        notifications. Furthermore, the                       accountable regarding their
                                              opposes contemporaneous notification                    Commission’s action here avoids adding                determinations of a breach’s likelihood
                                              to the Commission ‘‘[i]f the Commission                 any additional burden on filers by                    of harm and number of affected
                                              were to require separate notice.’’                      merely adding the Commission to the                   customers, the Commission requires
                                              Because the Commission is not                           list of recipients of the same breach                 carriers to keep records of the bases of
                                              requiring separate notification to the                  notifications Commission rules already                those determinations for two years. The


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                                              Commission also notes that carriers may                 involve consumer harm (whether under                  also rejects rural carriers’ suggestion
                                              voluntarily file notification of such a                 the standard set by Commission rules or               that it adopt a 5,000-affected-customer
                                              breach in addition to, but not in place                 in NCTA’s and/or CTIA’s own                           threshold.
                                              of, this annual summary filing. In                      subjective judgment). The Commission’s                   23. Finally, as supported by the
                                              circumstances where a carrier initially                 setting of a notification threshold is                record, the Commission applies this
                                              determines that contemporaneous                         consistent with many State statutes that              threshold trigger only to notifications to
                                              breach notification to Federal agencies                 similarly do not have an intentionality               Federal agencies, and not to customer
                                              is not required under these provisions,                 requirement and require notice to State               notifications. Breaches affecting even
                                              but later discovers information that                    law enforcement authorities. The                      just a few customers can pose just as
                                              would require such notice, the                          Commission’s adoption of a 500-                       much risk to those customers as could
                                              Commission clarifies that a carrier must                affected-customer threshold is also                   breaches with wider impact. For this
                                              report the breach to Federal agencies as                consistent with an analogous breach of                reason, as discussed above, the
                                              soon as practicable, but no later than                  health records notification required by               Commission continues to require
                                              seven business days of their discovery                  the Federal Trade Commission (FTC).                   carriers to notify Federal agencies
                                              of this new information. For example, if                   21. The vast majority of commenters                within seven business days of breaches
                                              a carrier initially determines that                     are supportive of the need for a                      that implicate a reasonable risk of
                                              Federal agency notification within                      threshold trigger generally, but are                  customer harm, regardless of the
                                              seven business days is not required                     divergent regarding what the numerical                number of customers affected. Doing so
                                              because a breach affects fewer than 500                 threshold should be. NCTA supports a                  will permit Federal agencies to
                                              customers and harm to customers is not                  threshold of 500 affected customers for               investigate smaller breaches where there
                                              reasonably likely to occur, but later                   Federal-agency notifications, noting that             is a risk of customer harm, and also
                                              discovers new information suggesting                    such a threshold would ‘‘minimize                     allow law enforcement agencies to
                                              that more than 500 customers were                       paperwork burdens on providers that                   request customer notification delays
                                              affected, or that harm to customers has                 wish to focus their resources on                      where such notice would ‘‘impede or
                                              occurred, or is likely to occur, as a result            protecting customers,’’ and cites a                   compromise an ongoing or potential
                                              of the breach, then the carrier must                    variety of State laws that use that                   criminal investigation or national
                                              notify Federal agencies as soon as                      threshold. CTIA and Verizon, however,                 security,’’ as specified in the
                                              practicable, but no later than within                   argue that the Commission should set                  Commission’s rules.
                                              seven business days of this discovery.                  the threshold to be higher than 1,000 to
                                                                                                                                                            3. Notification Timeframe
                                                                                                      reflect the larger customer bases of
                                                 20. Given the Commission’s                           larger carriers. CTIA and Verizon do not                 24. The Commission retains its
                                              expansion of the definition of ‘‘breach’’               provide additional reasoning as to why                existing requirement that carriers notify
                                              in today’s Order to include inadvertent                 the size of the carrier’s customer base is            Federal agencies of a reportable breach
                                              exposure of CPNI and other types of                     relevant in determining the threshold                 as soon as practicable, but no later than
                                              data, allowing carriers to file                         for Federal-agency notification. If the               seven business days, after reasonable
                                              information regarding smaller, less risky               rationale for adopting a higher threshold             determination of the breach. As
                                              breaches in a summary format on an                      for larger carriers is to reduce reporting            commenters point out, in the text of the
                                              annual basis will tailor administrative                 burdens, the Commission notes that                    Data Breach Notice, the Commission
                                              burdens on carriers to reflect those                    larger carriers likely have more                      occasionally used the phrase ‘‘after
                                              scenarios where reporting is most                       resources than smaller carriers to                    discovery of a breach,’’ rather than
                                              critical. The Commission is                             respond to breach incidents. Verizon,                 ‘‘after reasonable determination of a
                                              unpersuaded by NCTA’s contention that                   for example, admits that it has ‘‘a team              breach’’ when discussing the
                                              its rule for data breach reporting to                   of more than 1,000 professionals                      appropriate timeframe for Federal-
                                              Federal agencies is ‘‘likely to tax                     dedicated to implementing corporate-                  agency notification. However, as the
                                              resources and limit the regulator’s                     wide security controls and constantly                 Proposed Rules Appendix makes clear,
                                              ability to identify the most problematic                monitoring networks to identify and                   ‘‘after discovery’’ was intended as
                                              practices and act to protect consumers’’                respond to threats.’’ Additionally, the               shorthand, rather than a proposal to
                                              and result in harm due to lack of                       Commission and other Federal law                      substantively change the existing ‘‘after
                                              harmonization. The Commission is                        enforcement agencies would likely have                reasonable determination of a breach’’
                                              likewise unpersuaded by CTIA’s similar                  an investigative interest in breaches                 standard. While the Data Breach Notice
                                              contention that ‘‘the FCC is not                        affecting 500 or more customers,                      proposed eliminating the seven business
                                              currently equipped to ‘become a                         regardless of the percentage of the                   day deadline, based on the record in
                                              repository for threat detection and                     overall customer base those customers                 response, the Commission finds that the
                                              monitoring’ ’’ and that the ‘‘flood of                  represent.                                            existing timeframe provides greater
                                              information threatens to distract FCC                      22. The Commission finds that the                  certainty for carriers and customers
                                              and Law Enforcement staff from real                     reporting threshold it adopts will both               affected by breaches. The Commission
                                              and potentially harmful security                        enable the Commission to receive more                 agrees with ACA Connects that retaining
                                              threats.’’ These parties offer only                     granular information regarding larger                 the seven business day deadline
                                              generalized assertions in that regard                   breaches to aid its investigations while              properly balances the need to give
                                              without any evidence or analysis                        also being able to study trends in breach             carriers ‘‘reasonable time to prioritize
                                              demonstrating concrete harms that are                   activity through reporting of smaller                 remediation efforts before submitting
                                              likely to result in practice. At the same               breaches in annual submissions. Given                 notifications’’ with the need to ensure
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                                              time, NCTA and CTIA appear to neglect                   that a number of States have found such               customers receive timely notifications
                                              the potential the Commission                            a balance with a 500-affected-customer                regarding breaches affecting their data.
                                              anticipates for Federal agencies to gain                threshold, the Commission’s adoption of               The Commission also agrees with NTCA
                                              useful insight into trends or particular                this threshold also carries the additional            that there is insufficient evidence that
                                              activities that can lead to consumer                    benefit of ‘‘increas[ing] harmonization               the current timeline ‘‘is inadequate to
                                              harm even if, in a given instance, the                  with [S]tate breach notification                      accomplish the Commission’s goals.’’
                                              reported breach happened not to                         statutes.’’ The Commission therefore                  Particularly given its historical


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                                              experience with a seven day deadline,                   as having ‘‘reasonabl[y] determin[ed]’’               absolutely necessary to identify patterns
                                              the Commission is unpersuaded by                        that a breach has occurred when the                   or gaps that require further Commission
                                              conclusory assertions that meeting that                 carrier has information indicating that it            inquiry. At a minimum, the Bureau
                                              deadline might not always be feasible.                  is more likely than not that there was a              should develop requirements that are
                                              Additionally, the Commission agrees                     breach.                                               less burdensome than what is required
                                              with NTCA that eliminating the seven                       26. While the Commission sets this                 for individual breach submissions to the
                                              business day deadline and only                          outer bound for Federal-agency                        reporting facility, and consider
                                              ‘‘requiring breaches to be reported ‘as                 notifications, it expects that larger                 streamlined ways for filers to report this
                                              soon as practicable’ can be interpreted                 carriers with significant resources and               summary information. The first annual
                                              differently by different carriers or even               staffing will routinely be providing                  report will be due the first February 1
                                              by law enforcement and the                              notification of breaches to the                       after the Office of Management and
                                              Commission, thereby placing carriers at                 Commission well within the seven                      Budget (OMB) approves the annual
                                              risk of inadvertently violating the                     business day deadline, and that other                 reporting requirement under the
                                              Commission’s rules if they construe ‘as                 carriers should strive to do so as well.              Paperwork Reduction Act. The first
                                              soon as practicable’ differently than the               Indeed, the ‘‘as soon as practicable’’                report should cover all breaches
                                              Commission.’’                                           standard may require such notifications               between the effective date of the annual
                                                 25. The Commission disagrees with                    be made in fewer days than the seven                  reporting requirement and the
                                              the arguments of other commenters that                  business day deadline, and a failure to               remainder of the calendar year.
                                                                                                      swiftly report breaches may, depending                   28. The Commission disagrees with
                                              removing the seven business day
                                                                                                      on the circumstances, be untimely and                 CTIA’s argument that ‘‘there is no
                                              deadline is necessary to afford carriers
                                                                                                      unreasonable, even if within the seven                regulatory goal served by mandating
                                              of different sizes and means the
                                                                                                      business day deadline. For example, if                record keeping’’ for incidents affecting
                                              flexibility to respond to an evolving
                                                                                                      a carrier has made all the                            fewer customers than the notification
                                              breach situation and minimize
                                                                                                      determinations necessary to conclude                  threshold. NCTA argues that the annual
                                              consumer harm, while also providing
                                                                                                      that a breach should be reported to law               reporting requirement would ‘‘not
                                              accurate and detailed notifications to
                                                                                                      enforcement after only a few days, it                 provide the Commission with
                                              Federal agencies. Given agencies’ ability
                                                                                                      would be inconsistent with the ‘‘as soon              meaningful information to serve its
                                              to calibrate their resources based on the
                                                                                                      as practicable’’ standard for the carrier             goals of identifying data breach
                                              volume of notifications, and the                        to wait until the seventh business day—               patterns,’’ but does not provide more
                                              Commission’s practical experience                       merely because that is the outer limit—               detail as to why such information would
                                              dealing with investigations at a stage                  before providing the required notice.                 not be helpful. Breaches that are limited
                                              where information might only be                         The Enforcement Bureau will continue                  in scope may still reveal patterns or
                                              preliminary or incomplete, the                          to investigate carriers that have                     provide evidence of security
                                              Commission rejects arguments that                       neglected to provide timely notification              vulnerabilities at an early stage. As
                                              burdens on the Commission and other                     to Federal agencies after a breach                    noted in the Data Breach Notice and the
                                              law enforcement agencies justify                        incident pursuant to its delegated                    2007 CPNI Order, notification of all
                                              eliminating the seven day reporting                     authority.                                            breaches, regardless of the number of
                                              deadline. Carriers have long been                          27. Annual Reporting of Certain Small              customers affected or a carrier’s
                                              subject to the existing seven business                  Breaches. The Commission requires                     determination of harm, ‘‘could allow the
                                              day deadline, which was adopted in                      carriers to submit, via the existing                  Commission and Federal law
                                              2007, and, as EPIC notes, some State                    central reporting facility and no later               enforcement to be ‘better positioned
                                              jurisdictions require notification to the               than February 1, a consolidated                       than individual carriers to develop
                                              State attorney general within 3 days. As                summary of breaches that occurred over                expertise about the methods and
                                              the Commission points out above, ACA                    the course of the previous calendar year              motives’ ’’ associated with breaches. The
                                              Connects and NTCA—both associations                     which affected fewer than 500                         Commission therefore finds that this
                                              of small-to-medium-sized carriers with                  customers, and where the carrier could                annual summary of smaller breaches
                                              presumably fewer resources than larger                  reasonably determine that no harm to                  will continue to enable the Commission
                                              carriers such as Verizon—support                        customers was reasonably likely to                    and its Federal law enforcement
                                              retaining the seven business day time                   occur as a result of the breach. The                  partners to investigate, remediate, and
                                              limit. Even assuming, arguendo, that the                Commission delegates authority to the                 deter smaller breaches.
                                              seven business day deadline is a more                   Bureau to coordinate with the Secret                     29. The Commission also disagrees
                                              burdensome or inflexible timeframe for                  Service regarding any modification to                 with NTCA and Southern Linc who
                                              small carriers with ‘‘limited personnel                 the portal that may be necessary to                   argue that ‘‘requiring carriers to
                                              and/or resources,’’ the Commission still                permit the filing of this annual                      maintain records of any breaches that
                                              finds that the countervailing interest in               summary. The Commission also                          fall below the notification threshold
                                              ensuring customers are notified quickly                 delegates authority to the Bureau,                    ‘will place an unnecessary burden on
                                              of breaches affecting them outweighs                    working in conjunction with the Public                carriers. . . .’ ’’ On the contrary, the
                                              this tailored burden. For this reason, as               Safety and Homeland Security Bureau,                  Commission finds that any burdens
                                              discussed below, the Commission also                    and based on the record of this                       associated with the annual reporting
                                              removes the seven business day                          proceeding—or any additional notice                   requirement are likely to be well
                                              mandatory waiting period between                        and comment that might be warranted—                  justified by the countervailing benefits
                                              Federal-agency notification and                         to determine the content and format                   discussed above. Nor do commenters
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                                              customer notification. The Commission                   requirements of this filing and direct the            objecting to the burden of the
                                              lastly clarifies that ‘‘reasonabl[y]                    Bureau to release a public notice                     Commission’s rules as unwarranted
                                              determin[ing]’’ a breach has occurred                   announcing these requirements. The                    provide a quantification of their
                                              does not mean reaching a conclusion                     Commission instructs the Bureau to                    anticipated burdens that would
                                              regarding every fact surrounding a data                 minimize the burdens on carriers by, for              overcome the benefits anticipated from
                                              security incident that may constitute a                 example, limiting the content required                those rules. Moreover, this single annual
                                              breach. Rather, a carrier will be treated               for each reported breach to that                      report containing a summary of such


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                                              breaches will likely end up replacing                      31. A number of carriers request                   data to include information beyond
                                              numerous smaller breach notifications                   changes to, or elimination of, certain                CPNI renders this argument moot.
                                              individually submitted via the central                  fields contained in the notification. In                 33. Estimate of Financial Loss. WTA
                                              reporting facility throughout the year.                 its comments, CCA states that, while it               argues that ‘‘estimated financial loss’’ is
                                              Additionally, Commission rules already                  ‘‘does not take a position on the specific            ‘‘impossible to determine or predict
                                              require carriers to ‘‘maintain a record of              contents that should be included in all               with any degree of accuracy during the
                                              all instances where CPNI was disclosed                  notifications to law enforcement, to the              brief and chaotic period immediately
                                              or provided to third parties, or where                  Commission, or to customers[,] . . . .                following discovery of a data breach.’’
                                              third parties were allowed access to                    [t]he detailed information currently                  The Commission declines to modify or
                                              CPNI.’’ The first part of this requirement              reported to law enforcement for                       remove this field. While it understands
                                              encompasses all disclosures of CPNI to                  purposes of investigation and potential               that estimating financial loss is a
                                              third parties resulting from a data                     criminal charges is significantly broader             complex and context-specific
                                              breach, and thus is broader than the                    than what is necessary and appropriate                calculation, the Commission
                                              small-breach reporting requirement the                                                                        emphasizes the critical importance of
                                                                                                      for the Commission’s use. Indeed, over-
                                              Commission adopts today, at least with                                                                        this data point in helping Federal
                                                                                                      reporting of such information outside
                                              regard to CPNI.                                                                                               agencies allocate their resources.
                                                                                                      the law enforcement context can
                                                                                                                                                            Additionally, while carriers should
                                              4. Notification Contents                                introduce additional data-security risks              strive to provide in their notifications as
                                                                                                      and privacy concerns’’. See CCA                       accurate a value as possible, the
                                                 30. The Commission maintains its                     Comments at 7. The Commission notes                   Commission notes that even a ballpark
                                              existing requirements regarding the                     that CCA does not provide further detail              estimate or a range of quantities can
                                              contents of data breach notifications to                on ‘‘what is necessary and appropriate’’              help agencies determine an incident’s
                                              Federal law enforcement agencies, with                  in support of its argument or to aid its              priority for the purposes of opening or
                                              a minor modification as noted below,                    consideration. As discussed below, the                conducting investigations, and
                                              and applies these same requirements to                  Commission is unpersuaded by these                    understand the magnitude of future risk
                                              notifications to the Commission. The                    arguments, and declines to alter the                  posed by certain vulnerabilities.
                                              Commission agrees with comments                         fields of information collected through                  34. Other Fields. CTIA identifies two
                                              submitted by WISPA arguing that ‘‘the                   the notification portal.                              fields which it argues are no longer
                                              information currently submitted                                                                               necessary given the Commission’s
                                              through the FBI/Secret Service reporting                   32. Customer Billing Addresses. ACA
                                                                                                      Connects, CTIA, and WTA request                       change to the reporting threshold for
                                              facility is largely sufficient and that                                                                       Federal-agency notifications, as
                                              generally the same information should                   elimination of the requirement to
                                                                                                      include the billing addresses of affected             discussed below. Specifically, CTIA
                                              be reported’’ under its updated rules.                                                                        requests that the Commission remove
                                              The Commission also takes this                          customers in notifications. ACA
                                                                                                      Connects states that this reporting                   the fields regarding whether the breach
                                              opportunity to codify these categories of                                                                     ‘‘resulted from a change of [a
                                              information in its rules to improve the                 requirement has unclear investigative
                                                                                                      value, and its elimination would                      customer’s] billing address’’ or was
                                              ease of identifying the information that                                                                      based on ‘‘a personal issue between two
                                              will be needed by regulated entities.                   ‘‘minimize the personal information
                                                                                                      reported to the Commission and law                    individuals.’’ The Commission declines
                                              Specifically, the Commission requires                                                                         to do so. First, these fields are not
                                              carriers to report, at a minimum,                       enforcement agencies.’’ While the
                                                                                                                                                            marked as ‘‘required’’ on the form, and
                                              information relevant to the breach,                     Commission acknowledges that Federal
                                                                                                                                                            thus create no burden on reporting
                                              including: carrier address and contact                  agencies have been directed to minimize
                                                                                                                                                            carriers that do not wish to complete
                                              information; a description of the breach                the collection, use, storage, and
                                                                                                                                                            them, while providing an opportunity
                                              incident; the method of compromise;                     disclosure of personal information to
                                                                                                                                                            for carriers to submit that information
                                              the date range of the incident; the                     only that which is relevant and
                                                                                                                                                            where applicable if they find it helpful
                                              approximate number of customers                         necessary to accomplish an authorized                 or appropriate to do so. Second, under
                                              affected; an estimate of financial loss to              purpose, carriers are not in a position to            the Commission’s revised rules, a
                                              the carrier and customers, if any; and                  know, in the absence of input from law                breach stemming from a personal issue
                                              the types of data breached. The                         enforcement agencies in this                          between two individuals or a change of
                                              Commission believes that these                          proceeding, which fields hold                         a single customer’s billing address may
                                              disclosures are sufficient to give the                  investigative value. Furthermore,                     still trigger notification to Federal
                                              Commission and other Federal law                        because the portal was designed by law                agencies. The reporting threshold only
                                              enforcement agencies the information                    enforcement agencies themselves, the                  impacts the need to notify Federal
                                              needed to determine appropriate next                    Commission must assume that their                     agencies of breaches affecting fewer
                                              steps, such as, for example, conducting                 inclusion of this field reflects a                    than 500 customers that do not
                                              an investigation, determining and                       determination that such information                   implicate harm. As stated below, even
                                              advising on how such a breach may be                    holds some investigative value. Finally,              small breaches may cause harm for the
                                              prevented in the future, and informing                  the Commission notes that the field is                few customers affected by them. CTIA
                                              future rulemakings to protect consumers                 not currently marked as a required field.             also requests elimination of the field
                                              and businesses from harm. Carriers                      For this reason, the field does not                   that asks whether ‘‘the carrier believes
                                              must update their initial breach                        present a reporting burden to carriers,               that there is an extraordinarily urgent
                                              notification report if: (1) the carrier                 but instead gives carriers an opportunity             need to notify any class of affected
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                                              learns that, in some material respect, the              to provide Federal agencies more detail,              customers’’ before ‘‘7 full business days
                                              breach notification report initially                    should they wish to do so or find such                have passed.’’ CTIA argues that
                                              submitted was incomplete or incorrect;                  detail relevant. WTA argues that                      ‘‘[r]emoving this field is consistent
                                              or (2) additional information is acquired               ‘‘billing names and addresses . . . are               [with] the NPRM’s proposal to eliminate
                                              by or becomes known to the carrier after                not classified as CPNI,’’ and thus should             the seven-business-day waiting period.’’
                                              the submission of its initial breach                    be omitted from the form. The                         The Commission agrees with this
                                              notification report.                                    Commission’s expansion of covered                     suggestion as its abrogation of the seven


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                                              business day waiting period rule will                   privacy concerns implicated by a breach               unlike customers, Federal agencies do
                                              cause such a field to be unnecessary.                   justify a broader reporting trigger.                  not have the same vulnerability to
                                                 35. Harmonizing Reporting Contents                      37. The Commission also disagrees                  notice fatigue, confusion, stress, or
                                              with CIRCIA. In the Data Breach Notice,                 with CTIA’s characterization of                       financial hardship that would cause the
                                              the Commission sought comment on                        CIRCIA’s incident reporting framework.                burdens they experience from
                                              whether it should require                               CTIA argues that CIRCIA’s reporting                   additional reporting to outweigh the
                                              telecommunications carriers to report, at               framework ‘‘only applies—in a risk-                   benefits. CTIA argues that by not
                                              a minimum, the information required                     based way—to ‘covered cyber                           extending the harm-based trigger to
                                              under the Cyber Incident Reporting for                  incidents,’ which must be ‘substantial’               Federal-agency notifications, the
                                              Critical Infrastructure Act of 2022                     and do not include all incidents.’ ’’ This            Commission risks that notifications will
                                              (CIRCIA) as part of their notifications to              argument misconstrues the statute.                    ‘‘inundate the Commission’s breach
                                              Federal agencies. While a few                           Section 2242(c)(2)(A) of CIRCIA sets a                reporting facility with information’’ and
                                              commenters support the alignment or                     minimum on the types of ‘‘substantial                 the ‘‘flood of information threatens to
                                              harmonization of these data breach                      cyber incidents that constitute covered               distract FCC and Law Enforcement staff
                                              notifications with the requirements                     cyber incidents’’ and implicitly allows               from real and potentially harmful
                                              under CIRCIA, the Commission declines                   the CISA to expand the definition                     security threats.’’ As an initial matter,
                                              to take action in this regard at this early             beyond that in the course of its                      the Commission notes that, as private
                                              stage. CIRCIA directs the Cybersecurity                 rulemaking. For example, one of those                 entities, CTIA and its members lack any
                                              and Infrastructure Security Agency                      required minimums is to report ‘‘cyber                particular insight into, or expertise
                                              (CISA) to publish a notice of proposed                  incident[s] that lead[ ] to substantial loss          regarding, the administrative burdens
                                              rulemaking implementing its                             of confidentiality, integrity, or
                                                                                                                                                            affecting Federal agencies with respect
                                              notification provisions by March 15,                    availability of such information system
                                                                                                                                                            to these rules. Contrary to CTIA’s
                                              2024. The CISA must issue final rules                   or network, or a serious impact on the
                                                                                                                                                            unsupported assertions, the agencies
                                              no later than 18 months after the                       safety and resiliency of operational
                                                                                                                                                            affected by these breach notification
                                              publication of the notice of proposed                   systems and processes.’’ While a
                                                                                                                                                            rules do not anticipate significant costs
                                              rulemaking. At the time of this Order,                  rulemaking implementing CIRCIA is
                                                                                                                                                            associated with the breach reporting
                                              the CISA has not yet released the notice                still pending, the CISA may define ‘‘loss
                                                                                                                                                            requirements the Commission adopts
                                              of proposed rulemaking. Therefore, the                  of confidentiality’’ to include data
                                                                                                                                                            today. While the Commission agrees
                                              Commission finds it is too early to                     breaches. The Commission further notes
                                              determine the precise contours of the                   that the two statutory exceptions to                  that receiving notifications or reports of
                                              final reporting requirements, and in the                ‘‘substantial cyber incidents that                    breaches that carriers have reasonably
                                              interest of preventing duplicative or                   constitute covered cyber incidents’’ are              concluded do not trigger customer
                                              inconsistent fields, and consistent with                narrow, and likely would not prevent                  notification under the harm-based
                                              the approach advocated by ACA                           the CISA from adopting implementing                   trigger will require the use of some
                                              Connects, Blooston Rural Carriers, and                  regulations that broaden the scope of                 resources by the Commission and law
                                              CCA, the Commission will refrain from                   covered cyber incidents that trigger the              enforcement agencies, the Commission
                                              making additional changes based on                      statute’s reporting obligations.                      finds the value of enabling Federal
                                              CIRCIA and continue to monitor                                                                                agencies to identify patterns and
                                                                                                      5. Other Issues                                       insecurities and monitor all breaches of
                                              whether such changes may be required
                                              in the future.                                             38. Harm-based Trigger for Federal-                covered data outweigh the marginal
                                                 36. The Commission does not find                     Agency Notifications. In the Data                     costs of receiving notifications or
                                              CTIA’s comparison of its reporting                      Breach Notice, the Commission sought                  reports for breaches that fall in this
                                              trigger to that of the Critical                         comment on whether to forego requiring                category. Additionally, as mentioned
                                              Infrastructure Act of 2022 (CIRCIA)                     notification of a breach to customers or              above, a report regarding a breach that
                                              compelling. CIRCIA is concerned with                    Federal agencies in those instances                   does not result in harm to customers
                                              the category of ‘‘incidents.’’ CIRCIA                   where a telecommunications carrier can                could nevertheless aid Federal agencies
                                              does not define ‘‘breaches.’’ But under                 reasonably determine that no harm to                  in identifying patterns and potential
                                              Federal guidance to agencies, a breach                  customers is reasonably likely to occur               vulnerabilities and develop expertise
                                              is a specific type of incident—an                       as a result of the breach. While the                  across the industry. Commenters argue
                                              incident that involves the loss of                      Commission adopts such a harm-based                   that the Commission should adopt a
                                              control, compromise, unauthorized                       notification trigger for breach                       harm-based notification trigger for all
                                              disclosure, unauthorized acquisition                    notifications to customers generally, as              Federal-agency notifications to avoid
                                              (etc.) of PII. And it would not be                      discussed below, it declines to do so for             draining carrier resources. While
                                              inconsistent for only some incidents to                 Federal-agency notifications of breaches              commenters are correct that a general
                                              be reportable under CIRCIA but for all                  that meet or exceed the 500-affected-                 harm-based trigger would likely serve to
                                              breaches to be reportable under the                     customer threshold described above. For               reduce carriers’ reporting burdens, so
                                              Commission’s rules. For example, for                    breaches that do not meet its reporting               too would a reporting threshold. The
                                              Federal agencies, for an incident to                    threshold of at least 500 affected                    Commission finds that its adoption of a
                                              qualify as a ‘‘major incident’’ it must be              customers, the Commission do not                      reporting threshold is better tailored to
                                              likely to result in demonstrable harm to                require notification to Federal agencies              reducing carriers’ burdens in the
                                              the national security interests, foreign                via the central reporting facility in those           Federal-agency-notification context
                                              relations, or the economy of the United                 instances where a carrier can reasonably              while maintaining appropriate benefits
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                                              States, or to the public confidence, civil              determine that no harm to customers is                of reporting. Commenters also argue that
                                              liberties, or public health and safety of               reasonably likely to occur as a result of             a harm-based notification trigger is
                                              the American people. But for a ‘‘breach’’               the breach. The Commission does not                   necessary to reduce burdens on
                                              to qualify as a major incident, it can                  believe that the rationale for adopting a             government resources. Even assuming,
                                              either satisfy that qualitative threshold,              harm-based notification trigger for                   arguendo, that such burdens exist, they
                                              or it can involve the PII of 100,000 or                 customer notifications applies in the                 would likely be outweighed by the
                                              more people. Thus, the individual                       Federal-agency context. Specifically,                 countervailing public interest in Federal


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                                              agencies receiving information                          service providers.’’ The Commission                   to focus their resources on data security
                                              concerning all breaches for investigative               agrees with commenters’ analysis and                  and mitigating any harms caused by
                                              or trend analysis purposes. The                         thus requires carriers to submit their                breaches rather than generating
                                              Commission’s threshold trigger ensures                  breach notifications to the Commission                notifications where harm was unlikely.
                                              that Federal agencies receive breach                    and other Federal law enforcement                     The Commission’s decision to adopt a
                                              information with the appropriate level                  agencies through the existing portal.                 harm-based notification trigger is also
                                              of detail at the appropriate time given a               The Commission disagrees with John                    consistent with the majority of State
                                              breach’s harmful impact or magnitude.                   Staurulakis’ suggestion that the                      laws, which generally do not require
                                              the Commission’s targeted application                   Commission should instead require                     covered entities to notify customers of
                                              of a harm-based trigger to breaches                     carriers to maintain a summary of                     breaches when a determination is made
                                              affecting fewer than 500 customers                      inadvertent breaches for inclusion in                 that the breach is unlikely to result in
                                              ensures that Federal agencies are                       their annual CPNI certification. The                  harm.
                                              notified before customers and thereby                   Commission finds that this approach                      42. While the record overwhelmingly
                                              have an opportunity to request a delay                  would significantly delay notification of             supports the adoption of a harm-based
                                              if necessary. This trigger also permits                 such breaches to Federal agencies,                    notification trigger, some commenters
                                              Federal agencies to investigate small                   preventing law enforcement from acting                worry that such a framework could
                                              breaches that are harmful sooner after                  quickly to investigate inadvertent                    result in legal ambiguity or lead to
                                              the breach incident than in a carrier’s                 breaches that may have widespread,                    underreporting of breaches. The
                                              annual report, as described above.                      harmful impact on customers.                          Commission takes several actions to
                                                 39. Method of Notification. In the
                                                                                                      C. Customer Notification                              mitigate these concerns. First, the
                                              Data Breach Notice, the Commission
                                                                                                                                                            Commission clarifies that where a
                                              proposed to create and maintain a                       1. Harm-Based Notification Trigger                    carrier is unable to make a reasonable
                                              centralized portal for reporting breaches
                                                                                                         41. The Commission adopts a harm-                  determination of whether or not harm to
                                              to the Commission and other Federal
                                                                                                      based trigger for notification of breaches            customers is likely, the obligation to
                                              law enforcement agencies. After
                                                                                                      to customers so that they may focus                   notify customers remains. In making
                                              reviewing the record, the Commission
                                                                                                      their time, effort, and financial                     this determination, the Commission
                                              instead requires carriers to use the
                                                                                                      resources on the most important and                   does not require carriers to consult
                                              existing data breach reporting facility
                                                                                                      potentially harmful incidents. The                    Federal law enforcement or the
                                              for notifications to the Secret Service
                                              and FBI and delegate authority to the                   Commission agrees with commenters                     Commission, as suggested by some
                                              Bureau to coordinate with the Secret                    that adopting a harm-based trigger                    commenters. Rather, carriers must
                                              Service, the current administrator of the               serves the public interest by protecting              determine using the factors outlined
                                              reporting facility, and the FBI, to the                 customers from over-notification and                  below whether harm to customers is
                                              extent necessary, to ensure that the                    notice fatigue, specifically in instances             likely to occur. If a provider concludes
                                              Commission will be notified when data                   where the carrier has reasonably                      that harm to customers was unlikely
                                              breaches are reported and to implement                  determined that no harm is likely to                  and therefore customer notification was
                                              the targeted modifications to the content               occur. As the Commission recognized in                not required, but the Commission finds
                                              of breach notifications that the                        the Data Breach Notice, it is not only                that conclusion to be unreasonable, the
                                              Commission adopts today. The                            distressing, but time consuming and                   Commission will notify the provider.
                                              Commission’s decision to require the                    expensive, to deal with a data breach,                Stated differently, the Commission
                                              same content and timing for notification                costing customers time, effort, and                   establishes a rebuttable presumption of
                                              to the Commission as for notification to                financial difficulty to change their                  harm and require carriers to notify
                                              the Secret Service and FBI supports the                 passwords, purchase fraud alerts or                   customers of a breach in situations
                                              use of a single portal for notifying all                credit monitoring, and freeze their                   where the carrier is unable to reasonably
                                              three agencies. Consistent with the                     credit in instances where the breach is               determine that harm is reasonably
                                              Secret Service’s request, the                           not reasonably likely to result in any                unlikely to occur. ACA Connects argues
                                              Commission also delegates authority to                  harm. Therefore the Commission finds                  that the Commission should decline to
                                              the Bureau, working in conjunction                      that adopting a harm-based notification               establish a rebuttable presumption of
                                              with the Public Safety and Homeland                     trigger, along with the expanded                      consumer harm because having to make
                                              Security Bureau and the Office of                       definition of breach, will ensure that                filings in the interest of overcoming
                                              Managing Director, to collaborate with                  customers are made aware of potentially               such a presumption would be
                                              the Secret Service to explore the                       harmful instances of breach, whether                  burdensome for small providers.
                                              possibility of the Commission assuming                  intentional or not, while preventing                  However, the Commission does not
                                              control and responsibility for the                      unnecessary financial and emotional                   require any such filing. Rather, carriers
                                              reporting facility in the future, and to                difficulty in no-harm situations. The                 must determine, based on the specific
                                              transition control of the facility to the               Commission agrees with those                          facts of a breach, whether consumer
                                              Commission should the Bureau and                        commenters that argue that the risk of                harm is reasonably unlikely to occur.
                                              Secret Service agree that such a                        notice fatigue to customers is important              The Commission provides further
                                              transition is desirable.                                in light of its decision to expand the                guidance to carriers on what constitutes
                                                 40. Commenters widely supported the                  definition of breach. The Commission’s                harm to consumers below. The
                                              use of a single portal for all Federal-                 adoption of the harm-based notification               Commission rejects NCTA’s proposal to
                                              agency notifications. ACA Connects                      trigger will ensure that customer                     limit the rebuttable presumption of
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                                              argues that using the preexisting portal                notification is focused on the incidents              harm to ‘‘instances where the breach
                                              for Commission notification will save                   which are likely to cause harm, whether               involves a risk of tangible, financial
                                              government resources that would                         the incident was the result of                        harm, identity theft or theft of service.’’
                                              otherwise be spent developing a                         intentional or inadvertent conduct. A                 NCTA’s list is underinclusive in that it
                                              redundant portal. NCTA also advocates                   harm-based trigger for notification to                omits other harms that are significant.
                                              for the use of the preexisting portal,                  customers also allows carriers,                       Nor does the record enable the
                                              noting that the portal ‘‘works well for                 particularly small and rural providers,               Commission to readily draw a line that


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                                              separates the risks of some harms from                  rigid definition which is too inflexible.             underinclusive in that it omits other
                                              others. The Commission clarifies that                   The Commission believes that                          harms that are significant, particularly
                                              carriers do not need to disprove the                    identifying these factors will promote                in the aggregate. The Commission find
                                              potential for each type of harm in every                consistency and further remedy                        thats adopting such a narrow definition
                                              instance to overcome the presumption,                   concerns about ambiguity.                             of harm is not only inconsistent with
                                              but must rather come to a reasonable                       44. The Commission finds that                      the Commission’s longstanding
                                              fact-specific conclusion that, when                     ‘‘harm’’ to customers could include, but              approach, but also could lead to
                                              considering all of the factors as a whole,              is not limited to: financial harm,                    underreporting of breaches, and
                                              harm is unlikely to occur. Second, as                   physical harm, identity theft, theft of               disregards other important and
                                              discussed above, the Commission                         services, potential for blackmail, the                potentially costly consequences of a
                                              declines to adopt a harm-based trigger                  disclosure of private facts, the                      breach to customers. The Commission
                                              for notification to Federal law                         disclosure of contact information for                 believes that a tiered approach would be
                                              enforcement agencies and the                            victims of abuse, and other similar types             unnecessarily complicated for carriers
                                              Commission for breaches affecting 500                   of dangers. Some parties raise                        to assess the various ‘‘levels’’ of harm.
                                              or more customers. As such, carriers are                administrability concerns about                       Nevertheless, many of the factors that
                                              required to provide notification for all                including harms such as ‘‘disclosure of               Blooston Rural Carriers suggests as
                                              incidents which meet the expanded                       private facts’’ on the theory that they are           relevant to their proposed analysis (i.e.,
                                              definition of data breach and this                      too speculative for providers. Beyond                 financial harm, encryption, risk of
                                              affected-customer threshold to Federal                  this bare assertion, these parties do not             identity theft) are consistent with the
                                              law enforcement agencies and to the                     meaningfully explain what                             approach that the Commission adopts.
                                              Commission. ACA Connects comments                       administrability problems would arise                 While a broader definition of harm may
                                              that the harm-based trigger should apply                in practice. Additionally, they fail to               be more difficult for carriers to apply in
                                              not only to customer breach                             account for the fact that providers only              certain cases, the Commission believes
                                              notifications, but to Federal-agency                    need make a reasonable determination                  that carriers will be fully capable of
                                              notifications as well. The Commission                   of whether or not harm to customers is                understanding when to comply with its
                                              disagrees. As ACA Connects notes,                       likely. Thus, even assuming arguendo                  disclosure requirements in light of the
                                              Federal agencies are not prone to notice                that particular harms are challenging to              Commission’s decision to adopt a
                                              fatigue in the same way that consumers                  evaluate in particular circumstances, a               rebuttable presumption of harm.
                                              are. Additionally, as discussed above,                  provider is not held to a standard of                    46. When assessing the likelihood of
                                              notifying Federal agencies of all                       perfection, and any inherent challenges               harm to customers, carriers should
                                              breaches allows the Commission and                      can be accounted for when evaluating                  consider the following factors.
                                              law enforcement agencies to identify                    the reasonableness of a given                         Consistent with the Data Breach Notice,
                                              patterns and potential vulnerabilities                  determination. The Commission’s broad                 the Commission finds that no single
                                              and develop expertise across the                        approach to the privacy harms that                    factor on its own is sufficient to make
                                              industry, thereby enabling them to                      merit customer notice has ample legal                 a determination regarding harm to
                                              respond in appropriate and targeted                     support. First, OMB has noted that                    customers.
                                                                                                      ‘‘types of harms’’ that individuals                      • The sensitivity of the information
                                              ways. Moreover, under the rules the
                                                                                                      affected by a breach can experience                   (including in totality) which was
                                              Commission adopts today, breaches
                                                                                                      have evolved: ‘‘Identity theft can result             breached. For example, the disclosure of
                                              falling below this threshold must be
                                                                                                      in embarrassment, inconvenience,                      a phone number is less likely to create
                                              compiled and reported to Federal
                                                                                                      reputational harm, emotional harm,                    harm than if the number of calls to that
                                              agencies annually. The Commission                                                                             phone number, the duration of those
                                                                                                      financial loss, unfairness, and, in rare
                                              believes that this will serve as a                                                                            calls, the name of the caller, the content
                                                                                                      cases, risks to public safety.’’ While
                                              backstop to any potential                                                                                     of the conversations, and/or other layers
                                                                                                      OMB was specifically describing harms
                                              underreporting to customers, as the                                                                           of information is also disclosed. This
                                                                                                      arising from an identity theft, the fact
                                              Federal agencies will have an                                                                                 contextual approach to gauging the
                                                                                                      that those harms go beyond financial
                                              opportunity to act even in instances                                                                          sensitivity of customer information is
                                                                                                      supports the Commission’s conclusion
                                              where the provider may have concluded                                                                         consistent with the definition of PII the
                                                                                                      that other types of harm should be
                                              that harm to the consumer was unlikely.                 considered when assessing the risk of                 Commission adopts above with respect
                                                 43. Evaluating Harm to Customers. To                 harm from a breach. Second, the                       to its breach notification rules, which
                                              the extent that a provider has evidence                 Commission’s approach finds support                   considers whether information is
                                              of actual harm to customers, notification               from case law—e.g., decisions holding                 disclosed in combination with other
                                              is required and the harm-based analysis                 that reputational harm can confer                     information which inherently increases
                                              is conclusive. In instances where there                 Article III standing. And third, the                  the risk associated with the disclosure.
                                              is no definitive evidence of actual harm,               Commission’s approach better reflects                 Additionally, harm is more likely if
                                              as suggested in the Data Breach Notice,                 consumer expectations than a more                     financial information or sensitive
                                              the Commission identifies a set of                      cabined-approach to harm: Privacy                     personal information was included in
                                              factors that telecommunications carriers                harms that merit individual notice                    the breach. Commenters agree that a
                                              should consider when evaluating                         should be linked to those harms that                  breach implicating financial information
                                              whether harm to customers is                            individuals’ experience, not those that               is likely harmful. Some data elements
                                              reasonably likely. WISPA and ACA                        carriers can most easily identify.                    are always considered sensitive, such as
                                              Connects support the Commission                            45. The Commission finds that this                 bank account numbers and Social
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                                              adopting a set of factors to help guide                 broader conception of harm is                         Security Numbers. Other data elements
                                              providers in determining whether harm                   consistent with previous Commission                   (e.g., Date of Birth) become sensitive
                                              to consumers is reasonably likely. The                  precedent, and disagrees with                         when paired with another data element
                                              Commission believes that establishing a                 commenters arguing that ‘‘harm’’ should               (e.g., name, address, or phone number).
                                              set of guidelines and recommendations                   only include the risk of identity theft or            And still other data elements may be
                                              strikes the right balance between                       financial harm. The limited types of                  sensitive in context (e.g., data
                                              preventing ambiguity, versus adopting a                 harm suggested by these commenters is                 identifying a subscriber in a TRS


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                                              program, because confirmed                              other similar activities, harm is more                with commenters that its decision to
                                              participation may be sufficient to reveal               likely to occur. Conversely, an                       implement a notification exception for
                                              an individual’s hearing- or speech-                     accidental breach, such as that resulting             encrypted data will incentivize and
                                              related disability). Consistent with the                from a misdirected email, accidentally                encourage the use of encryption to the
                                              approach the Commission takes in this                   losing a device with covered data stored              benefit of the public, and further the
                                              order, carriers must consider each                      on it, or other similar activities, is less           goal of harmonization with State and
                                              element and all of the elements taken                   likely to result in harm.                             other laws. Several States have
                                              together, in context, to determine                         47. Encryption Safe Harbor. As                     established an exception for encrypted
                                              whether sensitive information was                       requested by a number of parties, the                 data from their breach notification
                                              revealed in a breach. The data’s                        Commission adopts a safe harbor under                 requirements so long as the key has not
                                              potential for reuse should also be                      which customer notification is not                    been compromised or also breached.
                                              considered. For example, if a password                  required where a breach solely involves               Additionally, in recent amendments to
                                              is compromised, it is possible that the                 encrypted data and the carrier has                    the Gramm-Leach-Bliley Act’s
                                              information could be reused to attack                   definitive evidence that the encryption               Safeguards Rule, the FTC exempted
                                              other accounts. Finally, if information is              key was not also accessed, used, or                   encrypted data from its notification
                                              not able to be changed, it is more                      disclosed. For the purposes of this safe              requirement. To the extent that a threat
                                              sensitive than information that is                      harbor, the Commission defines                        actor appears to have circumvented
                                              changeable. For example, a customer                     encrypted data as covered data that has               encryption, however, the carrier should
                                              could change their password for an                      been transformed through the use of an                conduct a harm-based analysis as if the
                                              account, but the customer is unable to                  algorithmic process into a form that is               data was never encrypted.
                                              change their social security number, for                unusable, unreadable, or indecipherable
                                              instance. NCTA proposes an alternative                                                                        2. Customer Notification Timeframe
                                                                                                      through a security technology or
                                              approach under which the rebuttable                     methodology generally accepted in the                    48. Consistent with the Commission’s
                                              presumption of harm only would apply                    field of information security. The                    proposal in the Data Breach Notice, the
                                              ‘‘where specific types of data are                      Commission agrees with commenters                     Commission requires
                                              compromised.’’ But the Commission’s                     that the risk of harm to customers is                 telecommunications carriers to notify
                                              framework already factors in the                                                                              customers of covered data breaches
                                                                                                      significantly reduced when the data was
                                              sensitivity of the data as part of the
                                                                                                      encrypted, provided that the carrier has              without unreasonable delay after
                                              overall analysis of harm. And as
                                                                                                      evidence that the encryption key has not              notification to Federal agencies. The
                                              indicated by its guidance for evaluating
                                                                                                      been compromised. While EPIC                          Commission finds that the current
                                              harm, the Commission finds multiple
                                                                                                      recommends that the Commission not                    framework, which imposes a mandatory
                                              considerations should be evaluated
                                                                                                      exempt breaches solely involving                      seven business day waiting period, is
                                              collectively to accurately gauge the
                                                                                                      encrypted data from its breach                        out-of-step with current approaches
                                              likelihood of consumer harm. Thus, the
                                                                                                      notification rules, EPIC does                         regarding the urgency of notifying
                                              Commission finds that its approach
                                                                                                      nonetheless acknowledge that ‘‘a typical              victims about breaches of their personal
                                              already accounts for potential
                                                                                                      breach of encrypted data may present a                information, and that the public interest
                                              differences in the risk of harm
                                              associated with specific types of data,                 lower risk of harm to consumers’’,                    is better served by eliminating the
                                              but does so more effectively than                       though ‘‘encrypted data can                           waiting period and thereby increasing
                                              NCTA’s proposal by calling for a                        nevertheless be compromised if a third                the speed at which customers can
                                              consideration of the broader relevant                   party obtains access to the requisite                 receive the important information
                                              context, as well.                                       encryption keys or is able to identify                contained in a notice. At the same time,
                                                 • The nature and duration of the                     and exploit an additional security                    the Commission recognizes the
                                              breach. For example, if the information                 vulnerability.’’ The Commission agrees.               importance of law enforcement’s ability
                                              was widely accessible online over a long                For those reasons, encrypted data is                  to investigate a breach, and understands
                                              period of time, harm is more likely than                only exempted from the customer                       that in certain situations, notification of
                                              if the information was only briefly                     breach notification requirement where                 a breach may interfere with a criminal
                                              accessible to a limited number of                       the carrier has definitive evidence that              investigation or national security.
                                              individuals. Information on a portable                  the encryption key was not                            Therefore, consistent with the Secret
                                              USB flash drive which does not require                  compromised. Additionally, whether                    Service’s request, the Commission will
                                              any special skill or knowledge to access                data was encrypted or not is irrelevant               allow law enforcement to request an
                                              is more likely to cause harm than                       to the Federal-government breach                      initial delay of up to 30 days in those
                                              information on a secured back-up                        notification requirement. As such,                    specific circumstances where one is
                                              device which is password protected.                     carriers are still required to report all             warranted. WISPA commented that the
                                              Covered data that was exposed for an                    breaches of covered data, whether that                seven business day waiting period can
                                              extended period of time is more likely                  data was encrypted or not, to the                     be ‘‘crucial for law enforcement to
                                              to have been accessed or used to the                    Commission and law enforcement                        effectively investigate the breach.’’ The
                                              detriment of customers than data that                   agencies. As the Commission has                       Commission agrees that law
                                              was only briefly exposed.                               previously explained, data regarding                  enforcement requires an opportunity to
                                                 • Mitigations. How quickly the carrier               breaches, even breaches with little or no             investigate a breach, but does not find
                                              discovered the breach, and whether it                   risk of consumer harm, can be helpful                 that a seven business day waiting
                                              took actions to mitigate any potential                  to assist Federal agencies to determine               period, applied to all breaches, is
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                                              harm to the customers, is also a factor.                data security vulnerabilities and threat              necessary. Under the framework that the
                                                 • Intentionality. In the case of an                  patterns. Stated differently, encryption              Commission adopts today, law
                                              individual or entity intentionally                      does not exempt an incident from the                  enforcement may request a delay when
                                              obtaining access to covered data, such                  Commission’s definition of breach, but                one would be useful, but in the many
                                              as by using the practice of pretexting,                 rather only limits the instances where                circumstances where a delay is not
                                              unauthorized intrusion into a physical                  notification to a customer may be                     necessary, this rule will allow carriers to
                                              or virtual space, theft of a device, or                 necessary. The Commission also agrees                 more promptly notify customers,


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                                              thereby empowering them to take action                  specific minimum categories of                        customers should take to mitigate their
                                              to mitigate any harms.                                  information required in a customer                    risk based on the specific categories of
                                                 49. The Commission finds that the                    breach notification. The Commission                   information exposed in the breach.
                                              ‘‘without unreasonable delay’’ standard                 makes clear, however, that a notification             Beyond the basic standard set by its
                                              encourages carriers to promptly notify                  must include sufficient information so                rules, the Commission agrees with
                                              customers of covered data breaches                      as to make a reasonable customer aware                commenters that adopting guidance
                                              while offering the flexibility to be                    that a breach occurred on a certain date,             (rather than requirements) fosters the
                                              responsive to the specifics of a situation.             or within a certain estimated timeframe,              goal of ensuring that the customer has
                                              This approach is consistent with many                   and that such a breach affected or may                access to pertinent information about a
                                              existing data breach notification laws                  have affected that customer’s data.                   breach while affording carriers
                                              that require expedited notice but refrain               While all 50 States, the District of                  flexibility to tailor the contents of a
                                              from requiring a specific timeframe. As                 Columbia, Guam, Puerto Rico, and the                  customer notification to the specific
                                              suggested by commenters, the ‘‘without                  U.S. Virgin Islands have laws requiring               circumstances at hand. The Commission
                                              unreasonable delay’’ standard could                     private or governmental entities to                   also agrees with some commenters that
                                              take into account factors such as the                   notify individuals of breaches involving              carriers may not know, with certainty,
                                              provider’s size, as a small carrier may                 their personal information, not all of                the precise date of a breach. For that
                                              have limited resources and could                        those entities impose minimum content                 reason, the Commission has modified
                                              require additional time to investigate a                requirements for those notices. The                   this requirement from its original
                                              CPNI data breach than a larger carrier.                 Commission agrees with NTCA that                      proposal by suggesting the estimated
                                                 50. In order to ensure that carriers                 adding requirements with the potential                date of the breach. Breaches which
                                              notify customers quickly even in                        to differ from other customer notice                  involve data such as a social security
                                              complex situations, the Commission                      requirements imposed by States or                     number, birth certificate, taxpayer
                                              requires customer notification no later                 otherwise may create unnecessary                      identification number, bank account
                                              than 30 days after reasonable                           burdens on carriers, particularly small               number, driver’s license number, and
                                              determination of a breach. While in                     ones, as well as confusion among                      other similar types of personally
                                              many circumstances, the ‘‘without                       customers. The Commission also finds                  identifiable information unique to each
                                              unreasonable delay’’ standard means                     persuasive arguments by commenters                    person create the highest level of risk of
                                              that the customer will be notified in less              that specifying the required content of               identity theft. While breaches involving
                                              than seven business days, the                           customer notifications beyond the basic               the types of data listed here should be
                                              Commission notes that in some                           standard described above would prevent                considered to create a risk of identity
                                              circumstances, this standard may lead                   carriers from having enough flexibility               theft for customers, this is not an
                                              to a longer waiting time than the                       to craft notifications that are more                  exclusive list and should not be
                                              previous seven days. For that reason,                                                                         considered as such. There may be other
                                                                                                      responsive to, and appropriate for, the
                                              the Commission adopts the 30-day back-                                                                        types of data not listed here that, either
                                                                                                      specific facts of a breach, the customers,
                                              stop in order to prevent unnecessarily                                                                        alone or in conjunction with other data,
                                                                                                      and the carrier involved. The
                                              long delays, even in such instances as                                                                        may potentially create a risk of identity
                                                                                                      Commission finds this argument
                                              the one described by USTelecom, where                                                                         theft for customers.
                                                                                                      particularly persuasive as it relates to
                                              the carrier is engaged in investigations                                                                         53. The Commission believes that
                                                                                                      small and rural carriers. Finally,
                                              of the incident. The 30-day maximum                                                                           adopting recommendations will further
                                                                                                      imposing minimum requirements may
                                              amount of time is consistent with many                                                                        the goals of consistently and sufficiently
                                                                                                      delay a carrier’s ability to timely notify
                                              existing State laws. In the Data Breach                                                                       notifying customers of data breaches
                                                                                                      customers, as it may take time to gather
                                              Notice, the Commission also considered                                                                        while maintaining some flexibility for
                                              adopting an ‘‘outside limit’’ of 45 or 60               all of the necessary details and
                                                                                                                                                            carriers to tailor each notification to the
                                              days after discovery of a breach.                       information even where it would be in
                                                                                                                                                            specific facts and details of the breach.
                                              However, the Commission finds that 30                   the customer’s best interest to receive
                                                                                                                                                            While some commenters such as EPIC
                                              days offers providers enough flexibility                notification more quickly albeit with
                                                                                                                                                            suggest that the Commission should
                                              while recognizing the urgency of                        less detail.
                                                                                                                                                            adopt minimum content requirements,
                                              notifying customers as quickly as                          52. Instead, the Commission adopts as              the Commission believes that adopting
                                              possible and without unnecessary                        recommendations the following                         recommendations furthers the same
                                              delays. Some commenters request that                    categories of information in security                 objective of ‘‘inform[ing] the consumer
                                              the Commission adopt a safe-harbor for                  breach notices to customers: (1) the                  of the risks they face but also
                                              customer notification after                             estimated date of the breach; (2) a                   equip[ping] the consumer with options
                                              determination or discovery of a breach.                 description of the customer information               for immediate steps to reduce the
                                              The Commission declines to adopt such                   that was used, disclosed, or accessed;                downstream harms that may result’’
                                              a safe harbor because the Commission                    (3) information on how customers,                     while also maintaining the flexibility
                                              encourages providers to notify                          including customers with disabilities,                that commenters overwhelmingly noted
                                              customers as quickly as possible in each                can contact the carrier to inquire about              was important for effectively and
                                              individual instance. However, the                       the breach; (4) information about how to              quickly notifying customers.
                                              Commission does establish a                             contact the Commission, FTC, and any                     54. Method of Customer Breach
                                              requirement that carriers notify                        State regulatory agencies relevant to the             Notification. The Commission declines
                                              customers no later than 30 days after                   customer and the service; (5) if the                  to specify at this time the method of
                                                                                                      breach creates a risk of identity theft,              customer breach notification, and
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                                              reasonable determination of a breach to
                                              provide a clear outer bound to the                      information about national credit                     instead allows the carriers to assess for
                                              ‘‘without unreasonable delay’’ standard.                reporting agencies and the steps                      themselves how to best notify their
                                                                                                      customers can take to guard against                   customers of a data breach incident.
                                              3. Other Issues                                         identity theft, including any credit                  Generally, carriers have pre-established
                                                 51. Content of Customer Breach                       monitoring, credit reporting, or credit               methods of communicating with their
                                              Notification. Consistent with its current               freezes the carrier is offering to affected           customers about other important matters
                                              rules, the Commission declines to adopt                 customers; and (6) what other steps                   related to their service, such as outages


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                                              and scheduled repairs. These methods                    promptly notify the relevant Federal                  These changes to Commission rules will
                                              may differ among carriers based on their                agencies regardless of the size of the                also allow the Commission and its law
                                              size, their unique relationship with their              breach. Any breach affecting fewer than               enforcement partners to receive the
                                              customers, the types of customers                       500 individuals where there is no                     information they require in a timely
                                              impacted, and other factors. Therefore,                 reasonable likelihood of harm to                      manner so that they can mitigate the
                                              the Commission finds that maintaining                   customers must be reported                            harm and fallout of breaches while also
                                              flexibility in the method of customer                   simultaneously to the Commission,                     taking action to deter future breaches.
                                              breach notification both reduces the                    Secret Service, and FBI in a single,
                                                                                                                                                            1. Defining ‘‘Breach’’
                                              burden on the carriers and prevents                     consolidated annual filing. The
                                              customer confusion that could arise if                  Commission further revises its rules to                  59. In this section, the Commission
                                              carriers were required to provide                       require TRS providers to report breaches              applies its breach notification and
                                              disclosures in a way that differed from                 to the Commission, Secret Service, and                reporting obligations for TRS providers
                                              how customers were used to receiving                    FBI contemporaneously via the existing                to covered data, including PII and CPNI.
                                              important information from their                        centralized portal that providers already             The Commission also takes the
                                              carriers.                                               use and with which they are familiar. In              opportunity to emphasize that covered
                                                                                                      terms of the content of such                          data under the TRS data breach
                                              D. TRS Breach Reporting                                                                                       notification rule includes call content
                                                                                                      notifications, the Commission mandates
                                                 55. In 2013, the Commission adopted                  that notifications to the Commission,                 given the unique concerns that arise
                                              privacy rules applicable to                             Secret Service, and FBI must, at a                    with respect to call content in the TRS
                                              telecommunications relay services                       minimum, include: TRS provider                        context. And, the Commission expands
                                              (TRS) providers, to protect the CPNI of                 address and contact information; a                    the definition of ‘‘breach’’ in section
                                              TRS users. In doing so, the Commission                  description of the breach incident; a                 64.5111 to include inadvertent access,
                                              found that ‘‘for TRS to be functionally                 description of the customer information               use, or disclosure of customer
                                              equivalent to voice telephone services,                 that was used, disclosed, or accessed;                information, except in those cases
                                              consumers with disabilities who use                     the method of compromise; the date                    where such information is acquired in
                                              TRS are entitled to have the same                       range of the incident and approximate                 good faith by an employee or agent of
                                              assurances of privacy as do consumers                   number of customers affected; an                      a TRS provider, and such information is
                                              without disabilities for voice telephone                estimate of the financial loss to                     not used improperly or further
                                              services.’’ The privacy rules for TRS                   providers and customers, if any; and the              disclosed.
                                              include a breach notification rule that is              types of data breached. More                             60. Covered Data. Consistent with the
                                              equivalent to section 64.2011 in terms of               specifically, the Commission clarifies                provisions the Commission adopts
                                              the substantive protection afforded to                  that, if any data, whether partial or                 above for carriers, the Commission
                                              TRS users.                                              complete, on the contents of                          applies its breach notification and
                                                 56. To maintain functional                           conversations is compromised as part of               reporting obligations for TRS providers
                                              equivalency, the Commission amends                      a breach—such as call transcripts—the                 to covered data, including PII and CPNI.
                                              section 64.5111 so that it continues to                 compromise must be disclosed as part of               The Commission does so for the reasons
                                              provide equivalent privacy protection                   the notification to the Commission,                   discussed above with respect to its
                                              for TRS users in line with its                          Secret Service, and FBI.                              breach notification and reporting
                                              amendments to section 64.2011. Thus,                       57. Regarding breach notifications                 obligations for carriers. In addition, as
                                              in this Order the Commission applies its                furnished to TRS users, the Commission                discussed below, section 225 of the Act
                                              breach notification and reporting                       introduces a harm-based trigger and                   directs the Commission to ensure that
                                              obligations for TRS providers to covered                eliminate the requirement to notify TRS               TRS are available to enable
                                              data, including PII and CPNI. The                       users of a breach in those instances                  communication in a manner that is
                                              Commission also expands the definition                  where a TRS provider can reasonably                   functionally equivalent to voice
                                              of ‘‘breach’’ in section 64.5111 to                     determine that no harm to TRS users is                telephone services. The Commission has
                                              include inadvertent access, use, or                     reasonably likely to occur as a result of             found that applying the privacy
                                              disclosure of customer information,                     the breach. The Commission further                    protections of the Commission’s
                                              except in those cases where such                        revises its rules to eliminate the                    regulations to TRS users advances the
                                              information is acquired in good faith by                mandatory seven business day waiting                  functional equivalency of TRS. In order
                                              an employee or agent of a TRS provider,                 period to notify TRS users and instead                to ensure the functional equivalency of
                                              and such information is not used                        require TRS providers to notify TRS                   TRS, and to ensure that TRS users enjoy
                                              improperly or further disclosed. The                    users of breaches without unreasonable                the same protections as customers of
                                              Commission also requires TRS                            delay after notification to law                       telecommunications carriers and
                                              providers to notify the Commission, in                  enforcement, and in no case later than                interconnected VoIP providers, the
                                              addition to the Secret Service and FBI,                 30 days after reasonable determination                Commission applies its TRS data breach
                                              as soon as practicable, and in no event                 of a breach, unless law enforcement                   obligations to the same scope of
                                              later than seven business days, after                   requests a longer delay. The                          customer information, including both
                                              reasonable determination of a breach,                   Commission also recommends                            PII and CPNI. The Commission also
                                              except in cases where a breach affects                  minimum categories of information for                 incorporates, by reference, the scope of
                                              fewer than 500 individuals, and a                       inclusion in TRS user notifications.                  covered PII adopted above, for the same
                                              provider can reasonably determine that                  Notifications shall be provided in                    reasons as discussed above.
                                              no harm to customers is reasonably                      formats that are accessible to                           61. The Commission disagrees with
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                                              likely to occur as a result of the breach.              individuals with disabilities.                        Hamilton Relay that the ‘‘assurances of
                                              As with the Commission’s breach                            58. As with its revisions to section               privacy’’ that TRS users can expect ‘‘are
                                              reporting rules for telecommunications                  64.2011, the Commission finds that                    limited to CPNI and should not be
                                              carriers, where a TRS provider is unable                these changes will best protect and                   extended to other elements of personal
                                              to reasonably determine that no harm to                 inform TRS users without resulting in                 information, including sensitive
                                              consumers is reasonably likely to occur                 overreporting or excessively burdening                personal information.’’ In the Data
                                              as a result of the breach, it must                      TRS providers or Federal agencies.                    Breach Notice, the Commission


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                                              recognized that providers possess                       provision, or maintenance, of service) is             notification rule whenever customers’
                                              proprietary information of customers                    reasonably likely to pose risk of                     personally identifiable information is
                                              other than CPNI, which customers have                   customer harm. Accordingly, any                       the subject of a breach, whether or not
                                              an interest in protecting from public                   unauthorized disclosure of such                       the information is CPNI.
                                              exposure. This interest is particularly                 information warrants notification to the                 67. Inadvertent Access, Use, or
                                              acute in the case of TRS users. TRS                     customer, the Commission, and other                   Disclosure. The Commission expands
                                              providers have access to the contents of                law enforcement. Consumers expect that                the definition of ‘‘breach’’ in section
                                              customers’ conversations, and, as AARO                  they will be notified of substantial                  64.5111 to include inadvertent access,
                                              notes, any potential disclosure of TRS                  breaches that endanger their privacy,                 use, or disclosure of covered data,
                                              conversation content is a ‘‘grave privacy               and businesses that handle sensitive                  except in those cases where such
                                              concern.’’ While section 225 and the                    personal information should expect to                 information is acquired in good faith by
                                              Commission’s TRS rules generally                        be obligated to report such breaches.                 an employee or agent of a TRS provider,
                                              prohibit TRS providers from disclosing                     64. The Commission further disagrees               and such information is not used
                                              the content of any relayed conversation                 with Hamilton Relay’s assertion that its              improperly or further disclosed. Section
                                              and from keeping records of the content                 privacy authority does not extend to                  64.5111(e) of the Commission’s rules
                                              of any such conversation beyond the                     other elements of personal information                currently defines a breach more
                                              duration of the call, that prohibition is               beyond CPNI, or that doing so would be                narrowly as occurring ‘‘when a person,
                                              not sufficient to protect TRS users from                inconsistent with the plain language of               without authorization or exceeding
                                              risks that may arise from data breaches.                the Act or result in duplicative or                   authorization, has intentionally gained
                                              For instance, if a breach were to expose                inconsistent requirements between                     access to, used, or disclosed CPNI.’’ As
                                              transcripts of TRS calls that were in                   Commission rules and State laws. The                  noted above, this construction was
                                              progress at the time of the breach, the                 Commission does so for the reasons                    adopted in response to the practice of
                                              breaching party could obtain                            discussed above, and because of the                   pretexting. As discussed above, in the
                                              conversation contents between a TRS                     principle of functional equivalency. By               years since, numerous data breaches
                                              user and medical professionals,                         ensuring that the same data breach                    have shown that the inadvertent
                                              romantic partners, family members,                      notification requirements the                         exposure—as much as intentional
                                              friends, or professional colleagues, and                Commission applies to traditional                     exposure—of customer information can
                                              as such may include sensitive details,                  telecommunications carriers also apply                and does result in the loss and misuse
                                              such as a user’s medical history,                       to TRS providers, the Commission                      of sensitive information by scammers,
                                              disability status, financial situation,                 advances the interest of ensuring that                phishers, and other bad actors, and can
                                              political views, relationship status and                consumers can have the same                           thus trigger a need to inform the affected
                                              dynamics, and religious beliefs. The                    expectations regarding services that they             consumers so that they can take
                                              disclosure of such information could                    view as similar. Thus, the approach the               appropriate action to protect themselves
                                              lead to serious consequences, including                 Commission adopts not only reflects the               and their sensitive information.
                                              embarrassment, ostracization from                       practical expectations of consumers but               Whether a breach was intentional may
                                              family and friends, and extortion by the                also honors the intention of Congress.                not be readily apparent, and continuing
                                              breaching party or others who have                      For example, as discussed in more                     to require disclosure of only intentional
                                              gained access to the information.                       detail below, Congress ratified the                   breaches could thus lead to
                                                 62. Indeed, information about call                   Commission’s 2007 decision to extend                  underreporting. It is moreover critical
                                              content is not commonly available to                    section 222-based privacy protections                 that the Commission and law
                                              traditional voice service providers, and                for telecommunications service                        enforcement be made aware of any
                                              thus traditional voice service customers                customers to the customers of                         unintentional access, use, or disclosure
                                              do not face the same privacy risks in                   interconnected VoIP providers. And                    of covered data so that the Commission
                                              this regard as TRS users. As a result, it               ensuring equivalent protections for TRS               can investigate and advise TRS
                                              is particularly important in the TRS                    subscribers advances Congress’ directive              providers on how best to avoid future
                                              context that the Commission                             to endeavor to ensure functionally                    breaches and so that the Commission is
                                              emphasizes the need for breach                          equivalent service.                                   prepared and ready to investigate if and
                                              notifications with respect to call                         65. EPIC concurs with this approach.               when any of the affected information is
                                              content. CPNI, PII, and the contents of                 The Commission notes that covered data                accessed by malicious actors. Requiring
                                              calls are non-exclusive, and potentially                would include PII that a TRS provider                 notification for accidental breaches will
                                              overlapping, categories of information.                 collects to register a customer in the                encourage TRS providers to adopt
                                              Consistent with the congressional                       TRS User Registration Database in order               stronger data security practices and will
                                              directive that the Commission’s TRS                     to provide services. In November 2021                 help the Commission and law
                                              rules guard against the disclosure of call              and March 2022 orders revoking the                    enforcement to better identify and
                                              content, and to promote functional                      operating authority of certain                        address systemic network
                                              equivalence between TRS and                             telecommunications carriers, the                      vulnerabilities, consistent with the
                                              traditional voice communications                        Commission further stated that all                    Commission’s analysis above.
                                              services, the Commission therefore                      communications service providers have                    68. The record in this proceeding
                                              makes explicit in the text of section                   ‘‘a statutory responsibility to ensure the            confirms the need for the Commission
                                              64.5111 of its rules that a breach                      protection of customer information,                   to expand the definition of ‘‘breach’’ in
                                              involving call content implicates those                 including PII and CPNI.’’                             section 64.5111 to include inadvertent
                                              notification requirements.                                 66. Because TRS providers have                     disclosures. As AARO note in their
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                                                 63. Just as with telecommunications                  access to proprietary information of                  comments, the Commission must keep
                                              carriers, the Commission believes that                  customers other than CPNI, and                        pace with evolving threats to consumer
                                              the unauthorized exposure of sensitive                  customers have an interest in protecting              privacy, and ‘‘adopt measures that can
                                              personal information that the provider                  that information from public exposure,                effectively counter increasingly complex
                                              has received from the customer or about                 the Commission finds that TRS                         and evolving breaches.’’ AARO further
                                              the customer in connection with the                     providers should be obligated to comply               agrees with the Commission’s
                                              customer relationship (e.g., initiation,                with the Commission’s breach                          assessment that an intentionality


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                                              requirement would lead to legal                         and in no event later than seven                      can be just as devastating as those
                                              ambiguity and underreporting.                           business days, after reasonable                       perpetrated by malicious actors.
                                              According to AARO and EPIC, the                         determination of a breach, except in                  Notification to the Commission of
                                              industry will ‘‘continue to witness                     those instances where a breach                        breaches, including inadvertent
                                              breaches unless companies that operate                  implicates fewer than 500 individuals                 breaches, will provide Commission staff
                                              in this area’’ are required or                          and a TRS provider reasonably                         with critical information regarding data
                                              incentivized to ‘‘make proper                           determines that no harm to customers is               security vulnerabilities, and will help to
                                              investments in their ‘staff and                         reasonably likely to occur as a result of             shed light on TRS providers’ ongoing
                                              procedures to safeguard the consumer                    the breach. Where a breach affects fewer              compliance with the Commission’s data
                                              data with which they have been                          than 500 individuals and the TRS                      breach rules.
                                              entrusted.’ ’’ The Commission agrees                    provider reasonably determines that no                   73. The record in this proceeding
                                              with these commenters that expanding                    harm to customers is reasonably likely                supports requiring TRS providers to
                                              the definition of ‘‘breach’’ in section                 to occur as a result of the breach, the               notify the Commission, the Secret
                                              64.5111 to include inadvertent access,                  Commission requires that providers                    Service, and the FBI of breaches. EPIC
                                              use, or disclosure of covered data will                 report such breaches annually to the                  agrees that a breach impacting TRS
                                              help provide this incentive. The only                   Commission, Secret Service, and FBI in                users requires notification to the
                                              two commenters who opposed                              a single, consolidated annual filing. The             Commission in addition to the impacted
                                              expanding the Commission’s definition                   Commission also requires TRS                          user(s), and no commenter opposed
                                              of ‘‘breach’’ in section 64.5111 to                     providers to report breaches to the                   amending the Commission’s rules to
                                              include inadvertent disclosures of                      Commission, Secret Service, and FBI                   require notification to the Commission
                                              customer information were Hamilton                      contemporaneously via the existing                    concurrently with the Secret Service
                                              Relay and Sorenson, and both modified                   centralized portal maintained by the                  and FBI in the specific context of TRS.
                                              their opposition to state that they only                Secret Service, and implement                         The Commission rejected more general
                                              opposed such an expansion unless                        mandatory minimum content                             criticisms of such a rule above.
                                              accompanied by the introduction of a                    requirements for notifications filed with                74. Reporting Threshold. The
                                              harm-based trigger for data breach                      the Commission and law enforcement.                   Commission requires providers to
                                              notification. As the Commission adopts                     71. Notification to the Commission                 inform Federal agencies, via the central
                                              a harm-based trigger for data breach                    and Law Enforcement. The Commission                   reporting facility, of all breaches,
                                              notifications to consumers below, there                 requires TRS providers to notify the                  regardless of the number of customers
                                              is no need to address these two                         Commission, in addition to the Secret                 affected or whether there is a reasonable
                                              comments further.                                       Service, and the FBI, of breaches                     risk of harm to customers. For breaches
                                                 69. Good-Faith Exception. While the                  through the central reporting facility.               that affect 500 or more customers, or for
                                              Commission expands the definition of                    The Commission will maintain a link to                which a TRS provider cannot determine
                                              ‘‘breach’’ in section 64.5111 to include                the reporting facility at http://                     how many customers are affected, the
                                              inadvertent access, use, or disclosure of               www.fcc.gov/eb/cpni or a successor URL                Commission requires providers to file
                                              covered data, consistent with its                       designated by the Bureau. This                        individual, per-breach notifications as
                                              approach to the carrier data breach rule,               requirement is consistent with other                  soon as practicable, but no later than
                                              the Commission carves out an exception                  Federal sector-specific laws, including               seven business days after reasonable
                                              for a good-faith acquisition of covered                 HIPAA and the Health Breach                           determination of a breach. As the
                                              data by an employee or agent of a TRS                   Notification Rule, which require prompt               Commission describes below, these
                                              provider where such information is not                  notification to the Department of Health              notifications must include detailed
                                              used improperly or further disclosed.                   and Human Services (HHS) and the                      information regarding the nature of the
                                              No commenters opposed this                              Federal Trade Commission (FTC),                       breach and its impact on affected
                                              amendment to the Commission’s rules                     respectively.                                         customers. This same type of
                                              for TRS providers. The Commission                          72. As the Commission found when it                notification, and the seven business day
                                              rejected more general criticisms of such                adopted the current data breach rules,                timeframe for submission, will also be
                                              a rule above. With only a handful of                    notifying law enforcement of breaches is              required in instances where the TRS
                                              exceptions, the vast majority of State                  consistent with the goal of protecting                provider has conclusively determined
                                              statutes include a similar provision                    customers’ personal data because it                   that a breach affects fewer than 500
                                              excluding from the definition of                        enables such agencies to investigate the              customers unless the provider can
                                              ‘‘breach’’ a good-faith acquisition of                  breach, ‘‘which could result in legal                 reasonably determine that no harm to
                                              covered data by an employee or agent of                 action against the perpetrators,’’ thus               customers is reasonably likely to occur
                                              a company where such information is                     ensuring that they do not continue to                 as a result of the breach.
                                              not improperly used or disclosed                        breach sensitive customer information.                   75. For breaches in which a TRS
                                              further, and the Commission sees no                     The Commission also anticipated that                  provider can reasonably determine that
                                              reason not to include such an exception                 law enforcement investigations into                   a breach affecting fewer than 500
                                              in the TRS rule. This good-faith                        how breaches occurred would enable                    customers is not reasonably likely to
                                              exception will help reduce                              law enforcement to advise providers                   harm those customers, the Commission
                                              overreporting and, by extension, will                   and the Commission to take steps to                   requires the provider to file an annual
                                              avoid worrying consumers                                anticipate and prevent future breaches                summary of such breaches with the
                                              unnecessarily.                                          of a similar nature. While this reasoning             Commission, Secret Service, and FBI via
                                                                                                      remains sound, in the years since the                 the central reporting facility, instead of
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                                              2. Notifying the Commission and Other                   Commission’s rules were adopted it has                a notification. TRS providers must
                                              Federal Law Enforcement of Data                         become apparent that large-scale                      submit, via the existing central reporting
                                              Breaches                                                security breaches need not be                         facility and no later than February 1, a
                                                 70. In this section, the Commission                  purposeful in order to be harmful. As                 consolidated summary of breaches that
                                              requires TRS providers to notify the                    discussed above, breaches that occur as               occurred over the course of the previous
                                              Commission, in addition to the Secret                   a result of lax or inadequate data                    calendar year which affected fewer than
                                              Service and FBI, as soon as practicable,                security practices and employee training              500 customers, and where the provider


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                                              could reasonably determine that no                      breaches to aid its investigations while              providers to notify the Commission of a
                                              harm to customers was reasonably likely                 also being able to study trends in breach             reportable breach contemporaneously
                                              to occur as a result of the breach. To                  activity through reporting of smaller                 with the Secret Service and FBI, as soon
                                              ensure that TRS providers may be held                   breaches in annual submissions. Such a                as practicable, and in no event later than
                                              accountable regarding their                             reporting threshold is also consistent                seven business days, after reasonable
                                              determinations of a breach’s likelihood                 with many State statutes that require                 determination of a breach. While the
                                              of harm and number of affected                          notice of breaches to State law                       Commission proposed eliminating the
                                              customers, the Commission requires                      enforcement authorities. Moreover,                    seven business day deadline in the Data
                                              providers to keep records of the bases of               given the Commission’s expansion of                   Breach Notice, the record received
                                              those determinations for two years. The                 the definition of ‘‘breach’’ in today’s               convinced the Commission that it
                                              Commission also notes that TRS                          Order to include inadvertent exposure                 should instead retain the more definite
                                              providers may voluntarily file                          of CPNI and other types of data,                      timeframe. The Commission agrees with
                                              notification of such a breach in addition               allowing TRS providers to file                        AARO that the earlier TRS users are
                                              to, but not in place of, this annual                    information regarding certain smaller                 notified of breaches, the more time they
                                              summary filing. In circumstances where                  breaches in a summary format on an                    will have to take actions to reduce the
                                              a TRS provider initially determines that                annual basis will tailor administrative               extent of the potential damage, and that
                                              contemporaneous breach notification to                  burdens on TRS providers to reflect                   eliminating the seven business day
                                              Federal agencies is not required under                  those scenarios where reporting is most               deadline would potentially extend the
                                              these provisions, but later discovers                   critical. At the same time, requiring TRS             period between a breach and
                                              information that would require such                     providers to report breaches that fall                notification far beyond the current
                                              notice, the Commission clarifies that a                 below the threshold in a single,                      deadline, thus ‘‘leaving consumers
                                              TRS provider must report the breach to                  consolidated annual filing will continue              unable to remediate harms.’’ The
                                              Federal agencies as soon as practicable,                to enable the Commission and its                      Commission finds that retaining the
                                              but no later than seven business days                   Federal law enforcement partners to                   seven business day deadline properly
                                              after their discovery of this new                       investigate, remediate, and deter smaller             balances the need to afford TRS
                                              information. The Commission delegates                   breaches. The Commission notes that no                providers sufficient time to conduct
                                              authority to the Bureau to coordinate                   commenter addressed this potential                    remediation efforts prior to submitting
                                              with the Secret Service regarding any                   amendment to its rule for TRS providers               notifications with the need to ensure
                                              modification to the portal that may be                  in response to the Data Breach Notice,                that customers receive timely
                                              necessary to permit the filing of this                  and addresses more general comments                   notifications regarding breaches
                                              annual summary. The Commission also                     in this regard in Section III.B.2, above.             affecting their data. There is insufficient
                                              delegates authority to the Bureau,                      As above, in circumstances where a TRS                evidence that the current timeline is
                                              working in conjunction with the Public                  provider initially determines that                    inadequate to accomplish the
                                              Safety and Homeland Security Bureau                     contemporaneous breach notification to                Commission’s goals, and requiring
                                              and the Disability Rights Office, and                   Federal agencies is not required under                breaches to be reported ‘‘as soon as
                                              based on the record of this proceeding—                 these provisions, but later discovers                 practicable’’ without a definite
                                              or any additional notice and comment                    information that would require such                   timeframe could potentially be
                                              that might be warranted—to determine                    notice, the Commission clarifies that the             interpreted differently by different TRS
                                              the content and format requirements of                  TRS provider must report the breach to                providers or even by law enforcement
                                              this filing and directs the Bureau to                   Federal agencies as soon as practicable,              and the Commission, thereby placing
                                              release a public notice announcing these                but no later than within seven business               TRS providers at risk of inadvertently
                                              requirements. As above with respect to                  days of their discovery of this new                   violating the Commission’s rules should
                                              carriers, the Commission instructs the                  information.                                          they construct ‘‘as soon as practicable’’
                                                                                                         77. The Commission applies this                    to mean something different than the
                                              Bureau to minimize the burdens on TRS
                                                                                                      threshold trigger only to notifications to            Commission.
                                              providers by, for example, limiting the
                                                                                                      Federal agencies, and not to customer                    79. The Commission does not believe
                                              content required for each reported
                                                                                                      notifications. Breaches affecting even                it is necessary to shorten the existing
                                              breach to that absolutely necessary to
                                                                                                      just a few customers can pose just as                 timeframe of seven business days. As
                                              identify patterns or gaps that require                  much risk to those customers as could                 Sorenson notes, businesses with any
                                              further Commission inquiry. At a                        breaches with wider impact. For this                  internet presence ‘‘must routinely
                                              minimum, the Bureau should develop                      reason, as discussed above, the                       investigate large numbers of potential
                                              requirements that are less burdensome                   Commission continues to require TRS                   security events,’’ and find that a shorter
                                              than what is required for individual                    providers to notify Federal agencies                  deadline would put tremendous
                                              breach submissions to the reporting                     within seven business days of breaches                pressure on providers to report all
                                              facility, and consider streamlined ways                 that implicate a reasonable risk of                   potential security incidents before
                                              for filers to report this summary                       customer harm, regardless of the                      having time to determine whether a
                                              information. The first annual report will               number of customers affected. Doing so                breach is reasonably likely to have
                                              be due the first February 1 after the                   will permit Federal agencies to                       occurred. Such a result would distract
                                              Office of Management and Budget                         investigate smaller breaches where there              providers from investigating and
                                              (OMB) approves the annual reporting                     is a risk of customer harm, and also                  correcting any incident that may have
                                              requirement under the Paperwork                         allow law enforcement agencies to                     occurred. As Sorenson notes, the
                                              Reduction Act. The first report should                  request customer notification delays                  current reporting timeline of seven
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                                              cover all breaches between the effective                where such notice would ‘‘impede or                   business days allows providers a
                                              date of the annual reporting requirement                compromise an ongoing or potential                    reasonable opportunity to investigate
                                              and the remainder of the calendar year.                 criminal investigation or national                    potential incidents and determine
                                                 76. As the Commission determined                     security,’’ as specified in the                       whether a breach is reasonably likely to
                                              above, this reporting threshold will                    Commission’s rules.                                   have occurred.
                                              enable the Commission to receive more                      78. Timeframe. The Commission                         80. The Commission disagrees with
                                              granular information regarding larger                   retains its existing rule and require TRS             Hamilton Relay that the rigid structure


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                                              in its current rules is ‘‘out of step’’ with            required disclosures as part of                       through the existing reporting facility.
                                              other data breach notification                          notifications in that context. As AARO                The Commission notes that no
                                              obligations and ‘‘does not provide TRS                  notes, TRS users face privacy risks that              commenter addressed this potential
                                              providers with sufficient flexibility to                voice telephone service users do not                  amendment to its rule governing TRS
                                              address the different circumstances that                face because TRS providers and their                  providers in response to the Data
                                              surround data breaches.’’ To begin,                     commercial partners collect particularly              Breach Notice, and the Commission
                                              numerous States as well as HIPAA, the                   sensitive data about TRS users that                   discusses more general comments
                                              Health Breach Notification Rule, and                    could be accessed in a data breach. In                regarding the method of disclosure to
                                              CIRCIA impose a specific time limit on                  particular, TRS providers and their                   the Commission in Section III.B.5,
                                              when breach notifications must be made                  partners have direct access to call audio,            above.
                                              to the State or relevant Federal agency.                transcripts, and other data on the                    3. Customer Notification
                                              Furthermore, there is nothing in the                    contents of TRS users’ conversations.
                                              record beyond Hamilton Relay’s                          Given this, the Commission finds that                    84. In this section, the Commission
                                              unsupported assertion to indicate that                  providers must include a description of               introduces a harm-based trigger and
                                              TRS providers find the current seven                    the customer information that was used,               eliminates the requirement to notify
                                              day business deadline to be unduly                      disclosed, or accessed as part of their               customers of a breach in any instance
                                              burdensome or inflexible. Indeed,                       notification, including whether data on               where a TRS provider can reasonably
                                              Sorenson advocates in favor of retaining                the contents of conversations, such as                determine that no harm to customers is
                                              the current seven business day deadline.                call transcripts, are compromised as part             reasonably likely to occur as a result of
                                              Even if the Commission were to assume                   of a breach. The Commission notes that                the breach. The Commission also
                                              the seven business day deadline to be a                 the actual call audio or transcripts                  eliminates the mandatory seven
                                              more burdensome or inflexible standard                  themselves should not be disclosed as                 business day waiting period to notify
                                              than a more open-ended standard, the                    part of the notification, as doing so                 customers and instead requires TRS
                                              Commission still finds that the                         would be a violation of the                           providers to notify customers of
                                              countervailing interest in ensuring                     Commission’s rules. Because of the                    breaches without unreasonable delay
                                              customers are notified quickly of                       unique nature of TRS technology, which                after notification to the Commission and
                                              breaches affecting them outweighs this                  often result in the creation of transcripts           law enforcement, and in no case later
                                              hypothetical burden. As above, the                      or similar artifacts, the Commission                  than 30 days after reasonable
                                              Commission clarifies that a reasonable                                                                        determination of the breach, unless law
                                                                                                      finds that clarifying these additional
                                              determination that a breach has                                                                               enforcement requests a longer delay.
                                                                                                      details of the disclosures will better
                                              occurred does not mean reaching a                                                                             The Commission recommends
                                                                                                      protect consumers and better enable the
                                              conclusion regarding every fact                                                                               minimum categories for information
                                                                                                      Commission and its Federal law
                                              surrounding a data security incident                                                                          inclusion in customer notifications. The
                                                                                                      enforcement partners to investigate,
                                              that may constitute a breach. Rather, a                                                                       Commission declines to specify the
                                                                                                      remediate, and deter breaches.
                                              TRS provider will be treated as having                                                                        method that notifications to customers
                                                                                                         83. Method of Notification. Under                  must take, instead leaving such a
                                              ‘‘reasonabl[y] determin[ed]’’ that a
                                              breach has occurred when the provider                   current Commission rules, TRS                         determination to the discretion of TRS
                                              has information indicating that it is                   providers are required to notify the                  providers, except that such notifications
                                              more likely than not that there was a                   Secret Service and FBI ‘‘through a                    must be accessible to TRS users.
                                              breach.                                                 central reporting facility’’ to which the                85. Harm-Based Notification Trigger.
                                                 81. Content of Notification. As                      Commission maintains a link on its                    The Commission’s current TRS data
                                              currently structured, the existing central              website. The Commission retains this                  breach rule requires notification to
                                              reporting facility requires TRS providers               requirement and revises it slightly to                customers in every instance where a
                                              to report: information relevant to a                    clarify that notifications filed through              breach of their information has
                                              breach, including TRS provider address                  the existing central reporting facility               occurred, regardless of the risk of harm.
                                              and contact information; a description                  will be transmitted to and accessible by              The Commission modifies that standard
                                              of the breach incident; the method of                   the Disability Rights Office (DRO) of the             and foregoes the requirement to notify
                                              compromise; the date range of the                       Commission’s Consumer and                             customers of a breach in those instances
                                              incident and approximate number of                      Governmental Affairs Bureau (CGB), in                 where a TRS provider can reasonably
                                              customers affected; an estimate of the                  addition to the Secret Service and FBI.               determine that no harm to customers is
                                              financial loss to providers and                         The Commission delegates authority to                 reasonably likely to occur as a result of
                                              customers, if any; and the types of data                the Bureau, working in conjunction                    the breach. In order to ensure the
                                              breached. The record supports the                       with CGB, to ensure that the central                  functional equivalency of TRS, and to
                                              imposition of minimum content                           reporting facility sufficiently relays                ensure that TRS users enjoy the same
                                              requirements for breach notifications to                notifications to DRO. The Commission                  protections as customers of
                                              the Commission, Secret Service, and                     finds that retaining the existing central             telecommunications carriers and
                                              FBI. Of the commenters who addressed                    reporting facility, rather than creating              interconnected VoIP providers, the
                                              this issue, only Hamilton Relay opposes                 and operating a new centralized                       Commission adopts here the same
                                              minimum content requirements for TRS                    reporting facility as contemplated in the             definition of ‘‘harm’’ as that adopted
                                              providers, and as their comments                        Data Breach Notice, will be the simplest              above in the context of
                                              pertain specifically to the content of                  and most efficient approach, and will                 telecommunications carriers, for the
                                              breach notifications to customers, the                  not result in the unnecessary                         reasons stated above.
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                                              Commission addresses them below.                        expenditure of resources needed to                       86. In determining whether ‘‘harm’’ is
                                                 82. While the Commission finds that                  build and operate a new electronic                    likely to occur, providers should
                                              these existing content requirements are                 reporting facility when one already                   consider all the factors enumerated in
                                              largely sufficient, it agrees with AARO                 exists. It will also reduce potential                 the Commission’s discussion above. In
                                              that the nature of TRS and the sensitive                provider confusion and simplify                       situations where call content—
                                              information involved warrants more                      regulatory compliance by allowing                     including call audio, transcripts, or
                                              granular clarification regarding the                    providers to continue filing notifications            other data on the contents of TRS users’


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                                              conversations—has been or has the                       harm, providers must assume that harm                 While the Commission agrees that TRS
                                              potential to be disclosed as a result of                is reasonably likely to occur as a result             users face heightened privacy risks
                                              a breach, a TRS provider must assume                    of a breach except where they can                     because of the nature of the technology
                                              that harm has or is reasonably likely to                reasonably determine otherwise.                       involved, such risk alone does not
                                              occur, and the obligation to notify                        89. When determining whether a                     justify a requirement that customers
                                              customers of a breach would remain. As                  breach is reasonably likely to result in              receive notification of breaches in
                                              with the rules the Commission adopts                    harm, TRS providers should consider                   instances where a provider can
                                              for telecommunications services above,                  the same factors laid out in the                      reasonably determine that no harm to
                                              where a TRS provider is unable to make                  discussion above. In addition, in                     customers is reasonably likely to occur
                                              a determination regarding harm, the                     situations where call content—                        as a result of the breach. TRS providers
                                              obligation to notify customers of a                     including call audio, transcripts, or                 can and must take the heightened risks
                                              breach would remain. For the reasons                    other data on the contents of TRS users’              inherent to TRS users into account
                                              discussed above, and in order to ensure                 conversations—has been or has the                     when determining whether harm is
                                              functional equivalency for TRS users,                   potential to be disclosed as a result of              likely to result in the wake of a breach,
                                              the Commission also adopts a safe                       a breach, a TRS provider must assume                  and the Commission reiterates that
                                              harbor under which customer                             that harm has or is reasonably likely to              providers must assume, in every case,
                                              notification is not required where a                    occur, and the obligation to notify                   that harm is reasonably likely to occur
                                              breach solely involves encrypted data                   customers of a breach would remain.                   as a result of a breach except where they
                                              and the TRS provider has definitive                     TRS providers must construe ‘‘harm’’ in               can reasonably determine otherwise.
                                              evidence that the encryption key was                    this context broadly. Even in those                   Moreover, the Commission reiterates
                                              not also accessed, used, or disclosed. To               instances where no harm to customers                  that, in situations where call content—
                                              the extent that a threat actor appears to               is reasonably likely to occur, and thus               including call audio, transcripts, or
                                              have circumvented encryption,                           the requirement to notify customers of                other data on the contents of TRS users’
                                              however, the TRS provider should                        a data breach is not triggered, TRS                   conversations—has been or has the
                                              conduct a harm-based analysis as if the                 providers must still notify the                       potential to be disclosed as a result of
                                              data was never encrypted.                               Commission, Secret Service, and FBI of                a breach, a TRS provider must assume
                                                 87. The Commission finds that                        any such breach affecting 500 or more                 that harm has or is reasonably likely to
                                              introducing a harm-based trigger for                    customers as soon as practicable and in               occur, and the obligation to notify
                                              notifications to customers of TRS data                  any event no later than seven business                customers of a breach would remain.
                                              breaches will benefit customers by                      days after reasonable determination of                The Commission agrees with AARO
                                              avoiding confusion and ‘‘notice fatigue’’               the breach via the central reporting                  that, given the sensitive data at stake, ‘‘it
                                              with respect to breaches that are                       facility. In the case of such breaches                is conceivable that a TRS user would
                                              unlikely to cause harm. Given that it is                affecting fewer than 500 customers, they              want to be aware of a data breach, even
                                              not only emotionally distressing, but                   must be reported annually in a single,                if the harm of that breach is not fully
                                              also time consuming and expensive to                    consolidated filing to the Commission,                determined, so that they can take
                                              deal with the fallout of a data breach,                 Secret Service, and FBI. While a harm-                remedial measures,’’ which is why the
                                              the Commission believes that                            based trigger will help reduce customer               Commission imposes a rebuttable
                                              introducing a harm-based trigger will                   notice fatigue and spare customers the                presumption of harm that requires
                                              spare customers the time, effort, and                   time, effort, and financial strain of                 notification in cases where the harm of
                                              financial strain of changing their                      dealing with the fallout of a breach that
                                                                                                                                                            a breach cannot be fully determined, or
                                              passwords, purchasing fraud alerts or                   is not reasonably likely to result in
                                                                                                                                                            where call content has been or has the
                                              credit monitoring, and freezing their                   harm, the Commission and its law
                                                                                                                                                            potential to be disclosed. The
                                              credit in the wake of any breach that is                enforcement partners can still garner
                                                                                                                                                            Commission finds that imposing a
                                              not reasonably likely to result in harm.                critical information regarding data
                                                                                                                                                            rebuttable presumption of harm, and
                                              A harm-based notification trigger also                  security vulnerabilities by analyzing
                                                                                                                                                            requiring TRS providers to consider the
                                              has a basis in the data breach                          larger breaches, even those that are not
                                                                                                                                                            heightened privacy risks experienced by
                                              notification frameworks employed by                     reasonably likely to result in harm to
                                                                                                                                                            TRS users when attempting to rebut this
                                              States, many of which do not require                    customers.
                                                                                                         90. The record generally supports the              presumption, sufficiently addresses
                                              covered entities to notify customers of
                                              breaches when a determination has been                  adoption of a harm-based trigger for TRS              AARO’s concerns without the need for
                                              made that the breach is unlikely to                     consumer breach notifications. AARO,                  mandatory consumer notifications that
                                              cause harm.                                             however, argues that ‘‘harm-based                     may result in notice fatigue and obligate
                                                 88. The Commission finds further that                triggers should not be used in the                    consumers to expend time, effort, and
                                              employing a harm-based notification                     context of TRS breach reporting to                    resources dealing with the fallout of
                                              trigger will not only benefit customers,                customers . . . because of the inherent               breaches that are not reasonably likely
                                              but also assist TRS providers by                        privacy risks faced by TRS users.’’                   to result in harm.
                                              allowing them to better focus their                     AARO goes on to argue that, because                      91. The Commission agrees with
                                              resources on improving data security                    TRS involves the collection of data on                Sorenson that, without a harm-based
                                              and ameliorating the harms caused by                    the content of a user’s conversation, the             trigger, these rules could result in over-
                                              data breaches rather than providing                     Commission should presume that any                    notification regarding non-critical
                                              notifications to customers in instances                 data breach of a TRS provider is harmful              security events without any
                                              where harm is unlikely to occur. Nor                    and require the disclosure of that breach             corresponding benefit to consumers.
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                                              will the introduction of a harm-based                   to customers and law enforcement.                     The Commission also agrees with
                                              trigger overburden providers by                         While the Commission agrees that the                  Hamilton Relay that such over-
                                              saddling them with the task of                          Commission and law enforcement                        notification could very well result in
                                              determining whether particular                          should be apprised of all breaches, it                notice fatigue and consumer
                                              breaches are reasonably likely to cause                 disagrees that customers must be made                 indifference, which would perversely
                                              harm. By making the standard for                        aware of breaches where no harm to                    cause consumers to ignore or discount
                                              notification a rebuttable presumption of                customers is reasonably likely to result.             notifications, leading to failure to take


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                                              action even in those instances where a                  found that ‘‘immediate customer                       discovery of a breach of security.’’
                                              breach is substantially likely to result in             notification may compromise all the                   Additionally, many States impose an
                                              harm, and thus eliminating the main                     benefits of requiring carriers to notify              outside limit on when customers must
                                              benefit of requiring consumer                           law enforcement of CPNI breaches,’’ and               be notified of a breach following
                                              notifications. The Commission therefore                 that a short delay was thus warranted.                discovery of said breach.
                                              concludes that a harm-based trigger                        95. As discussed above, given the                     98. Consistent with the Commission’s
                                              strikes the correct balance between                     sheer volume of personal data at risk,                current rules implementing section 222,
                                              keeping TRS users adequately informed,                  and the proliferation of malicious                    the rule adopted here will allow law
                                              and reducing over-notification and                      schemes designed to exploit that data,                enforcement to direct a TRS provider to
                                              notice fatigue while reducing the                       the Commission finds that the need to                 delay customer notification for an initial
                                              attendant burdens on TRS providers.                     notify victims of breaches as soon as                 period of up to 30 days if such
                                                 92. The Commission disagrees with                    possible has grown exponentially in the               notification would interfere with a
                                              EPIC that a harm-based trigger will lead                years since these rules were adopted.                 criminal investigation or national
                                              to ‘‘legal ambiguity and                                The rules adopted in this Order will                  security. The Commission finds that in
                                              underreporting,’’ or that it will delay                 better serve the public interest by                   those instances where a provider
                                              reporting ‘‘as it may take time to assess               increasing the speed at which customers               reasonably decides to consult with law
                                              whether the minimum threshold for                       may receive the important information                 enforcement, a short initial delay of no
                                              reportable harm has been met.’’ By                      contained in a notification, except in                longer than 30 days pending such
                                              adopting a rebuttable presumption of                    those circumstances when law                          consultation is reasonable under the
                                              harm and requiring consumer                             enforcement specifically requests                     ‘‘without unreasonable delay’’ standard
                                              notification except in those instances                  otherwise. The Commission finds that a                the Commission adopts for customer
                                              where a provider can reasonably                         requirement to notify customers of data               notification. The Commission notes that
                                              determine that no harm to customers is                  breaches without unreasonable delay                   HIPAA, the GLBA, and the Health
                                              reasonably likely to occur, the                         after discovery of a breach and                       Breach Notification Rule all allow for a
                                              Commission does not think that                          notification to law enforcement                       delay of customer notification if law
                                              underreporting is a likely risk, as                     appropriately balances legitimate law                 enforcement determines notification to
                                              customers will still be made aware of                   enforcement needs with customers’                     customers would ‘‘impede a criminal
                                              breaches where protective action from                   need to take swift action to protect their            investigation or cause damage to
                                              the consumer is required. While the                     information in the wake of a breach.                  national security,’’ but only if law
                                              Commission does not here include a                         96. The revised rule is consistent with            enforcement officials request such a
                                              specific definition of how or under what                many existing data breach notification                delay. More specifically, both HIPAA
                                              circumstances this presumption may be                   laws that require expedited notice but                and the Health Breach Notification Rule
                                              rebutted—finding that such an approach                  refrain from requiring a specific                     allow for notification delays of up to 30
                                              would be too prescriptive—the                           timeframe. While requiring notification               days if orally requested by law
                                              Commission nevertheless provides                        to customers without unreasonable                     enforcement. Similarly, most, if not all,
                                              guidance for evaluating customer harm,                  delay will increase the speed at which                States permit delays in notifying
                                              as outlined above. And, as discussed                    customers receive important                           affected customers for legitimate law
                                              below, the rules require notification to                information related to a breach, the                  enforcement reasons. The Commission
                                              customers without unreasonable delay                    Commission declines to adopt a specific               finds that the rule it adopts here strikes
                                              after notification to law enforcement,                  timeframe, and finds that such an                     the appropriate balance between the
                                              and in no case later than 30 days after                 approach would be overly prescriptive.                needs of law enforcement to have
                                              reasonable determination of a breach                    Because each data breach is different,                sufficient time to investigate criminal
                                              unless law enforcement requests a                       providers must be given sufficient                    activity and the needs of customers to
                                              longer delay.                                           latitude to address each breach                       be notified of data breaches without
                                                 93. Notifying Customers of Data                      separately, in the manner best befitting              unreasonable delay.
                                              Breaches Without Unreasonable Delay.                    the nature of the breach. Even so, the                   99. The record supports reconfiguring
                                              The Commission’s current TRS data                       Commission finds it appropriate to                    the Commission’s rules in this manner.
                                              breach rule prohibits TRS providers                     impose an outside limit on when                       As Hamilton Relay notes, TRS providers
                                              from notifying customers or disclosing a                customers must be notified of a breach.               require flexibility when addressing data
                                              breach to the public until at least seven               Requiring providers to notify customers               breaches, and a standard requiring
                                              full business days after notification to                no later than 30 days after reasonable                providers to notify customers of a
                                              the Secret Service and FBI. The                         determination of a breach, unless a                   breach as soon as practicable will allow
                                              Commission eliminates this mandatory                    longer delay is requested by law                      TRS providers sufficient time to
                                              waiting period and instead requires TRS                 enforcement, will allow TRS providers                 determine the nature of the incident,
                                              providers to notify customers of CPNI                   sufficient flexibility to deal with each              ‘‘including what consumer data may be
                                              breaches without unreasonable delay                     breach on an individual basis while                   implicated, if any. And the Commission
                                              after notification to law enforcement,                  simultaneously installing a backstop to               agrees with Sorenson that imposing a
                                              and in no case later than 30 days after                 ensure that customers are not made                    rigid timeline on providers without
                                              reasonable determination of a breach,                   unaware of a breach indefinitely.                     offering sufficient time to investigate
                                              unless law enforcement requests a                          97. This approach is generally                     runs the risk of placing ‘‘tremendous
                                              longer delay.                                           consistent with HIPAA, which requires                 pressure on providers to report all
                                                 94. In adopting the current rule, the                notification to individuals ‘‘without                 potential security incidents before
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                                              Commission concluded that once                          unreasonable delay and in no case later               having time to determine whether a
                                              customers have been notified of a                       than 60 calendar days after discovery of              breach is reasonably likely to have
                                              breach, it becomes public knowledge,                    a breach,’’ as well as the Health Breach              occurred,’’ and that such a result would
                                              ‘‘thereby impeding law enforcement’s                    Notification Rule, which requires                     not only overload the Commission but
                                              ability to investigate the breach, identify             notification to individuals ‘‘without                 ‘‘also distract providers from
                                              the perpetrators, and determine how the                 unreasonable delay and in no case later               investigating and correcting any
                                              breach occurred.’’ The Commission                       than 60 calendar days after the                       incident that may have occurred.’’ The


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                                              Commission finds that retaining the                     State requirements may create                            103. The Commission finds that
                                              seven business day deadline for Federal-                unnecessary burdens on small TRS                      adopting recommendations for
                                              agency notifications will allow TRS                     providers. The Commission also finds                  minimum consistent fields of
                                              providers a reasonable opportunity to                   that specifying the required content of               information will further the goal of
                                              investigate potential incidents,                        customer notifications beyond the basic               assisting customers in better
                                              determine whether a breach is                           standard described above would inhibit                understanding the circumstances and
                                              reasonably likely to have occurred, and                 TRS providers from having the                         nature of a breach while retaining some
                                              report it to the Commission and its law                 flexibility to craft notifications that are           flexibility for TRS providers to precisely
                                              enforcement partners, if necessary,                     more responsive to, and appropriate for,              tailor each notification, depending on
                                              while the elimination of the mandatory                  the specific facts of a breach, the                   the specific facts and details of each
                                              seven business day waiting period and                   customers, and the provider involved. A               breach. The Commission agrees with
                                              imposition of a 30-day backstop will                    stricter standard could conflict with                 Hamilton Relay that the Commission
                                              ensure that customers receive                           other customer notice requirements—                   should give providers the flexibility to
                                              notification of any such breach in a                    thus burdening providers and                          craft breach notifications that include
                                              timely fashion.                                         potentially sowing confusion among                    relevant information in an accessible
                                                 100. The Commission disagrees with                   consumers—and could delay providers’                  format, depending on the circumstances
                                              AARO that the timeframe revisions it                    ability to timely notify their customers              of each breach. While the Commission
                                              makes will result in unwarranted delays                 of a breach, since it could take time to              acknowledges arguments by AARO and
                                              of notifications to customers. On the                   gather all of the necessary details and               EPIC supporting the imposition of
                                              contrary, the Commission finds that the                 information even in cases where it                    minimum content requirements for
                                              pairing of an unreasonable delay                        would be in customers’ best interests to              customer breach notifications, the
                                              standard with the elimination of the                    receive notification more quickly, albeit             Commission is wary of imposing
                                              mandatory seven business day waiting                    with less detail.                                     specific requirements that could conflict
                                              period between notification of law                                                                            with many State regulations, and of
                                                                                                         102. Instead, the Commission adopts
                                              enforcement and notification of                                                                               attempting to impose a one-size-fits-all
                                                                                                      as recommendations the following
                                              customers is more likely to result in                                                                         solution for all providers and all data
                                                                                                      categories of information in security
                                              consumers receiving notice of a breach                                                                        breaches. Rather, the Commission finds
                                                                                                      breach notifications to TRS customers:
                                              more quickly than they would under the                                                                        that the seven categories of information
                                                                                                      (1) the date of the breach; (2) a
                                              Commission’s current rule in many                                                                             recommended in this Order
                                              instances. By requiring TRS providers to                description of the customer information
                                                                                                      that was used, disclosed, or accessed;                appropriately balance the goal of
                                              issue consumer notifications without                                                                          empowering consumers to take the
                                              unreasonable delay, but in no case later                (3) whether data on the contents of
                                                                                                      conversations, such as call transcripts,              necessary steps to protect themselves
                                              than 30 days after a breach has been                                                                          and their information in the wake of a
                                              detected unless a longer delay is                       was compromised as part of the breach;
                                                                                                      (4) information on how customers can                  data breach while simultaneously
                                              requested by law enforcement, the                                                                             enabling TRS providers to respond
                                              Commission believes that the revised                    contact the provider to inquire about the
                                                                                                      breach; (5) information about how to                  flexibly to data breaches as they occur,
                                              rule balances the needs of law                                                                                and to issue customer notifications as
                                              enforcement and TRS providers—to                        contact the Commission, FTC, and any
                                                                                                      State regulatory agencies relevant to the             swiftly as possible without the need to
                                              respond flexibly, with sufficient time to                                                                     delay as they gather all of the
                                              investigate data breaches—and                           customer and the service; (6) if the
                                                                                                      breach creates a risk of identity theft,              information needed to satisfy a rigidly
                                              customers—to take swift action in the
                                                                                                      information about national credit                     prescribed set of predetermined
                                              wake of a breach.
                                                                                                      reporting agencies and the steps                      informational categories.
                                                 101. Content of Customer Breach
                                              Notification. Consistent with the                       customers can take to guard against                      104. Method of Customer Breach
                                              Commission’s current TRS data breach                    identity theft, including any credit                  Notification. The Commission declines
                                              rule, the Commission declines to adopt                  monitoring, credit reporting, or credit               to specify the form that notifications to
                                              specific minimum categories of                          freezes the provider is offering to                   customers must take, instead leaving
                                              information required in a customer                      affected customers (Breaches which                    such a determination to the discretion of
                                              breach notification. The Commission                     involve data such as a social security                TRS providers, except to require that
                                              makes clear, however, that a notification               number, birth certificate, taxpayer                   such notifications be provided in a
                                              must include sufficient information so                  identification number, bank account                   format accessible to individuals with
                                              as to make a reasonable customer aware                  number, driver’s license number, and                  disabilities. In this proceeding,
                                              that a breach occurred on a certain date,               other similar types of personally                     commenters were uniform in their
                                              or within a certain estimated timeframe,                identifiable information unique to each               insistence that the method of customer
                                              and that such a breach affected or may                  person create the highest level of risk of            breach notification be left to the
                                              have affected that customer’s data.                     identity theft. While breaches involving              discretion of providers where it is not
                                              While all 50 States, the District of                    the types of data listed here should be               specified in State law. As CCA notes,
                                              Columbia, Guam, Puerto Rico, and the                    considered to create a risk of identity               the ‘‘best means for reaching business
                                              U.S. Virgin Islands have laws requiring                 theft for customers, this is not an                   customers and residential customers
                                              private or governmental entities to                     exclusive list and should not be                      . . . can differ significantly, and carriers
                                              notify individuals of breaches involving                considered as such. There may be other                are best positioned based on their
                                              their personal information, of these, less              types of data not listed here that, either            experience and contact with consumers
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                                              than half impose minimum content                        alone or in conjunction with other data,              to know customers’ preferred way of
                                              requirements on the notifications that                  may potentially create a risk of identity             receiving notifications.’’ CTIA argues
                                              must be transmitted to affected                         theft for customers.); and (7) what other             further that mandating the manner of
                                              individuals in the wake of a data breach.               steps customers should take to mitigate               customer CPNI incident notifications
                                              As noted above regarding carriers,                      their risk based on the specific                      could ‘‘reduc[e] carrier flexibility to
                                              adding requirements with the potential                  categories of information exposed in the              provide the most up-to-date information
                                              to differ from such a high number of                    breach.                                               to customers in fluid situations.’’ As


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                                              Hamilton Relay points out, ‘‘TRS                        providers retaining required registration             meaningfully informing customer
                                              providers do not have standard billing                  information for TRS users must include                decisions regarding whether to give,
                                              information for their customers because                 an assessment of the impact of the                    withhold, or retract their approval for
                                              . . . most if not all TRS users do not pay              ability of the Commission and relevant                carriers to use or disclose their
                                              for the service.’’ Because this lack of                 administrators to review the data upon                information. Moreover, requiring
                                              standard billing information may                        which users were verified in the                      carriers to notify the Commission in the
                                              complicate notifications to such users,                 database. The record in this proceeding               event of a data breach will better enable
                                              the Commission agrees with Hamilton                     is incomplete as the Commission did                   the Commission to identify and confront
                                              Relay that the Commission should grant                  not seek comment on this issue. The                   systemic network vulnerabilities and
                                              TRS providers the discretion to take all                Commission therefore does not take                    help investigate and advise carriers on
                                              reasonable steps necessary to provide                   action on this issue at this time.                    how best to avoid future breaches, while
                                              the required information to their                                                                             simultaneously assisting carriers in
                                                                                                      E. Legal Authority
                                              customers in a ‘‘usable and readily                                                                           fulfilling their duty pursuant to section
                                              understandable format’’ whenever a                        107. The Commission finds that                      222(a) to protect the confidentiality of
                                              breach occurs. The Commission thus                      sections 201(b), 222, 225, and 251(e)                 their customers’ information.
                                              declines to specify the manner that                     provide the Commission with authority
                                                                                                                                                               110. The Commission rejects Lincoln
                                              accessible notifications to customers                   to adopt the breach notification rules
                                                                                                                                                            Network’s argument that section 222
                                              must take, and leaves such a                            enumerated in this Order. The
                                                                                                                                                            does not grant the Commission
                                              determination to the discretion of TRS                  Commission concludes further that it
                                                                                                      has authority to apply these revised                  authority to adopt rules requiring
                                              providers where the manner of customer                                                                        telecommunications carriers and
                                              breach notifications is not specified by                rules to interconnected VoIP providers.
                                                                                                      Lastly, the Commission finds that                     interconnected VoIP providers to
                                              applicable State law.                                                                                         address breaches of covered data.
                                                 105. TRS User Registration                           Congress’ nullification of the
                                                                                                      Commission’s revisions to its data                    Section 222 explicitly imposes a duty
                                              Information. In their comments,
                                                                                                      breach rules in the 2016 Privacy Order                on telecommunications carriers to
                                              Sorenson notes that ‘‘TRS customers
                                                                                                      pursuant to the Congressional Review                  ‘‘protect the confidentiality of
                                              must undergo intrusive identity and
                                                                                                      Act (CRA) does not now preclude the                   proprietary information of, and relating
                                              address verification that other voice
                                                                                                      Commission from adopting the rules set                to, other telecommunication carriers,
                                              telephone customers do not,’’ and that
                                                                                                      forth in this Order.                                  equipment manufacturers, and
                                              data retention requirements of TRS
                                              providers put customers who rely on                                                                           customers.’’ To argue, as Lincoln
                                                                                                      1. Section 222                                        Network does, that section 222 does not
                                              these critical services at heightened risk.
                                              Sorenson thus recommends that the                          108. Section 222 of the Act provides               grant the Commission ‘‘clear authority
                                              Commission’s revised rules permit TRS                   authority for the requirements the                    to protect the security of data’’
                                              providers to delete sensitive customer                  Commission adopts and revises today.                  contravenes the clear language and
                                              information, such as copies of users’                   Section 222(a) imposes a duty on                      intent of section 222. Ever since it began
                                              driver’s licenses/passports and other                   carriers to ‘‘protect the confidentiality of          implementation of the 1996 Act, the
                                              identity or address identifying                         proprietary information of, and relating              Commission has understood section
                                              information. Convo Communications                       to’’ customers, fellow carriers, and                  222(a) as a source of carriers’ duties and
                                              take this recommendation a step further,                equipment manufacturers. Section                      as a source of Commission rulemaking
                                              advocating that the Commission not just                 222(c) imposes more specific                          authority. To the extent that the
                                              permit but require providers to destroy                 requirements on carriers as to the                    Commission has described its section
                                              identifying records regarding TRS users                 protection and confidentiality of                     222 authority as coextensive with the
                                              after a user is successfully registered in              customer proprietary network                          definition of CPNI, the Commission
                                              the TRS User Registration Database                      information. Both subsections                         disavows such an interpretation. In
                                              (TRS URD).                                              independently provide the Commission                  those proceedings, the Commission was
                                                 106. The Commission declines to                      authority to adopt rules requiring                    not examining the distinction between
                                              adopt these recommendations at this                     telecommunications carriers and                       CPNI and other sensitive personal
                                              time. The requirements to collect and                   interconnected VoIP providers to                      information, and it never explicitly
                                              retain user registration information for                address breaches of customer                          decided that section 222(a) does not
                                              registration in the TRS User Registration               information, but the breadth of section               reach other forms of personal
                                              Database are outside the scope of this                  222(a) provides the additional clarity                information. In fact, the Commission in
                                              proceeding. The TRS User Registration                   that the Commission’s breach reporting                2007 described section 222(a)’s duty as
                                              Database is a centralized system of                     rules can and must apply to all PII                   extending to ‘‘proprietary or personal
                                              registration records established to                     rather than just to CPNI.                             customer information,’’ and more recent
                                              protect the TRS Fund from waste, fraud,                    109. The Commission has long                       enforcement actions have affirmed that
                                              and abuse and to improve the                            required carriers to report data breaches             carriers’ duty to protect customer
                                              Commission’s ability to manage and                      as part of their duty to protect the                  information extends beyond CPNI. As
                                              oversee the TRS program. A necessary                    confidentiality of customers’                         noted below, the general interpretation
                                              component of the administration and                     information. The revisions to the                     of section 222 in the TerraCom NAL also
                                              oversight of the TRS User Registration                  Commission’s data breach reporting                    was confirmed by the Commission in a
                                              Database and the TRS program in                         rules adopted in this Order reinforce                 subsequent rulemaking order. And as
                                              general, is the ability of the                          carriers’ duty to protect the                         noted above, in November 2021 and
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                                              Commission, the TRS User Registration                   confidentiality of their customers’                   March 2022 orders revoking the
                                              Database administrator, and the TRS                     information, including information that               operating authority of certain
                                              Fund administrator to review and audit                  may not fit the statutory definition of               telecommunications carriers, the
                                              the registration information of TRS                     CPNI. Data breach reporting                           Commission further stated that all
                                              users and the registration practices of                 requirements also reinforce the                       communications service providers have
                                              TRS providers. Any consideration of                     Commission’s other rules addressing the               ‘‘a statutory responsibility to ensure the
                                              changes to the rules concerning TRS                     protection of customer information by                 protection of customer information,


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                                              including PII and CPNI.’’ To find that                  that would persuade it to depart from                 section 222. The Commission reads
                                              carriers have no duty to protect the                    what it sees as the best interpretation of            section 222(a) as imposing a broad duty
                                              confidentiality of non-CPNI PII would                   section 222(a) based on the statutory                 that can and must be read in harmony
                                              be inconsistent with the plain language                 text. But even beyond the foregoing                   with the more specific mandates set
                                              of section 222(a)’s use of the term                     analysis, that interpretation of section              forth elsewhere in the statute. This
                                              ‘‘proprietary information of, and relating              222(a) is at odds with the fact that                  understanding of section 222(a) also
                                              to, . . . customers’’ and is not the best               section 222(a) lists ‘‘equipment                      accords with the fact that the
                                              interpretation of that provision. Instead,              manufacturers’’ among the classes of                  Commission generally has relied on a
                                              consistent with those recent                            entities owed confidentiality protections             ‘‘reasonableness’’ standard when
                                              Commission actions, the Commission                      as part of a carrier’s ‘‘general’’ duty.              evaluating carriers’ protection of
                                              finds that the phrase ‘‘information of,                 Given that section 222 never otherwise                information under section 222.
                                              and relating to, . . . customers’’ in                   mentions confidentiality protections                  Provisions such as sections 222(b) and
                                              section 222(a) is naturally—and indeed                  owed to those entities, this reinforces               (c) directly impose specific
                                              best—interpreted to have the same                       the Commission’s view that section                    requirements on telecommunications
                                              definition as PII, subject to the                       222(a) is best read as imposing                       carriers to address concerns that were
                                              additional limitation that the                          enforceable obligations on                            particularly pressing at the time of
                                              information be ‘‘proprietary’’ to the                   telecommunications carriers separate                  section 222’s enactment, which
                                              carrier—i.e., obtained in connection                    and apart from the requirements of                    continue to control over the more
                                              with establishing or maintaining a                      section 222(b) and (c). Admittedly, as                general duty in section 222(a) to the
                                              communications service. NCTA asserts                    CTIA points out, see CTIA Comments at                 extent of any overlap. The
                                              that ‘‘most PII . . . is not ‘proprietary               12, section 273(d)(2) separately                      Commission’s interpretation of section
                                              information,’’ but does not justify why                 prohibits ‘‘[a]ny entity which                        222(a) thus preserves the role of each of
                                              the Commission should adopt an                          establishes standards for                             these provisions within the section 222
                                              understanding of that term different                    telecommunications equipment or                       framework. And given the more detailed
                                              than the one here. Finally, given the                   customer premises equipment, or                       statutory specification of carriers’
                                              larger context discussed below, to the                  generic network requirements for such                 requirements regarding CPNI in section
                                              extent that an obligation to take                       equipment, or certifies                               222, it is understandable the Congress
                                              reasonable measures to protect all PII                  telecommunications equipment or                       made a point of establishing express
                                              were not derived directly from section                  customer premises equipment . . . from                exceptions from those requirements in
                                              222(a), that would be because Congress                  releasing or otherwise using any                      section 222(d). Part of interpreting
                                              understood it already to be based in                    proprietary information, designated as                section 222(a) in harmony with section
                                              section 201(b)’s prohibition on unjust or               such by its owner, in its possession as               222 as a whole includes interpreting it
                                              unreasonable practices.                                 a result of such activity, for any purpose            in harmony with section 222(d). Thus,
                                                 111. Some commenters contend that                    other than purposes authorized in                     the Commission does not interpret the
                                              section 222(a) simply sets out high-level               writing by the owner of such                          grounds for disclosure authorized by
                                              principles the substantive details of                   information.’’ But CTIA fails to                      section 222(d) as violating carriers’
                                              which are specified elsewhere. The                      demonstrate that the entities that are the            obligation to protect the confidentiality
                                              Commission rejects NCTA’s claim that                    focus of section 222(a)—i.e.,                         of proprietary information imposed by
                                              ‘‘legislative history supports an                       telecommunications carriers—are fully                 section 222(a). The Commission’s
                                              interpretation of Section 222 that does                 subsumed by (or even substantially                    analysis is the same regarding other
                                              not impose an affirmative obligation                    overlap with) the entities that are the               provisions of section 222, such as the
                                              under Section 222(a), which shows that                  focus of section 273(d)(2)—e.g., entities             subscriber information disclosure
                                              Congress deliberately chose not to use                  that establish equipment standards or                 requirements in section 222(e) and (g).
                                              ‘personally identifiable information’ in                requirements or certify such equipment.               Thus, the Commission does not
                                              Section 222.’’ NCTA cites a statement                   The significant mismatch between                      interpret section 222(a) to impose
                                              from the conference report that ‘‘ ‘the                 sections 222(a) and 273(d)(2) thus gives              obligations inconsistent with those
                                              new section 222 strives to balance both                 the Commission no reason to question                  disclosure requirements, either. Because
                                              competitive and consumer privacy                        its understanding of section 222(a). Nor              the Commission reads section 222(a) in
                                              interests with respect to CPNI.’’’ But as               does section 222(a) otherwise include                 harmony with the remainder of section
                                              even commenters opposed to the                          textual indicia at odds with the                      222 there is no incompatibility in its
                                              Commissin’s interpretation of section                   Commission’s understanding. Section                   approach. And the mere omission of
                                              222(a) recognize, section 222 applies to                222(a) employs regulatory terminology                 section 222(a) from provisions like
                                              more than just CPNI, undercutting any                   in imparting a general ‘‘duty’’ on                    section 222(d), (e), and (g) would have
                                              understanding of that statement as                      telecommunications carriers. Section                  been an oblique and indirect way of
                                              reflecting the full scope and contours of               222(a)’s heading of ‘‘In General’’ also is            dictating an interpretation of section
                                              section 222. NCTA also cites a House                    fully compatible with the Commission’s                222(a) that runs counter to its plain
                                              Report discussing earlier statutory                     understanding of that provision as                    meaning: a reasonable person would not
                                              language considered by the House,                       imposing a general duty—in contrast to                interpret ‘‘a duty to protect the
                                              which would have specified a different                  alternative headings such as ‘‘Purpose’’              confidentiality’’ of customer
                                              scope of covered information. But that                  or ‘‘Preamble’’ that would indicate that              information as prohibiting its use for
                                              alternative definition also was part of a               the ‘‘duty’’ announced by such a                      billing, for example, as is permitted by
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                                              statutory provision that different in                   provision is merely precatory or a                    section 222(d)(1).
                                              many other ways from section 222 as                     ‘‘statement of purpose’’ with no legal                   113. Lincoln Network attempts to
                                              ultimately adopted, see July 24, 1995                   force of its own.                                     draw a distinction between security and
                                              House Rep., at 22–23, and section 222                      112. Contrary to some commenters’                  confidentiality that is unavailing.
                                              as enacted ultimately was based on the                  claims, the Commission’s interpretation               Lincoln Network itself appears to
                                              Senate version. In sum, the Commission                  of section 222(a) also otherwise is                   recognize that something that could be
                                              sees nothing in the legislative history                 compatible with the remainder of                      characterized as a ‘‘security’’ breach can


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                                              result in loss of confidentiality for data              to notify consumers of a data breach to               adopted as part of the
                                              or information. Thus, even assuming                     be a violation of section 201(b). The                 Telecommunications Act of 1996 (1996
                                              arguendo that breaches of security and                  Commission made explicit that, in the                 Act), was not intended to narrow
                                              breaches of confidentiality are not                     future, such violations would be                      carriers’ privacy duties or the
                                              coextensive, that would matter only if                  penalized under section 201(b). The                   Commission’s authority to oversee
                                              the Commission were attempting to act                   Commission now makes that clear again                 carriers’ privacy practices. The
                                              beyond the scope of section 222’s                       here. The Commission therefore                        Commission rejects contrary arguments
                                              statutory grant of authority with respect               concludes that its authority to prohibit              premised on the fact that section 222
                                              to confidentiality—which is not the case                unjust and unreasonable practices and                 does not itself include a savings clause
                                              here. Based on relevant textual indicia,                to ‘‘prescribe such rules and regulations             expressly preserving the Commission’s
                                              the Commission concludes that                           as may be necessary in the public                     authority under section 201, in contrast
                                              ‘‘confidentiality’’ within the meaning of               interest to carry out the provisions of’’             to section 251 of the Act. The 1996 Act
                                              section 222 encompasses impermissible                   the Act pursuant to section 201(b)                    made clear that ‘‘the amendments made
                                              access to, use of, and/or disclosure of                 provides independent authority for the                by this Act shall not be construed to
                                              covered information. Section 222(a)                     Commission to consider PII as protected               modify, impair, or supersede Federal,
                                              establishes carriers’ ‘‘duty to protect the             consumer information and to require                   State, or local law unless expressly so
                                              confidentiality of proprietary                          carriers to notify customers, law                     provided in such Act or amendments.’’
                                              information . . . .’’ Section 222(b), in                enforcement, and the Commission about                 Nothing in section 222 expressly
                                              turn, is entitled ‘‘[c]onfidentiality of                breaches as discussed throughout this                 modifies, impairs, or supersedes the
                                              carrier information,’’ and limits carriers’             Report and Order.                                     Commission’s authority under section
                                              ‘‘use’’ of proprietary information.                        115. CTIA provides no explanation for              201(b) to act to ensure that carriers’
                                              Section 222(c) is entitled                              its conclusory assertion that carriers’               practices are just and reasonable. While
                                              ‘‘[c]onfidentiality of customer                         data privacy and security practices are               it is not entirely clear why Congress felt
                                              proprietary network information’’ and                   not practices ‘‘in connection with’’                  the need for an additional savings
                                              limits how carriers ‘‘use, disclose, or                 communications services. The                          clause in section 251(i), it might simply
                                              permit access to’’ individually                         Commission is no more persuaded by                    have done so ‘‘to be doubly sure,’’
                                              identifiable CPNI. ‘‘Although section                                                                         Barton v. Barr, 140 S. Ct. 1442, 1453
                                                                                                      arguments that take a different tack and
                                              headings cannot limit the plain meaning
                                                                                                      contend that the carrier actions at issue             (2020), particularly given the
                                              of a statutory text, ‘they supply cues’ as
                                                                                                      in this proceeding are not ‘‘charges,’’               responsibilities assigned to the States in
                                              to what Congress intended.’’ Against
                                                                                                      ‘‘practices,’’ ‘‘classifications,’’ or                the implementation of sections 251 and
                                              that backdrop the Commission rejects
                                                                                                      ‘‘regulations’’ within the meaning of                 252 of the Act. Nor is the Commission
                                              Lincoln Network’s attempts to rely on
                                                                                                      section 201(b). This argument relies on               persuaded by contrary claims based on
                                              isolated examples of terminology uses
                                                                                                      the theory that the Supreme Court has                 high-level statements in legislative
                                              from recent industry reports or the like.
                                                                                                      held ‘‘that activity is not covered by                history about the balancing various
                                              The Commission’s data breach reporting
                                                                                                      Section 201(b) unless it ‘resembles                   interests underlying various legislative
                                              requirements focus on ‘‘breaches,’’
                                                                                                      activity that . . . transportation and                alternatives that eventually led to
                                              which occur when ‘‘a person, without
                                              authorization or exceeding                              communications agencies have long                     section 222 of the Act. See, e.g., CTIA
                                              authorization, gains access to, uses, or                regulated.’ ’’ But in that decision, the              Dec. 6, 2023 Ex Parte at 5–6. Such high-
                                              discloses covered data.’’ The ‘‘covered                 Supreme Court did not so hold; it                     level statements in legislative history do
                                              data’’ is defined in terms of the statutory             merely considered that factor in support              not persuade the Commission to depart
                                              categories of proprietary information                   of its threshold determination that the               from what it sees as the best
                                              and customer proprietary network                        activity at issue there ‘‘easily fits within          interpretation of the statutory text. Nor
                                              information, and the focus on access,                   the language of the statutory phrase’’ as             is it even clear that the relevant
                                              use, and disclosure of those data fits                  understood ‘‘in ordinary English.’’ The               balancing of interests in the cited
                                              comfortably within the Commission’s                     Commission sees no reason why a                       legislative history necessarily is relevant
                                              section 222 authority.                                  carrier’s privacy and data breach                     to the particular exercise of section
                                                                                                      notification practices with respect to                201(b) authority at issue here. See, e.g.,
                                              2. Section 201(b)                                       customer PII that it has by virtue of its             H.R. Rep. No. 103–559, at 60 (June 24,
                                                 114. Section 201(b) of the Act requires              service relationship with them would                  1994) (discussing the ‘‘careful balance of
                                              practices of common carriers to be just                 not easily fit within the ordinary                    competing, often conflicting,
                                              and reasonable and declares any unjust                  understanding of that statutory phrase,               considerations’’ of consumers’ need ‘‘to
                                              or unlawful practices to be unlawful.                   as well. Independently, the Commission                be sure that information about them that
                                              The Commission concluded in the                         also observes that the Commission has,                carriers can collect is not misused’’ with
                                              TerraCom NAL that section 201(b) was                    in fact, historically regulated carriers’             consumers’ expectation that ‘‘the
                                              violated when carriers failed to notify                 privacy practices under its section                   carrier’s employee will have available
                                              customers whose personal information                    201(b) authority. Certainly any                       all relevant information about their
                                              had been breached by the carriers’                      information collected from a customer                 service,’’ which ‘‘argues for looser
                                              inadequate data-security policies. The                  or prospective customer related to                    restrictions on internal use of customer
                                              TerraCom NAL explicitly put carriers                    establishing or maintaining the                       information’’). The Commission
                                              ‘‘on notice that in the future [the                     provision of a communications service                 regulated carriers’ privacy practices
                                              Commission] fully intend[s] to assess                   would qualify. As discussed above, it is              under its general Title II authority even
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                                              forfeitures for such violations’’ under                 well established that carriers have come              before enactment of the 1996 Act, and
                                              section 201(b). As NCTA points out, the                 into possession of, and sometimes                     the 1996 Act codified the privacy duty
                                              Commission did not propose a forfeiture                 suffered breaches of, sensitive personal              and enacted specific restrictions for the
                                              under section 201(b), NCTA Reply at                     information that may not be CPNI. Nor                 new competitive environment that the
                                              10–11, but that was because it was the                  does the canon of statutory construction              Act was intended to promote. In the
                                              first time the Commission had declared                  about specific provisions governing                   course of rejecting a request that carriers
                                              a carrier’s practices related to its failure            general ones apply here. Section 222,                 be compelled to share customer


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                                              information with certain other carriers                 provided by those agencies’ statutes. It              voice service.’ ’’ This trend has
                                              to protect against discrimination against               is implausible that Congress would have               continued. Interconnected VoIP now
                                              competitors under sections 201(b) and                   exempted common carriers from any                     accounts for a far larger share of the
                                              202(a) of the Act, the Commission stated                obligation to protect their customers’                residential fixed voice services market
                                              that ‘‘the specific consumer privacy and                private information that is not CPNI.                 than legacy switched access services,
                                              consumer choice protections established                 Insofar as some parties contend that                  and ‘‘fixed switched access continues to
                                              in section 222 supersede the general                    section 222 establishes a comprehensive               decline while interconnected VoIP
                                              protections identified in sections 201(b)               scheme of privacy regulation for carriers             services continue to increase.’’
                                              and 202(a).’’ Understood in context, that               to the exclusion of section 201(b), yet               Therefore, as the Commission found in
                                              simply stands for the proposition that                  also contest the Commission’s                         2007, today’s consumers should
                                              where consumer privacy issues                           interpretation of section 222(a), they                reasonably expect ‘‘that their telephone
                                              addressed specifically in section 222 are               effectively ask the Commission to accept              calls are private irrespective of whether
                                              implicated, the requirements of section                 that the supposedly comprehensive                     the call is made using the services of a
                                              222 are controlling over more general                   privacy scheme that Congress enacted                  wireline carrier, a wireless carrier, or an
                                              protections in section 201(b) and 202(a)                intentionally left the non-CPNI PII of                interconnected VoIP provider, given
                                              that are unrelated to privacy—such as                   carriers’ customers unprotected by                    that these services, from the perspective
                                              advancing competitive neutrality. The                   Federal law. As discussed, the                        of a customer making an ordinary
                                              Commission similarly rejects attempts                   Commission not only finds that view                   telephone call, are virtually
                                              to rely on statements about section 222                 contrary to the statutory text, but find it           indistinguishable.’’ The Commission
                                              that the Commission made in analogous                   implausible more generally.                           likewise thinks interconnected VoIP
                                              statutory contexts where it rejected pro-               3. Interconnected VoIP                                subscribers should reasonably expect
                                              competition requirements under                                                                                their other information to also be
                                              statutory provisions like sections 272 or                  117. The Commission finds that                     protected and treated confidentially
                                              274 in light of the privacy requirements                section 222 and the Commission’s                      consistent with the other protections
                                              of section 222. More generally, to the                  ancillary jurisdiction grant the                      that apply under section 222.
                                              extent that the Commission has made                     Commission authority to apply the rules               Furthermore, extending section 222’s
                                              statements that its section 222 authority               it adopts here to interconnected VoIP                 protections to interconnected VoIP
                                              supersedes its authority under section                  providers. Interconnected VoIP                        service customers remains ‘‘necessary to
                                                                                                      providers have been explicitly subject to             protect the privacy of wireline or
                                              201(b), the Commission disavows such
                                                                                                      the Commission’s data breach rules
                                              an interpretation for the reasons stated                                                                      wireless customers that place calls to or
                                                                                                      since 2007, when the Commission first
                                              in this section. Independently, with                                                                          receive calls from interconnected VoIP
                                                                                                      adopted the data breach notification
                                              particular respect to data breach                                                                             customers.’’ Indeed, following the 2007
                                                                                                      rule. In the 2007 CPNI Order, the
                                              notification requirements, the                                                                                CPNI Order, Congress ratified the
                                                                                                      Commission recognized that if
                                              Commission does not find either section                                                                       Commission’s decision to apply section
                                                                                                      interconnected VoIP services were
                                              201(b) or section 222 to be a more                                                                            222’s requirements to interconnected
                                                                                                      telecommunications services, they self-
                                              specific provision. And even assuming                                                                         VoIP services, adding language to
                                                                                                      evidently would be covered by section
                                              arguendo that section 222 were                                                                                section 222 that applied provisions of
                                                                                                      222 and the Commission’s
                                              controlling within its self-described                                                                         section 222 to users of ‘‘IP-enabled voice
                                                                                                      implementing rules. Although the
                                              scope, the Commission’s rules are fully                 Commission has not broadly addressed                  service.’’ These revisions to section 222
                                              consistent with that authority as well.                 the statutory classification of                       would not make sense if the privacy-
                                              As the Commission stated in 1998,                       interconnected VoIP as a general matter,              related duties of subsections (a) and (c)
                                              ‘‘Congress . . . enacted section 222 to                 it has consistently recognized that a                 did not apply to interconnected VoIP
                                              prevent consumer privacy protections                    provider may offer VoIP on a Title II                 providers. The Commission notes that
                                              from being inadvertently swept away                     basis if it voluntarily ‘‘holds itself out as         no commenter chose to address this
                                              along with the prior limits on                          a telecommunications carrier and                      issue in the course of this proceeding.
                                              competition.’’ For the reasons discussed                complies with appropriate Federal and                    119. In the case of interconnected
                                              throughout this Report and Order,                       State requirements.’’ But because the                 VoIP providers that have obtained direct
                                              notification to customers, law                          Commission generally had not classified               access to telephone numbers, the
                                              enforcement, and the Commission are                     interconnected VoIP, the Commission                   Commission concludes that section
                                              essential to the Commission’s oversight                 also exercised its Title I ancillary                  251(e) also gives the Commission
                                              of carriers’ privacy practices.                         jurisdiction to extend its CPNI rules to              authority to condition that access on
                                                 116. The structure of the                            interconnected VoIP services, finding                 those providers’ compliance with
                                              Communications Act and its                              that ‘‘interconnected VoIP services fall              privacy requirements equivalent to
                                              relationship with the Federal Trade                     within the subject matter jurisdiction                those that apply to telecommunications
                                              Commission Act also demonstrate that                    granted to [the Commission] in the Act,’’             carriers. The Commission previously
                                              this Commission has authority to make                   and that ‘‘imposing CPNI obligations is               exercised its authority under section
                                              rules governing common carriers’                        reasonably ancillary to the effective                 251(e) to ensure, for example, that an
                                              protection of PII. The FTC has broad                    performance of the Commission’s                       interconnected VoIP provider receiving
                                              statutory authority to protect against                  various responsibilities.’’                           direct access to numbers ‘‘possesses the
                                              ‘‘unfair or deceptive’’ acts or practices,                 118. The Commission proceeds under                 financial, managerial, and technical
                                              but that authority is limited by carving                the same alternative bases here, and                  expertise to provide reliable service.’’
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                                              out several exceptions for categories of                concludes that legal and factual bases                Ensuring that interconnected VoIP
                                              entities subject to oversight by other                  for the findings relied on in the 2007                providers remain on the same regulatory
                                              regulatory agencies, one of which is                    CPNI Order have only grown more                       footing as telecommunications carriers
                                              common carriers subject to the                          persuasive since then. The Commission                 with respect to customer privacy—as
                                              Communications Act. The clear intent is                 observed at the time that                             was the case when direct access to
                                              that the expert agencies in those areas                 ‘‘interconnected VoIP service ‘is                     numbers for interconnected VoIP
                                              will act based on the authorities                       increasingly used to replace analog                   providers began—will ensure a level


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                                              competitive playing field and ensure                    receive privacy protections equivalent                reissuing the 2016 Privacy Order in
                                              that consumers’ expectations are met                    to those enjoyed by users of                          whole, or in substantially the same
                                              regarding the privacy of their                          telecommunications and VoIP services.                 form, or from adopting another item that
                                              information when using the telephone                    The record in this proceeding supports                is substantially the same as the 2016
                                              network.                                                this conclusion. As AARO states, the                  Privacy Order. It does not prohibit the
                                                                                                      Commission has ‘‘ample legal                          Commission from revising its breach
                                              4. Legal Authority To Adopt Rules for
                                                                                                      authority’’ to amend its data breach rule             notification rules in ways that are
                                              TRS
                                                                                                      for TRS under sections 222 and 225.                   similar to, or even the same as, some of
                                                 120. The Commission finds that it has                                                                      the revisions that were adopted in the
                                              separate and independent authority                      5. Impact of the Congressional
                                                                                                      Disapproval of the 2016 Privacy Order                 2016 Privacy Order, unless the revisions
                                              under sections 225 and 222 to amend its                                                                       adopted are the same, in substance, as
                                              data breach rule for TRS to ensure that                    123. In 2016, the Commission                       the 2016 Privacy Order as a whole. To
                                              TRS users receive privacy protections                   attempted to revise its breach                        be clear, although the CRA would
                                              equivalent to those enjoyed by users of                 notification rules as part of a larger                permit the Commission to adopt a
                                              telecommunications and VoIP services.                   proceeding addressing privacy                         breach notification rule that is the same
                                              Section 225 of the Act directs the                      requirements for broadband internet                   as the breach notification rule that was
                                              Commission to ensure that TRS are                       service providers (ISPs). In 2015, the                adopted by the 2016 Privacy Order, the
                                              available to enable communication in a                  Commission classified broadband                       rule that the Commission adopts here
                                              manner that is functionally equivalent                  internet access service as a                          has substantial differences. The
                                              to voice telephone services. In the 2013                telecommunications service subject to                 Commission rejects arguments that there
                                              VRS Reform Order, the Commission                        Title II of the Act, a decision that the              was insufficient notice for the
                                              found that applying the privacy                         D.C. Circuit upheld in U.S. Telecom                   Commission to adopt this interpretation
                                              protections of the Commission’s                         Ass’n v. FCC, 825 F.3d 674 (D.C. Cir.                 of the effect of the CRA resolution of
                                              regulations to TRS users advances the                   2016). As a result of classifying                     disapproval. In pertinent part, notice
                                              functional equivalency of TRS. The                      broadband internet access service as a                under the APA requires ‘‘reference to
                                              Commission concluded further that the                   telecommunications service, such                      the legal authority under which the rule
                                              specific mandate of section 225 to                      services were subject to sections 201                 is proposed’’ and ‘‘either the terms or
                                              establish ‘‘functional requirements,                    and 222 of the Act. The rules the                     substance of the proposed rule or a
                                              guidelines, and operations procedures                   Commission adopted in the 2016                        description of the subjects and issues
                                              for TRS’’ authorizes the Commission to                  Privacy Order applied to
                                                                                                                                                            involved.’’ The Data Breach Notice
                                              make the privacy protections included                   telecommunications carriers and
                                                                                                                                                            described the proposal to adopt
                                              in the Commission’s data breach                         interconnected VoIP providers in
                                                                                                                                                            expanded data breach notification
                                              regulations applicable to TRS users.                    addition to ISPs, which had been
                                                 121. The Commission also found that                                                                        requirements pursuant to its statutory
                                                                                                      classified as providers of
                                              extending its privacy—including data                                                                          authority under sections 222, 225, and
                                                                                                      telecommunications services in 2015. In
                                              breach—regulations to TRS users was                                                                           other possible sources of authority. In
                                                                                                      2017, however, Congress nullified those
                                              ancillary to its responsibilities under                                                                       the course of this request for comment,
                                                                                                      2016 revisions to the Commission’s
                                              section 222 of the Act to                                                                                     the Commission sought specific
                                                                                                      privacy rules under the CRA. Pursuant
                                              telecommunications service subscribers                                                                        comment regarding ‘‘the effect and
                                                                                                      to the language of the Resolution of
                                              that place calls to or receive calls from               Disapproval, the 2016 Privacy Order                   scope of the Congressional disapproval
                                              TRS users, because TRS call records                     was rendered ‘‘of no force or effect.’’               of the 2016 Privacy Order.’’ This
                                              include call detail information                         That resolution conformed to the                      satisfies the requirements of the APA.
                                              concerning all calling and called parties.              procedure set out in the CRA, which                   Even beyond that, however, the
                                              The Commission moreover determined                      requires agencies to submit most rules                Commission’s interpretation flows from
                                              that applying data breach requirements                  to Congress before they can take effect               ordinary tools of statutory
                                              to point-to-point video services                        and provides a mechanism for Congress                 interpretation, first and foremost by
                                              provided by VRS providers (such point-                  to disapprove of such rules. Pursuant to              focusing on the relevant statutory text
                                              to-point services, while provided in                    the operation of the CRA, the 2016                    and context. Contrary to the suggestion
                                              association with VRS, are not                           Privacy Order ‘‘may not be reissued in                of some, the Commission finds nothing
                                              themselves a form of TRS) is ancillary                  substantially the same form, and a new                ‘‘novel’’ about this interpretive
                                              to its responsibilities under sections 222              rule that is substantially the same as                approach, providing additional grounds
                                              and 225, including the need to protect                  such a rule may not be issued, unless                 to conclude that the notice and
                                              information that VRS providers had by                   the reissued or new rule is specifically              comment requirements of the APA were
                                              virtue of being a given customer’s                      authorized by a law enacted after the                 satisfied here.
                                              registered VRS provider—even in the                     date of the joint resolution disapproving                126. Congress’s Resolution of
                                              context of point-to-point video service—                the original rule.’’                                  Disapproval, by its terms, disapproved
                                              and to guard against the risk to                           124. In analyzing the impact of the                ‘‘the rule submitted by the Federal
                                              consumers who are likely to expect the                  Resolution of Disapproval of the 2016                 Communications Commission relating
                                              same privacy protections when dealing                   Privacy Order, the Commission first                   to ‘Protecting the Privacy of Customers
                                              with VRS providers, whether they are                    explains its understanding of the CRA’s               of Broadband and Other
                                              using VRS or point-to-point video                       prohibition on reissuance. The                        Telecommunications Services’ (81 FR
                                              services.                                               Commission also shows that, in any                    87274 (December 2, 2016)).’’ This
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                                                 122. The Commission concludes that,                  event, the revisions made here to the                 referred to the 2016 Privacy Order in its
                                              for the same reasons cited in the 2013                  breach notification rule are different in             entirety, which was summarized in the
                                              VRS Reform Order, these sources of                      substantial ways from those that were                 cited Federal Register document. The
                                              authority for establishing the current                  included in the 2016 Privacy Order.                   statutory term ‘‘rule,’’ as used in the
                                              data breach rule for TRS now authorize                     125. First, the Commission concludes               CRA, refers to ‘‘the whole or a part of
                                              the Commission to amend this rule to                    that the CRA is best interpreted as                   an agency statement of general or
                                              ensure that TRS users continue to                       prohibiting the Commission from                       particular applicability and future effect


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                                              designed to implement, interpret, or                    disapproval under the CRA. The key                    lack thereof after enactment of a joint
                                              prescribe law or policy or describing the               issue is not the definition of ‘‘rule’’ in            resolution of disapproval. It will be the
                                              organization, procedure, or practice                    the abstract, but the wording of 5 U.S.C.             agency’s responsibility in the first
                                              requirements of an agency.’’ Thus,                      801(b)(2) (along with the wording of the              instance when promulgating the rule to
                                              ‘‘rule’’ can and does refer to an entire                resolution of disapproval itself). And 5              determine the range of discretion
                                              decision that adopts rules. In                          U.S.C. 801(b)(2) is worded in singular                afforded under the original law and
                                              implementing Congress’s resolution of                   terms—referring to ‘‘A rule that does not             whether the law authorizes the agency
                                              disapproval, the Commission treated the                 take effect (or does not continue) under              to issue a substantially different rule.
                                              2016 Privacy Order as a single rule. In                 paragraph (1) . . . ’’ as opposed to                  Then, the agency must give effect to the
                                              a ministerial order, the Commission                     saying ‘‘Any rule that does not take                  resolution of disapproval.
                                              ‘‘simply recogniz[ed] the effect of the                 effect (or does not continue) under                      129. Accordingly, the Commission
                                              resolution of disapproval’’ should be                   paragraph (1) . . . ’’ or ‘‘Rules that do             observes that, in the floor debate on the
                                              that ‘‘the 2016 Privacy Order ‘shall be                 not take effect (or do not continue)                  resolution of disapproval in 2017,
                                              treated as though [it] had never taken                  under paragraph (1) . . . .’’ So even if              supporters of the resolution did not
                                              effect.’ ’’ As a result, all of the changes             there might be multiple APA rules that                mention the breach notification
                                              that the 2016 Privacy Order made to the                 do not take effect as a result of a                   provision apart from a brief reference.
                                              Commission rules codified in the Code                   resolution of disapproval, the CRA’s                  Senators who spoke in favor of the
                                              of Federal Regulations were reversed,                   focus is on a singular ‘‘rule’’ that does             resolution cited the 2016 Privacy
                                              with the result that all of the                         not take effect. Since the whole 2016                 Order’s treatment of broadband
                                              Commission rules in part 64, subpart U,                 Privacy Order was the subject of the                  providers and the information they hold
                                              were restored to how they read prior to                 resolution of disapproval, and the whole              as different from providers of other
                                              their amendment by the 2016 Privacy                     2016 Privacy Order did not take effect                services on the internet. The debate
                                              Order. The term ‘‘rule’’ can also refer to              as a result, the Commission concludes                 gives no reason to believe that the
                                              parts of such a decision, or to various                 that the whole 2016 Privacy Order is the              breach notification rule motivated those
                                              requirements as adopted or amended by                   relevant ‘‘rule’’ for purposes of 5 U.S.C.            members of Congress who supported the
                                              such a decision. In the context of the                  801(b)(2). And although some                          resolution. Although the Commission’s
                                              CRA’s bar on reissuance, the                            commenters claim that the                             conclusion that the whole 2016 Privacy
                                              Commission must consider which rule                     Commission’s approach to interpreting                 Order is the relevant ‘‘rule’’ for purposes
                                              is specified by that bar. The reissuance                the CRA could lead to uncertainty about               of 5 U.S.C. 801(b)(2) is fully justified
                                              bar, 5 U.S.C. 801(b)(2), provides that ‘‘a              what is subject to 5 U.S.C. 801(b)(2),                even without considering the legislative
                                              new rule that is substantially the same                 they do not identify any actual                       history of the resolution of disapproval,
                                              as such a rule may not be issued’’—                     ambiguity as the Commission’s                         the Commission rejects arguments that
                                              where ‘‘such a rule’’ refers to the rule                approach is applied here—instead, they                it is inappropriate to also look at that
                                              specified in the joint resolution of                    seemingly just dislike the outcome. Nor               history and contentions that the
                                              disapproval as described in section 802.                is the Commission persuaded that                      Commission is misinterpreting that
                                              As shown above, the joint resolution                    Congress lacks the tools to address any               history. In addition to legislative history
                                              referred to the entirety of the 2016                    concerns about the scope of a resolution              of the CRA that indicates that the
                                              Privacy Order. Therefore, the                           of disapproval if any were to arise. For              legislative history of each resolution of
                                              Commission concludes that the ‘‘rule’’                  example, the record does not reveal why               disapproval should be relevant, out of
                                              to which the reissuance bar applies is                  Congress could not specify the ‘‘relating             an abundance of caution given the lack
                                              the entire 2016 Privacy Order with all of               to’’ criterion in the resolution of                   of an authoritative determination
                                              the rule revisions adopted therein.                     disapproval language required by 5                    specifying the details of how to evaluate
                                                 127. The Commission concludes that                   U.S.C. 802(a) in more granular or                     whether a rule is substantially the same
                                              it would be erroneous to construe the                   detailed ways. Independently, Congress                under 5 U.S.C. 801(b)(2), the
                                              resolution of disapproval as applying to                also always remains free to enact laws                Commission considers whether there
                                              anything other than all of the rule                     outside the CRA process that reject                   are indicia from the legislative history of
                                              revisions, as a whole, adopted as part of               agency rules with as much detail and                  the resolution of disapproval here to
                                              the 2016 Privacy Order. That resolution                 precision as they wish should ambiguity               inform that analysis. For instance, if the
                                              had the effect of nullifying each and                   concerns become a practical problem.                  legislative history indicated that the
                                              every provision of the 2016 Privacy                        128. To prohibit an agency from                    resolution of disapproval of the 2016
                                              Order—each of those parts being rules                   making any of the individual decisions                Privacy Order somehow hinged entirely
                                              under the APA—but not ‘‘the rule’’                      made in an entire disapproved                         or significantly on concern about some
                                              specified in the resolution of                          rulemaking action would not only be                   or all of the 2016 data breach reporting
                                              disapproval. By its terms, the CRA does                 contrary to the text of the resolution of             requirements, the Commission then
                                              not prohibit the adoption of a rule that                disapproval, interpreted consistently                 could consider whether and how to
                                              is merely substantially similar to a                    with the CRA, but also would be                       account for that in the 5 U.S.C. 801(b)(2)
                                              limited portion of the disapproved rule                 contrary to the apparent intent of the                analysis notwithstanding the fact that
                                              or one that is the same as individual                   CRA. When Congress adopted the CRA,                   there is little practical overlap between
                                              pieces of the disapproved rule. The                     it recognized that it would be necessary              this order and the entirety of the 2016
                                              Commission rejects arguments that                       for agencies to interpret the scope of the            Privacy Order. Although data breach
                                              because the CRA borrows from the                        bar on reissuance in the future.                      notification issues occasionally appear
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                                              APA’s definition of ‘‘rule’’ as referring               According to a floor statement that its               to have been raised by opponents of the
                                              to the whole or a part of certain agency                authors intended to be authoritative,                 resolution of disapproval, high-level
                                              statements of general applicability and                 [t]he authors [of the CRA] intend the                 statements by supporters of the
                                              future effect, an agency cannot adopt a                 debate on any resolution of disapproval               resolution about ‘‘FCC overreach’’ or the
                                              rule substantially similar to any part of               to focus on the law that authorized the               like do not, without more, persuade the
                                              an agency rulemaking decision that does                 rule and make the congressional intent                Commission that the 2016 data breach
                                              not take effect due to a resolution of                  clear regarding the agency’s options or               notification requirements played a


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                                              significant role in motivating the                      adopts here are substantially the same                yet acted in that regard; (2) the 2015
                                              resolution of disapproval. Thus, the                    as analogous requirements in the 2016                 Open internet Order shows that the
                                              Commission sees nothing in the                          Privacy Order. For example, the                       Commission is willing and able to
                                              legislative history of the resolution of                customer notification requirement the                 decline to apply rules that might be
                                              disapproval that would cause the                        Commission adopts here is materially                  triggered by a classification decision,
                                              Commission to question its conclusion                   less prescriptive regarding the content               having done so there, for example, by
                                              that its action here does not adopt                     and manner of customer notice than                    forbearing from all rules implementing
                                              substantially the same rule for CRA                     what the Commission adopted in 2016.                  section 222 pending consideration in a
                                              purposes.                                               Further, the 2016 data breach                         subsequent proceeding; and (3) the
                                                 130. As EPIC notes in its comments,                  notification rules for customer                       Open internet Notice sought comment
                                              Congressional disapproval of the 2016                   notifications and government agency                   on following the same approach to
                                              Privacy Order under the CRA was                         notifications did not incorporate the                 privacy that the Commission took in the
                                              largely predicated on claims that the                   good-faith exception from the definition              2015 Open internet Order and
                                              Order would create duplicative privacy                  of covered breaches that the                          specifically noted the resolution of
                                              authority with the Federal Trade                        Commission adopts here. With respect                  disapproval of the 2016 Privacy Order as
                                              Commission as relates to broadband                      to the Federal agency notification                    a relevant consideration bearing on how
                                              internet service providers. A review of                 requirements, as compared to the 2016                 it proceeds there. The Commission’s
                                              the Congressional record from 2017                      rules, the rules the Commission adopts                analysis also is not materially altered by
                                              reveals that this indeed appears to have                here in that regard provide for the                   arguments that the Commission
                                              been the animating justification for                    Commission and other law enforcement                  otherwise has adopted ‘‘data security,
                                              Congressional disapproval of the 2016                   agencies to gain a much more complete                 customer authentication, employee
                                              Privacy Order. Whatever the merits of                   picture of data breaches, including                   training, and other requirements.’’ In
                                              such an argument, the Commission                        trends and emerging activities,                       addition to being unpersuaded that such
                                              finds that it does not now preclude the                 consistent with the demonstrated need                 requirements substantially ‘‘mirror
                                              Commission from adopting the rules set                  for such oversight. Consequently, even                provisions of the 2016 order,’’ the
                                              forth in this Order. As EPIC notes, the                 assuming arguendo that one were to                    Commission independently is not
                                              rules the Commission adopts here are                    conduct the 5 U.S.C. 801(b)(2)                        persuaded that the aggregation of such
                                              not privacy measures directed at                        evaluation on a more granular basis, the              requirements and the data breach
                                              broadband internet service providers,                   Commission is not persuaded that the                  notification requirements adopted here
                                              but rather, data security measures                      data breach notification requirements
                                              directed at providers of                                                                                      lead to such a significant overlap with
                                                                                                      the Commission adopts here would be                   the 2016 Privacy Order as to render the
                                              telecommunications, interconnected                      substantially the same as breach
                                              VoIP services, and TRS, and which                                                                             Commission’s collective actions
                                                                                                      notification requirements adopted in the              substantially the same as the 2016
                                              build upon rules that have existed since                2016 Privacy Order. Even assuming one
                                              2007. Thus, the primary animating                                                                             Privacy Order as a whole. For example,
                                                                                                      were to conduct the 5 U.S.C. 801(b)(2)                in the recent SIM Swap Order, the
                                              justification behind Congressional                      evaluation at a more granular basis, the
                                              disapproval of the 2016 Privacy Order is                                                                      Commission adopted certain privacy
                                                                                                      Commission is not persuaded that the                  requirements focused on wireless
                                              irrelevant to the present case.                         breach notification rule from the 2016
                                                 131. In addition, the revisions that the                                                                   carriers’ practices in the specific context
                                                                                                      Privacy Order is the right level of                   of account transfers (or ‘‘swaps’’) from a
                                              Commission makes here to the breach
                                                                                                      granularity, nor that the evaluation of               device associated with one subscriber
                                              notification rule are different in
                                                                                                      whether rules are substantially the same              identity module (SIM) to a device
                                              substantial ways from those that
                                              Congress disapproved in 2017. The 2016                  should be conducted based on high-                    associated with a different SIM on in
                                              Privacy Order was focused in large part                 level policy similarities, as some                    connection with a wireless number
                                              on adopting privacy rules for broadband                 commenters contend. For example, the                  being ported out. That is a vastly
                                              internet access service, and also made a                customer notification requirement is                  different focus than the 2016 Privacy
                                              number of changes to the Commission’s                   itself a ‘‘rule’’ within the meaning of the           Order, which focused on the general
                                              privacy rules more generally that,                      APA, as is the Federal agency                         privacy practices of all carriers. Thus,
                                              among other things, required carriers to                notification requirement. Ultimately,                 even assuming arguendo some high-
                                              disclose their privacy practices, revised               however viewed, the Commission is                     level conceptual similarities, the
                                              the framework for customer choice                       persuaded that the rules it adopts here               operation and practical effect is
                                              regarding carriers’ access, use, and                    are not substantially the same as a                   significantly different than even
                                              disclosure of the customers’                            disapproved rule for purposes of the                  arguably analogous requirements that
                                              information, and imposed data security                  CRA.                                                  were part of the 2016 Privacy Order. As
                                              requirements in addition to data breach                    133. Nor is the Commission adopting                discussed above, the primary focus of
                                              notification requirements. When the                     something substantially the same as the               the 2016 Privacy Order was privacy
                                              2016 Privacy Order is viewed as a                       2016 Privacy Order as a whole through                 rules for broadband internet access
                                              whole, it is clear that there is at most a              the aggregate effect of individual                    service, along with a number of changes
                                              small conceptual overlap between the                    Commission actions. For one, the theory               to the Commission’s privacy rules more
                                              adoption of data breach notification                    that classification of broadband internet             generally that, among other things,
                                              requirements at issue here and the many                 access service as a telecommunications                required carriers to disclose their
                                              actions taken in that Order of which                    service will automatically subject those              privacy practices, and revised the
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                                              data breach notification requirements                   services to the Commission’s privacy                  framework for customer choice
                                              represented only a small fraction.                      rules, including the data breach                      regarding carriers’ access, use, and
                                                 132. Independently, even assuming                    notification requirements adopted here,               disclosure of the customers’
                                              arguendo that the CRA were interpreted                  is belied by multiple considerations: (1)             information. Given the other significant
                                              to require an evaluation on a more                      the Commission has simply sought                      issues central to that decision, even
                                              granular basis here, the Commission is                  comment on those classification issues                assuming arguendo that there were
                                              not persuaded that the requirements it                  in its Open internet Notice and has not               some conceptual overlap between the


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                                              issues addressed in the 2016 Privacy                    Commission sought written public                      requirements for TRS providers. By
                                              Order and data security, customer                       comment on the proposals in the Data                  adopting these requirements the
                                              authentication, and employee training                   Breach Notice, including comment on                   Commission increases the the protection
                                              requirements recently adopted by the                    the IRFA. No comments were filed                      of consumers from improper use and/or
                                              Commission—and even considered in                       addressing the IRFA. This Final                       disclosure of their information
                                              conjunction with the data breach                        Regulatory Flexibility Analysis (FRFA)                consistent with approaches to protect
                                              notification rules the Commission                       conforms to the RFA.                                  the public adopted by the Commission’s
                                              adopts here—the Commission is not                                                                             Federal and State government partners.
                                                                                                      A. Need for, and Objectives of, the
                                              persuaded that the Commission has
                                                                                                      Report and Order                                      B. Summary of Significant Issues Raised
                                              adopted substantially the same rule as
                                                                                                         2. The Report and Order takes several              by Public Comments in Response to the
                                              the 2016 Privacy Order. Separately,
                                                                                                      important steps aimed at updating the                 IRFA
                                              insofar as the Commission considers the
                                              legislative history of the 2017 resolution              Commission’s rules regarding data                       4. There were no comments raised
                                              of disapproval, data security, customer                 breach notifications, both to Federal                 that specifically addressed the proposed
                                              authentication, and employee training                   agencies and to customers, to better                  rules and policies presented in the
                                              requirements likewise received only                     protect consumers from the dangers                    IRFA. Nonetheless, the Commission
                                              isolated mention, and then primarily                    associated with data security breaches                considered the general comments
                                              with respect to broadband internet                      of customer information and to ensure                 received about the potential impact of
                                              access service. Consequently, that                      that the Commission’s rules keep pace                 the rules proposed in the IRFA on small
                                              legislative history does not reveal that                with modern challenges.                               entities and took steps where
                                              the resolution of disapproval hinged                       3. First, the Commission expands the               appropriate and feasible, as discussed
                                              entirely or significantly on concerns                   scope of the data breach notification                 below, to reduce the compliance burden
                                              about such issues, even considered                      rules to cover various categories of                  and the economic impact of the rules
                                              collectively. Thus, whether viewed                      personally identifiable information (PII)             adopted in the Report and Order on
                                              alone or in the aggregate, the                          that carriers hold with respect to their              small entities.
                                              Commission is not persuaded that it has                 customers. Second, the Commission
                                                                                                      expands the definition of ‘‘breach’’ for              C. Response to Comments by the Chief
                                              adopted substantially the same rule as                                                                        Counsel for Advocacy of the Small
                                              the 2016 Privacy Order as a whole. And                  telecommunications carriers to include
                                                                                                      inadvertent access, use, or disclosure of             Business Administration
                                              the Commission notes, of course, that
                                              Congressional disapproval of a                          customer information, except in those                   5. Pursuant to the Small Business Jobs
                                              particular rule implementing a statute                  cases where such information is                       Act of 2010, which amended the RFA,
                                              does not nullify an agency’s general                    acquired in good faith by an employee                 the Commission is required to respond
                                              authority under that statute.                           or agent of a carrier, and such                       to any comments filed by the Chief
                                                                                                      information is not used improperly or                 Counsel for Advocacy of the Small
                                              II. Effective Dates                                     futher disclosed. Third, the Commission               Business Administration (SBA), and to
                                                 134. The revised recordkeeping and                   requires carriers to notify the                       provide a detailed statement of any
                                              reporting requirements adopted in this                  Commission, in addition to the United                 change made to the proposed rules as a
                                              Report and Order, including the                         States Secret Service (Secret Service)                result of those comments. The Chief
                                              revisions to 47 CFR 64.2011 and                         and Federal Bureau of Investigation                   Counsel did not file any comments in
                                              64.5111 set forth in Appendix A, are                    (FBI), as soon as practicable, and in no              response to the proposed rules in this
                                              subject to approval by the Office of                    event later than seven business days                  proceeding.
                                              Management and Budget (OMB). Unless                     after reasonable determination of a
                                                                                                      breach. Fourth, the Commission                        D. Description and Estimate of the
                                              and until such time as OMB approves
                                                                                                      eliminates the requirement that carriers              Number of Small Entities to Which the
                                              these new or modified requirements, the
                                                                                                      notify customers of a breach in cases                 Rules Will Apply
                                              current, unmodified versions of 47 CFR
                                              64.2011 and 64.5111 shall continue to                   where a carrier can reasonably                           6. The RFA directs agencies to
                                              apply.                                                  determine that no harm to customers is                provide a description of, and where
                                                 135. The Commission directs the                      reasonably likely to occur as a result of             feasible, an estimate of the number of
                                              Wireline Competition Bureau to                          the breach, or where a breach solely                  small entities that may be affected by
                                              announce OMB approval and effective                     involves encrypted data and the carrier               the rules adopted herein. The RFA
                                              dates for the modified rules contained                  has definitive evidence that the                      generally defines the term ‘‘small
                                              within this Order by subsequent public                  encryption key was not also accessed,                 entity’’ as having the same meaning as
                                              notice. Pursuant to this process, the                   used, or disclosed. Fifth, the                        the terms ‘‘small business,’’ ‘‘small
                                              Commission anticipates that carriers of                 Commission eliminates the mandatory                   organization,’’ and ‘‘small governmental
                                              all sizes will have ample time to come                  waiting period for carriers to notify                 jurisdiction.’’ In addition, the term
                                              into compliance with these                              customers, and instead requires carriers              ‘‘small business’’ has the same meaning
                                              requirements, and therefore rejects                     to notify customers of breaches of                    as the term ‘‘small-business concern’’
                                              CCA’s request for a 12-month                            covered data without unreasonable                     under the Small Business Act. A ‘‘small-
                                              implementation timeline.                                delay after notification to Federal                   business concern’’ is one which: (1) is
                                                                                                      agencies, and in no case more than 30                 independently owned and operated; (2)
                                              III. Final Regulatory Flexibility                       days following reasonable                             is not dominant in its field of operation;
                                              Analysis                                                determination of a breach, unless a                   and (3) satisfies any additional criteria
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                                                 1. As required by the Regulatory                     delay is requested by law enforcement.                established by the SBA.
                                              Flexibility Act of 1980, as amended                     Sixth, and finally, to ensure that                       7. Small Businesses, Small
                                              (RFA), an Initial Regulatory Flexibility                telecommunications relay service (TRS)                Organizations, Small Governmental
                                              Analysis (IRFA) was incorporated into                   customers enjoy the same level of                     Jurisdictions. The Commission’s actions,
                                              the Data Breach Reporting                               protections as customers of                           over time, may affect small entities that
                                              Requirements (Data Breach Notice),                      telecommunications carriers, the                      are not easily categorized at present.
                                              released in January 2023. The                           Commission adopts equivalent                          The Commission therefore describes, at


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                                              the outset, three broad groups of small                 industry use the wired                                providers can be considered small
                                              entities that could be directly affected                telecommunications network facilities                 entities.
                                              herein. First, while there are industry                 that they operate to provide a variety of                13. Incumbent Local Exchange
                                              specific size standards for small                       services, such as wired telephony                     Carriers (Incumbent LECs). Neither the
                                              businesses that are used in the                         services, including VoIP services, wired              Commission nor the SBA have
                                              regulatory flexibility analysis, according              (cable) audio and video programming                   developed a small business size
                                              to data from the Small Business                         distribution, and wired broadband                     standard specifically for incumbent
                                              Administration’s (SBA) Office of                        internet services. By exception,                      local exchange carriers. Wired
                                              Advocacy, in general a small business is                establishments providing satellite                    Telecommunications Carriers is the
                                              an independent business having fewer                    television distribution services using                closest industry with an SBA small
                                              than 500 employees. These types of                      facilities and infrastructure that they               business size standard. The SBA small
                                              small businesses represent 99.9% of all                 operate are included in this industry.                business size standard for Wired
                                              businesses in the United States, which                  Wired Telecommunications Carriers are                 Telecommunications Carriers classifies
                                              translates to 32.5 million businesses.                  also referred to as wireline carriers or              firms having 1,500 or fewer employees
                                                 8. Next, the type of small entity                    fixed local service providers.                        as small. U.S. Census Bureau data for
                                              described as a ‘‘small organization’’ is                   11. The SBA small business size                    2017 show that there were 3,054 firms
                                              generally ‘‘any not-for-profit enterprise               standard for Wired Telecommunications                 in this industry that operated for the
                                              which is independently owned and                        Carriers classifies firms having 1,500 or             entire year. Of this number, 2,964 firms
                                              operated and is not dominant in its                     fewer employees as small. U.S. Census                 operated with fewer than 250
                                              field.’’ The Internal Revenue Service                   Bureau data for 2017 show that there                  employees. Additionally, based on
                                              (IRS) uses a revenue benchmark of                       were 3,054 firms that operated in this                Commission data in the 2022 Universal
                                              $50,000 or less to delineate its annual                 industry for the entire year. Of this                 Service Monitoring Report, as of
                                              electronic filing requirements for small                number, 2,964 firms operated with                     December 31, 2021, there were 1,212
                                              exempt organizations. Nationwide, for                   fewer than 250 employees.                             providers that reported they were
                                              tax year 2020, there were approximately                 Additionally, based on Commission                     incumbent local exchange service
                                              447,689 small exempt organizations in                   data in the 2022 Universal Service                    providers. Of these providers, the
                                              the U.S. reporting revenues of $50,000                  Monitoring Report, as of December 31,                 Commission estimates that 916
                                              or less according to the registration and               2021, there were 4,590 providers that                 providers have 1,500 or fewer
                                              tax data for exempt organizations                       reported they were engaged in the                     employees. Consequently, using the
                                              available from the IRS.                                 provision of fixed local services. Of                 SBA’s small business size standard, the
                                                 9. Finally, the small entity described               these providers, the Commission                       Commission estimates that the majority
                                              as a ‘‘small governmental jurisdiction’’                estimates that 4,146 providers have                   of incumbent local exchange carriers
                                              is defined generally as ‘‘governments of                1,500 or fewer employees.                             can be considered small entities.
                                              cities, counties, towns, townships,                     Consequently, using the SBA’s small                      14. Competitive Local Exchange
                                              villages, school districts, or special                  business size standard, most of these                 Carriers (LECs). Neither the Commission
                                              districts, with a population of less than               providers can be considered small                     nor the SBA has developed a size
                                              fifty thousand.’’ U.S. Census Bureau                    entities.                                             standard for small businesses
                                              data from the 2017 Census of                               12. Local Exchange Carriers (LECs).                specifically applicable to local exchange
                                              Governments indicate there were 90,075                  Neither the Commission nor the SBA                    services. Providers of these services
                                              local governmental jurisdictions                        has developed a size standard for small               include several types of competitive
                                              consisting of general purpose                           businesses specifically applicable to                 local exchange service providers. Wired
                                              governments and special purpose                         local exchange services. Providers of                 Telecommunications Carriers is the
                                              governments in the United States. Of                    these services include both incumbent                 closest industry with a SBA small
                                              this number there were 36,931 general                   and competitive local exchange service                business size standard. The SBA small
                                              purpose governments (county,                            providers. Wired Telecommunications                   business size standard for Wired
                                              municipal and town or township) with                    Carriers is the closest industry with an              Telecommunications Carriers classifies
                                              populations of less than 50,000 and                     SBA small business size standard.                     firms having 1,500 or fewer employees
                                              12,040 special purpose governments—                     Wired Telecommunications Carriers are                 as small. U.S. Census Bureau data for
                                              independent school districts with                       also referred to as wireline carriers or              2017 show that there were 3,054 firms
                                              enrollment populations of less than                     fixed local service providers. The SBA                that operated in this industry for the
                                              50,000. Accordingly, based on the 2017                  small business size standard for Wired                entire year. Of this number, 2,964 firms
                                              U.S. Census of Governments data, the                    Telecommunications Carriers classifies                operated with fewer than 250
                                              Commission estimates that at least                      firms having 1,500 or fewer employees                 employees. Additionally, based on
                                              48,971 entities fall into the category of               as small. U.S. Census Bureau data for                 Commission data in the 2022 Universal
                                              ‘‘small governmental jurisdictions.’’                   2017 show that there were 3,054 firms                 Service Monitoring Report, as of
                                                                                                      that operated in this industry for the                December 31, 2021, there were 3,378
                                              1. Wireline Carriers                                    entire year. Of this number, 2,964 firms              providers that reported they were
                                                 10. Wired Telecommunications                         operated with fewer than 250                          competitive local exchange service
                                              Carriers. The U.S. Census Bureau                        employees. Additionally, based on                     providers. Of these providers, the
                                              defines this industry as establishments                 Commission data in the 2022 Universal                 Commission estimates that 3,230
                                              primarily engaged in operating and/or                   Service Monitoring Report, as of                      providers have 1,500 or fewer
                                              providing access to transmission                        December 31, 2021, there were 4,590                   employees. Consequently, using the
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                                              facilities and infrastructure that they                 providers that reported they were fixed               SBA’s small business size standard,
                                              own and/or lease for the transmission of                local exchange service providers. Of                  most of these providers can be
                                              voice, data, text, sound, and video using               these providers, the Commission                       considered small entities.
                                              wired communications networks.                          estimates that 4,146 providers have                      15. Interexchange Carriers (IXCs).
                                              Transmission facilities may be based on                 1,500 or fewer employees.                             Neither the Commission nor the SBA
                                              a single technology or a combination of                 Consequently, using the SBA’s small                   have developed a small business size
                                              technologies. Establishments in this                    business size standard, most of these                 standard specifically for Interexchange


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                                              Carriers. Wired Telecommunications                      carriers, or toll resellers. Wired                    include satellite and earth station
                                              Carriers is the closest industry with a                 Telecommunications Carriers is the                    operators. The SBA small business size
                                              SBA small business size standard. The                   closest industry with a SBA small                     standard for this industry classifies a
                                              SBA small business size standard for                    business size standard. The SBA small                 business with $38.5 million or less in
                                              Wired Telecommunications Carriers                       business size standard for Wired                      annual receipts as small. U.S. Census
                                              classifies firms having 1,500 or fewer                  Telecommunications Carriers classifies                Bureau data for 2017 show that 275
                                              employees as small. U.S. Census Bureau                  firms having 1,500 or fewer employees                 firms in this industry operated for the
                                              data for 2017 show that there were 3,054                as small. U.S. Census Bureau data for                 entire year. Of this number, 242 firms
                                              firms that operated in this industry for                2017 show that there were 3,054 firms                 had revenue of less than $25 million.
                                              the entire year. Of this number, 2,964                  in this industry that operated for the                Additionally, based on Commission
                                              firms operated with fewer than 250                      entire year. Of this number, 2,964 firms              data in the 2022 Universal Service
                                              employees. Additionally, based on                       operated with fewer than 250                          Monitoring Report, as of December 31,
                                              Commission data in the 2022 Universal                   employees. Additionally, based on                     2021, there were 65 providers that
                                              Service Monitoring Report, as of                        Commission data in the 2022 Universal                 reported they were engaged in the
                                              December 31, 2021, there were 127                       Service Monitoring Report, as of                      provision of satellite
                                              providers that reported they were                       December 31, 2021, there were 90                      telecommunications services. Of these
                                              engaged in the provision of                             providers that reported they were                     providers, the Commission estimates
                                              interexchange services. Of these                        engaged in the provision of other toll                that approximately 42 providers have
                                              providers, the Commission estimates                     services. Of these providers, the                     1,500 or fewer employees.
                                              that 109 providers have 1,500 or fewer                  Commission estimates that 87 providers                Consequently, using the SBA’s small
                                              employees. Consequently, using the                      have 1,500 or fewer employees.                        business size standard, a little more
                                              SBA’s small business size standard, the                 Consequently, using the SBA’s small                   than half of these providers can be
                                              Commission estimates that the majority                  business size standard, most of these                 considered small entities.
                                              of providers in this industry can be                    providers can be considered small
                                                                                                                                                            3. Resellers
                                              considered small entities.                              entities.
                                                 16. Cable System Operators (Telecom                                                                           20. Local Resellers. Neither the
                                              Act Standard). The Communications                       2. Wireless Carriers                                  Commission nor the SBA have
                                              Act of 1934, as amended, contains a size                   18. Wireless Telecommunications                    developed a small business size
                                              standard for a ‘‘small cable operator,’’                Carriers (except Satellite). This industry            standard specifically for Local Resellers.
                                              which is ‘‘a cable operator that, directly              comprises establishments engaged in                   Telecommunications Resellers is the
                                              or through an affiliate, serves in the                  operating and maintaining switching                   closest industry with a SBA small
                                              aggregate fewer than one percent of all                 and transmission facilities to provide                business size standard. The
                                              subscribers in the United States and is                 communications via the airwaves.                      Telecommunications Resellers industry
                                              not affiliated with any entity or entities              Establishments in this industry have                  comprises establishments engaged in
                                              whose gross annual revenues in the                      spectrum licenses and provide services                purchasing access and network capacity
                                              aggregate exceed $250,000,000.’’ For                    using that spectrum, such as cellular                 from owners and operators of
                                              purposes of the Telecom Act Standard,                   services, paging services, wireless                   telecommunications networks and
                                              the Commission determined that a cable                  internet access, and wireless video                   reselling wired and wireless
                                              system operator that serves fewer than                  services. The SBA size standard for this              telecommunications services (except
                                              498,000 subscribers, either directly or                 industry classifies a business as small if            satellite) to businesses and households.
                                              through affiliates, will meet the                       it has 1,500 or fewer employees. U.S.                 Establishments in this industry resell
                                              definition of a small cable operator.                   Census Bureau data for 2017 show that                 telecommunications; they do not
                                              Based on industry data, only six cable                  there were 2,893 firms in this industry               operate transmission facilities and
                                              system operators have more than                         that operated for the entire year. Of that            infrastructure. Mobile virtual network
                                              498,000 subscribers. Accordingly, the                   number, 2,837 firms employed fewer                    operators (MVNOs) are included in this
                                              Commission estimates that the majority                  than 250 employees. Additionally,                     industry. The SBA small business size
                                              of cable system operators are small                     based on Commission data in the 2022                  standard for Telecommunications
                                              under this size standard. The                           Universal Service Monitoring Report, as               Resellers classifies a business as small if
                                              Commission notes however, that the                      of December 31, 2021, there were 594                  it has 1,500 or fewer employees. U.S.
                                              Commission neither requests nor                         providers that reported they were                     Census Bureau data for 2017 show that
                                              collects information on whether cable                   engaged in the provision of wireless                  1,386 firms in this industry provided
                                              system operators are affiliated with                    services. Of these providers, the                     resale services for the entire year. Of
                                              entities whose gross annual revenues                    Commission estimates that 511                         that number, 1,375 firms operated with
                                              exceed $250 million. Therefore, the                     providers have 1,500 or fewer                         fewer than 250 employees.
                                              Commission is unable at this time to                    employees. Consequently, using the                    Additionally, based on Commission
                                              estimate with greater precision the                     SBA’s small business size standard,                   data in the 2022 Universal Service
                                              number of cable system operators that                   most of these providers can be                        Monitoring Report, as of December 31,
                                              would qualify as small cable operators                  considered small entities.                            2021, there were 207 providers that
                                              under the definition in the                                19. Satellite Telecommunications.                  reported they were engaged in the
                                              Communications Act.                                     This industry comprises firms                         provision of local resale services. Of
                                                 17. Other Toll Carriers. Neither the                 ‘‘primarily engaged in providing                      these providers, the Commission
                                              Commission nor the SBA has developed                    telecommunications services to other                  estimates that 202 providers have 1,500
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                                              a definition for small businesses                       establishments in the                                 or fewer employees. Consequently,
                                              specifically applicable to Other Toll                   telecommunications and broadcasting                   using the SBA’s small business size
                                              Carriers. This category includes toll                   industries by forwarding and receiving                standard, most of these providers can be
                                              carriers that do not fall within the                    communications signals via a system of                considered small entities.
                                              categories of interexchange carriers,                   satellites or reselling satellite                        21. Toll Resellers. Neither the
                                              operator service providers, prepaid                     telecommunications.’’ Satellite                       Commission nor the SBA have
                                              calling card providers, satellite service               telecommunications service providers                  developed a small business size


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                                              standard specifically for Toll Resellers.               data in the 2022 Universal Service                    the Commission and other law
                                              Telecommunications Resellers is the                     Monitoring Report, as of December 31,                 enforcement an annual summary
                                              closest industry with a SBA small                       2021, there were 62 providers that                    regarding all such breaches occurring in
                                              business size standard. The                             reported they were engaged in the                     the previous calendar year. Carriers
                                              Telecommunications Resellers industry                   provision of prepaid card services. Of                must also notify affected customers of
                                              comprises establishments engaged in                     these providers, the Commission                       breaches, with the exception of
                                              purchasing access and network capacity                  estimates that 61 providers have 1,500                instances where a carrier can reasonably
                                              from owners and operators of                            or fewer employees. Consequently,                     determine that no harm to such
                                              telecommunications networks and                         using the SBA’s small business size                   customers is reasonably likely to occur
                                              reselling wired and wireless                            standard, most of these providers can be              as a result of the breach. Additionally,
                                              telecommunications services (except                     considered small entities.                            the Commission applied similar rules to
                                              satellite) to businesses and households.                4. Other Entities                                     TRS providers.
                                              Establishments in this industry resell                                                                           25. The Commission’s review of the
                                              telecommunications; they do not                            23. All Other Telecommunications.
                                                                                                                                                            record included comments about unique
                                              operate transmission facilities and                     This industry is comprised of
                                                                                                                                                            burdens for small businesses that may
                                              infrastructure. Mobile virtual network                  establishments primarily engaged in
                                                                                                                                                            be impacted by the notification
                                              operators (MVNOs) are included in this                  providing specialized
                                                                                                                                                            requirements adopted in the Report and
                                              industry. The SBA small business size                   telecommunications services, such as
                                                                                                                                                            Order. Accordingly, the Commission
                                              standard for Telecommunications                         satellite tracking, communications
                                                                                                      telemetry, and radar station operation.               considered, and adopted provisions to
                                              Resellers classifies a business as small if                                                                   mitigate, some of those concerns. For
                                              it has 1,500 or fewer employees. U.S.                   This industry also includes
                                                                                                      establishments primarily engaged in                   example, the Commission decided to
                                              Census Bureau data for 2017 show that                                                                         utilize the existing reporting portal,
                                              1,386 firms in this industry provided                   providing satellite terminal stations and
                                                                                                      associated facilities connected with one              which small and other carriers and TRS
                                              resale services for the entire year. Of                                                                       providers are already accustomed to
                                              that number, 1,375 firms operated with                  or more terrestrial systems and capable
                                                                                                      of transmitting telecommunications to,                using to notify the Commission along
                                              fewer than 250 employees.                                                                                     with the Secret Service and FBI of
                                              Additionally, based on Commission                       and receiving telecommunications from,
                                                                                                      satellite systems. Providers of internet              breaches rather than creating a
                                              data in the 2022 Universal Service                                                                            centralized reporting facility operated
                                                                                                      services (e.g. dial-up ISPs) or Voice over
                                              Monitoring Report, as of December 31,                                                                         by the Commission to report breaches to
                                                                                                      internet Protocol (VoIP) services, via
                                              2021, there were 457 providers that                                                                           the Commission and these agencies as
                                                                                                      client-supplied telecommunications
                                              reported they were engaged in the                                                                             proposed in the Data Breach Notice. As
                                                                                                      connections are also included in this
                                              provision of toll services. Of these                                                                          such, the Commission anticipates that
                                                                                                      industry. The SBA small business size
                                              providers, the Commission estimates                                                                           the requirement to notify it of data
                                                                                                      standard for this industry classifies
                                              that 438 providers have 1,500 or fewer                                                                        breaches will have de minimis cost
                                                                                                      firms with annual receipts of $35
                                              employees. Consequently, using the                                                                            implications because small and other
                                                                                                      million or less as small. U.S. Census
                                              SBA’s small business size standard,                                                                           carriers and TRS providers are already
                                                                                                      Bureau data for 2017 show that there
                                              most of these providers can be                                                                                obligated to notify the Secret Service
                                                                                                      were 1,079 firms in this industry that
                                              considered small entities.                              operated for the entire year. Of those                and FBI of such breaches, and will use
                                                 22. Prepaid Calling Card Providers.                  firms, 1,039 had revenue of less than                 the existing portal to do so. The
                                              Neither the Commission nor the SBA                      $25 million. Based on this data, the                  Commission delegated authority to the
                                              has developed a small business size                     Commission estimates that the majority                Wireline Competition Bureau to
                                              standard specifically for prepaid calling               of ‘‘All Other Telecommunications’’                   coordinate with the Secret Service, the
                                              card providers. Telecommunications                      firms can be considered small.                        current administrator of the reporting
                                              Resellers is the closest industry with a                                                                      facility, and the FBI, to the extent
                                              SBA small business size standard. The                   E. Description of Projected Reporting,                necessary, to ensure that the
                                              Telecommunications Resellers industry                   Recordkeeping, and Other Compliance                   Commission will be notified when data
                                              comprises establishments engaged in                     Requirements for Small Entities                       breaches are reported, thereby ensuring
                                              purchasing access and network capacity                     24. In the Report and Order, the                   that no additional burden would be
                                              from owners and operators of                            Commission expanded the scope of the                  imposed on small and other carriers and
                                              telecommunications networks and                         Commission’s breach notification rules                TRS providers. The Commission also
                                              reselling wired and wireless                            to cover various categories of customer               adopted a threshold trigger that permits
                                              telecommunications services (except                     PII held by telecommunications carriers.              carriers and TRS providers to forgo
                                              satellite) to businesses and households.                The Commission also adopted a                         notifying Federal agencies of breaches
                                              Establishments in this industry resell                  requirement that all                                  that are limited in scope and unlikely to
                                              telecommunications; they do not                         telecommunications carriers notify the                pose harm to customers, instead
                                              operate transmission facilities and                     Commission, in addition to the Secret                 requiring small and other carriers and
                                              infrastructure. Mobile virtual network                  Service and the FBI, as soon as                       TRS providers to maintain the
                                              operators (MVNOs) are included in this                  practicable, and in no event later than               information, and file an annual
                                              industry. The SBA small business size                   seven business days after reasonable                  summary of such breaches.
                                              standard for Telecommunications                         determination of a breach of covered                  Additionally, with the support of
                                              Resellers classifies a business as small if             data. The Commission exempted from                    several small carriers, the Commission
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                                              it has 1,500 or fewer employees. U.S.                   this notification requirement breaches                adopted a harm-based notification
                                              Census Bureau data for 2017 show that                   that affect fewer than 500 customers and              trigger for reporting breaches to
                                              1,386 firms in this industry provided                   for which the carrier reasonably                      customers, which allows small and rural
                                              resale services for the entire year. Of                 determines that no harm to customers is               providers to focus their resources on
                                              that number, 1,375 firms operated with                  reasonably likely to occur as a result of             data security and mitigation measures
                                              fewer than 250 employees.                               the breach. Instead, the Commission                   rather than generating notifications
                                              Additionally, based on Commission                       required carriers to sign and file with               where harm to the consumer is unlikely.


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                                                 26. In the Report and Order the                      the same breach notifications                         efficiency, the Commission similarly
                                              Commission also adopted a ‘‘without                     Commission rules already require                      declined to adopt a threshold of 5000
                                              unreasonable delay, but no later than 30                carriers to submit would impose any                   affected customers to trigger notification
                                              days after reasonable determination of                  additional burden on carriers. Several                to Federal agencies. The Commission
                                              the breach’’ timeframe for notifying                    actions the Commission takes in the                   also considered ways to reduce the
                                              customers of covered data breaches.                     Report and Order will avoid imposing                  burden of the annual reporting
                                              Consistent with the comments in                         additional burdens on small and other                 requirement for breaches affecting fewer
                                              support of small carriers interests, the                carriers who have to file breach                      than 500 individuals and where the
                                              Commission recognizes that this                         notifications with the Commission.                    carrier or TRS provider could
                                              reporting standard can take into account                   29. As an initial matter the                       reasonably determine that no harm to
                                              factors such as the provider’s size, as a               Commission considered, and included a                 customers was reasonably likely to
                                              small carrier may have limited resources                good-faith exception that excluded from               occur as a result of the breach. In
                                              and could require additional time to                    the definition of ‘‘breach’’ a good-faith             determining the content and format
                                              investigate a data breach than a large                  acquisition of covered data by an                     requirements of the annual report, the
                                              carrier. The Commission notes that                      employee or agent of a carrier where                  Commission instructed the Bureau to
                                              many State laws similarly require                       such information is not used improperly               minimize the burdens on carriers and
                                              breach notifications which are in line                  or further disclosed. The Commission                  TRS providers by, for example, limiting
                                              with the requirements that the                          believes this exception will help avoid               the content required for each reported
                                              Commission adopts today. Therefore,                     excessive notifications to consumers,                 breach to that absolutely necessary to
                                              although the Commission cannot                          and reduce reporting burdens on small                 identify patterns or gaps that require
                                              quantify the compliance costs, it does                  and other carriers. Furthermore, in the               further Commission inquiry. At a
                                              not expect the adopted rules to impose                  Data Breach Notice, the Commission                    minimum, the Commission directed the
                                              any significant cost burdens for small                  proposed to create a new portal for                   Bureau to develop requirements that are
                                              entities, or require these entities to hire             reporting breaches to the Commission.                 less burdensome than what is required
                                              professionals to meet their compliance                  However, in the Report and Order the                  for individual breach submissions to the
                                              obligations.                                            Commission decided instead to make                    reporting facility, and to consider
                                              F. Steps Taken To Minimize the                          use of the existing portal which small                streamlined ways for filers to report this
                                              Significant Economic Impact on Small                    and other carriers and TRS providers are              summary information.
                                              Entities, and Significant Alternatives                  already accustomed to using for data                     30. The Commission also considered
                                              Considered                                              breach reporting requirements to                      adopting minimum requirements for the
                                                 27. The RFA requires an agency to                    Federal law enforcement agencies. The                 contents of customer notifications for
                                              provide ‘‘a description of the steps the                Commission’s decision to continue                     telecommunications carriers and TRS
                                              agency has taken to minimize the                        using a portal that small and other                   providers. However, the Commission
                                              significant economic impact on small                    carriers and providers are already                    declined to impose such minimum
                                              entities . . . including a statement of                 familiar and comfortable working with                 requirements on carriers and TRS
                                              the factual, policy, and legal reasons for              reduces the administrative burdens on                 providers because doing so may create
                                              selecting the alternative adopted in the                small entities of learning a new                      unnecessary burdens on carriers and
                                              final rule and why each one of the other                mechanism and creating new reporting                  TRS providers, particularly small ones.
                                              significant alternatives to the rule                    processes. Additionally, the contents of              Specifically, the Commission
                                              considered by the agency which affect                   the notification to the Commission are                considered but declined to adopt
                                              the impact on small entities was                        the same fields that carriers and                     minimum reporting requirements
                                              rejected.’’                                             providers already report to the Secret                harmonizing content requirements for
                                                 28. The Commission took steps and                    Service and the FBI. The Commission                   carriers with the information required
                                              considered alternatives in this                         agreed with commenters on behalf of                   under the Cyber Incident Reporting for
                                              proceeding that may reduce the impact                   small entities that the breach                        Critical Infrastructure Act of 2022
                                              of the adopted rule changes on small                    notification information small and other              (CIRCIA) as part of their notifications to
                                              entities. For example, the Commission’s                 carriers and providers are required to                Federal agencies. In the absence of final
                                              expansion of the definition of ‘‘breach’’               submit to the FBI and Secret Service is               rules, and a potential for imposing
                                              included consideration of whether to                    largely sufficient, and the Commission                duplicative or inconsistent fields, by
                                              include situations where a                              should generally require reporting of the             declining to adopt such a requirement
                                              telecommunications carrier, or a third                  same information. As such, the impact                 the Commission minimizes the
                                              party discovers conduct that could have                 of also reporting the breach to the                   economic impact for small entities.
                                              reasonably led to exposure of customer                  Commission should be de minimis on                    Relatedly, the Commission declined to
                                              CPNI, even if it has not yet determined                 small carriers and providers. The                     adopt a specific method of notification
                                              if such exposure occurred. Small and                    Commission considered adopting a                      for customers, instead deciding that
                                              other commenters generally opposed                      lower reporting threshold for the                     carriers and TRS providers have pre-
                                              such an expansion, and the Commission                   affected-customer notification of no-                 established methods of reaching their
                                              ultimately declined to expand ‘‘breach’’                harm-risk breaches to the Federal                     customers, each carrier or TRS provider
                                              to include these situations. Conversely,                agencies but ultimately decided to adopt              is in the best position to know how best
                                              although some commenters on behalf of                   a 500-customer threshold because that is              to reach their customers, and imposing
                                              small entities opposed requiring breach                 consistent with many other State laws,                a specific method would add
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                                              notification to the Commission, the                     and would therefore promote                           unnecessary burdens to the industry.
                                              Commission was not persuaded by their                   consistency and efficiency in                         The Commission also considered
                                              arguments. The Commission disagreed                     compliance. A lower threshold could                   requiring notification to all customers
                                              that the existing requirement to notify                 impose higher burdens on small and                    whenever a breach occurred. Such a
                                              the Secret Service and the FBI is                       other carriers and providers, so the                  requirement would lead to increased
                                              sufficient and that adding the                          Commission declined to adopt such a                   obligations to notify customers of every
                                              Commission to the list of recipients of                 rule. Likewise for consistency and                    instance which qualified as a ‘‘breach’’


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                                              under the expanded definition and                       Regulatory Flexibility Analysis is set                to utilize the existing reporting portal,
                                              scope of the rules described in the                     forth in Appendix B. The Commission’s                 which small carriers and TRS providers
                                              Report and Order. However, by                           Consumer and Governmental Affairs                     are already accustomed to using, for
                                              adopting the harm-based trigger, the                    Bureau, Reference Information Center,                 Federal agency breach notifications
                                              Commission limits the applicability of                  will send a copy of this Report and                   rather than creating a new centralized
                                              the customer-notification obligations to                Order, including the FRFA, to the Chief               portal. The Commission delegated
                                              breaches which are likely to cause harm                 Counsel for Advocacy of the Small                     authority to the Wireline Competition
                                              to customers, thereby reducing burdens                  Business Administration (SBA).                        Bureau to coordinate with the Secret
                                              on small and other telecommunications                      34. Paperwork Reduction Act. This                  Service, the current administrator of the
                                              carriers and TRS providers. In addition,                document contains new or modified                     reporting facility, and the FBI, to the
                                              the Commission also adopted a safe                      information collection requirements                   extent necessary, to ensure that the
                                              harbor under which customer                             subject to the Paperwork Reduction Act                Commission will be notified when data
                                              notification is not required where a                    of 1995 (PRA), Public Law 104–13. All                 breaches are reported, thereby ensuring
                                              breach solely involves encrypted data                   such new or modified requirements will                that no additional burden would be
                                              and the carrier has definitive evidence                 be submitted to OMB for review under                  imposed on small and other carriers and
                                              that the encryption key was not also                    section 3507(d) of the PRA. OMB, the                  TRS providers from separate reporting
                                              accessed, used, or disclosed, further                   general public, and other Federal                     requirements. The Commission also
                                              reducing burdens on small and other                     agencies will be invited to comment on                exempted from the Federal agency
                                              carriers from the Commission’s                          any new or modified information                       reporting requirement breaches that
                                              customer notification requirements.                     collection requirements contained in                  affect fewer than 500 customers and for
                                                 31. The Commission’s actions and the                 this proceeding. In addition, the                     which the carrier reasonably determines
                                              considerations discussed above lead the                 Commission notes that pursuant to the                 that no harm to customers is reasonably
                                              Commission to believe that the new                      Small Business Paperwork Relief Act of                likely to occur, and instead require
                                              requirements adopted in the Report and                  2002, Public Law 107–198, see 47 U.S.C.               carriers to file with Federal agencies an
                                              Order are minimally burdensome, and                     3506(c)(4), the Commission previously                 annual summary regarding all such
                                              small carriers and TRS providers should                 sought specific comment on how the                    breaches occurring in the previous
                                              not have any increased regulatory                       Commission might further reduce the                   calendar year. This annual reporting
                                              burdens, or significant compliance                      information collection burden for small               requirement is intended to minimize the
                                              issues with including these new breach                  business concerns with fewer than 25                  burden of reporting such breaches to
                                              notification requirements in their                      employees.                                            Federal law enforcement and the
                                              existing processes. Nevertheless, the                      35. In this Report and Order, the                  Commission. In determining the content
                                              importance of the breach notification                   Commission has assessed the effects of                and format requirements of the annual
                                              requirements adopted in the Report and                  (1) expanding the scope of the data                   report, the Commission instructed the
                                              Order to safeguard the public against                   breach notification rules to cover                    Bureau to minimize the burdens on
                                              improper use or disclosure of their                     specific categories of PII that carriers              carriers and TRS providers by, for
                                              customer data, to hold                                  hold with respect to their customers; (2)             example, limiting the content required
                                              telecommunications carriers and TRS                     expanding the definition of ‘‘breach’’ to             for each reported breach to that
                                              providers accountable, and to ensure                    include inadvertent access, use, or                   absolutely necessary to identify patterns
                                              customers are provided with the                         disclosure of customer information,                   or gaps that require further Commission
                                              necessary resources to protect                          except in those cases where such                      inquiry. Additionally, with the support
                                              themselves in the event their data                      information is acquired in good faith by              of several small carriers, the
                                              through their association with a                        an employee or agent of a carrier, and                Commission adopted a harm-based
                                              telecommunications carrier or TRS                       such information is not used improperly               notification trigger for reporting
                                              provider is compromised, outweighs                      or further disclosed; (3) requiring                   breaches to customers, which allows
                                              any minimal burdens that                                carriers to notify the Commission, in                 small providers to focus their resources
                                              telecommunications carriers and TRS                     addition to Secret Service and FBI, as                on data security and mitigation
                                              providers may experience in providing                   soon as practicable, and in no event                  measures rather than generating
                                              information to the Commission, and                      later than seven business days after                  notifications where harm to the
                                              Federal law enforcement agencies.                       reasonable determination of a breach;                 consumer is unlikely.
                                                                                                      (4) eliminating the requirement that                     36. Congressional Review Act. The
                                              G. Report to Congress                                   carriers notify customers of a breach in              Commission has determined, and the
                                                32. The Commission will send a copy                   cases where a carrier can reasonably                  Administrator of the Office of
                                              of the Report and Order, including this                 determine that no harm to customers is                Information and Regulatory Affairs,
                                              FRFA, in a report to be sent to Congress                reasonably likely to occur as a result of             Office of Management and Budget,
                                              pursuant to the Congressional Review                    the breach, or where the breach solely                concurs, that this rule is non-major
                                              Act. In addition, the Commission will                   involved encrypted data and the carrier               under the Congressional Review Act, 5
                                              send a copy of the Report and Order,                    had definitive evidence that the                      U.S.C. 804(2). The Commission will
                                              including this FRFA, to the Chief                       encryption key was not also accessed,                 send a copy of this Report and Order to
                                              Counsel for Advocacy of the Small                       used, or disclosed; and (5) applying                  Congress and the Government
                                              Business Administration. A copy of the                  similar rules to TRS providers, and the               Accountability Office pursuant to 5
                                              Report and Order (or summaries                          Commission finds that the impact on                   U.S.C. 801(a)(1)(A).
                                                                                                      small businesses with fewer than 25                      37. OPEN Government Data Act. The
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                                              thereof) will also be published in the
                                              Federal Register.                                       employees will be minimal. While the                  OPEN Government Data Act, requires
                                                                                                      Commission expanded the scope of the                  agencies to make ‘‘public data assets’’
                                              IV. Procedural Matters                                  data breach notification rules, the                   available under an open license and as
                                                33. Final Regulatory Flexibility                      Commission also adopted a good-faith                  ‘‘open Government data assets,’’ i.e., in
                                              Analysis. Pursuant to the Regulatory                    exception from the definition of breach               machine-readable, open format,
                                              Flexibility Act of 1980 (RFA), as                       which limits the reportable instances.                unencumbered by use restrictions other
                                              amended, the Commission’s Final                         Additionally, the Commission decided                  than intellectual property rights, and


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                                              based on an open standard that is                       approval by the Office of Management                  Subpart U—Privacy of Customer
                                              maintained by a standards organization.                 and Budget under the Paperwork                        Information
                                              This requirement is to be implemented                   Reduction Act, will not be effective
                                              ‘‘in accordance with guidance by the                    until the Office of Management and                    ■ 3. Delayed indefinitely, amend
                                              Director’’ of the OMB. The term ‘‘public                Budget completes any required review                  § 64.2011 by revising the section
                                              data asset’’ means ‘‘a data asset, or part              under the Paperwork Reduction Act.                    heading and paragraphs (a) through (e)
                                              thereof, maintained by the Federal                      The Commission directs the Wireline                   to read as follows:
                                              Government that has been, or may be,                    Competition Bureau to publish a notice
                                                                                                                                                            § 64.2011 Notification of security
                                              released to the public, including any                   in the Federal Register announcing                    breaches.
                                              data asset, or part thereof, subject to                 completion of such review and the
                                              disclosure under [the Freedom of                        relevant effective date. It is the                       (a) Commission and Federal Law
                                              Information Act (FOIA)].’’ A ‘‘data                     Commission’s intention in adopting the                Enforcement Notification. Except as
                                              asset’’ is ‘‘a collection of data elements              foregoing Report and Order that, if any               provided in paragraph (a)(3) of this
                                              or data sets that may be grouped                        provision of the Report and Order or the              section, as soon as practicable, but no
                                              together,’’ and ‘‘data’’ is ‘‘recorded                  rules, or the application thereof to any              later than seven business days, after
                                              information, regardless of form or the                  person or circumstance, is held to be                 reasonable determination of a breach, a
                                              media on which the data is recorded.’’                  unlawful, the remaining portions of                   telecommunications carrier shall
                                              The Commission delegates authority,                     such Report and Order and the rules not               electronically notify the Commission,
                                              including the authority to adopt rules,                 deemed unlawful, and the application                  the United States Secret Service (Secret
                                              to the Wireline Competition Bureau, in                  of such Report and Order and the rules                Service), and the Federal Bureau of
                                              consultation with the agency’s Chief                    to other person or circumstances, shall               Investigation (FBI) through a central
                                              Data Officer and after seeking public                   remain in effect to the fullest extent                reporting facility. The Commission will
                                              comment to the extent it deems                          permitted by law.                                     maintain a link to the reporting facility
                                              appropriate, to determine whether to                      43. It is further ordered that the                  on its website.
                                              make publicly available any data assets                 Commission’s Office of the Secretary,                    (1) A telecommunications carrier
                                              maintained or created by the                            Reference Information Center, shall                   shall, at a minimum, include in its
                                              Commission pursuant to the rules                        send a copy of this Report and Order to               notification to the Commission, Secret
                                              adopted herein, and if so, to determine                 Congress and the Government                           Service, and FBI:
                                              when and to what extent such                            Accountability Office pursuant to the                    (i) The carrier’s address and contact
                                              information should be made publicly                     Congressional Review Act, see 5 U.S.C.                information;
                                              available. In doing so, the Bureau shall                801(a)(1)(A).                                            (ii) A description of the breach
                                              take into account the extent to which                     44. It is further ordered that the                  incident;
                                              such data assets should not be made                     Commission’s Office of the Secretary,                    (iii) The method of compromise;
                                              publicly available because they are not                 Reference Information Center, shall                      (iv) The date range of the incident;
                                              subject to disclosure under the FOIA.                   send a copy of this Report and Order,                    (v) The approximate number of
                                                 38. People with Disabilities. To                     including the Final Regulatory                        customers affected;
                                              request materials in accessible formats                 Flexibility Analysis, to the Chief                       (vi) An estimate of financial loss to
                                              for people with disabilities (Braille,                  Counsel for Advocacy of the Small                     the carrier and customers, if any; and
                                              large print, electronic files, audio                    Business Administration.                                 (vii) The types of data breached.
                                              format), send an email to fcc504@fcc.gov                                                                         (2) If the Commission, or a law
                                                                                                      List of Subjects in 47 CFR Part 64                    enforcement or national security agency,
                                              or call the Consumer & Governmental
                                              Affairs Bureau at 202–418–0530 (voice).                   Carrier equipment, Communications                   notifies the carrier that public
                                                 39. Contact Person. For further                      common carriers, Reporting and                        disclosure or notice to customers would
                                              information, please contact Mason                       recordkeeping requirements,                           impede or compromise an ongoing or
                                              Shefa, Competition Policy Division,                     Telecommunications, Telephone.                        potential criminal investigation or
                                              Wireline Competition Bureau, at (202)                                                                         national security, such agency may
                                                                                                      Federal Communications Commission.
                                              418–2494 or mason.shefa@fcc.gov.                                                                              direct the carrier not to so disclose or
                                                                                                      Marlene Dortch,
                                                                                                                                                            notify for an initial period of up to 30
                                              V. Ordering Clauses                                     Secretary.                                            days. Such period may be extended by
                                                40. Accordingly, it is ordered that,                  Final Rules                                           the agency as reasonably necessary in
                                              pursuant to sections 1, 2, 4(i), 4(j), 201,                                                                   the judgment of the agency. If such
                                                                                                        For the reasons discussed in the
                                              202, 222, 225, 251, 303(b), 303(r), 332,                                                                      direction is given, the agency shall
                                                                                                      preamble, the Federal Communications
                                              and 705 of the Communications Act of                                                                          notify the carrier when it appears that
                                                                                                      Commission amends 47 CFR part 64 as
                                              1934, as amended, 47 U.S.C. 151, 152,                                                                         public disclosure or notice to affected
                                                                                                      follows:
                                              154(i), 154(j), 201, 202, 222, 225, 251,                                                                      customers will no longer impede or
                                              303(b), 303(r), 332, 605, this Report and               PART 64—MISCELLANEOUS RULES                           compromise a criminal investigation or
                                              Order is adopted.                                       RELATING TO COMMON CARRIERS                           national security. The agency shall
                                                41. It is further ordered that part 64                                                                      provide in writing its initial direction to
                                              of the Commission’s rules is amended as                 ■ 1. The authority citation for part 64               the carrier, any subsequent extension,
                                              set forth in Appendix A of the Report                   continues to read as follows:                         and any notification that notice will no
                                              and Order.                                                Authority: 47 U.S.C. 151, 152, 154, 201,            longer impede or compromise a
                                                42. It is further ordered that this                                                                         criminal investigation or national
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                                                                                                      202, 217, 218, 220, 222, 225, 226, 227, 227b,
                                              Report and Order shall be effective                     228, 251(a), 251(e), 254(k), 255, 262, 276,           security.
                                              thirty (30) days after publication of the               403(b)(2)(B), (c), 616, 620, 716, 1401–1473,             (3) A telecommunications carrier is
                                              text or a summary thereof in the Federal                unless otherwise noted; Pub. L. 115–141, Div.         exempt from the requirement to provide
                                              Register, except that the amendments to                 P, sec. 503, 132 Stat. 348, 1091.                     notification to the Commission and law
                                              47 CFR 64.2011 and 64.5111, which                       ■ 2. Effective March 13, 2024, the                    enforcement pursuant to paragraph (a)
                                              contain new or modified information                     heading for subpart U is revised to read              of this section of a breach that affects
                                              collection requirements that require                    as follows:                                           fewer than 500 customers and the


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                                              carrier reasonably determines that no                   annually, on or before February 1 of                  commit identity theft or fraud against
                                              harm to customers is reasonably likely                  each year, through the central reporting              the individual to whom the data
                                              to occur as a result of the breach. In                  facility, for data pertaining to the                  element or elements pertain.
                                              circumstances where a carrier initially                 previous calendar year.                                  (6) As used in this section,
                                              determined that it qualified for an                        (e) Definitions. (1) As used in this               ‘‘personally identifiable information’’
                                              exemption under this paragraph (a)(3),                  section, a ‘‘breach’’ occurs when a                   does not include information about an
                                              but later discovers information such that               person, without authorization or                      individual that is lawfully made
                                              this exemption no longer applies, the                   exceeding authorization, gains access to,             available to the general public from
                                              carrier must report the breach to Federal               uses, or discloses covered data. A                    Federal, State, or local government
                                              agencies as soon as practicable, but no                 ‘‘breach’’ shall not include a good-faith             records or widely distributed media.
                                              later than within seven business days of                acquisition of covered data by an                     *      *    *     *     *
                                              this discovery, as required in this                     employee or agent of a                                ■ 4. Delayed indefinitely, amend
                                              paragraph (a).                                          telecommunications carrier where such                 § 64.5111 by revising the section
                                                 (b) Customer notification. Except as                 information is not used improperly or                 heading and paragraphs (a) through (e)
                                              provided in paragraph (a)(2) of this                    further disclosed.                                    to read as follows:
                                              section, a telecommunications carrier                      (2) As used in this section, ‘‘covered
                                              shall notify affected customers of a                    data’’ includes both a customer’s CPNI,               § 64.5111 Notification of security
                                              breach of covered data without                          as defined by § 64.2003, and personally               breaches.
                                              unreasonable delay after notification to                identifiable information.                                (a) Commission and Federal law
                                              the Commission and law enforcement                         (3) As used in this section, ‘‘encrypted           enforcement notification. Except as
                                              pursuant to paragraph (a) of this section,              data’’ means covered data that has been               provided in paragraph (a)(3) of this
                                              and no later than 30 days after                         transformed through the use of an                     section, as soon as practicable, but not
                                              reasonable determination of a breach.                   algorithmic process into a form that is               later than seven business days, after
                                              This notification shall include sufficient              unusable, unreadable, or indecipherable               reasonable determination of a breach, a
                                              information so as to make a reasonable                  through a security technology or                      TRS provider shall electronically notify
                                              customer aware that a breach occurred                   methodology generally accepted in the                 the Disability Rights Office of the
                                              on a certain date, or within a certain                  field of information security.                        Federal Communications Commission’s
                                              estimated timeframe, and that such a                       (4) As used in this section,                       (Commission) Consumer and
                                              breach affected or may have affected                    ‘‘encryption key’’ means the                          Governmental Affairs Bureau, the
                                              that customer’s data. Notwithstanding                   confidential key or process designed to               United States Secret Service (Secret
                                              the foregoing, customer notification                    render encrypted data useable, readable,              Service), and the Federal Bureau of
                                              shall not be required where a carrier                   or decipherable.                                      Investigation (FBI) through a central
                                              reasonably determines that no harm to                      (5) Except as provided in paragraph                reporting facility. The Commission will
                                              customers is reasonably likely to occur                 (e)(6) of this section, as used in this               maintain a link to the reporting facility
                                              as a result of the breach, or where the                 section, ‘‘personally identifiable                    on its website.
                                              breach solely involves encrypted data                   information’’ means:                                     (1) A TRS provider shall, at a
                                              and the carrier has definitive evidence                    (i) An individual’s first name or first            minimum, include in its notification to
                                              that the encryption key was not also                    initial, and last name, in combination                the Commission, Secret Service, and
                                              accessed, used, or disclosed.                           with any government-issued                            FBI:
                                                 (c) Recordkeeping. All carriers shall                identification numbers or information                    (i) The TRS provider’s address and
                                              maintain a record, electronically or in                 issued on a government document used                  contact information;
                                              some other manner, of any breaches                      to verify the identity of a specific                     (ii) A description of the breach
                                              discovered, notifications made to the                   individual, or other unique                           incident;
                                              Commission, Secret Service, and the FBI                 identification number used for                           (iii) A description of the customer
                                              pursuant to paragraph (a) of this section,              authentication purposes;                              information that was used, disclosed, or
                                              and notifications made to customers                        (ii) An individual’s username or email             accessed;
                                              pursuant to paragraph (b) of this section.              address, in combination with a                           (iv) The method of compromise;
                                              The record shall include, if available,                 password or security question and                        (v) The date range of the incident;
                                              dates of discovery and notification, a                  answer, or any other authentication                      (vi) The approximate number of
                                              detailed description of the covered data                method or information necessary to                    customers affected;
                                              that was the subject of the breach, the                 permit access to an account; or                          (vii) An estimate of financial loss to
                                              circumstances of the breach, and the                       (iii) Unique biometric, genetic, or                the provider and customers, if any; and
                                              bases of any determinations regarding                   medical data.                                            (viii) The types of data breached.
                                              the number of affected customers or                        (iv) Notwithstanding the above:                       (2) If the Commission, or a law
                                              likelihood of harm as a result of the                      (A) Dissociated data that, if linked,              enforcement or national security agency
                                              breach. Carriers shall retain the record                would constitute personally identifiable              notifies the TRS provider that public
                                              for a minimum of 2 years.                               information is to be considered                       disclosure or notice to customers would
                                                 (d) Annual Reporting of Certain Small                personally identifiable if the means to               impede or compromise an ongoing or
                                              Breaches. A telecommunications carrier                  link the dissociated data were accessed               potential criminal investigation or
                                              shall have an officer, as an agent of the               in connection with access to the                      national security, such agency may
                                              carrier, sign and file with the                         dissociated data; and                                 direct the TRS provider not to so
                                              Commission, Secret Service, and FBI, a                     (B) Any one of the discrete data                   disclose or notify for an initial period of
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                                              summary of all breaches occurring in                    elements listed in paragraphs (e)(5)(i)               up to 30 days. Such period may be
                                              the previous calendar year affecting                    through (iii) of this section, or any                 extended by the agency as reasonably
                                              fewer than 500 individuals and where                    combination of the discrete data                      necessary in the judgment of the agency.
                                              the carrier could reasonably determine                  elements listed above is personally                   If such direction is given, the agency
                                              that no harm to customers was                           identifiable information if the data                  shall notify the TRS provider when it
                                              reasonably likely to occur as a result of               element or combination of data                        appears that public disclosure or notice
                                              the breach. This filing shall be made                   elements would enable a person to                     to affected customers will no longer


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                                              impede or compromise a criminal                         customer aware that a breach occurred                 harm to customers was reasonably likely
                                              investigation or national security. The                 on a certain date, or within a certain                to occur as a result of the breach. This
                                              agency shall provide in writing its                     estimated timeframe, and that such a                  filing shall be made annually, on or
                                              initial direction to the TRS provider,                  breach affected or may have affected                  before February 1 of each year, through
                                              any subsequent extension, and any                       that customer’s data. Notwithstanding                 the central reporting facility, for data
                                              notification that notice will no longer                 the foregoing, customer notification                  pertaining to the previous calendar year.
                                              impede or compromise a criminal                         shall not be required where a TRS                        (e) Definitions. (1) As used in this
                                              investigation or national security and                  provider reasonably determines that no                section, a ‘‘breach’’ occurs when a
                                              such writings shall be                                  harm to customers is reasonably likely                person, without authorization or
                                              contemporaneously logged on the same                    to occur as a result of the breach, or                exceeding authorization, gains access to,
                                              reporting facility that contains records                where the breach solely involves                      uses, or discloses covered data. A
                                              of notifications filed by TRS providers.                encrypted data and the provider has                   ‘‘breach’’ shall not include a good-faith
                                                 (3) A TRS provider is exempt from the                definitive evidence that the encryption               acquisition of covered data by an
                                              requirement to provide notification to                  key was not also accessed, used, or                   employee or agent of a TRS provider
                                              the Commission and law enforcement                      disclosed.                                            where such information is not used
                                              pursuant to paragraph (a) of this section                  (c) Recordkeeping. A TRS provider                  improperly or further disclosed.
                                              of a breach that affects fewer than 500                 shall maintain a record, electronically or               (2) As used in this section, ‘‘covered
                                              customers and the carrier reasonably                    in some other manner, of any breaches                 data’’ includes:
                                              determines that no harm to customers is                 discovered, notifications made to the                    (i) A customer’s CPNI, as defined by
                                              reasonably likely to occur as a result of               Commission, Secret Service, and the FBI               section 64.5103;
                                              the breach. In circumstances where a                    pursuant to paragraph (a) of this section,               (ii) Personally identifiable
                                              carrier initially determined that it                    and notifications made to customers                   information, as defined by section
                                              qualified for an exemption under this                   pursuant to paragraph (b) of this section.            64.2011(e)(5); and
                                              paragraph (a)(3), but later discovers                   The record shall include, if available,                  (iii) The content of any relayed
                                              information such that this exemption no                 the dates of discovery and notification,              conversation within the meaning of
                                              longer applies, the carrier must report                 a detailed description of the covered                 § 64.604(a)(2)(i).
                                              the breach to Federal agencies as soon                  data that was the subject of the breach,                 (3) As used in this section, ‘‘encrypted
                                              as practicable, but not later than within               the circumstances of the breach, and the              data’’ means covered data that has been
                                              seven business days of this discovery, as               bases of any determinations regarding                 transformed through the use of an
                                              required in this paragraph (a).                         the number of affected customers or                   algorithmic process into a form that is
                                                 (b) Customer Notification. Except as                 likelihood of harm as a result of the                 unusable, unreadable, or indecipherable
                                              provided in paragraph (a)(2) of this                    breach. TRS providers shall retain the                through a security technology or
                                              section, a TRS provider shall notify                    record for a minimum of 2 years.                      methodology generally accepted in the
                                              affected customers of breaches of                          (d) Annual reporting of certain small              field of information security.
                                              covered data without unreasonable                       breaches. A TRS provider shall have an                   (4) As used in this section,
                                              delay after notification to the                         officer, as an agent of the provider, sign            ‘‘encryption key’’ means the
                                              Commission and law enforcement as                       and file with the Commission, Secret                  confidential key or process designed to
                                              described in paragraph (a) of this                      Service, and FBI, a summary of all                    render encrypted data useable, readable,
                                              section, and no later than 30 days after                breaches occurring in the previous                    or decipherable.
                                              reasonable determination of a breach.                   calendar year affecting fewer than 500                *       *    *     *     *
                                              This notification shall include sufficient              individuals and where the provider                    [FR Doc. 2024–01667 Filed 2–9–24; 8:45 am]
                                              information so as to make a reasonable                  could reasonably determine that no                    BILLING CODE 6712–01–P
khammond on DSKJM1Z7X2PROD with RULES3




                                         VerDate Sep<11>2014   21:26 Feb 09, 2024   Jkt 262001   PO 00000   Frm 00038   Fmt 4701   Sfmt 9990   E:\FR\FM\12FER3.SGM   12FER3
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              CERTIFICATE OF ELECTRONIC SUBMISSION

      I hereby certify that: (1) any required privacy redactions have been made;

(2) the electronic submission of this document is an exact copy of any corresponding

paper document; and (3) the document has been scanned for viruses with the most

recent version of a commercial virus-scanning program and is free from viruses.

Dated: February 20, 2024                  Respectfully submitted,

                                          /s/ Roman Martinez
                                          Roman Martinez
      Case: 24-60085     Document: 1-1     Page: 148    Date Filed: 02/22/2024




                         CERTIFICATE OF SERVICE

      I hereby certify that, on February 20, 2024, the foregoing Petition for Review

was electronically filed with the Clerk of the Court for the United States Court of

Appeals for the Fifth Circuit using the CM/ECF system, and two copies were sent

to the Clerk of the Court by overnight Federal Express for service on the respondents

pursuant to Federal Rule of Appellate Procedure 15(c)(3).

      I further certify that pursuant to 47 C.F.R. § 1.13 I caused a copy of the

foregoing to be served on the following counsel by the manner indicated:

   By Registered Mail (Return Receipt         By Registered Mail (Return Receipt
   Requested) and Electronic Mail             Requested)
   P. Michele Ellison                         Merrick B. Garland
   General Counsel                            Attorney General
   Federal Communications Commission          United States Department of Justice
   45 L Street, NE                            950 Pennsylvania Avenue, NW
   Washington, DC 20554                       Washington, DC 20530
   LitigationNotice@fcc.gov


                                              /s/ Roman Martinez
                                              Roman Martinez
